        Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 1 of 461




1    Robert F. McCauley (SBN 162056)
     robert.mccauley@finnegan.com
2    Arpita Bhattacharyya (SBN 316454)
     arpita.bhattacharyya@finnegan.com
3    Jeffrey D. Smyth (SBN 280665)
     jeffrey.smyth@finnegan.com
4    FINNEGAN, HENDERSON, FARABOW,
       GARRETT & DUNNER, LLP
5    3300 Hillview Avenue
     Palo Alto, California 94304
6    Telephone:     (650) 849-6600
     Facsimile:     (650) 849-6666
7
     Attorneys for Plaintiff and Counterdefendant
8    ASETEK DANMARK A/S and
     Counterdefendant ASETEK USA, INC.
9
10
                                 UNITED STATES DISTRICT COURT
11                             NORTHERN DISTRICT OF CALIFORNIA
                                    SAN FRANCISCO DIVISION
12

13
     ASETEK DANMARK A/S,                            CASE NO. 3:19-cv-00410-EMC
14
                          Plaintiff and             EXHIBIT AA TO THE DECLARATION OF
15                        Counterdefendant,         ARPITA BHATTACHARYYA IN SUPPORT
                                                    OF ASETEK DANMARK A/S AND ASETEK
16   ASETEK USA, INC.,                              USA, INC.’S MOTION FOR PARTIAL
                                                    SUMMARY JUDGMENT
17                        Counterdefendant,
                                                    Date:           May 5, 2022
18                 v.                               Time:           1:30 PM
                                                    Location:       Courtroom 5, 17th Floor
19   COOLIT SYSTEMS, INC.,                          Judge:          Hon. Edward M. Chen

20                        Defendant and
                          Counterclaimant,
21
     COOLIT SYSTEMS USA INC., COOLIT
22   SYSTEMS ASIA PACIFIC LIMITED,
     COOLIT SYSTEMS (SHENZHEN) CO.,
23   LTD.,

24                        Defendants,

25   CORSAIR GAMING, INC. and CORSAIR
     MEMORY, INC.,
26
                          Defendants.
27

28
                                                       EXHIBIT AA TO THE ARPITA BHATTACHARYYA DECL. ISO MOTION FOR
                                                                                    PARTIAL SUMMARY JUDGMENT
                                                                                      CASE NO. 3:19-CV-00410-EMC
 Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 2 of 461




         EXHIBIT AA
   TO THE DECLARATION OF ARPITA
BHATTACHARYYA IN SUPPORT OF ASETEK
 DANMARK A/S’S MOTION FOR PARTIAL
        SUMMARY JUDGMENT




                                                             Exhibit AA
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 3 of 461




                            UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF CALIFORNIA
                                 SAN FRANCISCO DIVISION



ASETEK DANMARK A/S,                              CASE NO. 3:19-cv-00410-EMC
Plaintiff and Counter-Defendant,

v.
                                                 UPDATED EXPERT REPORT OF
COOLIT SYSTEMS, INC.,                            DR. JOHN P. ABRAHAM REGARDING
Defendant and Counter-Claimant,                  INVALIDITY OF ASETEK DANMARK
                                                 A/S’S ASSERTED PATENT CLAIMS
AND

CORSAIR MEMORY, INC.,
Defendant.




I.     SUMMARY

1.     I have been retained by CoolIT Systems, Inc. (“CoolIT”) as a technical expert to provide

       opinions regarding the validity or invalidity of the following patent claims (collectively

       the “asserted claims”) from five patents that I understand are owned by Asetek Danmark

       A/S (“Asetek”) and asserted against CoolIT in the above-referenced litigation:


                       Asserted Patent                          Asserted Claim(s)

          U.S. Patent No. 8,240,362 (“’362 patent”)                    17, 19

         U.S. Patent No. 10,599,196 (“’196 patent”)                   1, 2, 13

         U.S. Patent No. 10,613,601 (“’601 patent”)                 1, 6, 11, 12

         U.S. Patent No. 10,078,354 (“’354 patent”)                   1, 8, 15

         U.S. Patent No. 10,078,355 (“’355 patent”)                    1, 2, 6



                                               -1-
      Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 4 of 461




2.    It is my opinion that all of the asserted claims are invalid under one or more of 35 U.S.C.

      §§ 102, 103, and/or 112. My opinions and the bases and reasons for them are set forth in

      this report.

3.    I am being compensated at a rate of $350 per hour, plus reimbursement of expenses, for

      my time spent working on this matter. I do not have a financial interest in the outcome of

      this matter.

4.    I reserve the right to modify or supplement my opinions, as well as the bases for my

      opinions, including based on the nature and content of the documentation, data, proof, and

      other evidence or testimony that Asetek or its experts may present, on any additional

      discovery or other information provided to me or found by me in this matter, or on further

      instructions or orders from the Court. In addition, should I be called to testify at trial, I may

      provide a tutorial regarding the materials I discuss in this report, including all exhibits. This

      tutorial may further include demonstratives such as computer graphics, videos,

      screenshots, and other presentation material regarding the asserted claims and the

      technology described therein.



II.   BACKGROUND AND QUALIFICATIONS

5.    My qualifications for forming the opinions set forth in this expert report are summarized

      here and more fully detailed in my curriculum vitae (“CV”) attached hereto as Appendix

      A. My CV contains a full list of my publications and a list of all other cases in which I

      have testified as an expert.

6.    I am a Professor and Program Director of the Masters in Science of Mechanical

      Engineering at the University of St. Thomas, in St. Paul, Minnesota. There I specialize in



                                                -2-
     Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 5 of 461




     thermal sciences, which describe the science of flow (flow of heat, flow of gases, flow of

     liquids, etc.) and physical processes that occur during these flows. I believe my educational

     and work experience, as summarized below, qualify me as an expert in the field of

     mechanical engineering, with an emphasis on thermal sciences. My experience

     encompasses both fluid flow and heat transfer. In particular, I have performed research and

     consulted for numerous companies on issues related to heat transfer and flow and

     electronics cooling.

7.   I earned a Bachelor of Science degree in Mechanical Engineering with a minor in

     Mathematics from the University of Minnesota – Twin Cities in 1997. In 1999, I earned a

     Master of Science (“MS”) degree from the University of Minnesota – Twin Cities, in the

     area of thermal-fluid sciences. My MS research project was in the area of air flow,

     dehumidification, and water-vapor transport. In 2002, I earned a Ph.D. degree in

     Mechanical Engineering in the area of thermal-fluid sciences also from the University of

     Minnesota – Twin Cities, with my thesis on fluid and heat flows in enclosures.

8.   In 2002, I joined the faculty of University of St. Thomas in St. Paul, Minnesota, as an

     Assistant Professor in the Engineering Department. In 2008, I became an Associate

     Professor at the University of St. Thomas in the Engineering Department. In 2013, I was

     promoted to a full professorship at the University of St. Thomas in the Engineering

     Department, where I currently teach in the area of thermodynamics, heat transfer, and fluid

     mechanics.

9.   I have received several honors and awards during my teaching career, including the

     University of St. Thomas Engineering Professor of the Year in 2005; the University of St.

     Thomas John Ireland Award in 2009; and the University of St. Thomas Professor of the



                                              -3-
      Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 6 of 461




      Year Award in 2016.

10.   I have published peer-reviewed scientific papers detailing my work in heat transfer, fluid

      flow, and temperature management of electronics.

11.   I have presented my work on these topics at technical conferences.

12.   I have been involved in the design and invention concerning flows in structures. For

      example, I have published approximately five peer-reviewed studies on flow and

      distribution of fluids through manifolds. I have produced approximately 350 publications,

      books, book chapters, conference presentations, and patents in areas including heat

      transfer, fluid flow, and analysis of the structures that convey fluids for heating and cooling.

      Many of these studies relate to the flow of fluids (both liquids and gases) through tubes or

      conduits. I am also a named inventor on multiple patents that deal with flow and heat

      transfer.

13.   I am an editor of two highly rated series: Advances in Heat Transfer (John Abraham, John

      Gorman & Dr. Wolodymyr Minkowycz, eds., 2020) and Advances in Numerical Heat

      Transfer (W.J. Minkowycz, E.M. Sparrow & J.P. Abraham, eds., 2012). These series bring

      together world leaders in the thermal sciences, and I am responsible for the review and

      editing of the submissions. The submissions include studies on heat transfer and on air and

      gas flow in conduits and on phase change (transfer of vapor to a liquid (condensation) or

      liquid to a vapor (evaporation)).

14.   I have given numerous presentations on electronics cooling techniques and related heat

      transfer processes. Some examples include:


          o Ephraim M. Sparrow, John P. Abraham, and Paul Chevalier, A DOS-Enhanced
            Numerical Simulation of Heat Transfer and Fluid Flow Through an Array of
            Offset Fins with Conjugate Heating in the Bounding Solid, ASME International

                                                -4-
Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 7 of 461




      Mechanical Engineering Congress and R & D Expo, Washington, DC, November,
      2003.

   o Ronald Major and John Abraham, The Application of Thermal Analysis on a Disk
     Array, Fluent’s 2005 CFD Summit, Detroit, MI, June 7-8, 2005.

   o E.M. Sparrow, J.P. Abraham, P.W. Chevalier, A DOS-Enhanced Numerical
     Simulation of Heat Transfer and Fluid Flow Through an Array of Offset Fins with
     Conjugate Heating in the Bounding Solid, Journal of Heat Transfer, Vol. 127, pp.
     27-33, 2005.

   o P.W. Chevalier, J.P. Abraham, and E.M. Sparrow, The Design of Cold Plates for
     the Thermal Management of Electronic Equipment, Journal of Heat Transfer
     Engineering, Vol. 27, pp. 6-16, 2006.

   o J.C.K. Tong, E.M. Sparrow, and J.P. Abraham, A Quasi-Analytical Method for
     Fluid Flow in a Multi-Inlet Collection Manifold, Journal of Fluids Engineering,
     Vol. 129, pp. 579-586, 2007.

   o J.C.K. Tong, E.M. Sparrow, and J.P. Abraham, Attainment of Flowrate
     Uniformity in the Channels that Link a Distribution Manifold to a Collection
     Manifold, Journal of Fluids Engineering, Vol. 129 (9), pp. 1186-1192, 2007.

   o J.C.K. Tong, E.M. Sparrow, and J. P. Abraham, Geometric Strategies for
     Attainment of the Identical Outflows Through all of the Exit Ports of a
     Distribution Manifold in a Manifold System, Applied Thermal Engineering, Vol.
     29, 3552-3560, 2009.

   o J.P. Abraham and G.S. Mowry, B.D. Plourde, Analysis of Thermal and Fluid Flow
     Problems, Thermal Packaging and Small Business Innovation Workshop, Eagan,
     MN, October 5-6, 2010.

   o E.M. Sparrow, J.M. Gorman, K.S. Friend, and J.P. Abraham, Flow Regime
     Determination for Finned Heat Exchanger Surfaces with Dimples/Protrusions,
     Numerical Heat Transfer, Vol. 63, pp. 245-256, 2012.

   o J.M. Gorman, EM. Sparrow, J.P. Abraham, and G.S. Mowry, Operating
     Characteristics and Fabrication of a Uniquely Compact Helical Heat Exchanger,
     Applied Thermal Engineering, Vol. 5, pp. 1070-1075, 2012.

   o E.M. Sparrow, J. M. Gorman, and J.P. Abraham, Quantitative Assessment of the
     Overall Heat Transfer Coefficient U, Journal of Heat Transfer, Vol. 135, paper
     no. 061102, 2013.

   o J.M. Gorman, M. Carideo, E.M. Sparrow, and J.P. Abraham, Heat Transfer and
     Pressure Drop Comparison of Louver- and Plain-finned Heat Exchangers Where

                                     -5-
      Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 8 of 461




             One Fluid Passes Through Flattened Tubes, Case Studies in Thermal
             Engineering, Vol. 5, pp. 122-126, 2015.

         o D. Nguyen, J. M. Gorman, E.M. Sparrow, and J.P. Abraham, Convective Heat
           Transfer Enhancement Versus Disenhancement: Impact of Fluid-Mover
           Characteristics, Applied Thermal Engineering, Vol. 90, pp. 242-249, 2015.

         o J.M. Gorman, E., M. Sparrow, J.P. Abraham, W.J. Minkowycz, Heat Transfer
           Design Methodology Treating a Heat Exchanger Device and its Fluid-Mover
           Partner as a Single System, Heat Transfer Engineering, Vol. 38, pp. 841-852,
           2017.


15.   Over the past 20 years, I have served as a consultant to numerous companies to aid in the

      design or evaluation of fluid flow systems for electronics cooling. Examples of these

      companies include ADC Telecom (2000), MicroControl Company (2001), Lockheed

      Martin, (2007), and Medtronic (2012).

16.   I have performed my own studies of cooling of electronics, including computer systems

      and Central Processing Units (“CPUs”).

17.   I teach or have taught courses that cover flow, heat transfer, and thermal management of

      electronics. I teach both graduate and undergraduate courses. Each semester I train

      students to solve problems related to the cooling of heat-generating devices such as CPUs.

18.   As part of my education, I have taken courses in thermodynamics, fluid mechanics, and

      heat transfer (as part of my undergraduate and graduate degrees).

19.   A representative sample of the journals I have published in include International Journal

      of Heat and Mass Transfer, International Journal of Heat and Fluid Flow, Numerical Heat

      Transfer, Advances in Heat Transfer, Journal of Thermal Science and Engineering

      Applications, Frontiers in Heat Transfer, Applied Thermal Engineering, Journal of Fluids

      Engineering, Journal of Heat Transfer, Journal of Heat Transfer Engineering, as

      examples.

                                              -6-
          Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 9 of 461




20.        A full list of my research works is provided in my CV, which is attached to this report as

           Appendix A.



III.       MATERIALS CONSIDERED

21.        In addition to my experience in this field as summarized above, the materials that I have

           considered in forming the opinions set forth in this report include all references cited in
                                                                                                 1
           this report as well as the list of materials attached as Appendix B to this report.



IV.        APPLIED LEGAL STANDARDS

22.        I am not a lawyer or legal expert, and I am not offering any opinions regarding the law.

           Although I am not an attorney, I have been instructed on the applicable law by counsel for

           CoolIT and informed by my previous experience as an expert witness in other patent

           matters as described in my CV attached hereto. I have also been provided with the Court’s

           orders and opinions regarding claim construction, and I have applied those constructions

           in formulating my opinions.




1
      I understand that CoolIT has submitted expert declarations from Marc Hodes, Ph.D. in
       IPR2020-00522 and IPR2020-00523 and from Himanshu Pokharna, Ph.D. in IPR2021-01195
       and IPR2021-01196 to address subject matters that overlap with those being discussed in my
       report here (e.g., same or similar claim scopes or limitations, same prior art references, etc.).
       I have carefully reviewed one or more of Dr. Hodes’s and Dr. Pokharna’s declarations
       (IPR2020-00522, Exs. 1003 and 1020; IPR2020-00523, Exs. 1003 and 1012; IPR2021-
       01195, Ex. 1003; and IPR2021-01196, Ex. 1003) and have adopted materials from their
       declarations, to the extent I agree with, in this report.

                                                     -7-
      Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 10 of 461




      A.     Claim Construction

23.   I understand that there are two types of claims: independent claims and dependent claims.

      I understand that an independent claim stands alone and includes only the limitations it

      recites. I understand that a dependent claim, on the other hand, is a claim that depends on

      another claim. I understand that dependent claims include all of the limitations recited in

      the dependent claim as well as any limitations included in the corresponding independent

      claim the dependent claims depend from.

24.   I understand that, before making a determination of whether the asserted claims are valid,

      the claims must be construed on a limitation-by-limitation basis. I understand that the Court

      has construed some terms or phrases as a matter of law. I understand that claim terms not

      construed by the Court are to be afforded their plain and ordinary meaning as used in the

      claims and as would be understood by one of ordinary skill in the art at the time of the

      invention. I understand that this person of ordinary skill in the art at the time of the

      invention is assumed to have read the claim terms in light of the entire patent record,

      including the other claims, the patent specification, and the patent prosecution history. I

      have interpreted the claim terms not construed by the Court in light of this understanding.

25.   I understand that to properly understand the meaning of claim terms, one should first

      consider the intrinsic evidence, which includes the claim language itself, the patent

      specification, and the patent’s prosecution or post-issuance history created before the

      Patent Office. For example, the patent specification may show that the inventor used words

      or terms in a manner inconsistent with their plain and ordinary meaning. Specifically, I

      understand that where the specification reveals a special definition given to a claim term

      by the patentee that differs from the meaning it would otherwise possess, the inventor’s



                                               -8-
      Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 11 of 461




      lexicography governs. I understand that the prosecution history of the patent may also

      provide guidance in construing a claim term. For example, the prosecution history may

      show that the patent applicant has limited the scope of some or all of the claims during

      prosecution, either affirmatively or by implication.

26.   I understand that if the intrinsic evidence is not conclusive regarding the meaning of a

      particular claim term, extrinsic evidence may also be used to determine its meaning. I

      understand that extrinsic evidence may be used, for example, to help determine what a

      person of ordinary skill in the art at the time of the invention would understand the claim

      term to mean. Extrinsic evidence may include, for example, dictionaries, technical

      treatises, journals, articles, or expert testimony.



      B.      Claim Construction Issued in this Case

27.   I understand that the following terms or phrases have been construed by the Court or

      stipulated to by the parties in this case for the ’362, ’196, ’601, ’354, and ’355 patents

      (collectively “asserted patents”). I have applied these constructions in my analysis.

                Term or Phrase                                   Construction
                    “reservoir”                       “single receptacle defining a fluid flow
                                                                       path”
                    “chamber”                           “compartment within the reservoir”

              “double-sided chassis                             “two-sided frame”

                      “stator”                          “stationary parts of the motor that
                                                        perform or support an electrical or
                                                         magnetic function of the motor”
       “either a first end or a second end of      “either the first end or the second end of
         the thermal exchange chamber”                  the thermal exchange chamber”
        “direct the cooling liquid from the                 Plain and ordinary meaning
      central region toward the perimeter of
                the lower chamber”

                                                -9-
      Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 12 of 461




      C.     Presumption of Validity

28.   I understand that, in deciding whether to issue a patent, the United States Patent and

      Trademark Office (“USPTO”) examines the patent specification, its claims, and relevant

      prior art references to determine whether the patent application and its claims meet the

      requirements for patentability. I understand that the law recognizes that claims issued by

      the USPTO are presumed valid. I also understand that this presumption of validity can only

      be overcome if the party seeking to invalidate the claim proves that the claim is invalid by

      clear and convincing evidence.



      D.     Anticipation by Prior Art Under Sections 102(a), (b), and (e)

29.   I understand that a person cannot obtain a patent if someone else already made an identical

      invention, which is referred to as “anticipation.” I understand that to anticipate a claim,

      each and every element in the claim must be, as properly construed, present in a prior art

      reference either expressly or inherently.

30.   I understand that, in determining whether an element of the claimed invention is found

      expressly in the prior art, one should take into account what a person of ordinary skill in

      the art would have understood from his or her examination of the particular prior art. I

      understand that to establish anticipation through inherency, the extrinsic evidence must

      make clear that the missing descriptive matter is necessarily present in the thing described

      in the reference, and that it would be so recognized by persons of ordinary skill in the art.

      E.     Obviousness Under Section 103

31.   I understand that, for a claim to be invalid as obvious, the party asserting invalidity must

      identify prior art references that alone or in combination with other prior art references



                                              -10-
      Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 13 of 461




      would have rendered the claim obvious to one of ordinary skill in the art at the time of the

      invention. I understand that the disclosures of these references also may be combined with

      information known to persons skilled in the art at the time of the invention, and understood

      and supplemented in view of the common sense of persons skilled in the art at the time of

      the invention, including any statements in the asserted patents and in the intrinsic record of

      the asserted patents and related applications. I understand that obviousness is a question

      of law based on underlying factual findings: (1) the scope and content of the prior art; (2)

      the differences between the claims and the prior art; (3) the level of ordinary skill in the

      art; and (4) secondary considerations of non-obviousness.

32.   I understand that a conclusion of obviousness may be based on a combination of prior art

      references, particularly if the combination of elements does no more than yield predictable

      results. I understand that it can be important to identify a reason that would have prompted

      a person of ordinary skill in the relevant field to combine the elements in a way the claimed

      invention does.

33.   I understand that in determining whether a combination of prior art references renders a

      claim obvious, it may be helpful to consider whether there is some teaching, suggestion, or

      motivation to combine the references and a reasonable expectation of success in doing so.

      I understand, however, that the teaching, suggestion, or motivation to combine inquiry is

      not required and may or may not be relied upon in lieu of the obviousness analysis outlined

      above.

34.   I understand that the following exemplary rationales may lead to a conclusion of

      obviousness: the combination of prior art elements according to known methods yields

      predictable results; the substitution of one known element for another obtains predictable



                                              -11-
      Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 14 of 461




      results; the combination of prior art elements consists of choosing from a finite number of

      identified, predictable solutions, with a reasonable expectation of success (“obvious to

      try”); and the use of known techniques to improve similar devices in the same or similar

      way. For example, I understand that the fact that another person contemporaneously and

      independently created the same invention claimed in an asserted patent can serve as an

      indication that the invention was obvious.

35.   I understand that in evaluating whether patent claims are invalid as obvious, secondary

      considerations of non-obviousness are considered. I understand that the secondary

      considerations of non-obviousness are considered with the balance of obviousness

      evidence in the record to act as a check against impermissible hindsight bias. I further

      understand that the patentee must establish a nexus between the merits of the claimed

      invention and the evidence of non-obviousness in order to give such considerations

      substantial weight in the determination of non-obviousness.

36.   I understand that the burden of presenting evidence of secondary considerations of non-

      obviousness is on the patentee. I also understand that the proponent of the evidence of

      secondary considerations bears the burden of showing that a nexus exists between the

      claimed features of the invention and the objective evidence offered to show non-

      obviousness.

37.   I understand that the secondary considerations of non-obviousness include commercial

      success, long-felt but unsolved needs, copying, praise, teaching away from the claimed

      invention by the prior art, unexpected results, industry acceptance, failure of others, and

      skepticism by experts.




                                             -12-
      Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 15 of 461




      F.     Obviousness-Type Double Patenting

38.   I understand that the doctrine of obviousness-type double patenting prohibits claims in a

      second patent which define merely an obvious variation of an invention claimed by the

      same inventor in an earlier patent. I understand that the object of the doctrine of double

      patenting is to prevent the unjustified or improper extension of a patent, or of obvious

      variations on it, beyond its term. For example, if a later-expiring patent is merely an

      obvious variation of an invention disclosed and claimed in an earlier-expiring patent, the

      later-expiring patent is invalid for obviousness-type double patenting. I understand that a

      terminal disclaimer is a permissible means to overcome the prohibition on double patenting

      when it aligns the expiration dates of an inventor’s several patents that claim mere obvious

      variations of the same invention to create a single term of limited exclusivity.



      G.     Section 112 (Written Description / Enablement)

39.   I understand that patent claims can be invalid if the patent specification fails to comply

      with the written description and enablement requirements of 35 U.S.C. § 112. (“The

      specification shall contain a written description of the invention, and of the manner and

      process of making and using it, in such full, clear, concise, and exact terms as to enable

      any person skilled in the art to which it pertains, or with which it is most nearly connected,

      to make and use the same . . .”).

40.   I understand that to satisfy the written description requirement, a patent specification must

      describe the claimed invention in sufficient detail that one skilled in the art can reasonably

      conclude that the inventor had possession of the full scope of the claimed invention at the

      time of filing the patent application.



                                               -13-
      Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 16 of 461




41.   I understand that to satisfy the enablement requirement, a patent specification must teach

      those skilled in the art how to make and use the full scope of the claimed invention without

      undue experimentation. I also understand that it is the specification, not the knowledge of

      one skilled in the art, that must supply the novel aspects of an invention in order to

      constitute adequate enablement and that the patentee is required to provide an adequate

      enabling disclosure in the specification and cannot simply rely on the knowledge of a

      person of ordinary skill in the art to serve as a substitute for missing information in the

      specification.



      H.     Inequitable Conduct

42.   I understand that patent applicants, prosecution counsel, and patent owners appearing

      before the USPTO owe a duty of candor and good faith to the USPTO, such as during

      prosecution of a patent. I understand that a breach of this duty may constitute inequitable

      conduct if an applicant, with intent to mislead or deceive the USPTO, fails to disclose

      material information or otherwise engages in egregious misconduct such as submitting

      materially false information to the USPTO during prosecution of a patent. I further

      understand that a reference is material if the patent examiner would not have allowed a

      claim during prosecution of the patent had the examiner been aware of the undisclosed

      prior art. I reserve my right to opine on the unenforceability of the asserted patents.



V.    PERSON OF ORDINARY SKILL IN THE ART

43.   I understand that a Person of Ordinary Skill in the Art (“POSA”) is a hypothetical person

      who is assumed to be aware of all pertinent art, thinks along conventional wisdom in the



                                              -14-
      Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 17 of 461




      art, and is a person of ordinary creativity. Hereafter, when I use the term “POSA,” it refers

      to a POSA at the time of the invention.

44.   After reviewing the already-mentioned materials, my opinion is that the relevant art

      pertains to fluid flow (gases and liquids), devices that cause fluid flow, heat transfer, and

      thermal management of electronics or other heat-generating devices.

45.   In determining who would be a POSA, I considered at least the following criteria: (a) the

      types of problems encountered in the art, (b) prior art solutions to those problems, (c) the

      rapidity with which innovations are made; (d) the sophistication of the technology; and (e)

      the education level of active workers in the field.

46.   In my opinion, a Person having Ordinary Skill in the Art (POSA) at the time of the effective

      filing dates of the asserted patents would have been trained or knowledgeable regarding

      liquid cooling systems for computer and/or similar systems, would have earned at least a

      bachelor’s degree, such as a B.S. (bachelor of science), or equivalent thereof, in electrical

      or mechanical engineering or a closely related field (involving, e.g., heat transfer, fluid

      flow, and/or thermodynamics, etc.), and would have possessed at least two or three years

      of industrial or other professional experience in liquid cooling systems for computer

      systems or in similar systems involving heat transfer.



VI.   TECHNOLOGY BACKGROUND FROM THE ASSERTED PATENTS.

47.   The asserted patents deal with thermal management of heat generating devices, such as

      electronics components used in computer systems.

48.   The ’196 patent issued on March 24, 2020, from Application No. 15/991,384, which was

      filed on May 29, 2018 and claiming a priority date of May 6, 2005. I have used



                                                -15-
      Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 18 of 461




      May 6, 2005 as the priority date for this patent for purposes of this report, but I am not

      offering an opinion as to whether or not the asserted claims are entitled to this priority date.

49.   The ’601 patent issued on April 7, 2020 from Application No. 15/991,375, which was filed

      on May 29, 2018 and claiming a priority date of November 8, 2004. I have used

      November 8, 2004 as the priority date for this patent for purposes of this report, but I am

      not offering an opinion as to whether or not the asserted claims are entitled to this

      priority date.

50.   The ’362 patent was issued on August 14, 2012 from Application No. 12/826,768, which

      was filed on June 30, 2010 and claiming a priority date of November 7, 2003. I have used

      November 7, 2003 as the priority date for this patent for purposes of this report, but I am

      not offering an opinion as to whether or not the asserted claims are entitled to this

      priority date.

51.   The ’355 patent issued on September 18, 2018, from Application No. 15/626,706, which

      was filed on June 19, 2017 and claiming a priority date of May 6, 2005. I have used

      May 6, 2005 as the prior date for this patent for purposes of this report, but I am not offering

      an opinion as to whether or not the asserted claims are entitled to this priority date.

52.   The ’354 patent issued on September 18, 2018 from Application No. 15/626,393, which

      was filed on June 19, 2017 and claiming a priority date of November 8, 2004. I have used

      November 8, 2004 as the priority date for this patent for purposes of this report, but I am

      not offering an opinion as to whether or not the asserted claims are entitled to this

      priority date.

53.   The asserted patents discuss different strategies to cool heat-generating components, such

      as computer processors. A first method utilizes air to remove heat from the components, as



                                               -16-
      Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 19 of 461




      shown here. With an air flow system, typically a heat sink or fins arranged in an array are

      attached to a heat-generating device. Heat conducts into the fins and then passes into air

      that is blown by a fan through the fin array.




                                       ’196 patent, Fig. 1



54.   Another way to cool electronic components is to use liquid as an intermediary. Liquid,

      because of its superior heat transfer capabilities compared to gases, is routed to the heat-

      generating components. The heat is transferred into the liquid. The liquid is then brought

      to a radiator at which location air is blown over the liquid’s tubing. Consequently, heat is

      transferred from the liquid to an airstream. Next, the liquid travels to a (prior-art) liquid

      reservoir and a pump that causes the liquid to flow in its tubing. These components are

      described in the following image, which is taken from the ’196 patent.




                                              -17-
      Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 20 of 461




                                    ’196 patent, Figure 3

55.   The asserted patents claim to provide improvements to the prior art because of their

      compact size and cooling efficiency. As shown in the following image, the asserted patents

      describe a fluid reservoir that is in close proximity to the heat-generating component. In

      the subsequent image, there is a depiction of the reservoir (14) in proximity to a heat-

      generating component and a radiator (11) that is connected to the reservoir by fluid-

      conveying tubes. Heat that is transferred to the liquid at the heat-generation location is

      subsequently removed from the liquid at the radiator.




                                             -18-
Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 21 of 461




                        ’196 patent Figure 4




                        ’196 patent Figure 7




                               -19-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 22 of 461




56.    The asserted patents claim that the patented technology provides a small and compact

       liquid-cooling solution that is more efficient than existing air-cooling arrangements and

       can be produced at a low cost. The asserted patents also claim that the patented device may

       be easy to use and implement and requires a low level of maintenance, or no maintenance.

       It is further asserted that the patented device can be used with existing CPU systems and

       existing computer systems (e.g., ’196, col 1, lines 57-67; ’362 col. 1 line 53-63; ’601 col

       1, line 62 through col. 2, line 5).



VII.   ANALYSIS OF VALIDITY OF THE ’362 PATENT PURSUANT TO 35 U.S.C. § 103

57.    I have considered the following prior-art references and their combinations in forming my

       opinions on invalidity of claims 17 and 19 of the ’362 patent pursuant to § 103:

            x   U.S. Patent, 6,894,899 (Wu)

            x   U.S. Patent 6,019,165 (Batchelder)

            x   JP 2002-151638 (Shin)

            x   KR 2003-0031027 (Ryu)

            x   U.S. Patent Application 2004/0052663 (Laing)

            x   ZL 02241576.9Y (Yu)

58.    It is my opinion that claims 17 and 19 of the ’362 patent are invalid by obviousness under

       the following grounds:

        Ground Combination

        1           Shin in view of Wu (claims 17 and 19)

        2           Shin in view of Batchelder (claims 17 and 19)

        3           Shin in view of Laing (claims 17 and 19)


                                              -20-
      Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 23 of 461




        Ground Combination

        4          Ryu in view of Wu (claims 17 and 19)

        5          Ryu in view of Batchelder (claims 17 and 19)

        6          Batchelder in view of Shin (claims 17 and 19)

        7          Batchelder in view of Ryu (claims 17 and 19)

        8          Batchelder in view of Wu (claims 17 and 19)

        9          Yu in view of Wu (claims 17 and 19)



59.    The asserted claims of the ’362 patent are recited below. Claim 18 is included because

       asserted claim 19 depends from it.



Claim 17 preamble: A method of operating a liquid cooling system for an electronic component

positioned on a motherboard of a computer system, comprising:



17(a) separably thermally coupling a heat exchanging interface of a reservoir with the electronic

component positioned at a first location on the motherboard, the reservoir including an upper

chamber and a lower chamber, the upper chamber and the lower chamber being separate

chambers that are vertically spaced apart and separated by at least a horizontal wall, the upper

chamber and the lower chamber being fluidly coupled by one or more passageways, at least one

of the one or more passageways being positioned on the horizontal wall, the heat exchanging

interface being removably coupled to the reservoir such that an inside surface of the heat

exchanging interface is exposed to the lower chamber of the reservoir;




                                              -21-
      Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 24 of 461




17(b) positioning a heat radiator at a second location horizontally spaced apart from the first

location, the heat radiator and the reservoir being fluidly coupled together by tubing that extends

from the first location to the second location;



17(c) activating a pump to a [sic] circulate a cooling liquid through the reservoir and the heat

radiator, the pump including a motor and an impeller having curved blades, the impeller being

positioned in the reservoir; and



17(d) activating a fan to direct air through the heat radiator, the fan being operated by a motor

separate from the motor of the pump.



Claim 18: The method of claim 17 wherein activating the pump includes circulating cooling

liquid between the upper and lower chambers of the reservoir



Claim 19: The method of claim 18, wherein circulating the cooling liquid between the upper and

lower chambers includes passing the/ cooling liquid from the upper chamber to the lower

chamber through a single passageway of the one or more passageways.



A.     Ground 1 – Shin in View of Wu

60.    It is my opinion that Shin, in view of Wu and in view of the knowledge of a POSA,

       renders claims 17 and 19 of the ’362 patent invalid.




                                                  -22-
      Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 25 of 461




Claim 17 preamble: A method of operating a liquid cooling system for an electronic component

positioned on a motherboard of a computer system, comprising:



61.    It is my understanding that the preamble to claim 17 is not limiting. But, to the extent the

       preamble is determined to be limiting, Shin discloses or teaches this preamble. Shin

       discloses or teaches a method of operating a liquid cooling system for an electronic

       component positioned on a motherboard of a computer system.

62.    The title of Shin is “COOLING DEVICE FOR ELECTRONIC EQUIPMENT.”

63.    The abstract of Shin clearly states that it is a liquid cooling system. The abstract states “A

       cooling structure for compactly mounting a liquid cooled heat sink and pump inside a

       case.”

64.    Shin makes clear that it is intended to be used for cooling electronic components

       positioned on the motherboard of a computer system; as evidenced by the following

       representative but non-exhaustive passages.




                                            Shin [0007]




                                                -23-
Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 26 of 461




                         Shin [0008-0011]




                           Shin [0012]




                           Shin [0013]




                               -24-
      Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 27 of 461




                                           Shin [0030]



65.   To the extent this preamble was not disclosed or taught by Shin, it would have been

      obvious in view of the knowledge of a POSA. Liquid cooling systems for electronic

      components on a motherboard of a computer system are commonly encountered by

      POSAs working on thermal management of electronics. This is shown by the following

      figures, which were cited as prior art in the asserted patents:




                                         ’362 Figure 3, prior art




                                               -25-
      Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 28 of 461




66.   To the extent this preamble was not disclosed or taught by Shin in view of the knowledge

      of a POSA, it was disclosed or taught by Wu. The title of Wu is “INTEGRATED FLUID

      COOLING SYSTEM FOR ELECTRONIC COMPONENTS.”

67.   The Wu abstract confirms this focus, as shown here:




                                        Wu Abstract




                                 Wu Column 1 lines 12-17




                                 Wu, Column 2 lines 64-67




                                            -26-
Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 29 of 461




                       Wu Column 3, lines 1-7




                       Wu Col. 3, lines 47-54




                       Wu Col 4, lines 10-37

                                -27-
      Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 30 of 461




68.    Wu also discloses the Preamble in its depicted embodiments. For instance, as shown

       below. A POSA would have been motivated to use a liquid cooling system to provide

       cooling to an electronic heat-generating device. Liquid cooling is a very effective way of

       removing heat from a device and transferring the heat to a distant location. Liquid

       cooling is more efficient than other cooling methods, for example air cooling.




                                         Wu – Figure 1

17(a) … a reservoir … the reservoir including an upper chamber and a lower chamber, the upper

chamber and the lower chamber being separate chambers that are vertically spaced apart and

separated by at least a horizontal wall, …

69.    As discussed above, it is my understanding that the parties have stipulated to the following

       construction for “reservoir”: “single receptacle defining a fluid flow path.” The claim

       language also requires the “reservoir” to include “an upper chamber and a lower chamber.”

       To the extent Shin does not disclose these limitations, they would have been obvious in

       view of the experience, education, and training of a POSA. This is because a POSA would

                                               -28-
    Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 31 of 461




     have been motivated to rotate the pump/impeller case of Shin’s Figure 2 by 90 degrees to

     improve its thermal and hydraulic performance, as shown in the following two images.




Shin’s original orientation of pump 5/impeller case 11’s coolant discharge section 7 (outlet),
      horizontal and separate from the water supply coupler 9 (inlet) of the heat sink 4




Shin’s rotated orientation of pump 5/impeller case 11’s coolant discharge section 7 (outlet),
      vertical and integrated with the water supply coupler 9 (inlet) of the heat sink 4




                                            -29-
    Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 32 of 461




Shin’s original orientation of pump 5/impeller case 11’s coolant discharge section 7 (outlet),
      horizontal and separate from the water supply coupler 9 (inlet) of the heat sink 4




Shin’s rotated orientation of pump 5/impeller case 11’s coolant discharge section 7 (outlet),
      vertical and integrated with the water supply coupler 9 (inlet) of the heat sink 4
                                  (another way to look at it)
                                            -30-
        Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 33 of 461




      (Schematic of cross-sectional view of the single-receptacle “reservoir” of modified Shin)


70.      With such a simple rotation, a POSA would have understood that the upper chamber (the

         impeller case 11 of the pump 5) and lower chamber (the heat sink 4) of Shin can then be

         constructed integrally into a one-receptacle plastic structure using, for example, injection

         molding to include the claimed upper and lower chambers in a “single receptacle defining

         a fluid flow path,” with the chambers still vertically spaced apart and separated by at least

         a horizontal wall, as shown above. The images above show the original and rotated

         orientation of the upper chamber of the two-chamber reservoir of Shin. In particular, after

         the rotation, the coolant discharge section 7, or the outlet, of the impeller case 11 of the

         pump 5 (i.e., the claimed upper chamber) can be integrated with the water supply coupler

         9, or the inlet, of the heat sink 4 (i.e., the claimed lower chamber). That is, a POSA would

         have known how to and been motivated to modify Shin with this simple rotation to create

         a one-receptacle structure, i.e., a “reservoir” as stipulated to by the parties.

71.      Rotating a cylindrical liquid pump as shown above would have been a trivial and routine

         exercise for a POSA. As an expert, who also satisfies the qualifications of a POSA, I have

         reoriented many, many pumps in my career by rotation. A POSA would have known that

         rotating a pump would lead to expected and successful results. Furthermore, a POSA would

                                                   -31-
Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 34 of 461




have been motivated to reorient the pump as shown above and below because such

reorientation would eliminate the need for a connection tubing (hose 6) having two

potential locations for leaks (the coupling between the coolant discharge section 7, i.e., the

outlet of the pump 5/impeller case 11, and one end of the hose 6, and the coupling between

the other end of the hose 6 and the water supply coupler 9, i.e., the inlet, of the heat sink

4). Additionally, directing the fluid from the upper chamber to the lower chamber directly

inside a one-receptacle structure without going through separate tubing and couplings

would improve heat transfer and performance of the system. It would also simplify the

assembly and the system and reduces the number of components. The practice of reducing

parts in a designed assembly is standard for engineers and follows the principles of Design

For Manufacturability and Assembly (DFMA). A POSA would have known this and been

motivated to practice this.




                              Shin – rotated with annotation




                                          -32-
        Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 35 of 461




                                                                        Upper chamber




              Horizontal
                wall



           Lower
            h b



                     Shin – rotated with annotation 9 (another way to look at it)




      (Schematic of cross-sectional view of the single-receptacle “reservoir” of modified Shin)

72.      Now, the two-chamber “reservoir” of Shin, as modified, has an upper chamber and a lower

         chamber that are separate chambers that are vertically spaced apart and separated by a

         horizontal wall, as shown above. In sum, Shin discloses or teaches this limitation.

separably thermally coupling a heat exchanging interface of a reservoir with the electronic

component positioned at a first location on the motherboard …

73.      Shin’s cooling system couples a heat exchanging interface of a reservoir in the modified

         Shin device as discussed above separably with electronic components positioned at a first

                                                -33-
Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 36 of 461




location on the motherboard. The coupling between the heat exchanging interface and the

electronic component positioned on the motherboard is separable because a POSA would

have known that such thermal coupling is accomplished by pressure and thermal grease or

paste and is removable. The following images from Shin display liquid pumps, heat

exchanging interfaces, electronic components, and motherboards.




     Shin Figure 2 (with the upper and lower chambers modified as follows)




                                     -34-
  Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 37 of 461




                                                         Upper chamber



               Horizontal
                 wall


          Lower chamber




                             (See paragraphs 69-72 above)




(Schematic of cross-sectional view of the single-receptacle “reservoir” of modified Shin)




                                     Shin Figure 3


                                          -35-
      Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 38 of 461




                                         Shin Figure 4



74.   Shin discloses the use of thermally conductive compound (21) that is used to ensure a

      separable thermal contact at the heat exchanging surface at the interface between the

      reservoir and the electronic component.

75.   Shin also describes its heat exchanger as “in thermal contact” with the heat generating

      components, as seen in Claim 1:




                                         Shin Claim 1



76.   Thermal contact is further discussed in Shin, as here:



                                             -36-
      Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 39 of 461




                                         Shin [0012]

77.   To the extent this limitation was not disclosed or taught by Shin, it would have been

      obvious to a POSA based on her experience, education, and training. A POSA working

      on thermal management of computers and electronics routinely would implement heat

      exchanging interfaces that are separably coupled to electronic components on

      motherboards. This is shown in the following image, which was prior art in the

      asserted patents.




                                        ’362 patent, Figure 3

                                             -37-
      Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 40 of 461




78.   As an expert, who also satisfies the qualifications of a POSA, I have designed, used, and

      analyzed devices which are brought into separable thermal contact with heat-generating

      components. I also teach undergraduate and graduate students about thermal contact and

      its importance. A POSA would have been motivated to has a separable thermal coupling

      heat exchanging interface of a reservoir with an electronic component. Thermal coupling

      reduces the thermal resistance and lower temperatures of the electronic components. In

      addition, a separable connection simplifies assembly and replacement of parts upon

      failure.

79.   To the extent that this limitation was not disclosed or taught by Shin in view of the

      knowledge of a POSA, it was disclosed or taught by Wu. For instance, Wu discloses a

      separably thermally coupling a heat exchanging interface of a reservoir with an electronic

      component positioned on a motherboard; as discussed already and shown below.




                                         Wu, Figure 1




                                              -38-
      Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 41 of 461




… the upper chamber and the lower chamber being fluidly coupled by one or more passageways,

at least one of the one or more passageways being positioned on the horizontal wall, the heat

exchanging interface being removably coupled to the reservoir such that an inside surface of the

heat exchanging interface is exposed to the lower chamber of the reservoir.




                                                                     Upper chamber




            Horizontal
              wall




        Lower chamber




                                              -39-
        Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 42 of 461




      (Schematic of cross-sectional view of the single-receptacle “reservoir” of modified Shin)



80.      As shown in the preceding images, the modified Shin system has an upper chamber and a

         lower chamber that are fluidly coupled by one or more passageways (e.g., one passage way

         7 that is now integrated with both the upper chamber and the lower chamber) with the at

         least one passageway being positioned on the horizontal wall (e.g., the at least one passage

         way 7 that is now integrated with both the upper chamber and the lower chamber is also

         positioned on the horizontal wall). Furthermore, the heat exchange interface is removably

         coupled to the reservoir such that an inside surface of the heat exchange interface is

         exposed to the lower chamber of the reservoir, as explained below. In the image below, the

         heat exchanging surface is the bottommost surface of the lower chamber (heat sink 4); its

         inner side is exposed to the lower chamber of the reservoir.




                                                 -40-
  Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 43 of 461




                                                                Upper chamber




         Horizontal
           wall



       Lower
        h b




(Schematic of cross-sectional view of the single-receptacle “reservoir” of modified Shin)


                                          -41-
      Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 44 of 461




81.   To the extent this was not disclosed or taught based on Shin, it would have been obvious

      to a POSA in view of her experience, education, and training. To couple two integrated

      fluid chambers by one or more passages between the chambers would have been evident

      and trivial for a POSA. Furthermore, a POSA would have known that a heat exchanging

      interface would be removably coupled to a fluid reservoir. I have worked with such

      systems multiple times in my own career. This coupling facilitates heat transfer by reducing

      thermal resistance; reducing thermal resistance is obvious to a POSA and is a standard

      topic taught to undergraduate students in engineering.

82.   It would have been obvious to a POSA that the heat exchanging interface, though coupled

      to the lower chamber that is part of the single-receptacle reservoir, is removable at least

      during manufacturing of the cooling device. This is because the one-receptacle structure

      (i.e., the “reservoir”) that includes both the upper chamber and the lower chamber in the

      modified Shin device must be open below for, e.g., the injection mold to form the lower

      chamber of the one-receptacle structure. As a result, the heat exchanging interface must

      be later installed at the bottom of the lower chamber via, for example, screws, for

      manufacturability reasons – that is, the heat exchanging interface is removably attached to

      the lower chamber of the reservoir. Further, the one-receptacle structure forming the

      single-receptacle reservoir is often made of plastic, while the heat exchanging interface is

      often made of copper. That is, the reservoir and the heat exchanging interface are often

      made of different materials, and a POSA would have known one easy way to couple them

      is using screws. A POSA would have known that obviously coupling accomplished by

      screws are typically removable. Also, since materials expand when their temperature

      increases, a POSA would have known that dissimilar materials, if rigidly connected, would



                                              -42-
      Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 45 of 461




      incur unwanted thermal stress, which makes it further obvious why the heat exchanging

      interface in the modified Shin device is removably coupled to the reservoir.

83.   This limitation would have been further obvious based on Wu. Wu teaches a heat

      exchanging interface with heat exchanging surface removably coupled to the reservoir such

      that the inside surface of the heat exchanging interface is exposed to the reservoir.




                                         Wu, Figure 1




                                              -43-
      Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 46 of 461




                                         Wu Figure 3



84.   Reading Wu’s Figure 1 as shown below, a POSA also would have understood that the heat

      exchanging interface is removably coupled to the reservoir. This is because the heat

      exchanging interface in Wu is made of a different material than that of Wu’s reservoir –

      the cross-hatching of the heat exchanging interface 104 is different from the empty inside

      representation of the reservoir’s cross-section. A POSA would have understood this

      difference means the reservoir and the heat exchanging interface are made of different

      materials, with the reservoir often made of plastic and the heat exchanging interface often

      made of copper. As mentioned above, a POSA would have understood an easy way to

      couple them together is through the use of screws, which will create a removable coupling

      between them. Thus, a POSA would have known that the heat exchanging interface,

      although attached to the reservoir, is removable or detachable in Wu. In sum, a POSA

      would have been motivated to have an upper and lower chamber coupled by one or more


                                             -44-
      Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 47 of 461




       passages and with a heat exchanging removably coupled to the reservoir such that the

       inside surface of the heat exchanging surface is exposed to the lower chamber of the

       reservoir, as also disclosed or taught by Wu. Such a design effectively routes the cooling

       fluid to the heated region and reduces the thermal resistance presented by the heat

       exchanging surface.




                                          removably coupled


                                      Wu, Figure 1 (excerpt)

17(b) positioning a heat radiator at a second location horizontally spaced apart from the first

location, the heat radiator and the reservoir being fluidly coupled together by tubing that extends

from the first location to the second location;

85.    Shin discloses a heat radiator at a second location horizontally spaced apart from the first

       location. The radiator and reservoir of Shin are fluidly coupled by tubing (26).




                                                  -45-
      Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 48 of 461




                                              Shin Figure 4




86.   To the extent this was not disclosed or taught based on Shin alone, it would have been

      obvious based on the experience, education, and training of a POSA. A POSA would

      have understood that using a radiator is the standard means to extract heat from the liquid

      coolant. It would have been a routine exercise for a POSA working on thermal

      management of electronics to use a heat radiator that is spaced apart from a reservoir and

      fluidly coupled with the reservoir by tubing. In fact, I have worked with such systems

      numerous times, and I instruct undergraduate and graduate students on the design and

      analysis of such systems. This is supported by the following image, which was provided

      as prior art in the asserted patents.




                                                  -46-
      Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 49 of 461




                                         ’362 patent, Figure 3



87.   To the extent this was not disclosed or taught by Shin, it would have been obvious in view

      of Wu. For instance, Wu’s Figures 6 and 7, for example, teach a heat radiator at a second

      location that is horizontally spaced apart from the first location, the radiator and the

      reservoir being fluidly coupled by tubing that extends from the first location to the second

      location. A POSA would have been motivated to use a radiator positioned at a second

      location horizontally spaced apart from the first location and fluidly connected by tubing.

      Such an arrangement allows the heat to be transferred away from the electronic components

      and to the ambient environment. Horizontal tubing orientation, when possible, is often

      preferred because it minimizes pressure losses within a flow.




                                              -47-
Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 50 of 461




                           Wu, Figure 1




                           Wu, Figure 6




                               -48-
      Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 51 of 461




                                          Wu, Figure 7

17(c) activating a pump to a [sic] circulate a cooling liquid through the reservoir and the heat

radiator, the pump including a motor and an impeller having curved blades, the impeller being

positioned in the reservoir; and

88.    Shin discloses the claimed pump that circulates a cooling liquid through the reservoir and

       the heat radiator. Shin’s pump (5) circulates the liquid through the reservoir and the heat

       radiator. The motor of the pump is identified as (12).




                                               -49-
Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 52 of 461




    Shin Figure 2 (with the upper and lower chambers modified as follows)




                                                           Upper chamber




    Horizontal
      wall




 Lower chamber




                                    -50-
        Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 53 of 461




      (Schematic of cross-sectional view of the single-receptacle “reservoir” of modified Shin)



89.      To the extent this limitation was not disclosed or taught in Shin, which, e.g., does not

         disclose or teach a curved blade expressly, it would have been obvious to a POSA based

         on her experience, education, and training. Using a pump to circulate a cooling liquid

         through a reservoir and a heat radiator with a motor and a curved-blade impeller that is

         positioned in the reservoir would have been routinely encountered by a POSA who

         worked on thermal management of electronics around the time of the claimed invention.

         In fact, I have worked with such systems many times in my research and teaching

         activities. A POSA would have been motivated to implement this in Shin because curved

         bladed impellers positioned in liquid reservoirs are common and simple means of

         providing liquid propulsion through the system. A POSA would have known that curved

         blades result in different thermal and fluid performance than straight blades. Further, a

         POSA would have known how to select between curved and straight blade systems. Due

         to the fluid dynamics of impellers, a POSA would have understood that curved blades

         often work better than straight blades in terms of efficiency.

90.      To the extent this limitation was not disclosed or rendered obvious by Shin, it would have

         been obvious in view of Wu, which discloses or teaches this limitation.

                                                 -51-
      Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 54 of 461




91.   For instance, Wu discusses activating a pump to circulate cooling liquid through the

      reservoir and the heat radiator and a pump including a motor and an impeller having curved

      blades positioned in the reservoir.




                                    Wu Col. 4, lines 10-37




                                             -52-
      Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 55 of 461




                                 Wu, Column 3, lines 47-54




                                        Wu, Figure 1



92.   Wu discloses or teaches curved impeller blades, as shown here (“bent” blades):




                                            -53-
Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 56 of 461




                            Wu, Col. 5, lines 16-21



 As other examples, in Wu, Claims 9 and 16 recite “bent” blades (see below):




                                      -54-
      Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 57 of 461




17(d) activating a fan to direct air through the heat radiator, the fan being operated by a motor

separate from the motor of the pump.

93.    The system of Shin activates a fan to direct air through the heat radiator with the fan

       operated by a motor separate from the pump. The separate air fan and liquid pump are

       demonstrated in the following two images from Shin.




                                         Shin Figure 3




                                         Shin Figure 4



94.    To the extent this was not disclosed or taught from Shin alone, it would have been obvious

       to a POSA based on her experience, education, and training. Fans are ubiquitous in their

                                              -55-
Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 58 of 461




use directing air through heat radiators. Often air fans are operated with a motor separate

for the motor of the liquid pump. A POSA would have been motivated to use a separate

motor because air fans are typically purchased with their own locomotive system.

Furthermore, separate motors allow the air fan and the liquid pump to be controlled

separately based on the heating requirements of the system. This allows impeller speeds to

be modulated independently, reducing noise and wasted energy. Furthermore, separate

motors provide, a safety measure – if one motor fails the other motor will continue to

operate and provide cooling. This opinion of mine is supported by the prior art listed in the

asserted patents, as shown here. In addition, the torque requirements for an air fan and a

liquid pump tend to be very different and would have preferably been driven by different

motors generating different torques from a POSA’s perspective. These factors would have

motivated a POSA to use two different motors.




                                   ’362 patent, Figure 3




                                        -56-
      Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 59 of 461




95.   To the extent this was not disclosed or taught from Shin, it would have been obvious with

      the knowledge of a POSA and/or in light of Wu. Wu teaches a fan/blower 115 that is

      separate and distinct from pump motor 113 (Wu 3:21-23; 3:39-46; 3:57-60; 5:60-64; 7:4-

      5; Claim 10 as examples; see also Figures 1, 6, and 7).




                                        Wu, Figure 1




                                        Wu, Figure 6




                                             -57-
      Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 60 of 461




                                           Wu, Figure 7



Claim 18: The method of claim 17 wherein activating the pump includes circulating cooling

liquid between the upper and lower chambers of the reservoir

96.    Claim 18 is a claim that asserted claim 19 depends from so I will include an analysis of

       claim 18 here. Shin discloses a pump that circulates liquid between the upper and lower

       chambers of the reservoir, as shown here. A POSA would have been motivated to use a

       pump that circulates cooling liquid between and upper and a lower chamber of the

       reservoir because this is an efficient way to route liquid to close proximity with the heat-

       generating components, to ensure intimate thermal connection, and to minimize piping

       and tubing and their connections.




                                               -58-
Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 61 of 461




    Shin Figure 2 (with the upper and lower chambers modified as follows)




                                                     Upper chamber




        Horizontal
          wall


    Lower chamber




                                    -59-
  Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 62 of 461




(Schematic of cross-sectional view of the single-receptacle “reservoir” of modified Shin)




                                     Shin Figure 3




                                     Shin Figure 4



                                          -60-
      Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 63 of 461




       The liquid pump motor 12 of Shin is activated and powered by a DC power supply, as

       discussed here:




                                      Shin Paragraph 19




                                      Shin Paragraph 20



Claim 19: The method of claim 18, wherein circulating the cooling liquid between the upper and

lower chambers includes passing the cooling liquid from the upper chamber to the lower

chamber through a single passageway of the one or more passageways.


                                             -61-
      Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 64 of 461




97.   As already discussed for Claim 17, Shin discloses the circulating of a cooling liquid

      between and upper and lower chamber that includes passing the cooling liquid from the

      upper chamber to the lower chamber through a single passage of the one or more

      passageways. I adopt that earlier discussion here.




             Shin Figure 2 (with the upper and lower chambers modified as follows)




                                             -62-
        Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 65 of 461




                                                                        Upper chamber




                         Horizontal
                           wall


                   Lower chamber




      (Schematic of cross-sectional view of the single-receptacle “reservoir” of modified Shin)

98.      To the extent this claim is not evident based on Shin alone, it would have been obvious in

         view of the experience, education, and training of a POSA. A POSA would have known

         how to circulate cooling liquid between upper and lower chambers of a reservoir through

         a single passageway. A POSA working with liquid pumps and thermal management of

         electronics would have found the implementation of such a fluid circulation strategy to be

         simple and routine. A POSA would have been motivated to circulate liquid between an

         upper and lower chambers because this facilitates fluid to be brought into proximity to

         the CPU or heat-generating device.




                                                -63-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 66 of 461




B.     Ground 2 – Shin in View of Batchelder

99.    It is my opinion that Shin, in view of Batchelder and in view of the knowledge of a

       POSA, renders claims 17 and 19 of the ’362 patent invalid.



Claim 17 preamble: A method of operating a liquid cooling system for an electronic component

positioned on a motherboard of a computer system, comprising:

100.   As I have already discussed, the preamble of Claim 17 was disclosed or taught by Shin

       either alone or in view of the experience, education, and training of a POSA; I adopt that

       prior analysis in Ground 1 here.

101.   To the extent this preamble was not disclosed or taught by Shin alone, it would have been

       obvious in view of the knowledge of a POSA or Batchelder. Liquid cooling systems for

       electronic components on a motherboard of a computer system are commonly

       encountered by POSAs working on thermal management of electronics.

102.   For example, in the abstract, Batchelder discusses its use in cooling electronics using a

       liquid cooling system.




                                               -64-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 67 of 461




                                 Batchelder Col. 2, lines 39-57.



103.   Batchelder further discusses cooling computer electronic components at 2:29-35; 5:64-

       67; and 6:1-5; as examples. A POSA would have been motivated to use a liquid cooling

       system for removing heat from a heat generating component because liquids are excellent

       heat transfer fluids and are able to quickly and effectively remove thermal energy.



17(a) separably thermally coupling a heat exchanging interface of a reservoir with the electronic

component positioned at a first location on the motherboard…….

104.   As I have already discussed, this portion of the first limitation of Claim 17 was disclosed

       or taught by Shin (as modified); I adopt that prior analysis in Ground 1 here.

105.   To the extent this limitation was not disclosed or taught by Shin, it would have been

       obvious to a POSA based on her experience, education, and training. A POSA working

       on thermal management of computers and electronics routinely would implement heat


                                               -65-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 68 of 461




       exchanging interfaces that are coupled to electronic components on motherboards. I have

       used such systems multiple times in my own work and I teach both undergraduate and

       graduate students on such systems.

106.   This limitation is also obvious in view of Batchelder as evident by the following passage

       and images. A POSA would have been motivated to incorporate a separably heat

       exchange surface with an electronic component because this promotes excellent heat

       transfer from the heat generating device.




                                 Batchelder, Col. 7 lines 23-26




                                      Batchelder, Figure 2




                                              -66-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 69 of 461




                                      Batchelder, Figure 5



… the reservoir including an upper chamber and a lower chamber, the upper chamber and the

lower chamber being separate chambers that are vertically spaced apart and separated by at least

a horizontal wall, …

107.   As I have already discussed, this portion of the first limitation of Claim 17 was disclosed

       or taught by Shin (as modified) either alone or in view of the knowledge of a POSA; I

       adopt that prior analysis in Ground 1 here.

108.   This limitation would also have been obvious to a POSA in view of Batchelder. For

       example, Batchelder discloses a reservoir that includes upper and lower chambers that are

       vertically spaced apart and separated by at least a horizontal wall, as shown below. A

       POSA would have been motivated to incorporate a reservoir with an upper and lower

       chamber vertically spaced apart and separated by a horizontal wall. The use of separate


                                               -67-
      Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 70 of 461




       upper and lower chambers is an efficient way to route fluid from a pump to the location

       where heat transfer occurs.




                                      Batchelder, Figure 2




                                      Batchelder, Figure 5

… the upper chamber and the lower chamber being fluidly coupled by one or more passageways,

at least one of the one or more passageways being positioned on the horizontal wall, the heat

exchanging interface being removably coupled to the reservoir such that an inside surface of the

heat exchanging interface is exposed to the lower chamber of the reservoir.


                                              -68-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 71 of 461




109.   As I have already discussed, this portion of the first limitation of Claim 17 was disclosed

       or taught by Shin (as modified) alone or in view of the knowledge of a POSA; I adopt

       that prior analysis here.

110.   To the extent this was not disclosed or taught based on Shin, it would have been obvious

       to a POSA in view of her experience, education, and training. To couple two fluid chambers

       by one or more passages would have been evident and trivial for a POSA. Furthermore, a

       POSA would have known that a heat exchanging interface would be removably coupled to

       a fluid reservoir. This coupling facilities heat transfer by reducing thermal resistance;

       reducing thermal resistance is obvious to a POSA and is a standard topic taught to

       undergraduate students in engineering. I have worked with heat exchanging interfaces that

       are removably coupled to the reservoirs in my own research, multiple times. I have also

       worked with multiple chambers that are fluidly coupled by one or more passageways

       multiple times.

111.   As I have already discussed, the “removably coupled” limitation of Claim 17 is rendered

       obvious by Shin alone or in view of the knowledge of a POSA; I adopt that prior

       analysis in Ground 1 here.

112.   This limitation is further obvious in view of Batchelder. For example, in the following

       image from Batchelder, there is an upper and a lower chamber of a reservoir. The chambers

       are separated by a horizontal wall and there are one or more passageways positioned on the

       horizontal wall that fluidly couple the two chambers.




                                               -69-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 72 of 461




                                      Batchelder, Figure 2

113.   Batchelder also discloses or teaches that its heat exchanging interface is removably coupled

       to the reservoir, as shown below. This is because the bottom sheet (202) and the lower

       stamped plate (204) are made of different materials, and a POSA would have known that

       they are removably coupled to each other. A POSA would have been motivated to have

       an upper and lower chamber coupled by one or more passages and with a heat exchanging

       removably coupled to the reservoir such that the inside surface of the heat exchanging

       surface is exposed to the lower chamber of the reservoir. Such a design effectively routes

       cooling fluid to the heated region and reduces the thermal resistance presented by the heat

       exchanging surface.




                                               -70-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 73 of 461




                                                         removably coupled




                                        Batchelder 7:51-55

17(b) positioning a heat radiator at a second location horizontally spaced apart from the first

location, the heat radiator and the reservoir being fluidly coupled together by tubing that extends

from the first location to the second location;

114.   As I have already discussed, this portion of the first limitation of Claim 17 was disclosed

       or taught by Shin; I adopt that prior analysis in Ground 1 here.

115.   To the extent this was not disclosed or taught based on Shin alone, it would have been

       obvious based on the experience education, and training of a POSA. It would have been a

       routine exercise for a POSA working on thermal management of electronics to use a heat

       radiator that is spaced apart from a reservoir and fluidly coupled with the reservoir by

       tubing. In fact, I have worked with such systems numerous times, and I instruct

       undergraduate and graduate students on the design and analysis of such systems.


                                                  -71-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 74 of 461




116.   To the extent this limitation was not disclosed or taught based on Shin in view of the

       knowledge, education, experience, and training of a POSA, it would have been obvious

       in view of Batchelder, as shown below. A POSA would have been motivated to use a

       radiator positioned at a second location horizontally spaced apart from the first location

       and fluidly connected by tubing. Such an arrangement allows the heat to be transferred

       away from the electronic components and to the ambient environment. Horizontal

       tubing, when possible, is often preferred because it minimizes pressure losses within

       a flow.




                                               -72-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 75 of 461




                                      Batchelder, Figure 4



17(c) activating a pump to a [sic] circulate a cooling liquid through the reservoir and the heat

radiator, the pump including a motor and an impeller having curved blades, the impeller being

positioned in the reservoir; and

117.   As I have already discussed, this portion of Claim 17 was disclosed or taught by Shin (as

       modified) (except for the curved blades); I adopt that prior analysis in Ground 1 here.

118.   To the extent this limitation was not disclosed or taught in Shin, it would have been

       obvious to a POSA based on her experience, education, and training. Using a pump to

       circulate a cooling liquid through a reservoir and a heat radiator with a motor and a

       curved-blade impeller that is positioned in the reservoir is routinely encountered by a

       POSA who works on thermal management of electronics. In fact, I have worked with

       such systems many times in my research and teaching activities.




                                               -73-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 76 of 461




119.   To the extent this limitation was not disclosed or taught in view of a POSA’s experience,

       education, and training, it would have been obvious in view of Batchelder, which shows a

       pump that has an impeller that is positioned in the reservoir (see following figures).




                                      Batchelder, Figure 2




                                       Batchelder Figure 5

                                               -74-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 77 of 461




120.   The impeller blades of Batchelder are disclosed as having curved blades, for example, as

       evident in the following images:




                                       Batchelder Figure 9



121.    Batchelder further teaches that the coolant is circulated through the reservoir and the heat

        exchanger, as shown below. A POSA would know that curved blades result in different

        thermal and fluid performance than straight blades and a POSA would know how to select

        between curved and straight blade systems.




                                               -75-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 78 of 461




                                       Batchelder, Figure 4




                                       Batchelder, Figure 4



17(d) activating a fan to direct air through the heat radiator, the fan being operated by a motor

separate from the motor of the pump.

122.   As I have already discussed, this portion of the first limitation of Claim 17 was disclosed

       or taught by Shin; I adopt that prior analysis in Ground 1 here.

123.   To the extent this was not disclosed or taught from Shin, it would have been obvious to a

       POSA based on her experience, education, and training. Fans are ubiquitous in their use

       directing air through heat radiators. Often air fans are operated with a motor separate from


                                               -76-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 79 of 461




       the motor of the liquid pump. In fact, liquid and air blowers tend to have very different

       RPM and torque requirements, which would have motivated a POSA to use separate

       motors. A POSA would also have been motivated to use a separate motor because air fans

       are typically purchased with their own locomotive system. Furthermore, separate motors

       allow the air fan and the liquid pump to be controlled separately based on the heating

       requirements of the system. This allows impeller speeds to be modulated independently,

       reducing noise and wasted energy. Furthermore, separate motors provide a safety measure

       – for example, if the fan motor fails the pump motor will continue to operate and

       provide cooling.

124.   To the extent this was not disclosed or taught based on Shin and the knowledge of a POSA,

       it would have been obvious in view of Batchelder. In addition, the torque requirements for

       an air fan and a liquid pump tend to be very different and would have preferably been

       driven by different motors generating different torques from a POSA’s perspective. These

       factors would have motivated a POSA to use two different motors.



Claim 18: The method of claim 17 wherein activating the pump includes circulating cooling

liquid between the upper and lower chambers of the reservoir

125.   As I have already discussed, the pump, circulating fluid, and upper and lower chambers

       of Claim 18 were disclosed or taught by Shin (as modified); I adopt that prior analysis in

       Ground 1 here.

126.   To the extent this claim was not disclosed or taught by Shin, it would have been obvious

       to a POSA based on her experience, education, and training. A POSA would find it




                                              -77-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 80 of 461




       routine to use a pump to circulate cooling liquid between upper and lower chambers of a

       reservoir. I have used such fluid pumps multiple times myself.

127.   If this claim was not disclosed or taught with Shin in view of the experience, education,

       and training of a POSA, it would have been obvious in view of Batchelder. Batchelder

       discloses a pump that circulates cooling liquid between upper and lower chambers of a

       reservoir as shown in the following images. A POSA would have been motivated to use a

       pump that circulates cooling liquid between and upper and a lower chamber of the

       reservoir because this is an efficient way to route liquid to close proximity with the heat-

       generating components, to ensure intimate thermal connection, and to minimize piping

       and tubing and their connections.




                                       Batchelder Figure 2




                                               -78-
Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 81 of 461




                        Batchelder Figure 5




                        Batchelder, Figure 7




                               -79-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 82 of 461




                                      Batchelder, Figure 8

Claim 19: The method of claim 18, wherein circulating the cooling liquid between the upper and

lower chambers includes passing the cooling liquid from the upper chamber to the lower

chamber through a single passageway of the one or more passageways.

128.   As I have already discussed, Claim 19 was disclosed or taught by Shin (as modified); I

       adopt that prior analysis here. Shin teaches circulating cooling liquid between upper and

       lower chambers including the passing of cooling liquid from the upper chamber to the

       lower chamber through a single passageway of the one or more passageways.

129.   If it was not disclosed or taught based on Shin alone, then it would have been obvious to

       a POSA based on her experience, education, and training. The circulating of cooling

       liquid between two chambers through a single passageway is a trivial design exercise for

       a POSA working on the thermal management of electronics.

130.   To the extent it was not disclosed or taught based on Shin and the knowledge of a POSA,

       it would have been obvious in view of Batchelder.



                                              -80-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 83 of 461




131.   Batchelder discloses the circulation of a cooling liquid between upper and lower

       chambers through a single passageway. The circulating of liquid is shown by the

       following images:




                                     Batchelder, Figure 2




                                      Batchelder Figure 5




                                             -81-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 84 of 461




132.   Batchelder discloses or teaches a number of impeller designs for causing coolant flow, as

       indicated by comparing the flow direction arrows in the following figures. The image on

       the left brings fluid in at the perimeter of the impeller and pushes the fluid downwards at

       the center of the impeller. The design on the right is the opposite, fluid is drawn into the

       center of the impeller and expelled at the perimeter. When the impeller design on the

       right is used, the fluid travels vertically upwards, from the lower chamber to the upper

       chamber through the single center passageway of Figures 2 and 5. The fluid returns to the

       bottom chamber at the outermost channel(s). On the other hand, when the left-hand

       impeller is used, the fluid is drawn in at the impeller perimeter and expelled at the

       impeller center. With this arrangement, flow will travel from the lower to the upper

       reservoir at the outermost channel(s) and return to the lower chamber through the single

       central passageway. Both directions of flow are taught by Batcheler. A POSA would

       have been motivated to use a pump that circulates cooling liquid between and upper and a

       lower chamber of the reservoir because this is an efficient way to route liquid to close

       proximity with the heat-generating components, to ensure intimate thermal connection,

       and to minimize piping and tubing and their connections




                                               -82-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 85 of 461




                                      Batchelder Figure 9




C.     Ground 3 – Shin in View of Laing

133.   It is my opinion that Shin, in view of Laing and in view of the knowledge of a POSA,

       renders claims 17 and 19 of the ’362 patent invalid by obviousness.



Claim 17 preamble: A method of operating a liquid cooling system for an electronic component

positioned on a motherboard of a computer system, comprising:

134.   As I have already discussed, the preamble of Claim 17 was disclosed or taught by Shin; I

       adopt that prior analysis in Ground 1 here.

135.   To the extent this was not disclosed or taught with Shin alone, it would have been

       obvious in view of the knowledge of a POSA or in view of Laing. Liquid cooling systems




                                              -83-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 86 of 461




       for electronic components on a motherboard of a computer system are commonly

       encountered by POSAs working on thermal management of electronics.

136.   Such liquid cooling systems were cited, for instance, in the prior art of the ’362 patent; a

       testament to their common use.




                                      ’362 patent, Figure 3

137.   Also for example, Laing discusses the use of liquid cooling systems for electronic

       components positioned on the motherboard of a computer system. A POSA would have

       been motivated to use a liquid cooling system for removing heat from a heat generating

       component because liquids are excellent heat transfer fluids and are able to quickly and

       effectively remove thermal energy.




                                               -84-
Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 87 of 461




                           Laing [0044]




                           Laing [0072]




                          Laing Figure 1



                               -85-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 88 of 461




17(a) separably thermally coupling a heat exchanging interface of a reservoir with the electronic

component positioned at a first location on the motherboard…….

138.   As I have already discussed, this portion of the first limitation of Claim 17 was disclosed

       or taught by Shin (as modified); I adopt that prior analysis in Ground 1 here.

139.   To the extent this limitation was not disclosed or taught by Shin, it would have been

       obvious to a POSA based on her experience, education, and training. A POSA working

       on thermal management of computers and electronics would have routinely implemented

       heat exchanging interfaces that were coupled to electronic components on motherboards.

       I have practiced this limitation numerous times myself, and I train undergraduate and

       graduate students on this topic.

140.   This limitation is also obvious in view of Laing, as demonstrated in the following image.

       There a two-chamber reservoir is shown. The bottom of the lower chamber is formed by

       a heat exchanging interface of the reservoir that is coupled with the electronic component

       positioned on the motherboard. A POSA would have been motivated to use a liquid

       cooling system for removing heat from a heat generating component because liquids are

       excellent heat transfer fluids and are able to quickly and effectively remove

       thermal energy.




                                               -86-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 89 of 461




                                        Laing, Figure 1



141.   Laing also discusses the coupling between the thermal contact interface and the

       component to be cooled throughout the specification, with the following serving as

       representative examples.




                                      Laing [0004-0005]




                                             -87-
Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 90 of 461




                         Laing [0006-0007]




                           Laing [0010]




                           Laing [0024]




                               -88-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 91 of 461




                                       Laing [0032-0033]




                                       Laing [0050-0051]

… the reservoir including an upper chamber and a lower chamber, the upper chamber and the

lower chamber being separate chambers that are vertically spaced apart and separated by at least

a horizontal wall, …

142.   As I have already discussed, this portion of the first limitation of Claim 17 was disclosed

       or taught by Shin (as modified); I adopt that prior analysis in Ground 1 here.

143.   This limitation would also be obvious in view of Laing. For example, Laing discloses a

       reservoir that includes upper and lower chambers that are vertically spaced apart and



                                               -89-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 92 of 461




       separated by at least a horizontal wall. A POSA would have been motivated to incorporate

       a reservoir with an upper and lower chamber vertically spaced apart and separated by a

       horizontal wall. The use of separated upper and lower chambers is an efficient way to route

       fluid from a pump to the location where heat transfer occurs.




                                         Laing, Figure 1




… the upper chamber and the lower chamber being fluidly coupled by one or more passageways,

at least one of the one or more passageways being positioned on the horizontal wall, the heat

exchanging interface being removably coupled to the reservoir such that an inside surface of the

heat exchanging interface is exposed to the lower chamber of the reservoir.

144.   As I have already discussed, this portion of the first limitation of Claim 17 is disclosed or

       rendered obvious by Shin (as modified); I adopt that prior analysis here.

145.   To the extent this was not disclosed or rendered obvious based on Shin, it would have been

                                               -90-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 93 of 461




       obvious to a POSA in view of their experience, education, and training. To couple two

       fluid chambers by one or more passages would have been evident and trivial for a POSA.

       Furthermore, a POSA would have known that a heat exchanging interface would be

       removably coupled to a fluid reservoir. This coupling facilities heat transfer by reducing

       thermal resistance; reducing thermal resistance is obvious to a POSA and is a standard

       topic taught to undergraduate students in engineering. A POSA would have been motivated

       to use to have an upper and lower chamber coupled by one or more passages and with a

       heat exchanging interface removably coupled to the reservoir such that the inside surface

       of the heat exchanging surface is exposed to the lower chamber of the reservoir. Such a

       design effectively routes cooling fluid to the heated region and reduces the thermal

       resistance presented by the heat exchanging surface.

146.   This limitation is further obvious in view of Laing. For example, in the following image

       from Laing, there is an upper and a lower chamber of a reservoir. The chambers are

       separated by a horizontal wall and there are one or more passageways positioned on the

       horizontal wall that fluidly couple the two chambers.




                                              -91-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 94 of 461




                                          Laing Figure 1




                                          Laing Figure 1

147.   Laing also discloses or teaches that its heat exchanging interface is removably coupled to

       the reservoir, as shown below. This is because Laing’s heat exchanging interface is

       screwed (52) onto the reservoir.




                                               -92-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 95 of 461




                                     Laing Figure 1 (excerpt)




                                          Laing Figure 2

17(b) positioning a heat radiator at a second location horizontally spaced apart from the first

location, the heat radiator and the reservoir being fluidly coupled together by tubing that extends

from the first location to the second location;

148.   As I have already discussed, this portion of the first limitation of Claim 17 was disclosed

       or taught by Shin; I adopt that prior analysis here.

149.   To the extent this was not disclosed or taught based on Shin alone, it would have been

       obvious based on the experience education, and training of a POSA. It would have been a

       routine exercise for a POSA working on thermal management of electronics to use a heat

       radiator that is spaced apart from a reservoir and fluidly coupled with the reservoir by

                                                  -93-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 96 of 461




       tubing. In fact, I have worked with such systems numerous times, and I instruct

       undergraduate and graduate students on the design and analysis of such systems. A POSA

       would have been motivated to use a radiator positioned at a second location horizontally

       spaced apart from the first location and fluidly connected by tubing. Such an

       arrangement allows the heat to be transferred away from the electronic components and

       to the ambient environment. Horizontal tubing, when possible, is often preferred because

       it minimizes pressure losses within a flow.

150.   To the extent this limitation was not disclosed or taught based on Shin in view of the

       knowledge, education, experience, and training of a POSA, it would have been obvious

       in view of Laing which discloses a radiator 30 that is connected to the reservoir by tubes

       that convey coolant.




                                              Laing [0077]




                                              -94-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 97 of 461




                                         Laing Figure 2



17(c) activating a pump to a [sic] circulate a cooling liquid through the reservoir and the heat

radiator, the pump including a motor and an impeller having curved blades, the impeller being

positioned in the reservoir; and

151.   As I have already discussed, this portion of the first limitation of Claim 17 was disclosed

       or taught by Shin (as modified) (except for the curved blades); I adopt that prior

       analysis here.

152.   To the extent this limitation was not disclosed or taught in Shin, it would have been

       obvious to a POSA based on her experience, education, and training. Using a pump to

       circulate a cooling liquid through a reservoir and a heat radiator with a motor and a

       curved-blade impeller that is positioned in the reservoir is routinely encountered by a

       POSA who works on thermal management of electronics. In fact, I have worked with

       such systems many times in my research and teaching activities. A POSA would have

       known that curved blades result in different thermal and fluid performance than straight

       blades as well as how to select between curved and straight blade systems.



                                               -95-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 98 of 461




153.   To the extent this was not disclosed or taught based on a POSA’s experience, education,

       and training, it would have been obvious in view of Laing, which shows a pump that has

       an impeller that is positioned in the reservoir. The impeller of Laing propels fluid through

       the reservoir and the heat radiator as already discussed.




                                          Laing [0055]




                                          Laing [0061]




                                          Laing [0064]



                                               -96-
Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 99 of 461




                         Laing [0074-0075]




                           Laing [0076]




                           Laing [0078]




                               -97-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 100 of 461




                                           Laing [0080]




                                          Laing, Figure 1



154.    Laing discloses or teaches a rotor (42) and stator (54) of the motor that propels the

        impeller of the fluid pump that is positioned in the reservoir. A POSA would have known

                                                -98-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 101 of 461




        that the impeller blades of Laing could be straight or curved – as circled above in red,

        Laing’s Figure 1 suggests that the blades may have curvatures; selecting or designing

        appropriate impeller blades is a routine and trivial exercise for a POSA working in

        thermal management of electronics. A POSA would have been motivated to use curved

        impeller blades because curving of blades allows a designer to tailor the flow and

        pressure through a pump. Impeller blade design and selection is taught to undergraduate

        students and it is a routine design choice.



17(d) activating a fan to direct air through the heat radiator, the fan being operated by a motor

separate from the motor of the pump.

155.    As I have already discussed, this portion of the first limitation of Claim 17 was disclosed

        or taught by Shin; I adopt that prior analysis here.

156.    To the extent this was not disclosed or taught from Shin, it would have been obvious to a

        POSA based on her experience, education, and training. Fans are ubiquitous in their use

        directing air through heat radiators. Often air fans are operated with a motor separate from

        the motor of the liquid pump. A POSA would have been motivated to use a separate motor

        because air fans are typically purchased with their own locomotive system. Furthermore,

        separate motors allow the air fan and the liquid pump to be controlled separately based on

        the heating requirements of the system. This allows impeller speeds to be modulated

        independently, reducing noise and wasted energy. Furthermore, separate motors provide a

        safety measure – if one motor fails the other motor will continue to operate and provide

        cooling. In addition, the torque requirements for an air fan and a liquid pump tend to be

        very different and would have preferably been driven by different motors generating



                                                -99-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 102 of 461




        different torques from a POSA’s perspective. These factors would have motivated a POSA

        to use two different motors.

157.    To the extent this was not disclosed or taught based on Shin and the knowledge of a POSA,

        it would have been obvious in view of Laing. Laing teaches a separate cooling region

        (radiator) where heat is extracted from the coolant before the coolant is reintroduced to

        cool the electronic component(s). Figure 2 from Laing shows air flow across the radiator

        (item 30). A POSA would have known that the airflow would be caused by a fan and that

        the fan would operate separately from the motor of the pump.




                                          Laing Figure 2



Claim 18: The method of claim 17 wherein activating the pump includes circulating cooling

liquid between the upper and lower chambers of the reservoir

158.    As I have already discussed, claim 18 was disclosed or taught by Shin (as modified); I

        adopt that prior analysis here.




                                              -100-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 103 of 461




159.    To the extent this claim was not disclosed or taught by Shin, it would have been obvious

        to a POSA based on her experience, education, and training. A POSA would have found

        it routine to use a pump to circulate cooling liquid between upper and lower chambers of

        a reservoir. I have used such fluid pumps multiple times myself. A POSA would have

        been motivated to use a pump that circulates cooling liquid between and upper and a

        lower chamber of the reservoir because this is an efficient way to route liquid to close

        proximity with the heat-generating components, to ensure intimate thermal connection,

        and to minimize piping and tubing and their connections.

160.    To the extent this claim was not disclosed or taught with Shin in view of the experience,

        education, and training of a POSA, it would have been obvious in view of Laing. Laing

        discloses a pump that circulates cooling liquid between upper and lower chambers of a

        reservoir as shown in the following images.




                                          Laing Figure 1


                                               -101-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 104 of 461




Claim 19: The method of claim 18, wherein circulating the cooling liquid between the upper and

lower chambers includes passing the cooling liquid from the upper chamber to the lower

chamber through a single passageway of the one or more passageways.

161.    As I have already discussed, claim 19 was disclosed or taught by Shin (as modified); I

        adopt that prior analysis here. Shin teaches circulating cooling liquid between upper and

        lower chambers including the passing of cooling liquid from the upper chamber to the

        lower chamber through a single passageway of the one or more passageways.

162.    If it was not disclosed or taught based on Shin alone, then it would have been obvious to

        a POSA based on her experience, education, and training. The circulating of cooling

        liquid between two chambers through a single passageway is a trivial design exercise for

        a POSA working on the thermal management of electronics. A POSA would have been

        motivated to use a pump that circulates cooling liquid between and upper and a lower

        chamber of the reservoir because this is an efficient way to route liquid to close proximity

        with the heat-generating components, to ensure intimate thermal connection, and to

        minimize piping and tubing and their connections.

163.    To the extent it was not disclosed or taught based on Shin and the knowledge of a POSA,

        it would have been obvious in view of Laing.

164.    Laing discloses the circulation of a cooling liquid between upper and lower chambers

        through a single passageway (annular passageway). The circulating of liquid is shown by

        the following images:




                                               -102-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 105 of 461




                                           Laing, Figure 1

D.      Ground 4 – Ryu in View of Wu

165.    It is my opinion that Ryu, in view of Wu and in view of the knowledge of a POSA,

        renders claims 17 and 19 of the ’362 patent invalid by obviousness.



Claim 17 preamble: A method of operating a liquid cooling system for an electronic component

positioned on a motherboard of a computer system, comprising:

166.    While I do not understand that the preamble to this claim is limiting, if it is limiting then

        Ryu discloses this preamble. First, Ryu is entitled “WATER COOLED COOLING

        DEVICE FOR THE CENTRAL PROCESSING UNIT OF A COMPUTER WITH AN

        IMPELLER”

167.    Ryu further discloses or teaches the following:




                                                -103-
Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 106 of 461




                           Ryu, Abstract




                            Ryu, Page 3




                               -104-
Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 107 of 461




                            Ryu, Page 4




                            Ryu, Page 4




                               -105-
Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 108 of 461




                            Ryu, Page 4




                            Ryu, Page 5




                            Ryu, Page 6



                               -106-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 109 of 461




                                             Ryu, Page 7



168.    The preamble is also obvious in view of the knowledge of a POSA or in view of Wu, as I

        have already discussed. I adopt that prior analysis here. A POSA would have been

        motivated to use a liquid cooling system for removing heat from a heat generating

        component because liquids are excellent heat transfer fluids and are able to quickly and

        effectively remove thermal energy.



17(a) … a reservoir … the reservoir including an upper chamber and a lower chamber, the upper

chamber and the lower chamber being separate chambers that are vertically spaced apart and

separated by at least a horizontal wall, …

169.    This limitation is obvious over Ryu in view of Wu. Ryu does not disclose or teach a

        single-receptacle “reservoir” having two chambers, but Wu discloses or teaches such a

        “reservoir,” as I have already discussed. I adopt that prior analysis here. A POSA would

        have been motivated to modify Ryu in view of Wu to combine Ryu’s pump driving unit

        and water jacket into a “single receptacle defining a fluid flow path.” A POSA would




                                                -107-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 110 of 461




        have been motivated to incorporate a separably heat exchange surface with an electronic

        component because this promotes excellent heat transfer from the heat generating device.




                                          Ryu, Figure 2



separably thermally coupling a heat exchanging interface of a reservoir with the electronic

component positioned at a first location on the motherboard ….

170.    Ryu discloses or teaches the claimed separably thermally coupling of a heat exchanging

        interface of a reservoir (in the Ryu device as modified in view of Wu with a single-

        receptacle structure having a pump drive integrated with the water jacket as discussed

        above) with the electronic component positioned at a first location on a motherboard, as

        shown here:




                                              -108-
Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 111 of 461




                            Ryu, page 5




                           Ryu, Figure 2




                               -109-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 112 of 461




                                           Ryu, Figure 3



171.    As seen above, Ryu includes a heat exchanging interface of a reservoir (lower surface of

        the water jacket 20), that is coupled with the electronic component positioned on a

        motherboard.

172.    This limitation is also obvious in view of the knowledge of a POSA or in view of Wu, as

        I have already discussed. I adopt that prior analysis here.



… the upper chamber and the lower chamber being fluidly coupled by one or more passageways,

at least one of the one or more passageways being positioned on the horizontal wall, the heat

exchanging interface being removably coupled to the reservoir such that an inside surface of the

heat exchanging interface is exposed to the lower chamber of the reservoir;



                                                -110-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 113 of 461




173.    This limitation is obvious over Ryu in view of Wu. This is because Wu discloses or

teaches this limitation, as I have already discussed. I adopt that prior analysis here. A POSA

would have been motivated to use an upper and lower chamber coupled by one or more passages

and with a heat exchanging interface removably coupled to the reservoir such that the inside

surface of the heat exchanging surface is exposed to the lower chamber of the reservoir. Such a

design effectively routes cooling fluid to the heated region and reduces the thermal resistance

presented by the heat exchanging surface.



17(b) positioning a heat radiator at a second location horizontally spaced apart from the first

location, the heat radiator and the reservoir being fluidly coupled together by tubing that extends

from the first location to the second location;

174.    This limitation is obvious over Ryu, which includes a radiator at a second location

        horizontally spaced apart from the first location. The radiator and the reservoir are fluidly

        coupled by tubing as claimed.




                                                  -111-
Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 114 of 461




                           Ryu, Figure 1




                            Ryu, Page 5




                               -112-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 115 of 461




                                              Ryu, Page 6

175.    To the extent this limitation was not disclosed or taught by Ryu, it would have been obvious

        to a POSA based on her education, experience, and training, as I have already discussed. I

        adopt that earlier discussion here.

176.    To the extent this limitation was not disclosed or taught with Ryu in light of the knowledge

        of a POSA, it would have been obvious in view of Wu, as I have already discussed. I adopt

        that earlier analysis here. A POSA would have been motivated to use a radiator positioned

        at a second location horizontally spaced apart from the first location and fluidly connected

        by tubing. Such an arrangement allows the heat to be transferred away from the electronic

        components and to the ambient environment. Horizontal tubing, when possible, is often

        preferred because it minimizes pressure losses within a flow.



17(c) activating a pump to a [sic] circulate a cooling liquid through the reservoir and the heat

radiator, the pump including a motor and an impeller having curved blades, the impeller being

positioned in the reservoir; and

177.    Ryu discloses or teaches this claim limitation (except the single-receptacle aspect of the

        “reservoir” or the “curved blades”). Ryu includes a pump that circulates cooling liquid

        through the receptacles and the heat radiator. The pump includes a motor and an impeller

        having blades with the impeller positioned in the pump driving unit.




                                                 -113-
Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 116 of 461




                           Ryu, Abstract




                            Ryu, Page 3




                            Ryu, Page 4




                               -114-
Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 117 of 461




                           Ryu, Figure 2




                           Ryu, Figure 3




                              -115-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 118 of 461




178.    To the extent this limitation was not disclosed or taught in Ryu, it would have been

        obvious to a POSA based on her experience, education, and training. Using a pump to

        circulate a cooling liquid through a reservoir and a heat radiator with a motor and a

        curved-blade impeller that is positioned in the pump driving unit is routinely encountered

        by a POSA who works on thermal management of electronics. In fact, I have worked

        with such systems many times in my research and teaching activities as I have already

        discussed. I adopt that prior discussion here. A POSA would have known that curved

        blades result in different thermal and fluid performance than straight blades as well as

        how to select between curved and straight blade systems.

179.    To the extent that any portion of this limitation was not disclosed or rendered obvious by

        Ryu alone or in view of a POSA, it was disclosed or taught by Wu. I have already

        analyzed this limitation using Wu, and I adopt that earlier analysis here.



17(d) activating a fan to direct air through the heat radiator, the fan being operated by a motor

separate from the motor of the pump.

180.    Ryu discloses a fan activated to direct air through the heat radiator, with the fan being

        operated by a motor different from the motor of the pump. The following text supports my

        opinion.




                                            Ryu, page 5

                                               -116-
Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 119 of 461




                            Ryu, Page 6




                            Ryu, page 6




                           Ryu, page 10




                               -117-
      Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 120 of 461




                                          Ryu, Figure 1



195. To the extent this limitation is not made obvious by Ryu, it would have been obvious to a

     POSA based on her experience, education, and training, as I have already discussed. In

     addition, the torque requirements for an air fan and a liquid pump tend to be very different

     and would preferably be driven by different motors generating different torques from a

     POSA’s perspective. These factors would have motivated a POSA to use two

     different motors.

196. Furthermore, to the extent this limitation is not rendered obvious by Ryu in view of a

     POSA’s knowledge, it would have been obvious in view of Wu, as I have already

     discussed. I adopt my earlier discussion of Wu here.




                                              -118-
     Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 121 of 461




Claim 18: The method of claim 17 wherein activating the pump includes circulating cooling

liquid between the upper and lower chambers of the reservoir

197. Ryu discloses a pump activated to circulate cooling liquid between the upper and lower

       chambers of the reservoir, as shown below.




                                         Ryu, Figure 3




                                                                         Flow




                                         Ryu, Figure 3



                                             -119-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 122 of 461




198.    To the extent this was not disclosed or taught by Ryu alone, it would have been obvious

        to a POSA, based on her experience, education, and training to activate a pump for

        circulating cooling liquid between the upper and lower chambers of the reservoir. A

        POSA who works using liquid pumps or on thermal management of electronics would

        have been familiar with pumps that circulate liquid between upper and lower chambers of

        a reservoir. Furthermore, it is a simple way to direct liquid from the impeller to the

        surface to be cooled, in a hydrodynamically efficient way. In fact, I have instructed

        students for years on designing and evaluating such pumps. A POSA would have been

        motivated to use a pump that circulates cooling liquid between an upper and a lower

        chamber of the reservoir because this is an efficient way to route liquid to close proximity

        with the heat-generating components, to ensure intimate thermal connection, and to

        minimize piping and tubing and their connections.



Claim 19: The method of claim 18, wherein circulating the cooling liquid between the upper and

lower chambers includes passing the cooling liquid from the upper chamber to the lower

chamber through a single passageway of the one or more passageways.



181.    For reasons similar to those articulated with claim 18, Ryu discloses or teaches this

        limitation, either alone or in combination with the knowledge of a POSA. I adopt that

        analysis here. A POSA would have been motivated to use a pump that circulates cooling

        liquid between an upper and a lower chamber of the reservoir because this is an efficient

        way to route liquid to close proximity with the heat-generating components, to ensure

        intimate thermal connection, and to minimize piping and tubing and their connections.



                                               -120-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 123 of 461




E.      Ground 5 – Ryu in View of Batchelder

182.    It is my opinion that Ryu, in view of Batchelder and in view of the knowledge of a

        POSA, renders claims 17 and 19 of the ’362 patent invalid.



Claim 17 preamble: A method of operating a liquid cooling system for an electronic component

positioned on a motherboard of a computer system, comprising:

183.    As I have already discussed, the preamble of Claim 17 was disclosed or taught by Ryu; I

        adopt that prior analysis in Ground 4 here.

184.    To the extent this was not disclosed or taught with Ryu alone, it would have been obvious

        in view of the knowledge of a POSA. Liquid cooling systems for electronic components

        on a motherboard of a computer system are commonly encountered by POSAs working

        on thermal management of electronics, as I have already discussed. A POSA would have

        been motivated to use a liquid cooling system for removing heat from a heat generating

        component because liquids are excellent heat transfer fluids and are able to quickly and

        effectively remove thermal energy.

185.    To the extent this preamble was not disclosed or taught by Ryu in view of the experience,

        education, and training of a POSA, it would have been obvious in view of Batchelder, as I

        have already explained. I adopt that prior analysis here.



17(a) … a reservoir … the reservoir including an upper chamber and a lower chamber, the upper

chamber and the lower chamber being separate chambers that are vertically spaced apart and

separated by at least a horizontal wall, …




                                               -121-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 124 of 461




186.    This limitation is obvious over Ryu in view of Batchelder. This is because, as an initial

        matter, Batchelder discloses or teaches a “reservoir,” as I have already discussed. I adopt

        that prior analysis here. A POSA would have been motivated to modify Ryu in view of

        Batchelder to integrate Ryu’s pump driving unit and water jacket into a “single receptacle

        defining a fluid flow path.”

187.    This limitation would have been obvious over Ryu in view of Batchelder. For example,

        Batchelder discloses a reservoir that includes upper and lower chambers that are vertically

        spaced apart and separated by at least a horizontal wall. I adopt my earlier discussion of

        Batchelder related to this portion of the claim limitation here. A POSA would have been

        motivated to incorporate into Ryu a reservoir with an upper and lower chamber vertically

        spaced apart and separated by a horizontal wall like that in Batchelder. The use of

        separated upper and lower chambers is an efficient way to route fluid from a pump to the

        location where heat transfer occurs.



separably thermally coupling a heat exchanging interface of a reservoir with the electronic

component positioned at a first location on the motherboard…….

188.    As I have already discussed, this portion of the first limitation of Claim 17 is disclosed or

        rendered obvious by Ryu; I adopt that prior analysis here.

189.    To the extent this limitation was not disclosed or rendered obvious by Ryu, it would have

        been obvious to a POSA based on her experience, education, and training. A POSA

        working on thermal management of computers and electronics would have routinely

        implemented heat exchanging interfaces that are coupled to electronic components on

        motherboards, as I have already discussed. A POSA would have been motivated to



                                                -122-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 125 of 461




        incorporate a separable heat exchange surface with an electronic component because this

        promotes excellent heat transfer from the heat generating device.

190.    This limitation is further obvious in view of Batchelder, as I have explained. I adopt that

        earlier discussion here.



… the upper chamber and the lower chamber being fluidly coupled by one or more passageways,

at least one of the one or more passageways being positioned on the horizontal wall, the heat

exchanging interface being removably coupled to the reservoir such that an inside surface of the

heat exchanging interface is exposed to the lower chamber of the reservoir.

191.    As I have already discussed, this portion of the first limitation of Claim 17 is disclosed or

        rendered obvious by Ryu; I adopt that prior analysis here.

192.    To the extent this was not disclosed or taught based on Ryu, it would have been obvious to

        a POSA in view of their experience, education, and training. To couple two fluid chambers

        by one or more passages would have been evident and trivial for a POSA. Furthermore, a

        POSA would have known that a heat exchanging interface would be removably coupled to

        a fluid reservoir. This coupling facilities heat transfer by reducing thermal resistance;

        reducing thermal resistance is obvious to a POSA and is a standard topic taught to

        undergraduate students in engineering, as I have already discussed.

193.    This limitation is further obvious in view of Batchelder. For example, in Batchelder, there

        is an upper and a lower chamber of a reservoir. The chambers are separated by a horizontal

        wall and there are one or more passageways positioned on the horizontal wall that fluidly

        couple the two chambers. I have already discussed Batchelder in relation to this portion of

        the claim limitation and I adopt that earlier analysis here. A POSA would have been


                                                -123-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 126 of 461




        motivated to use an upper and lower chamber coupled by one or more passages and with a

        heat exchanging interface removably coupled to the reservoir such that the inside surface

        of the heat exchanging surface is exposed to the lower chamber of the reservoir. Such a

        design effectively routes cooling fluid to the heated region and reduces the thermal

        resistance presented by the heat exchanging surface.



17(b) positioning a heat radiator at a second location horizontally spaced apart from the first

location, the heat radiator and the reservoir being fluidly coupled together by tubing that extends

from the first location to the second location;

194.    As I have already discussed, this portion of Claim 17 was disclosed or taught by Ryu; I

        adopt that prior analysis here.

195.    To the extent this was not disclosed or taught based on Ryu alone, it would have been

        obvious based on the experience, education, and training of a POSA. It would have been

        a routine exercise for a POSA working on thermal management of electronics to use a

        heat radiator that is spaced apart from a reservoir and fluidly coupled with the reservoir

        by tubing. In fact, I have worked with such systems numerous times, and I instruct

        undergraduate and graduate students on the design and analysis of such systems, as I

        have already discussed. A POSA would have been motivated to use a radiator positioned

        at a second location horizontally spaced apart from the first location and fluidly

        connected by tubing. Such an arrangement allows the heat to be transferred away from

        the electronic components and to the ambient environment. Horizontal tubing, when

        possible, is often preferred because it minimizes pressure losses within a flow.




                                                  -124-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 127 of 461




196.    To the extent this limitation was not disclosed or taught based on Ryu in view of the

        knowledge, education, experience, and training of a POSA, it would have been obvious

        in view of Batchelder. I have already discussed Batchelder in the context of this claim

        limitation and I adopt that prior discussion here.



17(c) activating a pump to a [sic] circulate a cooling liquid through the reservoir and the heat

radiator, the pump including a motor and an impeller having curved blades, the impeller being

positioned in the reservoir; and

197.    As I have already discussed, this portion of Claim 17 is disclosed or rendered obvious by

        Ryu (except for the “single receptacle” aspect of the “reservoir” and the “curved

        blades”); I adopt that prior analysis here.

198.    To the extent this limitation was not disclosed or taught in Ryu, it would have been

        obvious to a POSA based on her experience, education, and training. Using a pump to

        circulate a cooling liquid through a reservoir and a heat radiator with a motor and a

        curved-blade impeller that is positioned in the reservoir is routinely encountered by a

        POSA who works on thermal management of electronics. In fact, I have worked with

        such systems many times in my research and teaching activities, as I have already

        discussed. A POSA would have been motivated to incorporate curved impeller blades

        within a reservoir because they provide flow and pressure characteristics that have

        advantages over straight impeller blades.

199.    To the extent this was not disclosed or taught to a POSA, it would have been obvious in

        view of Batchelder, which shows a pump that has an impeller that is positioned in the

        reservoir as I have already discussed. I adopt that discussion here.



                                                -125-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 128 of 461




17(d) activating a fan to direct air through the heat radiator, the fan being operated by a motor

separate from the motor of the pump.

200.    As I have already discussed, this portion of Claim 17 was disclosed or taught by Ryu; I

        adopt that prior analysis here.

201.    To the extent this was not disclosed or taught from Ryu, it would have been obvious to a

        POSA based on her experience, education, and training. Fans are ubiquitous in their use

        directing air through heat radiators. Often air fans are operated with a motor separate for

        the motor of the liquid pump. A POSA would have been motivated to use a separate motor

        because air fans are typically purchased with their own locomotive system. Furthermore,

        separate motors allow the air fan and the liquid pump to be controlled separately based on

        the heating requirements of the system. This allows impeller speeds to be modulated

        independently, reducing noise and wasted energy. Furthermore, separate motors provide a

        safety measure – if one motor fails the other motor will continue to operate and provide

        cooling.

202.    To the extent this was not disclosed or taught to a POSA, it would have been obvious in

        view of Batchelder, which shows a pump that has an impeller that is positioned in the

        reservoir as I have already discussed. I adopt that discussion here. In addition, the torque

        requirements for an air fan and a liquid pump tend to be very different and would have

        preferably been driven by different motors generating different torques from a POSA’s

        perspective. These factors would have motivated a POSA to use two different motors.




                                               -126-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 129 of 461




Claim 18: The method of claim 17 wherein activating the pump includes circulating cooling

liquid between the upper and lower chambers of the reservoir

203.    As I have already discussed, Ryu discloses a pump activated to circulate cooling liquid

        between the upper and lower chambers of the reservoir; I adopt that prior analysis here.

204.    To the extent this claim was not disclosed or taught by Ryu, it would have been obvious

        to a POSA based on her experience, education, and training. A POSA would have found

        it routine to use a pump to circulate cooling liquid between upper and lower chambers of

        a reservoir. I have used such fluid pumps multiple times myself, as I have already

        discussed. A POSA would have been motivated to circulate liquid between the upper and

        lower chambers of the reservoir because it would be an efficient way to deliver liquid to

        the vicinity of the heat generating device.

205.    If this claim was not disclosed or taught with Ryu in view of the experience, education,

        and training of a POSA, it would have been obvious in view of Batchelder. Batchelder

        discloses a pump that circulates cooling liquid between upper and lower chambers of a

        reservoir, as I have already discussed. I adopt that prior analysis here.



Claim 19: The method of claim 18, wherein circulating the cooling liquid between the upper and

lower chambers includes passing the cooling liquid from the upper chamber to the lower

chamber through a single passageway of the one or more passageways.

206.    To the extent this limitation was not disclosed or taught based on Ryu alone, then it

        would have been obvious to a POSA based on her experience, education, and training.

        The circulating of cooling liquid between two chambers through a single passageway is a

        trivial design exercise for a POSA working on the thermal management of electronics, as



                                                -127-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 130 of 461




        I have already discussed. A POSA would have been motivated to circulate cooling liquid

        between the upper and lower chambers through a single passageway because it is an

        efficient way to deliver fluid to the vicinity of the heat-generating component.

207.    To the extent it was not disclosed or taught based on Ryu and the knowledge of a POSA,

        it would have been obvious in view of Batchelder. I have already analyzed Batchelder

        against this claim and I adopt that prior analysis here.



F.      Ground 6 – Batchelder in View of Shin

208.    It is my opinion that Batchelder, in view of Shin and in view of the knowledge of a

        POSA, renders claims 17 and 19 of the ’362 patent invalid.



Claim 17 preamble: A method of operating a liquid cooling system for an electronic component

positioned on a motherboard of a computer system, comprising:

209.    The preamble of claim 17 was disclosed or taught by the combination of Batchelder and

        Shin, or by each reference individually, as I have already explained. I adopt that prior

        analysis here.



17(a) separably thermally coupling a heat exchanging interface of a reservoir with the electronic

component positioned at a first location on the motherboard…….

210.    This limitation portion of claim 17 was disclosed or taught by the combination of

        Batchelder and Shin, as I have already explained. I adopt that prior analysis here.




                                                -128-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 131 of 461




… the reservoir including an upper chamber and a lower chamber, the upper chamber and the

lower chamber being separate chambers that are vertically spaced apart and separated by at least

a horizontal wall, …

211.    This limitation portion of claim 17 was disclosed or taught by the combination of

        Batchelder and Shin, as I have already explained. I adopt that prior analysis here.



… the upper chamber and the lower chamber being fluidly coupled by one or more passageways,

at least one of the one or more passageways being positioned on the horizontal wall, the heat

exchanging interface being removably coupled to the reservoir such that an inside surface of the

heat exchanging interface is exposed to the lower chamber of the reservoir.

212.    This limitation portion of claim 17 was disclosed or taught by the combination of

        Batchelder and Shin, as I have already explained. I adopt that prior analysis here.



17(b) positioning a heat radiator at a second location horizontally spaced apart from the first

location, the heat radiator and the reservoir being fluidly coupled together by tubing that extends

from the first location to the second location;

213.    This limitation of claim 17 was disclosed or taught by the combination of Batchelder and

        Shin, as I have already explained. I adopt that prior analysis here.



17(c) activating a pump to a [sic] circulate a cooling liquid through the reservoir and the heat

radiator, the pump including a motor and an impeller having curved blades, the impeller being

positioned in the reservoir; and




                                                  -129-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 132 of 461




214.    This limitation of claim 17 was disclosed or taught by the combination of Batchelder and

        Shin, as I have already explained. I adopt that prior analysis here.



17(d) activating a fan to direct air through the heat radiator, the fan being operated by a motor

separate from the motor of the pump.

215.    This limitation of claim 17 was disclosed or taught by the combination of Batchelder and

        Shin, as I have already explained. I adopt that prior analysis here.



Claim 18: The method of claim 17 wherein activating the pump includes circulating cooling

liquid between the upper and lower chambers of the reservoir

216.    This claim was disclosed or taught by the combination of Batchelder and Shin, as I have

        already explained. I adopt that prior analysis here.



Claim 19: The method of claim 18, wherein circulating the cooling liquid between the upper and

lower chambers includes passing the cooling liquid from the upper chamber to the lower

chamber through a single passageway of the one or more passageways.

217.    This claim was disclosed or taught by the combination of Batchelder and Shin, as I have

        already explained. I adopt that prior analysis here.



G.      Ground 7 – Batchelder in View of Ryu

218.    It is my opinion that Batchelder, in view of Ryu and in view of the knowledge of a

        POSA, renders claims 17 and 19 of the ’362 patent invalid.




                                                -130-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 133 of 461




Claim 17 preamble: A method of operating a liquid cooling system for an electronic component

positioned on a motherboard of a computer system, comprising:

219.    The preamble of claim 17 was disclosed or taught by the combination of Batchelder and

        Ryu, as I have already explained. I adopt that prior analysis here.

220.

17(a) separably thermally coupling a heat exchanging interface of a reservoir with the electronic

component positioned at a first location on the motherboard…….

221.    This limitation portion of claim 17 is disclosed or rendered obvious by the combination of

        Batchelder and Ryu, as I have already explained. I adopt that prior analysis here.



…the reservoir including an upper chamber and a lower chamber, the upper chamber and the

lower chamber being separate chambers that are vertically spaced apart and separated by at least

a horizontal wall, …

222.    This limitation portion of claim 17 was disclosed or taught by the combination of

        Batchelder and Ryu, as I have already explained. I adopt that prior analysis here.



…the upper chamber and the lower chamber being fluidly coupled by one or more passageways,

at least one of the one or more passageways being positioned on the horizontal wall, the heat

exchanging interface being removably coupled to the reservoir such that an inside surface of the

heat exchanging interface is exposed to the lower chamber of the reservoir.

223.    This limitation portion of claim 17 was disclosed or taught by the combination of

        Batchelder and Ryu, as I have already explained. I adopt that prior analysis here.




                                               -131-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 134 of 461




17(b) positioning a heat radiator at a second location horizontally spaced apart from the first

location, the heat radiator and the reservoir being fluidly coupled together by tubing that extends

from the first location to the second location;

224.    This limitation of claim 17 was disclosed or taught by the combination of Batchelder and

        Ryu, as I have already explained. I adopt that prior analysis here.



17(c) activating a pump to a [sic] circulate a cooling liquid through the reservoir and the heat

radiator, the pump including a motor and an impeller having curved blades, the impeller being

positioned in the reservoir; and

225.    This limitation of claim 17 was disclosed or taught by the combination of Batchelder and

        Ryu, as I have already explained. I adopt that prior analysis here.



17(d) activating a fan to direct air through the heat radiator, the fan being operated by a motor

separate from the motor of the pump.

226.    This limitation of claim 17 was disclosed or taught by the combination of Batchelder and

        Ryu, as I have already explained. I adopt that prior analysis here.



Claim 18: The method of claim 17 wherein activating the pump includes circulating cooling

liquid between the upper and lower chambers of the reservoir

227.    This claim was disclosed or taught by the combination of Batchelder and Ryu, as I have

        already explained. I adopt that prior analysis here.




                                                  -132-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 135 of 461




Claim 19: The method of claim 18, wherein circulating the cooling liquid between the upper and

lower chambers includes passing the cooling liquid from the upper chamber to the lower

chamber through a single passageway of the one or more passageways.

228.    This claim was disclosed or taught by the combination of Batchelder and Ryu, as I have

        already explained. I adopt that prior analysis here.



H.      Ground 8 – Batchelder in View of Wu

229.    It is my opinion that Batchelder, in view of Wu and in view of the knowledge of a POSA,

        renders claims 17 and 19 of the ’362 patent invalid.



Claim 17 preamble: A method of operating a liquid cooling system for an electronic component

positioned on a motherboard of a computer system, comprising:

230.    The preamble of claim 17 was disclosed or taught by the combination of Batchelder and

        Wu, as I have already explained. I adopt that prior analysis here.



17(a) separably thermally coupling a heat exchanging interface of a reservoir with the electronic

component positioned at a first location on the motherboard…….

231.    This limitation portion of claim 17 was disclosed or taught by the combination of

        Batchelder and Wu, as I have already explained. I adopt that prior analysis here.



…the reservoir including an upper chamber and a lower chamber, the upper chamber and the

lower chamber being separate chambers that are vertically spaced apart and separated by at least

a horizontal wall, …



                                                -133-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 136 of 461




232.    This limitation portion of claim 17 was disclosed or taught by the combination of

        Batchelder and Wu, as I have already explained. I adopt that prior analysis here.



…the upper chamber and the lower chamber being fluidly coupled by one or more passageways,

at least one of the one or more passageways being positioned on the horizontal wall, the heat

exchanging interface being removably coupled to the reservoir such that an inside surface of the

heat exchanging interface is exposed to the lower chamber of the reservoir.

233.    This limitation portion of claim 17 was disclosed or taught by the combination of

        Batchelder and Wu, as I have already explained. I adopt that prior analysis here.



17(b) positioning a heat radiator at a second location horizontally spaced apart from the first

location, the heat radiator and the reservoir being fluidly coupled together by tubing that extends

from the first location to the second location;

234.    This limitation of claim 17 was disclosed or taught by the combination of Batchelder and

        Wu, as I have already explained. I adopt that prior analysis here.



17(c) activating a pump to a [sic] circulate a cooling liquid through the reservoir and the heat

radiator, the pump including a motor and an impeller having curved blades, the impeller being

positioned in the reservoir; and

235.    This limitation of claim 17 was disclosed or taught by the combination of Batchelder and

        Wu, as I have already explained. I adopt that prior analysis here.




                                                  -134-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 137 of 461




17(d) activating a fan to direct air through the heat radiator, the fan being operated by a motor

separate from the motor of the pump.

236.    This limitation of claim 17 was disclosed or taught by the combination of Batchelder and

        Wu, as I have already explained. I adopt that prior analysis here.



Claim 18: The method of claim 17 wherein activating the pump includes circulating cooling

liquid between the upper and lower chambers of the reservoir

237.    This claim was disclosed or taught by the combination of Batchelder and Wu, as I have

        already explained. I adopt that prior analysis here.



Claim 19: The method of claim 18, wherein circulating the cooling liquid between the upper and

lower chambers includes passing the cooling liquid from the upper chamber to the lower

chamber through a single passageway of the one or more passageways.

238.    This claim was disclosed or taught by the combination of Batchelder and Wu, as I have

        already explained. I adopt that prior analysis here.



I.      Ground 9 – Yu in View of Wu

239.    It is my opinion that Yu, in view of Wu and in view of the knowledge of a POSA, renders

        claims 17 and 19 of the ’362 patent invalid.



Claim 17 preamble: A method of operating a liquid cooling system for an electronic component

positioned on a motherboard of a computer system, comprising:




                                                -135-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 138 of 461




240.    The preamble of claim 17 was disclosed or taught by Yu and Wu, as I have already

        explained. I adopt that prior analysis here.



17(a) separably thermally coupling a heat exchanging interface of a reservoir with the electronic

component positioned at a first location on the motherboard…….

241.    This limitation portion of claim 17 was disclosed or taught by Yu and Wu, as I have already

        explained. I adopt that prior analysis here.



… the reservoir including an upper chamber and a lower chamber, the upper chamber and the

lower chamber being separate chambers that are vertically spaced apart and separated by at least

a horizontal wall, …

242.    This limitation portion of claim 17 was disclosed or taught by Yu and Wu, as I have already

        explained. I adopt that prior analysis here.



…the upper chamber and the lower chamber being fluidly coupled by one or more passageways,

at least one of the one or more passageways being positioned on the horizontal wall, the heat

exchanging interface being removably coupled to the reservoir such that an inside surface of the

heat exchanging interface is exposed to the lower chamber of the reservoir.

243.    This limitation portion of claim 17 was disclosed or taught by Yu and Wu, as I have already

        explained. I adopt that prior analysis here.




                                                -136-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 139 of 461




17(b) positioning a heat radiator at a second location horizontally spaced apart from the first

location, the heat radiator and the reservoir being fluidly coupled together by tubing that extends

from the first location to the second location.

244.    This limitation of claim 17 was disclosed or taught by Yu and Wu, as I have already

        explained. I adopt that prior analysis here.



17(c) activating a pump to a [sic] circulate a cooling liquid through the reservoir and the heat

radiator, the pump including a motor and an impeller having curved blades, the impeller being

positioned in the reservoir; and

245.    This limitation portion of claim 17 was disclosed or taught by Yu and Wu, as I have already

        explained. I adopt that prior analysis here.



17(d) activating a fan to direct air through the heat radiator, the fan being operated by a motor

separate from the motor of the pump.

246.    This limitation portion of claim 17 was disclosed or taught by Yu and Wu, as I have already

        explained. I adopt that prior analysis here.



Claim 18: The method of claim 17 wherein activating the pump includes circulating cooling

liquid between the upper and lower chambers of the reservoir

247.    This claim was disclosed or taught by Yu and Wu, as I have already explained. I adopt that

        prior analysis here.




                                                  -137-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 140 of 461




Claim 19: The method of claim 18, wherein circulating the cooling liquid between the upper and

lower chambers includes passing the cooling liquid from the upper chamber to the lower

chamber through a single passageway of the one or more passageways.

248.    This claim was disclosed or taught by Yu and Wu, as I have already explained. I adopt that

        prior analysis here.



VIII. ANALYSIS OF VALIDITY OF THE ’196 PATENT PURSUANT TO 35 U.S.C.
      §§ 102 AND/OR 103


249.    I have considered the prior art and their combinations in forming my opinions on invalidity

        of claims 1, 2, and 13 of the ’196 patent pursuant to §§ 102 and/or 103:

        x       JP 2002-151638 (Shin)

        x       KR 2003-0031027 (Ryu)

        x       U.S. 7,544,049 (Koga)

        x       U.S. Patent Application 2006/0185830 (Duan)



250.    It is my opinion that claims 1, 2, and 13 of the ’196 patent are invalid by anticipation or

        obviousness under the following grounds:

            Ground Combination

            1       Duan (claims 1, 2, and 13)

            2       Shin in view of Duan (claims 1, 2, and 13)

            3       Ryu in view of Duan (claims 1, 2, and 13)

            4       Koga in view of Duan (claims 1, 2, and 13)




                                                 -138-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 141 of 461




A.      Ground 1 - Duan

251.    It is my opinion that Duan, either alone or in view the knowledge of a POSA, renders the

        claims 1, 2, and 13 of the ’196 patent invalid.



Claim 1 (preamble) A liquid cooling system for cooling a heat-generating component of a

        computer, comprising

        A POSA would have been motivated to use a liquid cooling system for removing heat

        from a heat generating component because liquids are excellent heat transfer fluids and

        are able to quickly and effectively remove thermal energy. It is my understanding that the

        preamble to claim 1 is not limiting. But to the extent it is limiting, Duan discloses or

        teaches a liquid cooling system for cooling a heat-generating component of a computer.

        Duan identifies a computer chip as item 200 and explicitly discusses its role in cooling

        computer systems (including the discussion of prior art), for example:




                                                Duan [0005]

                                                -139-
Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 142 of 461




                              Duan [0022]




                              Duan [0026]




                              Duan Figure 1




                              -140-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 143 of 461




                                              Duan, Figure 6



1(a) a reservoir configured to circulate a cooling liquid therethrough, the reservoir including:

252.    Duan discloses the claimed reservoir configured to circulate a cooling liquid

        therethrough. The following image outlines the region of Duan that is the claimed

        reservoir. The throughflow of cooling liquid is indicated by the arrows in the following

        image. A POSA would have been motivated to utilize a reservoir for circulating a cooling

        liquid because reservoirs are efficient and simple means of routing fluid to a heated

        region and thus facilitate heat removal from that region.



                                               -141-
Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 144 of 461




                           Duan Figure 7




                          Duan, Figure 3



                               -142-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 145 of 461




1(b) a pump chamber housing an impeller and defined at least in part by an impeller cover and a

        double-sided chassis, the impeller being position on one side of the chassis and a stator

        of the pump is positioned on an opposite side of the chassis, wherein the pump chamber

        includes:

253.    Duan includes a pump chamber housing an impeller and defined at least in part by an

        impeller cover and a double-sided chassis. The impeller of Duan is positioned on one side

        of the chassis and a stator of the pump is positioned on the opposite side of the chassis, as

        shown in the figures that follow.

254.    In this image, the rotor (orange) and the stator (yellow) are on opposite sides of the

        double-sided chassis (red).




                                            Duan, Figure 6


                                                -143-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 146 of 461




255.    The following section view also shows the stator (yellow) and impeller (orange)

        separated by the double-sided chassis (red). A POSA would have been motivated to use a

        pump chamber housing an impeller and defined by an impeller cover and a double-sided

        chassis with the impeller and stator positioned on opposite sides of the chassis. Such a

        design isolates the stator from the impeller and facilitates the routing of fluid to the

        heated region




                                            Duan Figure 7



1(c) an inlet defined by the impeller cover positioned below a center of the impeller configured

        to enable a cooling liquid to flow into the center of the pump chamber,

256.    Duan also discloses an impeller cover (225) that has been colored green. That cover is

        positioned below the center of the impeller to enable cooling liquid to flow into the center

                                                -144-
Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 147 of 461




 of the pump chamber (21). A POSA would have been motivated to incorporate an

 impeller cover positioned below a center of the impeller and configured to enable a

 cooling fluid to flow into the center of the pump chamber. Such an arrangement is a

 simple and hydraulically efficient way to route fluid and reduce fluid connections and to

 improve heat transfer.




                                  Duan, Figure 7




                                  Duan, Figure 3

                                       -145-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 148 of 461




1(d) an outlet defined by the impeller cover positioned tangentially to the circumference of the

        impeller,

257.    Duan further teachers an outlet defined by the impeller cover positioned tangentially to

        the circumference of the impeller (shown in orange below). A POSA would have been

        motivated to position an outlet tangential to the circumference of the impeller because

        this reduces hydraulic resistance and improves the pump performance




                                          Duan, Figure 2



258.    This outlet is assembled to align with another port on the accommodation chamber 21, as

        shown here.




                                              -146-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 149 of 461




                                        Duan, Figure 3



1(e) a thermal exchange chamber configured to be disposed between the pump chamber and a

        heat-generating component when the system is installed on a heat-generating component;

259.    Duan also teaches a thermal exchange chamber (3) that is configured to be disposed

        between the pump chamber (210) and a heat generating component (200).

260.    Duan discusses both chambers, for example, in the following. The referenced

        accommodation chamber is the claimed pump chamber and cap (3) creates the claimed

        thermal exchange chamber.




                                             -147-
Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 150 of 461




                            Duan [0009]




                            Duan [0023]




                            Duan [0027]


                               -148-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 151 of 461




                                         Duan [0029]




                                        Duan, Claim 1



261.    The following image highlights the thermal exchanger chamber.




                                       Duan, Figure 7

                                            -149-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 152 of 461




                                         Duan, Figure 8

262.    An inverted orientation of the thermal exchange chamber is provided below. The

        thermal exchange chamber is identified as item 3. The surface that thermally couples to

        the heat-generating electronics is item 11, colored in red.




                                              -150-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 153 of 461




                                        Duan, Figure 4



263.    Using a similar color scheme to identify the thermal exchange chamber, the following

        image is provided. A POSA would have been motivated to incorporate a thermal

        exchange chamber disposed between the pump chamber and the heat-generating

        component because the close proximity of the thermal exchange chamber and the heat-

        generating component would reduce thermal resistance and lower temperatures.




                                             -151-
Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 154 of 461




                           Duan, Figure 2




                               -152-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 155 of 461




                                           Duan, Figure 7



1(f) a heat-exchanging interface forming a boundary wall of the thermal exchange chamber, the

        heat-exchanging interface has an outer surface configured to be placed in thermal

        contact with a surface of a heat-generating component and an inner surface that defines

        a plurality of channels that direct the flow of the cooling liquid within the thermal

        exchange chamber;

264.    Duan also discloses a heat-exchanging interface that forms a boundary wall of the

        thermal exchange chamber. The heat-exchanging interface has an outer surface

        configured to be placed in thermal contact with a heat-generating component and an inner

        surface that defines a plurality of channels that direct the flow of cooling liquid within the



                                                -153-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 156 of 461




        thermal exchange chamber. The channels that direct fluid are plates 12 that are described

        in the following:




                                          Duan [0022]




                                          Duan [0027]




265.    The heat exchanging surface disclosed by Duan is illustrated in the following image.




                                              -154-
Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 157 of 461




                           Duan, Figure 4




                           Duan, Figure 2

                               -155-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 158 of 461




                                          Duan, Figure 7



266.    The heat exchanging interface is designed to be placed in contact with a heat-generating

        component, as shown here (and shown in red in prior images). A POSA would have been

        motivated to use a heat-exchanging interface that is a boundary wall of the thermal

        exchange chamber and in thermal contact with a heat-generating component and with an

        inner surface that has a plurality of channels to direct the flow. The close proximity of

        the heat-exchange interface to the thermal exchange chamber and to the heat-generating

        component reduces the thermal resistance and lowers the temperature. In addition, use of

        channels increases the convective heat transfer and also reduces temperatures.




                                               -156-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 159 of 461




                                            Duan [0022]




                                           Duan, Claim 1



1(g) a heat radiator adapted to pass the cooling liquid therethrough, the heat radiator being

        fluidly coupled to the reservoir via fluid conduits, the heat radiator being configured to

        dissipate heat from the cooling liquid;

267.    Duan also discloses a heat radiator that is adapted to pass cooling liquid therethrough, the

        heat radiator being fluidly coupled to the reservoir by fluid conduits, the heat radiator

        being configured to dissipate heat from the cooling liquid. These features are discussed

        both in the discussion of prior art as well as in the description of the invention. A POSA

        would have been motivated to use a radiator adapted to pass cooling liquid therethrough

        with the radiator coupled to the reservoir. Such an arrangement allows the heat from the



                                                  -157-
Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 160 of 461




 heat-generating component to be removed from the vicinity of the heat-generating

 location and transferred to the ambient environment in an efficient manner.




                                   Duan [0005]




                                   Duan [0028]




                                       -158-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 161 of 461




                                          Duan, Figure 6



1(h) a first passage fluidly coupling the pump chamber and the thermal exchange chamber,

        wherein the first passage is configured to direct the cooling liquid from the outlet of the

        pump chamber into the thermal exchange chamber between a first end and a second end

        of the thermal exchange chamber.

268.    Duan discloses the claimed first passage that fluidly couples the pump chamber and the

        thermal exchange chamber, wherein the first passage is configured to direct the cooling

        liquid from the outlet of the pump chamber into the thermal exchange chamber between a

        first end and a second end of the thermal exchange chamber, as shown in the following

        images. A POSA would have been motivated to utilize a passage to fluidly couple the



                                               -159-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 162 of 461




        pump chamber and the thermal exchange chamber. This allows the cooling liquid to pass

        from the pump chamber to the thermal exchange chamber. As can be seen below, the

        first passage of Duan (24) is further configured to direct the cooling liquid from the outlet

        of the pump chamber into the thermal exchange chamber between the first end and the

        second end of the thermal exchange chamber (blue arrow indicating the flow from the

        outlet of the pump chamber into the thermal exchange chamber). This flow between the

        first end and the second end of the thermal exchange chamber allows the cooling fluid to

        more directly impact the heat transfer region and facilities a more uniform temperature.



                                                                           Second end
               First end




                                          Duan Figure 8



Claim 2: wherein the thermal exchange chamber includes at least one second passage

configured to direct the cooling liquid out of the thermal exchange chamber, the at least one

second passage is positioned at either a first end or a second end of the thermal exchange

chamber.



269.    Duan discloses the limitations in claim 2 as shown below. A POSA would have been

        motivated to use a thermal exchange chamber that includes a second passage configured
                                               -160-
Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 163 of 461




 to direct cooling liquid out of the thermal exchange chamber so that the fluid can

 circulate between the two chambers and draw heat away from the heat-generating

 component and distribute the heat to the ambient environment.




                                    Duan [0026]




                                   Duan Figure 6




                                        -161-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 164 of 461




                                            Duan [0027]




                                           Duan Figure 8



Claim 10 Preamble A liquid cooling system for cooling a heat-generating component of a

        computer, comprising;

270.    For reasons already discussed in relation to claim 1, Duan discloses the preamble of this

        claim. I adopt that prior analysis here.

10(a) a reservoir configured to circulate a cooling liquid therethrough, the reservoir including,

271.    For reasons already discussed in relation to claim 1, Duan discloses the preamble of this

        claim. I adopt that prior analysis here.

                                                   -162-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 165 of 461




10(b) a pump chamber housing an impeller and defined at least in part by an impeller cover and

        a double-sided chassis, the impeller being positioned on one side of the chassis and a

        stator of the pump is positioned on an opposite side of the chassis, wherein the pump

        chamber includes,

272.    For reasons already discussed in relation to claim 1, Duan discloses the preamble of this

        claim. I adopt that prior analysis here.



10(c) an inlet defined by the impeller cover positioned below a center of the impeller configured

        to enable a cooling liquid to flow into the center of the pump chamber,

273.    For reasons already discussed in relation to claim 1, Duan discloses the preamble of this

        claim. I adopt that prior analysis here.



10(d) an outlet defined by the impeller cover positioned tangentially to the circumference of the

        impeller;

274.    For reasons already discussed in relation to claim 1, Duan discloses the preamble of this

        claim. I adopt that prior analysis here.



10(e) a thermal exchange chamber configured to be disposed between the pump chamber and a

        heat-generating component when the system is installed on a heat-generating component;

275.    For reasons already discussed in relation to claim 1, Duan discloses the preamble of this

        claim. I adopt that prior analysis here.




                                                   -163-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 166 of 461




10(f) a heat-exchanging interface forming a boundary wall of the thermal exchange chamber, the

        heat-exchanging interface has an outer surface configured to be placed in thermal

        contact with a surface of a heat-generating component and an inner surface that defines

        a plurality of parallel channels that are configured to direct the flow of the cooling liquid

        within the thermal exchange chamber;

276.    For reasons already discussed in relation to claim 1, Duan discloses the preamble of this

        claim. I adopt that prior analysis here.

10(g) a heat radiator adapted to pass the cooling liquid therethrough, the heat radiator being

        fluidly coupled to the reservoir via fluid conduits, the heat radiator being configured to

        dissipate heat from the cooling liquid;

277.    For reasons already discussed in relation to claim 1, Duan discloses the preamble of this

        claim. I adopt that prior analysis here.



10(h) a set of four mounting legs configured to secure the heat-exchanging interface to a heat-

        generating component of a computer.

278.    Duan discloses or teaches this limitation, as evident by the cited prior art, that is

        reproduced here.




                                                   -164-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 167 of 461




                                           Duan Figure 1



279.    To the extent Duan does not teach or disclose a set of four mounting legs, it would have

        been obvious to a POSA to use mounting legs. In fact, the admitted prior art in the

        asserted patents disclose such mounting legs, as shown above. Retaining frame 3 has four

        legs which are matched with four legs of brace 6. A POSA would have been motivated to

        use four legs to secure the thermal exchange interface to the heat-generating component

        because the legs provide a uniform contact at the interface and thereby reduces thermal

        resistance.




                                       ’196 patent, Figure 1



Claim 13: The liquid cooling system of claim 10, wherein the double-sided chassis defines a

        recess configured to house the stator.

280.    Duan discloses or teaches this limitation. Duan teaches a double-sided chassis that

        defines a recess that is configured to house the stator, as shown here, where the chassis is

        highlighted in red. A POSA would have been motivated to use a double sided chassis


                                                 -165-
Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 168 of 461




 with a recess to house the stator because this arrangement effectively isolates the stator

 from the impeller and helps the pump efficiently direct fluid to the heated region where is

 removes heat and transfers the heat to the ambient environment.




                                    Duan Figure 7




                                        -166-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 169 of 461




                                                   Duan Figure 7

B.      Ground 2 – Shin in View of Duan

281.    It is my opinion that Shin in view of Duan renders claims 1, 2, and 13 of the ’196 patent

        invalid.



Claim 1 (preamble) A liquid cooling system for cooling a heat-generating component of a

computer, comprising

282.    It is my understanding that the preamble to claim 1 is not limiting. But, to the extent the

        preamble is determined to be limiting, Shin teaches this preamble. Shin discloses g a

        liquid cooling system for cooling a heat-generating component of a computer.

283.    The title of Shin is “COOLING DEVICE FOR ELECTRONIC EQUIPMENT”




                                               -167-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 170 of 461




284.    The abstract of Shin clearly states that it is a liquid cooling system. The abstract states “A

        cooling structure for compactly mounting a liquid cooled heat sink and pump inside a

        case.”

285.    Shin makes clear that it is intended to be used for cooling heat-generating components of

        a computer; as evidenced by the following representative but non-exhaustive passages.




                                             Shin [0007]




                                        Shin P [0008-0011]




                                                -168-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 171 of 461




                                           Shin [0012]




                                           Shin [0013]




                                           Shin [0030]



286.    To the extent this was not disclosed or taught by Shin, it would have been obvious in

        view of the knowledge of a POSA. Liquid cooling systems for electronic components on

        a motherboard of a computer system are commonly encountered by POSAs working on

                                              -169-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 172 of 461




        thermal management of electronics. This is shown by the following figure, which was

        cited as prior art in the asserted patents:




                                            ’196 Figure 3, prior art



287.    To the extent that this was not disclosed or taught by Shin, with the knowledge of a

        POSA, it would have been obvious based on Duan for reasons I have already articulated

        in my discussion of Ground 1. I adopt that prior analysis here. A POSA would have been

        motivated to use a liquid cooling system for removing heat from a heat generating

        component because liquids are excellent heat transfer fluids and are able to quickly and

        effectively remove thermal energy.



1(a) a reservoir configured to circulate a cooling liquid therethrough, the reservoir including:

288.    Shin renders obvious a reservoir (denoted by golden color below) that is configured to

        circulate a cooling liquid therethrough, as I have already opined above. I adopt that prior

        analysis here.



                                                 -170-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 173 of 461




                                                                     Pump chamber




            Thermal
            exchange
            chamber




   (Schematic of cross-sectional view of the single-receptacle “reservoir” of modified Shin)



289.    To the extent that this limitation was not disclosed or taught by Shin, with the knowledge

        of a POSA, it would have been obvious in view of Duan for reasons I have already

        articulated in my discussion of Ground 1. This is because Duan discloses a reservoir. I

        adopt that prior analysis here. As I have already stated, a POSA would have been

        motivated to utilize a reservoir for circulating a cooling liquid because reservoirs are




                                                -171-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 174 of 461




        efficient and simple means of routing fluid to a heated region and thus facilitate heat

        removal from that region.



1(b) a pump chamber housing an impeller and defined at least in part by an impeller cover and a

        double-sided chassis, the impeller being position on one side of the chassis and a stator

        of the pump is positioned on an opposite side of the chassis, wherein the pump chamber

        includes:

290.    Shin discloses a pump chamber that houses an impeller and defined at least in part by an

        impeller cover and a double-sided chassis. The impeller is positioned on one side of the

        chassis and a stator of the pump is positioned on the opposite side of the chassis.




                                            Shin [0018]



291.    The impeller of Shin is contained within impeller case 11 while the stator is provided

        within motor 12. The claimed double-sided chassis is the interface between impeller case

        11 and motor 12.




                                               -172-
   Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 175 of 461




                                     Shin, Figure 2
(with the pump chamber and the thermal exchange chamber integrated into a one-receptacle
                               structure as shown below)



                                                            Pump chamber




         Thermal
         exchange
         chamber




                                         -173-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 176 of 461




    (Schematic of cross-sectional view of the single-receptacle “reservoir” of modified Shin)



292.    To the extent this limitation was not disclosed or taught by Shin, it would have been

        obvious in view of the experience, education, and training of a POSA. Utilizing a pump

        wherein the stator and the impeller are separated by a double-sided chassis and the

        impeller is confined to a pump chamber is routine for a POSA working with pumps and

        thermal management of electronics. A POSA would have been motivated to use a pump

        chamber housing an impeller and defined by an impeller cover and a double-sided chassis

        with the impeller and stator positioned on opposite sides of the chassis. Such a design

        isolates the stator from the impeller and facilitates the routing of fluid to the heated

        region.

293.    To the extent that this was not disclosed or taught by Shin with the knowledge of a

        POSA, it would have been obvious based on Duan for reasons I have already articulated

        in my discussion of Ground 1. I adopt that prior analysis here.



1(c) an inlet defined by the impeller cover positioned below a center of the impeller configured

        to enable a cooling liquid to flow into the center of the pump chamber,



                                                -174-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 177 of 461




294.    Shin discloses an inlet defined by the impeller cover positioned below a center of the

        impeller and configured to enable a liquid to flow into the center of the pump chamber.




                                          Shin, Figure 2

  (with the pump chamber and the thermal exchange chamber integrated into a one-receptacle
                                 structure as shown below)



                                                                   Pump chamber




            Thermal
            exchange
            chamber




                                              -175-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 178 of 461




    (Schematic of cross-sectional view of the single-receptacle “reservoir” of modified Shin)

295.    To the extent this was not disclosed or taught by Shin, it would have been obvious based

        on the experience, education, and training of a POSA. Inlets to pumps provided by an

        inlet in the center of a pump are extremely common and ubiquitous. I have worked with

        such pumps numerous times in my career and these would be routine for a POSA

        working with pumps or the thermal management of heat-generating components. A

        POSA would have been motivated to incorporate an impeller cover positioned below a

        center of the impeller and configured to enable a cooling fluid to flow into the center of

        the pump chamber. Such an arrangement is a simple and hydraulically efficient way to

        route fluid and reduce fluid connections and to improve heat transfer.

296.    To the extent that this was not disclosed or taught by Shin, with the knowledge of a

        POSA, it would have been obvious based on Duan for reasons I have already articulated

        in my discussion of Ground 1. I adopt that prior analysis here.



1(d) an outlet defined by the impeller cover positioned tangentially to the circumference of the

        impeller,

297.    Shin discloses an outlet defined by the impeller cover and positioned tangentially to the

        circumference of the impeller, as shown here.

                                               -176-
   Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 179 of 461




                                        Shin, Figure 2

(with the pump chamber and the thermal exchange chamber integrated into a one-receptacle
            structure as shown below – the tangential outlet is still labeled as 7)



                                                            Pump chamber




         Thermal
         exchange
         chamber




                                         -177-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 180 of 461




   (Schematic of cross-sectional view of the single-receptacle “reservoir” of modified Shin)



298.    To the extent this limitation is not taught by Shin, it would have been obvious based on

        the experience, education, and training of a POSA. Pumps commonly have outlets that

        are positioned tangentially to the circumference of the impeller, as claimed. I have

        personally worked with numerous pumps that are so designed. A POSA would have been

        motivated to position an outlet tangential to the circumference of the impeller because

        this reduces hydraulic resistance and improves the pump performance.

299.    To the extent that this was not disclosed or taught by Shin, with the knowledge of a

        POSA, it would have been obvious based on Duan for reasons I have already articulated

        in my discussion of Ground 1. I adopt that prior analysis here.



1(e) a thermal exchange chamber configured to be disposed between the pump chamber and a

        heat-generating component when the system is installed on a heat-generating component;

300.    Shin discloses a thermal exchange chamber (20) that is disposed between a pump

        chamber and a heat-generating component when the system is installed on a heat-

        generating component, as shown here:



                                               -178-
   Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 181 of 461




                                     Shin, Figure 2
(with the pump chamber and the thermal exchange chamber integrated into a one-receptacle
                               structure as shown below)



                                                             Pump chamber




             Thermal
             exchange
             chamber




 (Schematic of cross-sectional view of the single-receptacle “reservoir” of modified Shin)

                                          -179-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 182 of 461




301.    To the extent this was not disclosed or taught by Shin, it would have been obvious based

        on the experience, education, and training of a POSA. Implementing a thermal exchange

        chamber between a pump chamber and a heat-generating component is commonly

        performed by a POSA working in thermal management of electronics. The motor region

        of a liquid pump houses the electric and largely stationary components of the electric

        motor while the pump chamber houses the rotating impeller that provides the locomotion

        to the fluid. A POSA would have been motivated to incorporate a thermal exchange

        chamber disposed between the pump chamber and the heat-generating component

        because the close proximity of the thermal exchange chamber and the heat-generating

        component would reduce thermal resistance and lower temperatures.

302.    To the extent that this was not disclosed or taught by Shin, with the knowledge of a

        POSA, it would have been obvious based on Duan for reasons I have already articulated

        in my discussion of Ground 1. I adopt that prior analysis here.

1(f) a heat-exchanging interface forming a boundary wall of the thermal exchange chamber, the

        heat-exchanging interface has an outer surface configured to be placed in thermal

        contact with a surface of a heat-generating component and an inner surface that defines

        a plurality of channels that direct the flow of the cooling liquid within the thermal

        exchange chamber;

303.    Shin discloses a heat-exchanging interface that forms a boundary wall of the thermal

        exchange chamber as claimed.




                                               -180-
   Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 183 of 461




                                     Shin, Figure 2

(with the pump chamber and the thermal exchange chamber integrated into a one-receptacle
                               structure as shown below)


                                                            Pump chamber




         Thermal
         exchange
         chamber




                                         -181-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 184 of 461




   (Schematic of cross-sectional view of the single-receptacle “reservoir” of modified Shin)




                                          Shin, Figure 3



304.    The heat-exchanging interface of Shin is placed in thermal contact with the heat-

        generating components, as discussed here.




                                              -182-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 185 of 461




                                           Shin, [0012]




                                           Shin, [0007]



305.    To the extent this limitation was not disclosed or taught by Shin, it would have been

        obvious based on the experience, education, and training of a POSA. When cooling

        computer systems, the cooling device is to be placed in intimate thermal contact with the

        heat-generating component. In fact, I teach both undergraduate and graduate students the

        importance of good thermal contact for these devices. In addition, the use of fins which

        serve as flow channels, or the implementation of other types of flow channels is routine

        for the design of thermal-exchange chambers. I have personally designed multiple

        thermal exchange chambers with channels that facilitate the heat transfer from heat-


                                              -183-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 186 of 461




        generating components to a coolant in a thermal exchange chamber. A POSA would have

        been motivated to use a heat-exchanging interface that is a boundary wall of the thermal

        exchange chamber and in thermal contact with a heat-generating component and with an

        inner surface that has a plurality of channels to direct the flow. The close proximity of

        the heat-exchange interface to the thermal exchange chamber and to the heat-generating

        component reduces the thermal resistance and lowers the temperature. In addition, use of

        channels increases the convective heat transfer and also reduces temperatures.

306.    To the extent that this was not disclosed or taught by Shin ,with the knowledge of a

        POSA, it would have been obvious based on Duan for reasons I have already articulated

        in my discussion of Ground 1. I adopt that prior analysis here.



1(g) a heat radiator adapted to pass the cooling liquid therethrough, the heat radiator being

        fluidly coupled to the reservoir via fluid conduits, the heat radiator being configured to

        dissipate heat from the cooling liquid;

307.    Shin discloses the claimed heat radiator adapted to pass cooling liquid therethrough with

        the radiator being fluidly coupled to the reservoir via fluid conduits.

308.    Shin discloses a heat radiator that is adapted to pass cooling liquid therethrough, the heat

        radiator being fluidly coupled to the reservoir by fluid conduits, the heat radiator being

        configured to dissipate heat from the cooling liquid. The radiator and reservoir of Shin are

        fluidly coupled by tubing (26).




                                                  -184-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 187 of 461




                                           Shin Figure 4



309.    To the extent this was not disclosed or taught based on Shin alone, it would have been

        obvious based on the experience, education, and training of a POSA. It would have been

        a routine exercise for a POSA working on thermal management of electronics to use a

        heat radiator that is spaced apart from a reservoir and fluidly coupled with the reservoir

        by tubing. In fact, I have worked with such systems numerous times, and I instruct

        undergraduate and graduate students on the design and analysis of such systems. This is

        supported by the following image, which was provided as prior art in the asserted patents.

        A POSA would have been motivated to use a radiator adapted to pass cooling liquid

        therethrough with the radiator coupled to the reservoir. Such an arrangement allows the

        heat from the heat-generating component to be removed from the vicinity of the heat-

        generating location and transferred to the ambient environment in an efficient manner.




                                               -185-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 188 of 461




                                       ’196 patent, Figure 3



310.    To the extent that this was not disclosed or taught by Shin, with the knowledge of a

        POSA, it would have been obvious based on Duan for reasons I have already articulated

        in my discussion of Ground 1. I adopt that prior analysis here.



1(h) a first passage fluidly coupling the pump chamber and the thermal exchange chamber,

        wherein the first passage is configured to direct the cooling liquid from the outlet of the

        pump chamber into the thermal exchange chamber between a first end and a second end

        of the thermal exchange chamber.

311.    Shin discloses a first passage that fluidly couples the pump chamber to the thermal

        exchange chamber. The first passage is configured to direct cooling liquid from the outlet

        of the pump chamber into the thermal exchange chamber, between a first end and second

        end of the thermal exchange chamber.

                                               -186-
   Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 189 of 461




                                     Shin, Figure 2
(with the pump chamber and the thermal exchange chamber integrated into a one-receptacle
                               structure as shown below)


                                                              Pump chamber




           Thermal
           exchange
           chamber




 (Schematic of cross-sectional view of the single-receptacle “reservoir” of modified Shin)

                                          -187-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 190 of 461




312.    To the extent this limitation was not disclosed or taught by Shin alone, it would have

        been obvious to a POSA based on her experience, education, and training. Liquid pumps

        are designed with outlets through which liquid flows. In electronics cooling devices, the

        cooling liquid is propelled toward the heat-generating device to a thermal exchange

        chamber where heat transfer occurs. I have worked with and taught students the

        operation, design, and analysis of such systems for years. A POSA would have been

        motivated to utilize a passage to fluidly couple the pump chamber and the thermal

        exchange chamber. This allows the cooling liquid to pass from the pump chamber to the

        thermal exchange chamber. Positioning the passage such that the liquid flows from the

        pump chamber to and thermal exchange chamber between the first and second ends of the

        thermal exchange chamber allows the cooling fluid to more directly impact the heat

        transfer region and facilities a more uniform temperature.

313.    To the extent that this was not disclosed or taught by Shin, with the knowledge of a

        POSA, it would have been obvious based on Duan for reasons I have already articulated

        in my discussion of Ground 1. I adopt that prior analysis here.



Claim 2: The cooling system of claim 1, wherein the thermal exchange chamber includes at least

        one second passage configured to direct the cooling liquid out of the thermal exchange

        chamber, the at least one second passage is positioned at either a first end or a second

        end of the thermal exchange chamber.




                                               -188-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 191 of 461




314.    Shin discloses or teaches this limitation, as shown below. Second passage (18) carries

        liquid from the thermal exchange chamber; the direction of flow is indicated by the black

        arrows in the figure.




                                       Shin, Figure 2
  (with the pump chamber and the thermal exchange chamber integrated into a one-receptacle
                                 structure as shown below)


                                                                  Pump chamber




            Thermal
            exchange
            chamber




                                              -189-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 192 of 461




    (Schematic of cross-sectional view of the single-receptacle “reservoir” of modified Shin)

315.    To the extent this claim was not disclosed or taught by Shin, it would have been obvious

        in view of the experience, education, and training of a POSA. In fact, the thermal

        exchange chamber is required to have at least a passageway that carries coolant from the

        chamber. The positioning of the second passageway at either a first end or a second end

        is a matter of routine design choice. I have personally designed similar systems wherein

        the passageway that directs fluid out of a thermal exchange chamber is positioned at an

        end of the chamber. A POSA would have been motivated to use a thermal exchange

        chamber that includes a second passage configured to direct cooling liquid out of the

        thermal exchange chamber so that the fluid can circulate between the two chambers and

        draw heat away from the heat-generating component and distribute the heat to the

        ambient environment.

316.    To the extent that this was not disclosed or taught by Shin, with the knowledge of a

        POSA, it would have been obvious based on Duan for reasons I have already articulated

        in my discussion of Ground 1. I adopt that prior analysis here.



Claim 10 Preamble A liquid cooling system for cooling a heat-generating component of a

        computer, comprising;

                                               -190-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 193 of 461




317.    As discussed in connection with claim 1, Shin discloses this preamble. I adopt that

        analysis here.

318.    To the extent this was not disclosed or taught by Shin alone, it would have been obvious

        to a POSA based on their experience, education, and training as I already discussed for

        Claim 1. I incorporate that discussion here.

319.    To the extent that this was not disclosed or taught by Shin, with the knowledge of a

        POSA, it would have been obvious based on Duan for reasons I have already articulated

        in my discussion of Ground 1. I adopt that prior analysis here. A POSA would have been

        motivated to use four legs to secure the thermal exchange interface to the heat-generating

        component because the legs provide a uniform contact at the interface and thereby

        reduces thermal resistance.



10(a) a reservoir configured to circulate a cooling liquid therethrough, the reservoir including,

320.    As discussed in connection with claim 1, Shin discloses or teaches this limitation. I adopt

        that analysis here.

321.    To the extent this was not disclosed or taught by Shin alone, it would have been obvious

        to a POSA based on their experience, education, and training as I already discussed for

        Claim 1. I incorporate that discussion here.

322.    To the extent that this was not disclosed or taught by Shin, with the knowledge of a

        POSA, it would have been obvious based on Duan for reasons I have already articulated

        in my discussion of Ground 1. I adopt that prior analysis here.




                                               -191-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 194 of 461




10(b) a pump chamber housing an impeller and defined at least in part by an impeller cover and

        a double-sided chassis, the impeller being positioned on one side of the chassis and a

        stator of the pump is positioned on an opposite side of the chassis, wherein the pump

        chamber includes,

323.    As discussed in connection with claim 1, Shin discloses or teaches this limitation. I adopt

        that analysis here.

324.    To the extent this was not disclosed or taught by Shin alone, it would have been obvious

        to a POSA based on their experience, education, and training as I already discussed for

        Claim 1. I incorporate that discussion here.

325.    To the extent that this was not disclosed or taught by Shin, with the knowledge of a

        POSA, it would have been obvious based on Duan for reasons I have already articulated

        in my discussion of Ground 1. I adopt that prior analysis here.



10(c) an inlet defined by the impeller cover positioned below a center of the impeller configured

        to enable a cooling liquid to flow into the center of the pump chamber,

326.    As discussed in connection with claim 1, Shin discloses or teaches this limitation. I adopt

        that analysis here.

327.    To the extent this was not disclosed or taught by Shin alone, it would have been obvious

        to a POSA based on their experience, education, and training as I already discussed for

        Claim 1. I incorporate that discussion here.

328.    To the extent that this was not disclosed or taught by Shin, with the knowledge of a

        POSA, it would have been obvious based on Duan for reasons I have already articulated

        in my discussion of Ground 1. I adopt that prior analysis here.



                                               -192-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 195 of 461




10(d) an outlet defined by the impeller cover positioned tangentially to the circumference of the

        impeller;

329.    As discussed in connection with claim 1, Shin discloses or teaches this limitation. I adopt

        that analysis here.

330.    To the extent this was not disclosed or taught by Shin alone, it would have been obvious

        to a POSA based on their experience, education, and training as I already discussed for

        Claim 1. I incorporate that discussion here.

331.    To the extent that this was not disclosed or taught by Shin, with the knowledge of a

        POSA, it would have been obvious based on Duan for reasons I have already articulated

        in my discussion of Ground 1. I adopt that prior analysis here.



10(e) a thermal exchange chamber configured to be disposed between the pump chamber and a

        heat-generating component when the system is installed on a heat-generating component;

332.    As discussed in connection with claim 1, Shin discloses or teaches this limitation. I adopt

        that analysis here.

333.    To the extent this was not disclosed or taught by Shin alone, it would have been obvious

        to a POSA based on their experience, education, and training as I already discussed for

        Claim 1. I incorporate that discussion here.

334.    To the extent that this was not disclosed or taught by Shin, with the knowledge of a

        POSA, it would have been obvious based on Duan for reasons I have already articulated

        in my discussion of Ground 1. I adopt that prior analysis here.




                                               -193-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 196 of 461




10(f) a heat-exchanging interface forming a boundary wall of the thermal exchange chamber, the

        heat-exchanging interface has an outer surface configured to be placed in thermal

        contact with a surface of a heat-generating component and an inner surface that defines

        a plurality of parallel channels that are configured to direct the flow of the cooling liquid

        within the thermal exchange chamber;

335.    As discussed in connection with claim 1, Shin discloses or teaches this limitation. I adopt

        that analysis here.

336.    To the extent this was not disclosed or taught by Shin alone, it would have been obvious

        to a POSA based on their experience, education, and training as I already discussed for

        Claim 1. I incorporate that discussion here.

337.    To the extent that this was not disclosed or taught by Shin, with the knowledge of a

        POSA, it would have been obvious based on Duan for reasons I have already articulated

        in my discussion of Ground 1. I adopt that prior analysis here.



10(g) a heat radiator adapted to pass the cooling liquid therethrough, the heat radiator being

        fluidly coupled to the reservoir via fluid conduits, the heat radiator being configured to

        dissipate heat from the cooling liquid;

338.    As discussed in connection with claim 1, Shin discloses or teaches this limitation. I adopt

        that analysis here.

339.    To the extent this was not disclosed or taught by Shin alone, it would have been obvious

        to a POSA based on their experience, education, and training as I already discussed for

        Claim 1. I incorporate that discussion here.




                                                  -194-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 197 of 461




340.    To the extent that this was not disclosed or taught by Shin, with the knowledge of a

        POSA, it would have been obvious based on Duan for reasons I have already articulated

        in my discussion of Ground 1. I adopt that prior analysis here.



10(h) a set of four mounting legs configured to secure the heat-exchanging interface to a heat-

        generating component of a computer.

341.    To the extent this limitation was not disclosed or taught by Shin, it would have been

        obvious to a POSA based on her experience, education, and training. In fact, the use of

        mounting legs to secure heat-exchanging interface to a heat-generating component is

        routine. This is made clear by the asserted prior art referenced in the ’196 patent, as

        shown below.

342.    Retaining frame 3 has four legs which are matched with four legs of brace 6.




                                                -195-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 198 of 461




343.    To the extent that this was not disclosed or taught by Shin, with the knowledge of a

        POSA, it would have been obvious based on Duan for reasons I have already articulated

        in my discussion of Ground 1. I adopt that prior analysis here.

Claim 13: The liquid cooling system of claim 10, wherein the double-sided chassis defines a

        recess configured to house the stator.

344.    Shin discloses a chassis, positioned as shown in the following image. The chassis is

        double-sided and it separates the motor portion from the impeller portion of the pump 5.

        The motor inherently has a recess to house the motor components, including the stator

        and the chassis would help define said recess.




                                          Shin, Figure 2

  (with the pump chamber and the thermal exchange chamber integrated into a one-receptacle
                                 structure as shown below)




                                                 -196-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 199 of 461




                                                                   Pump chamber




            Thermal
            exchange
            chamber




   (Schematic of cross-sectional view of the single-receptacle “reservoir” of modified Shin)



345.    To the extent this claim was not disclosed or taught by Shin alone, it would have been

        obvious based on the experience, education, and training of a POSA. In fact, I have

        worked with numerous pumps like that described in Shin with a double-sided chassis that

        defines a recess to house the stator. A POSA would have been motivated to use a double

        sided chassis with a recess to house the stator because this arrangement effectively




                                               -197-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 200 of 461




        isolates the stator from the impeller and helps the pump efficiently direct fluid to the

        heated region where is removes heat and transfers the heat to the ambient environment.

346.    To the extent that this was not disclosed or taught by Shin with the knowledge of a

        POSA, it would have been obvious based on Duan for reasons I have already articulated

        in my discussion of Ground 1. I adopt that prior analysis here.



C.      Ground 3 – Ryu in View of Duan

347.    It is my opinion that Ryu in view of Duan renders claims 1, 2, and 13 of the ’196 patent

        invalid.

Claim 1 (preamble) A liquid cooling system for cooling a heat-generating component of a

computer, comprising

348.    While I do not understand that the preamble to this claim is limiting, if it is limiting then

        Ryu discloses this preamble. First, Ryu is entitled “WATER COOLED COOLING

        DEVICE FOR THE CENTRAL PROCESSING UNIT OF A COMPUTER WITH AN

        IMPELLER”

349.    Ryu further discloses the following:




                                                -198-
Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 201 of 461




                           Ryu, Abstract




                            Ryu, Page 3




                            Ryu, Page 4

                               -199-
Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 202 of 461




                            Ryu, Page 4




                            Ryu, Page 4




                            Ryu, Page 5


                               -200-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 203 of 461




                                            Ryu, Page 6




                                            Ryu, Page 7

350.    To the extent this was not disclosed or taught by Ryu, it would have been obvious in view

        of the knowledge of a POSA. Liquid cooling systems for electronic components on a

        motherboard of a computer system are commonly encountered by POSAs working on

        thermal management of electronics. This is shown by the following figure, which was

        cited as prior art in the asserted patents: A POSA would have been motivated to use a

        liquid cooling system for removing heat from a heat generating component because

        liquids are excellent heat transfer fluids and are able to quickly and effectively remove

        thermal energy.




                                               -201-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 204 of 461




                                          ’196 Figure 3, prior art



351.    To the extent that this was not disclosed or taught by Ryu with the knowledge of a POSA,

        it would have been obvious based on Duan for reasons I have already articulated in my

        discussion of Ground 1. I adopt that prior analysis here.



1(a) a reservoir configured to circulate a cooling liquid therethrough, the reservoir including:

352.    Ryu in view of Duan renders this limitation obvious. This is because Duan discloses a

        reservoir for reasons I have already articulated in my discussion of Ground 1. I adopt that

        prior analysis here. A POSA would have been motivated to utilize a reservoir for

        circulating a cooling liquid because reservoirs are efficient and simple means of routing

        fluid to a heated region and thus facilitate heat removal from that region.




                                               -202-
Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 205 of 461




                            Ryu, page 4




                            Ryu, Page 4




                            Ryu, Page 4




                               -203-
Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 206 of 461




                            Ryu, Page 5




                            Ryu, Page 5




                            Ryu, Page 6




                               -204-
Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 207 of 461




                            Ryu, Page 7




                           Ryu Figure 2




                           Ryu Figure 3



                               -205-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 208 of 461




1(b) a pump chamber housing an impeller and defined at least in part by an impeller cover and a

        double-sided chassis, the impeller being position on one side of the chassis and a stator

        of the pump is positioned on an opposite side of the chassis, wherein the pump chamber

        includes:

353.    Ryu discloses the claimed pump chamber housing an impeller and defined at least in part

        by an impeller cover and a double-sided chassis, the impeller being positioned on one

        side of the chassis and a stator of the pump positioned on an opposite side of the chassis.




                                           Ryu, Figure 3


                                               -206-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 209 of 461




354.    To the extent this limitation was not disclosed or taught by Shin, it would have been

        obvious in view of the experience, education, and training of a POSA. Utilizing a pump

        wherein the stator and the impeller are separated by a double-sided chassis and the

        impeller is confined to a pump chamber is routine for a POSA working with pumps and

        thermal management of electronics. A POSA would have been motivated to use a pump

        chamber housing an impeller and defined by an impeller cover and a double-sided chassis

        with the impeller and stator positioned on opposite sides of the chassis. Such a design

        isolates the stator from the impeller and facilitates the routing of fluid to the heated

        region.

355.    To the extent that this was not disclosed or taught by Shin with the knowledge of a

        POSA, it would have been obvious based on Duan for reasons I have already articulated

        in my discussion of Ground 1. I adopt that prior analysis here.



1(c) an inlet defined by the impeller cover positioned below a center of the impeller configured

        to enable a cooling liquid to flow into the center of the pump chamber,

356.     Ryu discloses or teaches this limitation. It has an inlet defined by the impeller cover

         positioned below a center of the impeller and configured to enable cooling liquid to flow

         into the center of the pump chamber.




                                                -207-
Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 210 of 461




                         From Ryu, Figure 4




                           Ryu, pages 7-8




                               -208-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 211 of 461




357.    To the extent this was not disclosed or taught by Ryu, it would have been obvious based

        on the experience, education, and training of a POSA. Inlets to pumps provided by an

        inlet in the center of a pump are extremely common and ubiquitous. I have worked with

        such pumps numerous times in my career and these would be routine for a POSA

        working with pumps or the thermal management of heat-generating components. A

        POSA would have been motivated to incorporate an impeller cover positioned below a

        center of the impeller and configured to enable a cooling fluid to flow into the center of

        the pump chamber. Such an arrangement is a simple and hydraulically efficient way to

        route fluid and reduce fluid connections and to improve heat transfer.

358.    To the extent that this was not disclosed or taught by Ryu, with the knowledge of a

        POSA, it would have been obvious based on Duan for reasons I have already articulated

        in my discussion of Ground 1. I adopt that prior analysis here.



1(d) an outlet defined by the impeller cover positioned tangentially to the circumference of the

        impeller,

359.    Ryu discloses or teaches this limitation. It teaches an outlet defined by the impeller cover

        positioned tangentially to the circumference of the impeller, as shown below.




                                               -209-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 212 of 461




                                        From Ryu Figure 4



360.    To the extent this limitation is not taught by Shin, it would have been obvious based on

        the experience, education, and training of a POSA. Pumps commonly have outlets that

        are positioned tangentially to the circumference of the impeller, as claimed. I have

        personally worked with numerous pumps that are so designed. A POSA would have been

        motivated to position an outlet tangential to the circumference of the impeller because

        this reduces hydraulic resistance and improves the pump performance.

361.    To the extent that this was not disclosed or taught by Shin, with the knowledge of a

        POSA, it would have been obvious based on Duan for reasons I have already articulated

        in my discussion of Ground 1. I adopt that prior analysis here.



1(e) a thermal exchange chamber configured to be disposed between the pump chamber and a

        heat-generating component when the system is installed on a heat-generating component;




                                               -210-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 213 of 461




362.    Ryu discloses or teaches this limitation. It teaches a thermal exchange chamber

        configured to be disposed between the pump chamber and a heat-generating component

        when the system is installed on a heat-generating component.




                                          Ryu, Figure 2a

363.    To the extent this was not disclosed or taught by Ryu, it would have been obvious based

        on the experience, education, and training of a POSA. Implementing a thermal exchange

        chamber between a pump chamber and a heat-generating component is commonly

        performed by a POSA working in thermal management of electronics. The motor region

        of a liquid pump houses the electric and largely stationary components of the electric

        motor while the pump chamber houses the rotating impeller that provides the locomotion

        to the fluid. A POSA would have been motivated to incorporate a thermal exchange

        chamber disposed between the pump chamber and the heat-generating component

                                              -211-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 214 of 461




        because the close proximity of the thermal exchange chamber and the heat-generating

        component would reduce thermal resistance and lower temperatures.

364.    To the extent that this was not disclosed or taught by Ryu, with the knowledge of a

        POSA, it would have been obvious based on Duan for reasons I have already articulated

        in my discussion of Ground 1. I adopt that prior analysis here.



1(f) a heat-exchanging interface forming a boundary wall of the thermal exchange chamber, the

        heat-exchanging interface has an outer surface configured to be placed in thermal

        contact with a surface of a heat-generating component and an inner surface that defines

        a plurality of channels that direct the flow of the cooling liquid within the thermal

        exchange chamber;

365.    Ryu discloses or teaches this limitation. It teaches a heat-exchanging interface that forms

        a boundary wall of the thermal exchange chamber, the heat-exchanging interface is

        configured to be placed in thermal contact with a surface of the heat generating

        component and with an inner surface that defines a plurality of channels that direct the

        flow of cooling liquid within the thermal exchange chamber.

366.    Ryu discusses the thermal contact between the heat-exchanging surface and the heat-

        generating component, for example:




                                               -212-
Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 215 of 461




                            Ryu, page 5




                            Ryu, Page 7




                            Ryu, page 7




                               -213-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 216 of 461




                                           Ryu, Figure 4



367.    To the extent this limitation was not disclosed or taught by Ryu, it would have been

        obvious based on the experience, education, and training of a POSA. When cooling

        computer systems, the cooling device is to be placed in intimate thermal contact with the

        heat-generating component. In fact, I teach both undergraduate and graduate students the

        importance of good thermal contact for these devices. In addition, the use of fins which

        serve as flow channels, or the implementation of other types of flow channels is routine

        for the design of thermal-exchange chambers. I have personally designed multiple

        thermal exchange chambers with channels that facilitate the heat transfer from heat-

        generating components to a coolant in a thermal exchange chamber. A POSA would have

        been motivated to use a heat-exchanging interface that is a boundary wall of the thermal

        exchange chamber and in thermal contact with a heat-generating component and with an

        inner surface that has a plurality of channels to direct the flow. The close proximity of

        the heat-exchange interface to the thermal exchange chamber and to the heat-generating



                                               -214-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 217 of 461




        component reduces the thermal resistance and lowers the temperature. In addition, use of

        channels increases the convective heat transfer and also reduces temperatures.

368.    To the extent that this was not disclosed or taught by Ryu, with the knowledge of a

        POSA, it would have been obvious based on Duan for reasons I have already articulated

        in my discussion of Ground 1. I adopt that prior analysis here.



1(g) a heat radiator adapted to pass the cooling liquid therethrough, the heat radiator being

        fluidly coupled to the reservoir via fluid conduits, the heat radiator being configured to

        dissipate heat from the cooling liquid;

369.    Ryu discloses or teaches this limitation. It has a radiator that is adapted to pass cooling

        liquid therethrough. The heat radiator of Ryu is fluidly coupled to the reservoir via fluid

        conduits, the heat radiator is configured to dissipate heat from the cooling fluid.




                                            Ryu, page 5




                                            Ryu, page 5




                                                  -215-
Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 218 of 461




                            Ryu, page 6




                           Ryu, Figure 1




                           Ryu, Figure 1


                               -216-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 219 of 461




370.    To the extent this was not disclosed or taught based on Ryu alone, it would have been

        obvious based on the experience, education, and training of a POSA. It would have been

        a routine exercise for a POSA working on thermal management of electronics to use a

        heat radiator that is spaced apart from a reservoir and fluidly coupled with the reservoir

        by tubing. In fact, I have worked with such systems numerous times, and I instruct

        undergraduate and graduate students on the design and analysis of such systems. This is

        supported by the following image, which was provided as prior art in the asserted patents.

        A POSA would have been motivated to use a radiator adapted to pass cooling liquid

        therethrough with the radiator coupled to the reservoir. Such an arrangement allows the

        heat from the heat-generating component to be removed from the vicinity of the heat-

        generating location and transferred to the ambient environment in an efficient manner.




                                       ’196 patent, Figure 3




                                               -217-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 220 of 461




371.    To the extent that this was not disclosed or taught by Ryu, with the knowledge of a

        POSA, it would have been obvious based on Duan for reasons I have already articulated

        in my discussion of Ground 1. I adopt that prior analysis here.



1(h) a first passage fluidly coupling the pump chamber and the thermal exchange chamber,

        wherein the first passage is configured to direct the cooling liquid from the outlet of the

        pump chamber into the thermal exchange chamber between a first end and a second end

        of the thermal exchange chamber.

372.    Ryu discloses a fluid passage that couples the pump chamber with the thermal exchange

        chamber. The passage is configured to direct cooling liquid from the outlet of the pump

        chamber into the thermal exchange chamber between a first end and a second end of the

        thermal exchange chamber.




                                                       Flow




                                           Ryu, Figure 3


                                               -218-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 221 of 461




373.    To the extent this limitation was not disclosed or taught by Ryu alone, it would have been

        obvious to a POSA based on her experience, education, and training. Liquid pumps are

        designed with outlets through which liquid flows. In electronics cooling devices, the

        cooling liquid is propelled toward the heat-generating device to a thermal exchange

        chamber where heat transfer occurs. I have worked with and taught students the

        operation, design, and analysis of such systems for years. A POSA would have been

        motivated to utilize a passage to fluidly couple the pump chamber and the thermal

        exchange chamber. This allows the cooling liquid to pass from the pump chamber to the

        thermal exchange chamber. Positioning the passage between the first and second ends of

        the thermal exchange chamber allows the cooling fluid to more directly impact the heat

        transfer region and facilities a more uniform temperature.

374.    To the extent that this was not disclosed or taught by Ryu, with the knowledge of a

        POSA, it would have been obvious based on Duan for reasons I have already articulated

        in my discussion of Ground 1. I adopt that prior analysis here.



Claim 2: The cooling system of claim 1, wherein the thermal exchange chamber includes at least

        one second passage configured to direct the cooling liquid out of the thermal exchange

        chamber, the at least one second passage is positioned at either a first end or a second

        end of the thermal exchange chamber.

375.    Ryu discloses a fluid passage that couples the pump chamber with the thermal exchange

        chamber. The passage is configured to direct cooling liquid from the thermal exchange

        chamber to the pump chamber, the passage positioned at either first end or a second end

        of the thermal exchange chamber.



                                               -219-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 222 of 461




                                          Ryu, Figure 3



376.    To the extent this limitation was not disclosed or taught by Ryu alone, it would have been

        obvious to a POSA based on her experience, education, and training. Liquid pumps are

        designed with outlets through which liquid flows. In electronics cooling devices, the

        cooling liquid is propelled toward the heat-generating device to a thermal exchange

        chamber where heat transfer occurs. I have worked with and taught students the

        operation, design, and analysis of such systems for years. A POSA would have been

        motivated to use a thermal exchange chamber that includes a second passage configured

        to direct cooling liquid out of the thermal exchange chamber so that the fluid can

        circulate between the two chambers and draw heat away from the heat-generating

        component and distribute the heat to the ambient environment.


                                               -220-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 223 of 461




377.    To the extent that this was not disclosed or taught by Ryu, with the knowledge of a

        POSA, it would have been obvious based on Duan for reasons I have already articulated

        in my discussion of Ground 1. I adopt that prior analysis here.



Claim 10 Preamble A liquid cooling system for cooling a heat-generating component of a

        computer, comprising;

378.    As discussed in connection with claim 1, Ryu discloses this preamble. I adopt that

        analysis here.

379.    To the extent this was not disclosed or taught by Ryu alone, it would have been obvious

        to a POSA based on their experience, education, and training as I already discussed for

        Claim 1. I incorporate that discussion here.

380.    To the extent that this was not disclosed or taught by Ryu, with the knowledge of a

        POSA, it would have been obvious based on Duan for reasons I have already articulated

        in my discussion of Ground 1. I adopt that prior analysis here.



10(a) a reservoir configured to circulate a cooling liquid therethrough, the reservoir including,

381.    As discussed in connection with claim 1, Ryu discloses this preamble. I adopt that

        analysis here.

382.    To the extent this was not disclosed or taught by Ryu alone, it would have been obvious

        to a POSA based on their experience, education, and training as I already discussed for

        Claim 1. I incorporate that discussion here.




                                               -221-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 224 of 461




383.    To the extent that this was not disclosed or taught by Ryu, with the knowledge of a

        POSA, it would have been obvious based on Duan for reasons I have already articulated

        in my discussion of Ground 1. I adopt that prior analysis here.



10(b) a pump chamber housing an impeller and defined at least in part by an impeller cover and

        a double-sided chassis, the impeller being positioned on one side of the chassis and a

        stator of the pump is positioned on an opposite side of the chassis, wherein the pump

        chamber includes,

384.    As discussed in connection with claim 1, Ryu discloses this preamble. I adopt that

        analysis here.

385.    To the extent this was not disclosed or taught by Ryu alone, it would have been obvious

        to a POSA based on their experience, education, and training as I already discussed for

        Claim 1. I incorporate that discussion here.

386.    To the extent that this was not disclosed or taught by Ryu, with the knowledge of a

        POSA, it would have been obvious based on Duan for reasons I have already articulated

        in my discussion of Ground 1. I adopt that prior analysis here.



10(c) an inlet defined by the impeller cover positioned below a center of the impeller configured

        to enable a cooling liquid to flow into the center of the pump chamber,

387.    As discussed in connection with claim 1, Ryu discloses this preamble. I adopt that

        analysis here.




                                               -222-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 225 of 461




388.    To the extent this was not disclosed or taught by Ryu alone, it would have been obvious

        to a POSA based on their experience, education, and training as I already discussed for

        Claim 1. I incorporate that discussion here.

389.    To the extent that this was not disclosed or taught by Ryu, with the knowledge of a

        POSA, it would have been obvious based on Duan for reasons I have already articulated

        in my discussion of Ground 1. I adopt that prior analysis here.



10(d) an outlet defined by the impeller cover positioned tangentially to the circumference of the

        impeller;

390.    As discussed in connection with claim 1, Ryu discloses this preamble. I adopt that

        analysis here.

391.    To the extent this was not disclosed or taught by Ryu alone, it would have been obvious

        to a POSA based on their experience, education, and training as I already discussed for

        Claim 1. I incorporate that discussion here.

392.    To the extent that this was not disclosed or taught by Ryu, with the knowledge of a

        POSA, it would have been obvious based on Duan for reasons I have already articulated

        in my discussion of Ground 1. I adopt that prior analysis here.



10(e) a thermal exchange chamber configured to be disposed between the pump chamber and a

        heat-generating component when the system is installed on a heat-generating component;

393.    As discussed in connection with claim 1, Ryu discloses this preamble. I adopt that

        analysis here.




                                               -223-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 226 of 461




394.    To the extent this was not disclosed or taught by Ryu alone, it would have been obvious

        to a POSA based on their experience, education, and training as I already discussed for

        Claim 1. I incorporate that discussion here.

395.    To the extent that this was not disclosed or taught by Ryu, with the knowledge of a

        POSA, it would have been obvious based on Duan for reasons I have already articulated

        in my discussion of Ground 1. I adopt that prior analysis here.



10(f) a heat-exchanging interface forming a boundary wall of the thermal exchange chamber, the

        heat-exchanging interface has an outer surface configured to be placed in thermal

        contact with a surface of a heat-generating component and an inner surface that defines

        a plurality of parallel channels that are configured to direct the flow of the cooling liquid

        within the thermal exchange chamber;

396.    As discussed in connection with claim 1, Ryu discloses this preamble. I adopt that

        analysis here.

397.    To the extent this was not disclosed or taught by Ryu alone, it would have been obvious

        to a POSA based on their experience, education, and training as I already discussed for

        Claim 1. I incorporate that discussion here.

398.    To the extent that this was not disclosed or taught by Ryu, with the knowledge of a

        POSA, it would have been obvious based on Duan for reasons I have already articulated

        in my discussion of Ground 1. I adopt that prior analysis here.




                                                -224-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 227 of 461




10(g) a heat radiator adapted to pass the cooling liquid therethrough, the heat radiator being

        fluidly coupled to the reservoir via fluid conduits, the heat radiator being configured to

        dissipate heat from the cooling liquid;

399.    As discussed in connection with claim 1, Ryu discloses this preamble. I adopt that

        analysis here.

400.    To the extent this was not disclosed or taught by Ryu alone, it would have been obvious

        to a POSA based on their experience, education, and training as I already discussed for

        Claim 1. I incorporate that discussion here.

401.    To the extent that this was not disclosed or taught by Ryu, with the knowledge of a

        POSA, it would have been obvious based on Duan for reasons I have already articulated

        in my discussion of Ground 1. I adopt that prior analysis here.



10(h) a set of four mounting legs configured to secure the heat-exchanging interface to a heat-

        generating component of a computer.

402.    To the extent this limitation was not disclosed or taught by Ryu, it would have been

        obvious to a POSA based on her experience, education, and training. In fact, the use of

        mounting legs to secure heat-exchanging interface to a heat-generating component is

        routine. This is made clear by the asserted prior art referenced in the ’196 patent, as

        shown below. A POSA would have been motivated to use four legs to secure the thermal

        exchange interface to the heat-generating component because the legs provide a uniform

        contact at the interface and thereby reduces thermal resistance.

403.    Retaining frame 3 has four legs which are matched with four legs of brace 6.




                                                  -225-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 228 of 461




                                       ’196 patent, Figure 1



404.    To the extent that this was not disclosed or taught by Ryu, with the knowledge of a

        POSA, it would have been obvious based on Duan for reasons I have already articulated

        in my discussion of Ground 1. I adopt that prior analysis here.



Claim 13: The liquid cooling system of claim 10, wherein the double-sided chassis defines a

        recess configured to house the stator.

405.    To the extent this limitation was not disclosed or taught by Ryu, it would have been

        obvious to a POSA based on her experience, education, and training. In fact, the double-

        sided chassis of Ryu could easily be modified to include a recess to house the stator.

        Recesses to house stators are common and a POSA working with pumps or thermal

        management of electronics would have been familiar with their use. A POSA would have

        been motivated to use a double sided chassis with a recess to house the stator because this

        arrangement effectively isolates the stator from the impeller and helps the pump


                                                 -226-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 229 of 461




        efficiently direct fluid to the heated region where is removes heat and transfers the heat to

        the ambient environment.

406.    To the extent that this was not disclosed or taught by Ryu with the knowledge of a POSA,

        it would have been obvious based on Duan for reasons I have already articulated in my

        discussion of Ground 1. I adopt that prior analysis here.



D.      Ground 4 – Koga in View of Duan

407.    It is my opinion that Koga in view of Duan renders claims 1, 2, and 13 of the ’196 patent

        invalid.

Claim 1 (preamble) A liquid cooling system for cooling a heat-generating component of a

computer, comprising

408.    While I do not understand that the preamble of this claim is limiting, if it is limiting, then

        Koga discloses it. Koga is a liquid cooling system for cooling a heat-generating

        component of a computer.




                                                -227-
Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 230 of 461




                           Koga, Abstract




                      Koga, column 1, lines 1-10




                     Koga, Column 1, lines 34-42




                                -228-
Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 231 of 461




                     Koga, Column 1, lines 43-51




                      Koga, Column 4, lines 3-18




                                -229-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 232 of 461




                                            Koga, Figure 1



409.    To the extent this was not disclosed or taught by Koga, it would have been obvious in

        view of the knowledge of a POSA. Liquid cooling systems for electronic components on

        a motherboard of a computer system are commonly encountered by POSAs working on

        thermal management of electronics. This is shown by the following figure, which was

        cited as prior art in the asserted patents:




                                                 -230-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 233 of 461




                                      ’196 Figure 3, prior art



410.    To the extent that this was not disclosed or taught by Koga with the knowledge of a

        POSA, it would have been obvious based on Duan for reasons I have already articulated

        in my discussion of Ground 1. I adopt that prior analysis here. A POSA would have been

        motivated to use a liquid cooling system for removing heat from a heat generating

        component because liquids are excellent heat transfer fluids and are able to quickly and

        effectively remove thermal energy.



1(a) a reservoir configured to circulate a cooling liquid therethrough, the reservoir including:

411.    Koga discloses or teaches a “reservoir” configured to circulate liquid therethrough, as

        shown here. In the following figure, the black arrow indicates the flow of coolant into the

        reservoir of Koga.




                                               -231-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 234 of 461




                                           Koga, Figure 7



412.    To the extent this was not disclosed or taught by Koga alone, it would have been obvious

        in view of the experience, education, and training of a POSA. Liquid pumps such as those

        used to provide flow to cool electronics and heat-generating components include

        reservoirs through which coolant flows. A POSA would have been knowledgeable about

        these reservoirs and their implementation is routine in the thermal management of

        electronics. I have personally used such devices numerous times in my own work. A

        POSA would have been motivated to utilize a reservoir for circulating a cooling liquid

        because reservoirs are efficient and simple means of routing fluid to a heated region and

        thus facilitate heat removal from that region.

413.    To the extent that this was not disclosed or taught by Koga, with the knowledge of a

        POSA, it would have been obvious based on Duan for reasons I have already articulated

        in my discussion of Ground 1. I adopt that prior analysis here.



                                               -232-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 235 of 461




1(b) a pump chamber housing an impeller and defined at least in part by an impeller cover and a

        double-sided chassis, the impeller being position on one side of the chassis and a stator

        of the pump is positioned on an opposite side of the chassis, wherein the pump chamber

        includes:

414.    Koga discloses or teaches this limitation; it has a pump chamber that houses an impeller

        and is defined at least in part by an impeller cover and a double-sided chassis. The

        impeller is positioned on one side of the chassis and a stator of the pump is positioned on

        the opposite side of the chassis. The pump chamber is identified as pump room 15A as

        discussed here:




                                    Koga, Column 9, lines 3-9




                                               -233-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 236 of 461




                                           Koga, Figure 7



415.    Koga discloses or teaches impellers that are positioned in the pump chamber, on an

        opposite side of a chassis than the stator. A POSA would have been motivated to use a

        pump chamber housing an impeller and defined by an impeller cover and a double-sided

        chassis with the impeller and stator positioned on opposite sides of the chassis. Such a

        design isolates the stator from the impeller and facilitates the routing of fluid to the

        heated region.




                                                -234-
Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 237 of 461




                           Koga, Abstract




                           Koga, Figure 7



                               -235-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 238 of 461




1(c) an inlet defined by the impeller cover positioned below a center of the impeller configured

        to enable a cooling liquid to flow into the center of the pump chamber,

416.    Koga discloses or teaches this limitation. It teaches an inlet defined by the impeller cover

        that is positioned below the center of the impeller and enables the liquid to flow to the

        center of the pump chamber.




                                          Koga, Figure 7



417.    To the extent this was not disclosed or taught by Koga, it would have been obvious based

        on the experience, education, and training of a POSA. Inlets to pumps provided by an

        inlet in the center of a pump are extremely common and ubiquitous. I have worked with

        such pumps numerous times in my career and these would be routine for a POSA

        working with pumps or the thermal management of heat-generating components. A

        POSA would have been motivated to incorporate an impeller cover positioned below a

        center of the impeller and configured to enable a cooling fluid to flow into the center of


                                               -236-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 239 of 461




        the pump chamber. Such an arrangement is a simple and hydraulically efficient way to

        route fluid and reduce fluid connections and to improve heat transfer.

418.    To the extent that this was not disclosed or taught by Koga, with the knowledge of a

        POSA, it would have been obvious based on Duan for reasons I have already articulated

        in my discussion of Ground 1. I adopt that prior analysis here.



1(d) an outlet defined by the impeller cover positioned tangentially to the circumference of the

        impeller,

419.    Koga discloses or teaches this limitation. It teaches an outlet defined by the impeller

        cover tangentially positioned to the circumference of the impeller, as shown in the

        following images.




                                    Koga Column 8 lines 57-60




                                          Koga, Figure 6

                                               -237-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 240 of 461




                                          Koga, Figure 8



420.    To the extent this was not disclosed or taught by Koga, it would have been obvious based

        on the experience, education, and training of a POSA. Inlets to pumps provided by an

        inlet in the center of a pump are extremely common and ubiquitous. I have worked with

        such pumps numerous times in my career and these would be routine for a POSA

        working with pumps or the thermal management of heat-generating components. A

        POSA would have been motivated to position an outlet tangential to the circumference of

        the impeller because this reduces hydraulic resistance and improves the pump

        performance.

421.    To the extent that this was not disclosed or taught by Koga, with the knowledge of a

        POSA, it would have been obvious based on Duan for reasons I have already articulated

        in my discussion of Ground 1. I adopt that prior analysis here.




                                               -238-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 241 of 461




1(e) a thermal exchange chamber configured to be disposed between the pump chamber and a

        heat-generating component when the system is installed on a heat-generating component;

422.    Koga discloses or teaches this limitation because it has a thermal exchange chamber that

        is disposed between the pump chamber and a heat-generating component.




                                         Koga, Figure 7




                                         Koga, Figure 8

                                              -239-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 242 of 461




423.    To the extent this was not disclosed or taught by Koga, it would have been obvious based

        on the experience, education, and training of a POSA. Implementing a thermal exchange

        chamber between a pump chamber and a heat-generating component is commonly

        performed by a POSA working in thermal management of electronics. The motor region

        of a liquid pump houses the electric and largely stationary components of the electric

        motor while the pump chamber houses the rotating impeller that provides the locomotion

        to the fluid. A POSA would have been motivated to incorporate a thermal exchange

        chamber disposed between the pump chamber and the heat-generating component

        because the close proximity of the thermal exchange chamber and the heat-generating

        component would reduce thermal resistance and lower temperatures.

424.    To the extent that this was not disclosed or taught by Koga, with the knowledge of a

        POSA, it would have been obvious based on Duan for reasons I have already articulated

        in my discussion of Ground 1. I adopt that prior analysis here.



1(f) a heat-exchanging interface forming a boundary wall of the thermal exchange chamber, the

        heat-exchanging interface has an outer surface configured to be placed in thermal

        contact with a surface of a heat-generating component and an inner surface that defines

        a plurality of channels that direct the flow of the cooling liquid within the thermal

        exchange chamber;

425.    Koga discloses or teaches this limitation; it teaches a heat-exchanging interface that

        forms a boundary wall of the thermal exchange chamber, the heat-exchanging interface

        has an outer surface configured to be placed in thermal contact with a such of a heat

        generating component and an inner surface that defines a plurality of channels that direct



                                               -240-
Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 243 of 461




 the flow of cooling liquid within the thermal exchange chamber. A POSA would have

 been motivated to use a heat-exchanging interface that is a boundary wall of the thermal

 exchange chamber and in thermal contact with a heat-generating component and with an

 inner surface that has a plurality of channels to direct the flow. The close proximity of

 the heat-exchange interface to the thermal exchange chamber and to the heat-generating

 component reduces the thermal resistance and lowers the temperature. In addition, use of

 channels increases the convective heat transfer and also reduces temperatures.




                            Koga Column 4, lines 38-43




                            Koga, Column 5, lines 30-37




                            Koga, Column 6, lines 58-60




                                        -241-
Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 244 of 461




                     Koga, Column 8, lines 40-53




                    Koga, Column 10, lines 23-39




                               -242-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 245 of 461




1(g) a heat radiator adapted to pass the cooling liquid therethrough, the heat radiator being

        fluidly coupled to the reservoir via fluid conduits, the heat radiator being configured to

        dissipate heat from the cooling liquid;

426.    To the extent this was not disclosed or taught based on Koga alone, it would have been

        obvious based on the experience, education, and training of a POSA. It would have been

        a routine exercise for a POSA working on thermal management of electronics to use a

        heat radiator that is spaced apart from a reservoir and fluidly coupled with the reservoir

        by tubing. In fact, I have worked with such systems numerous times, and I instruct

        undergraduate and graduate students on the design and analysis of such systems. This is

        supported by the following image, which was provided as prior art in the asserted patents.

        A POSA would have been motivated to use a radiator adapted to pass cooling liquid


                                                  -243-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 246 of 461




        therethrough with the radiator coupled to the reservoir. Such an arrangement allows the

        heat from the heat-generating component to be removed from the vicinity of the heat-

        generating location and transferred to the ambient environment in an efficient manner.




                                       ’196 patent, Figure 3




427.    To the extent that this was not disclosed or taught by Koga, with the knowledge of a

        POSA, it would have been obvious based on Duan for reasons I have already articulated

        in my discussion of Ground 1. I adopt that prior analysis here.



1(h) a first passage fluidly coupling the pump chamber and the thermal exchange chamber,

        wherein the first passage is configured to direct the cooling liquid from the outlet of the

        pump chamber into the thermal exchange chamber between a first end and a second end

        of the thermal exchange chamber.

                                               -244-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 247 of 461




428.    Koga in view of Duan renders this limitation obvious. This is because Duan discloses or

        teaches this limitation as I have explained above in Ground 1. Thus, this limitation

        would have been obvious based on the combination of Koga and Duan for reasons I have

        already articulated in my discussion of Ground 1 regarding Duan’s disclosure of this

        limitation. I adopt that prior analysis here. As I have already mentioned, a POSA would

        have been motivated to utilize a passage to fluidly couple the pump chamber and the

        thermal exchange chamber. This allows the cooling liquid to pass from the pump

        chamber to the thermal exchange chamber. Positioning the passage between the first and

        second ends of the thermal exchange chamber allows the cooling fluid to more directly

        impact the heat transfer region and facilities a more uniform temperature.



Claim 2: The cooling system of claim 1, wherein the thermal exchange chamber includes at least

        one second passage configured to direct the cooling liquid out of the thermal exchange

        chamber, the at least one second passage is positioned at either a first end or a second

        end of the thermal exchange chamber.

429.    Koga in view of Duan renders this limitation obvious. This is because Duan discloses or

        teaches this limitation as I have explained above in Ground 1. Thus, this limitation

        would have been obvious based on the combination of Koga and Duan for reasons I have

        already articulated in my discussion of Ground 1 regarding Duan’s disclosure of this

        limitation. I adopt that prior analysis here. As already stated, a POSA would have been

        motivated to use a thermal exchange chamber that includes a second passage configured

        to direct cooling liquid out of the thermal exchange chamber so that the fluid can




                                               -245-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 248 of 461




        circulate between the two chambers and draw heat away from the heat-generating

        component and distribute the heat to the ambient environment.



Claim 10 Preamble A liquid cooling system for cooling a heat-generating component of a

        computer, comprising;

430.    As discussed in connection with claim 1, Koga discloses this preamble. I adopt that

        analysis here.

431.    To the extent this was not disclosed or taught by Koga alone, it would have been obvious

        to a POSA based on their experience, education, and training as I already discussed for

        Claim 1. I incorporate that discussion here.

432.    To the extent that this was not disclosed or taught by Koga, with the knowledge of a

        POSA, it would have been obvious based on Duan for reasons I have already articulated

        in my discussion of Ground 1. I adopt that prior analysis here.



10(a) a reservoir configured to circulate a cooling liquid therethrough, the reservoir including,

433.    As discussed in connection with claim 1, Koga in view of Duan renders this limitation

        obvious. I adopt that analysis here.

10(b) a pump chamber housing an impeller and defined at least in part by an impeller cover and

        a double-sided chassis, the impeller being positioned on one side of the chassis and a

        stator of the pump is positioned on an opposite side of the chassis, wherein the pump

        chamber includes,

434.    As discussed in connection with claim 1, Koga discloses or teaches this limitation. I

        adopt that analysis here.



                                               -246-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 249 of 461




435.    To the extent this was not disclosed or taught by Koga alone, it would have been obvious

        to a POSA based on their experience, education, and training as I already discussed for

        Claim 1. I incorporate that discussion here.

436.    To the extent that this was not disclosed or taught by Koga, with the knowledge of a

        POSA, it would have been obvious based on Duan for reasons I have already articulated

        in my discussion of Ground 1. I adopt that prior analysis here.



10(c) an inlet defined by the impeller cover positioned below a center of the impeller configured

        to enable a cooling liquid to flow into the center of the pump chamber,

437.    As discussed in connection with claim 1, Koga discloses or teaches this limitation. I

        adopt that analysis here.

438.    To the extent this was not disclosed or taught by Koga alone, it would have been obvious

        to a POSA based on their experience, education, and training as I already discussed for

        Claim 1. I incorporate that discussion here.

439.    To the extent that this was not disclosed or taught by Koga, with the knowledge of a

        POSA, it would have been obvious based on Duan for reasons I have already articulated

        in my discussion of Ground 1. I adopt that prior analysis here.



10(d) an outlet defined by the impeller cover positioned tangentially to the circumference of the

        impeller;

440.    As discussed in connection with claim 1, Koga discloses or teaches this limitation. I

        adopt that analysis here.




                                               -247-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 250 of 461




441.    To the extent this was not disclosed or taught by Koga alone, it would have been obvious

        to a POSA based on their experience, education, and training as I already discussed for

        Claim 1. I incorporate that discussion here.

442.    To the extent that this was not disclosed or taught by Koga, with the knowledge of a

        POSA, it would have been obvious based on Duan for reasons I have already articulated

        in my discussion of Ground 1. I adopt that prior analysis here.



10(e) a thermal exchange chamber configured to be disposed between the pump chamber and a

        heat-generating component when the system is installed on a heat-generating component;

443.    As discussed in connection with claim 1, Koga discloses or teaches this limitation. I

        adopt that analysis here.

444.    To the extent this was not disclosed or taught by Koga alone, it would have been obvious

        to a POSA based on their experience, education, and training as I already discussed for

        Claim 1. I incorporate that discussion here.

445.    To the extent that this was not disclosed or taught by Koga, with the knowledge of a

        POSA, it would have been obvious based on Duan for reasons I have already articulated

        in my discussion of Ground 1. I adopt that prior analysis here.



10(f) a heat-exchanging interface forming a boundary wall of the thermal exchange chamber, the

        heat-exchanging interface has an outer surface configured to be placed in thermal

        contact with a surface of a heat-generating component and an inner surface that defines

        a plurality of parallel channels that are configured to direct the flow of the cooling liquid

        within the thermal exchange chamber;



                                                -248-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 251 of 461




446.    As discussed in connection with claim 1, Koga discloses or teaches this limitation. I

        adopt that analysis here.

447.    To the extent this was not disclosed or taught by Koga alone, it would have been obvious

        to a POSA based on their experience, education, and training as I already discussed for

        Claim 1. I incorporate that discussion here.

448.    To the extent that this was not disclosed or taught by Koga, with the knowledge of a

        POSA, it would have been obvious based on Duan for reasons I have already articulated

        in my discussion of Ground 1. I adopt that prior analysis here.



10(g) a heat radiator adapted to pass the cooling liquid therethrough, the heat radiator being

        fluidly coupled to the reservoir via fluid conduits, the heat radiator being configured to

        dissipate heat from the cooling liquid;

449.    As discussed in connection with claim 1, Koga discloses or teaches this limitation. I

        adopt that analysis here.

450.    To the extent this was not disclosed or taught by Koga alone, it would have been obvious

        to a POSA based on their experience, education, and training as I already discussed for

        Claim 1. I incorporate that discussion here.

451.    To the extent that this was not disclosed or taught by Koga, with the knowledge of a

        POSA, it would have been obvious based on Duan for reasons I have already articulated

        in my discussion of Ground 1. I adopt that prior analysis here.




                                                  -249-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 252 of 461




10(h) a set of four mounting legs configured to secure the heat-exchanging interface to a heat-

        generating component of a computer.

452.    To the extent this limitation was not disclosed or taught by Koga, it would have been

        obvious to a POSA based on her experience, education, and training. In fact, the use of

        mounting legs to secure heat-exchanging interface to a heat-generating component is

        routine. This is made clear by the asserted prior art referenced in the ’196 patent, as

        shown below. A POSA would have been motivated to use four legs to secure the thermal

        exchange interface to the heat-generating component because the legs provide a uniform

        contact at the interface and thereby reduces thermal resistance.

453.    Retaining frame 3 has four legs which are matched with four legs of brace 6.




                                        ’196 patent, Figure 1



454.    To the extent that this was not disclosed or taught by Koga, with the knowledge of a

        POSA, it would have been obvious based on Duan for reasons I have already articulated

        in my discussion of Ground 1. I adopt that prior analysis here.




                                                -250-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 253 of 461




Claim 13: The liquid cooling system of claim 10, wherein the double-sided chassis defines a

        recess configured to house the stator.

455.    Koga discloses or teaches this limitation. It teaches a double-sided chassis that defines a

        recess configured to hold a stator, as shown in the following images.




                                          Koga, Figure 7




                                          Koga, Figure 7




                                                 -251-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 254 of 461




456.    To the extent this claim was not disclosed or taught by Koga alone, it would have been

        obvious based on the experience, education, and training of a POSA. In fact, I have

        worked with numerous pumps like that described in Shin with a double-sided chassis that

        defines a recess to house the stator. A POSA would have been motivated to use a double

        sided chassis with a recess to house the stator because this arrangement effectively

        isolates the stator from the impeller and helps the pump efficiently direct fluid to the

        heated region where is removes heat and transfers the heat to the ambient environment.

457.    To the extent that this was not disclosed or taught by Koga, with the knowledge of a

        POSA, it would have been obvious based on Duan for reasons I have already articulated

        in my discussion of Ground 1. I adopt that prior analysis here.



IX.     ANALYSIS OF VALIDITY OF THE ’601 PATENT PURSUANT TO 35 U.S.C. § 103


458.    I have considered the following prior art and their combinations in forming my opinions

        on invalidity of claims 1, 6, 11, and 12 of the ’601 patent pursuant to 35 U.S.C. § 103:

           x   JP 2002-151638 (Shin)

           x   U.S. Patent 6,019,165 (Batchelder)

           x   U.S. Patent 6,915,653 (Nakano)

           x   ZL 02241576.9Y (Yu)

           x   KR 2003-0031027 (Ryu)

459.    It is my opinion that claims 1, 6, 11, and 12 of the ’601 patent are invalid by obviousness

        under the following grounds:




                                                -252-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 255 of 461




         Ground        Combination

         1             Shin in view of Batchelder (Claims 1, 6, 11, and 12)

         2             Shin in view of Batchelder and further in view of Nakano (Claim 11)

         3             Batchelder in view of Shin (Claims 1, 6, 11, and 12)

         4             Batchelder in view of Shin and further in view of Nakano (Claim 11)

         5             Yu in view of Batchelder (Claims 1, 6, 12)

         6             Yu in view of Batchelder and further in view of Nakano (Claim 11)

         7             Ryu in view of Batchelder (Claims 1, 6, 12)

         8             Ryu in view of Batchelder and further in view of Nakano (Claims 11)



A.      Ground 1 – Shin in View of Batchelder

460.    It is my opinion that Shin, in view of Batchelder and in view of the education,

        experience, and training of a POSA renders claims 1, 6, 11, and 12 of the ’601 patent

        invalid.



Claim 1 preamble: A cooling system for a computer system processing unit, comprising;

461.    I do not understand the preamble of claim 1 to be limiting, but to the extent that it is, Shin

        discloses the preamble. Shin teaches a cooling system for a computer system processing

        units, as evident from the following.

462.    The title of Shin is “COOLING DEVICE FOR ELECTRONIC EQUIPMENT”

463.    The abstract of Shin clearly states that it is a liquid cooling system. The abstract states “A

        cooling structure for compactly mounting a liquid cooled heat sink and pump inside a

        case.”


                                                -253-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 256 of 461




464.    Shin makes clear that it is intended to be used for cooling electronic components

        positioned on the motherboard of a computer system; as evidenced by the following

        representative but non-exhaustive passages.




                                           Shin [0001]




                                           Shin [0007]




                                        Shin [0008-0011]



                                              -254-
Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 257 of 461




                            Shin [0012]




                            Shin [0013]




                            Shin [0030]




                           Shin, Claim 1
                               -255-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 258 of 461




                                           Shin, Figure 3




                                           Shin, Figure 4



465.    To the extent this preamble was not disclosed or taught by Shin, it would have been

        obvious in view of the knowledge of a POSA. Liquid cooling systems for electronic

        components on a motherboard of a computer system are commonly encountered by

        POSAs working on thermal management of electronics. This is shown by the following

        figures, which were cited as prior art in the asserted patents:




                                                -256-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 259 of 461




                                      ’601 Figure 3, prior art



466.    Further, to the extent that the preamble was not disclosed or taught by Shin in view of the

        knowledge of a POSA, it would have been obvious in view of Batchelder.

467.    For example, in the abstract, Batchelder discusses its use in cooling electronics using a

        liquid cooling system.




                                               -257-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 260 of 461




                                      Batchelder Col. 2, lines 39-57.

468.    Batchelder further discusses cooling computer electronic components at 2:29-35; 5:64-

        67; and 6:1-5; as examples. A POSA would have been motivated to use a cooling system

        for a computer system processing unit in order to remove heat and maintain safe CPU

        temperatures.



1(a) A reservoir configured to circulate a cooling liquid therethrough the reservoir including:

469.    Shin (as modified) renders obvious a reservoir that is configured to circulate a cooling

        liquid therethrough, as I have already opined above. I adopt that prior analysis here.




                                               -258-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 261 of 461




                                                                Upper chamber




                 Lower chamber




   (Schematic of cross-sectional view of the single-receptacle “reservoir” of modified Shin)



470.    To the extent this limitation was not disclosed or rendered obvious by Shin in view of the

        knowledge of a POSA, it would have been obvious based on a combination of Shin and

        Batchelder. Batchelder discloses a reservoir, through which coolant flows, as shown in


                                              -259-
Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 262 of 461




 the following images. A POSA would have been motivated to circulate cooling liquid

 through the reservoir because such an arrangement is an efficient way to bring cooling

 liquid from the pump to the heated region and thereby transfer heat from the heat-

 generating component into the cooling fluid. In addition, using a reservoir to route fluid

 reduces the number of fluid couplings, the potential for leaks and improves the

 performance of the system.




                                    Batchelder, Figure 2




                                        -260-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 263 of 461




                                          Batchelder, Figure 5



1(b) an upper chamber and a lower chamber, wherein the upper chamber and the lower

        chamber are vertically displaced fluid-containing chambers that are each surrounded by

        boundary walls

471.    Shin discloses an upper and a lower chamber wherein the upper chamber and the lower

        chamber are vertically displaced fluid-containing chambers that are each surrounded by

        boundary walls. The upper chamber of Shin is shown here:


                                                               Upper chamber




               Lower chamber




                                   Shin, Figure 2 (Modified)



                                             -261-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 264 of 461




472.    The lower chamber of Shin (thermal exchange chamber) is identified in the following

        image.




            Shin, Figure 2 (with the upper and lower chambers modified as follows)




                                                            Upper chamber




                 Lower chamber




                                             -262-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 265 of 461




   (Schematic of cross-sectional view of the single-receptacle “reservoir” of modified Shin)



473.    To the extent that Shin’s reservoir is not the claimed reservoir, it would have been

        obvious to a POSA to modify Shin as discussed below.

474.    A POSA would have been motivated to rotate the pump of Shin 90 degrees to improve its

        thermal and hydraulic performance, as shown in the following image. With such a

        rotation, the reservoir of Shin would possess the claimed upper and lower chambers with

        the chambers vertically spaced apart. The following three images show the original and

        rotated orientation of the upper chamber of the two-chamber reservoir of Shin.




                                     Shin Original Orientation




                                               -263-
Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 266 of 461




             Shin, Figure 2 showing rotation of pump chamber




                        Shin Rotated Orientation




                                 -264-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 267 of 461




                                                             Upper chamber




               Lower chamber




   (Schematic of cross-sectional view of the single-receptacle “reservoir” of modified Shin)



475.    After this simple rotation, the two-chamber reservoir of Shin has an upper chamber and a

        lower chamber and the chambers that are vertically spaced, as shown here:




                                 Shin – rotated with annotation


                                              -265-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 268 of 461




                                                              Upper chamber




               Lower chamber




   (Schematic of cross-sectional view of the single-receptacle “reservoir” of modified Shin)

476.    Rotating a cylindrical liquid pump would have been a trivial and routine exercise for a

        POSA. I have reoriented dozens or hundreds of pumps in my career by rotation. A POSA

        would have known that rotating a pump would lead to expected and successful results.

        Furthermore, a POSA would have been motivated to reorient the pump as shown below

        because it would eliminate a tubing connection and two potential locations for leaks.

        Additionally, directing the fluid from the pump to the lower chamber would improve heat

        transfer and performance of the system. It also simplifies the assembly and the system

        and reduces the number of components. The practice of reducing parts in a designed

        assembly is standard for engineers and follows the principles of Design For

        Manufacturability and Assembly (DFMA).


                                              -266-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 269 of 461




477.    To the extent this claim is not evident based on Shin, in view of the knowledge of a

        POSA, it would have been obvious in light of Batchelder. Batchelder teaches the claimed

        reservoir, as shown here:




                                       Batchelder, Figure 2




                                       Batchelder, Figure 5

                                              -267-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 270 of 461




478.    As seen, Batchelder’s reservoir comprises both an upper chamber and a lower chamber,

        as shown below. A POSA would have been motivated to use an upper and a lower

        chamber of a reservoir that are vertically displaced and each surrounding by boundary

        walls. This arrangement is a simplified way to route fluid to the heated region. The

        vertical arrangement reduces the space occupied by the cooling system and simplifies

        assembly of the cooling system to the electronic system.




                                      Batchelder, Figure 2




                                      Batchelder, Figure 5
                                              -268-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 271 of 461




1(c) a first passage that fluidly couples the lower chamber to the upper chamber, wherein the

        first passage is substantially central to the lower chamber

479.    The thus-modified Shin discloses or teaches this limitation, it possesses a first passage

        that fluidly couples the lower chamber to the upper chamber, wherein the first passage is

        substantially central to the lower chamber.

480.    As shown in the below images, the modified Shin system has an upper chamber and a

        lower chamber that are fluidly coupled by one or more passageways:




                                                                      Upper chamber




                     Lower chamber




                                               -269-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 272 of 461




   (Schematic of cross-sectional view of the single-receptacle “reservoir” of modified Shin)



481.    To the extent this was not disclosed or taught based on Shin, it would have been obvious

        to a POSA in view of their experience, education, and training. To couple two fluid

        chambers by one or more passages would have been evident and trivial for a POSA. I

        have worked with dual chamber reservoirs before, and I instruct students on their analysis

        and design (both undergraduate and graduate students). In addition, a POSA would have

        known that it is advantageous to position a fluid passage central to the lower chamber,

        because the fluid entering the lower chamber would be at a colder temperature, thereby

        ensuring the most efficient heat transfer. Since computer chips are typically hottest at

        their center, a POSA would have known that the coldest liquid should be directed thereto.

        I have personally instructed undergraduate and graduate students on this issue, related to

        cooling computer systems. A POSA would have been motivated to use a passage that

        couples the lower and upper chambers of a reservoir where the passage is substantially

        central to the lower chamber. Such an arrangement is a simple and hydraulically efficient

        way to route liquid to the heat generating region; it shortens the flow path and improves

        hydraulic performance.



                                               -270-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 273 of 461




482.    To the extent this was not made obvious by Shin, in view of the knowledge of a POSA, it

        would have been obvious in view of Batchelder. Batchelder discloses a two-chamber

        reservoir that are fluidly connected by a passageway, as shown here, where one of the

        passageways is centrally located.




                                      Batchelder, Figure 2




                                      Batchelder, Figure 5




                                              -271-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 274 of 461




483.    The passageways that fluidly couple the upper and lower chambers are shown here.




                                      Batchelder, Figure 2



1(d) a second passage positioned at a perimeter of the lower chamber;

484.    Shin also discloses a second passage positioned at a perimeter of the lower chamber, as

        shown here. The figure shows that it is positioned at a perimeter of the lower chamber

        (near the second end of the thermal exchange chamber).




             Shin, Figure 2 (with the upper and lower chambers modified as follows)



                                              -272-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 275 of 461




                                                             Upper chamber




               Lower chamber




   (Schematic of cross-sectional view of the single-receptacle “reservoir” of modified Shin)

485.    To the extent this was not made obvious by Shin alone or with the experience, education,

        and training of a POSA, it would have been obvious based on Batchelder. A POSA

        would have been motivated to include a second passage at the perimeter of the lower

        chamber because it would provide an unobtrusive way to remove the cooling fluid from


                                             -273-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 276 of 461




        the heated region so that the cooling fluid can be routed away and the heat contained

        within the cooling fluid can be transferred to the ambient environment.




                                         Batchelder, Figure 2



1(e) wherein the lower chamber includes a plurality of parallel channels configured to split the

        flow of cooling liquid and direct the cooling liquid from the central region toward the

        perimeter of the lower chamber where the cooling liquid is collected along the perimeter

        and directed from the lower chamber through the second passage

486.    Shin, in view of Batchelder discloses this claim element. Batchelder teaches a lower

        chamber with a plurality of parallel channels configured to split the flow of cooling liquid

        and direct the cooling liquid from the central region toward the perimeter of the lower

        chamber, where the cooling liquid is collected along the perimeter and directed from the

        lower chamber through the second passage.




                                               -274-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 277 of 461




                                      Batchelder, Figure 2

487.    Batchelder teaches the use of pumps that provide flow in different directions, as shown

        by the following from Figure 9. With the pump on the left, the flow would be in the

        direction indicated by red arrows in the preceding paragraph. (Batchelder, 8:16-27)




                                       From Batchelder, Figure 9



                                              -275-
Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 278 of 461




                              -276-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 279 of 461




14.     Using a viscosity pump would result in a system as shown above. Further, as can be seen

        below, Batchelder discloses parallel channels formed in the lower chamber that direct

        fluid. The parallel channels are created by the fin array (52) that Batchelder discloses.




                                     From Batchelder Figure 4



488.    Batchelder discloses or teaches other versions of fin arrays (110 and 120 below) that

        result in the claimed parallel channels, as shown here.




                                               -277-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 280 of 461




                                    From Batchelder, Figure 6



489.    Additionally, this would have been obvious in view of the education, experience, and

        training of a POSA. A POSA would have expected to use parallel channel fins to cool the

        computer chip, as demonstrated by the images from Batchelder. In fact, these types of fin

        arrays are the most common types available. I have taught about the use of parallel

        channel fin arrays for decades; it is a standard topic in both undergraduate and graduate

        courses in heat transfer. A POSA would have been motivated to incorporate a lower

        chamber with a plurality of channels configured to split the flow of cooling liquid and

        direct the liquid from the central region toward the perimeter of the lower chamber where

        the fluid is collected. Such a flow design promotes effective cooling at the heated

        location and reduces pressure losses in the fluid. This improves the hydraulic

        performance of the pump and thus the efficiency of the cooling system. The use of

                                               -278-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 281 of 461




        channels increases the heat transfer surface area and thereby reduces the temperature of

        the heat-generating component.



1(f) a heat exchanging interface attached to the reservoir to form a boundary wall of the lower

        chamber, the heat exchanging interface configured to provide thermal contact between a

        processing unit and the cooling liquid;

490.    Shin discloses or teaches this limitation, it has a heat exchanging interface that is attached

        to the reservoir to form a boundary wall of the lower chamber, the heat exchanging

        interface configured to provide thermal contact between a processing unit and the cooling

        liquid.




                                            Shin [0007]




                                                -279-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 282 of 461




                                           Shin [0012]




                                          Shin, Claim 1

491.    The heat exchange surface of Shin is illustrated in the following figures (bottom surface

        of the thermal exchange chamber). The heat exchanging interface is in thermal contact

        with the heat generating electrical components, it also forms the lower boundary wall of

        the lower chamber.




                                              -280-
 Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 283 of 461




    Shin, Figure 2 (with the upper (thermal exchange) chamber modified as below)


                                                         Upper chamber




          Lower chamber




(Schematic of cross-sectional view of the single-receptacle “reservoir” of modified Shin)




                                         -281-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 284 of 461




                                           Shin, Figure 3



492.    While this limitation is obvious based on Shin alone, it is also obvious based on Shin, in

        view of the experience, education, and training of a POSA. First, a POSA working on

        thermal management of electronics would have known about the importance of thermal

        contact. Also, it is routine to use a surface of a reservoir to provide thermal contact,

        because it reduces the thermal resistance between the heat-generating component and the

        fluid. This is a very common issue and is a topic of undergraduate and graduate courses

        on heat transfer. I have taught about the importance of thermal contact for decades. A

        POSA would have been motivated to attach a heat exchanging interface to the reservoir

        to form a boundary wall of the lower chamber and to enable thermal contact between the

        processing unit and the cooling liquid. Thermal contact reduces the thermal resistance

        and thereby lowers the temperature of the heat generating component.

493.    This limitation is further obvious in view of Batchelder. Batchelder discusses its thermal

        contact between a heat-exchanging interface and a computer processor/heat-generating

        component.


                                                -282-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 285 of 461




                                 Batchelder, Col. 7 lines 23-26



494.    Batchelder embodiments also disclose the limitation, as shown here:




                                      Batchelder, Figure 4




                                             -283-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 286 of 461




                                        Batchelder, Figure 2




                                        Batchelder, Figure 5



1(g) a pump having a motor and an impeller, the impeller being positioned within the upper

        chamber of the reservoir; and

495.    Shin discloses a pump having a motor and an impeller with the impeller positioned within

        the upper chamber of the reservoir. The upper chamber of the reservoir of Shin is

        indicated below.

                                               -284-
Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 287 of 461




                                     Shin [0018]




                                     Shin [0019]




     Shin, Figure 2 (with the upper and lower chambers modified as follows)




                                     -285-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 288 of 461




                                                              Upper chamber




               Lower chamber




   (Schematic of cross-sectional view of the single-receptacle “reservoir” of modified Shin)



496.    To the extent this was not disclosed or taught based on Shin alone, it would have been

        obvious based on the experience, education, and training of a POSA. A POSA would

        have known that an impeller is used to propel the liquid coolant flow. The impeller would


                                              -286-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 289 of 461




        have to be confined within a chamber to function. A POSA working on thermal

        management of electronics or liquid pumps would already be familiar with the

        positioning of pump impellers within chambers. In fact, liquid pumps are purchased with

        impellers so positioned. Furthermore, I have on numerous occasions used such pumps

        and instructed students on their use. A POSA would have been motivated to use a pump

        with a motor and an impeller with the impeller positioned in the upper chamber of the

        reservoir. This design makes the flow hydraulically efficient and thus improves

        performances. In addition, this design reduces the size of the cooling system and also

        reduces the number of tubes and fluid connections, and thus lowers the risk of leaks.

497.    To the extent it was not disclosed or taught based on Shin, it would have been obvious in

        view of Batchelder. The impeller of Batchelder is driven by motor 32, which is external

        to the reservoir.




                                         Batchelder, Abstract




                                              -287-
Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 290 of 461




                         Batchelder, Figure 2




                         Batchelder, Figure 5




                                -288-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 291 of 461




1(h) a radiator spaced apart from and fluidly coupled to the reservoir

498.    Shin discloses a radiator spaced apart and fluidly coupled to the reservoir, as shown

        below. The fluid coupling is indicated by the black arrows which represent the direction

        of coolant flow.




                                          Shin, Figure 3




                                          Shin, Figure 4




                                               -289-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 292 of 461




                          Shin, Figure 4, showing flow of liquid coolant



499.    To the extent this was not disclosed or taught by Shin alone, it would have been obvious

        in view of the knowledge of a POSA. In fact, radiators are routinely used to remove heat

        from coolants after they have absorbed thermal energy from heat-generating components,

        such as CPUs. I have used such radiators myself and I have seen, analyzed, and inspected

        numerous devices with such radiators. I have also taught undergraduate and graduate

        students (for two decades) on their use. A POSA would have been motivated to

        implement a radiator that is spaced apart and fluidly coupled to the reservoir because this

        allows heat to be transferred from the vicinity of the heated region to the ambient

        environment, thus improving the performance of the system and lowering the temperature

        of the heat-generating component.

500.    To the extent this was not disclosed or taught based on Shin, in view of the knowledge of

        a POSA, it would have been obvious based on Batchelder. Batchelder teaches a radiator

        that is separated from, but fluidly connected to, the reservoir. With the use of the

        viscosity pump in Batchelder as discussed above, the combined Shin plus Batchelder

        system is shown in the third diagram below, as would have been understood by a POSA.


                                               -290-
Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 293 of 461




                         Batchelder, Figure 4




                                -291-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 294 of 461




Claim 6 preamble: A cooling system for a computer system processing unit, comprising

501.    To the extent this preamble is limiting, it was disclosed or taught by Shin either alone, or

        in view of the knowledge of a POSA and/or in view of Batchelder, for similar reasons as

        discussed in connection with Claim 1. I adopt that prior discussion here.




6(a) a reservoir configured to circulate a cooling liquid therethrough, the reservoir including:

502.    This claim limitation was disclosed or taught by Shin (as modified) either alone, or in

        view of the knowledge of a POSA and/or in view of Batchelder, for similar reasons as

        discussed in connection with Claim 1. I adopt that prior discussion here.




                                               -292-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 295 of 461




6(b) an upper chamber and a lower chamber, wherein the upper chamber and the lower

        chamber are vertically displaced fluid-containing chambers that are each surrounded by

        boundary walls.

503.    This claim limitation was disclosed or taught by Shin either alone, or in view of the

        knowledge of a POSA and/or in view of Batchelder, for similar reasons as discussed in

        connection with Claim 1. I adopt that prior discussion here.



6(c) a first passage that fluidly couples the lower chamber to the upper chamber, wherein the

        first passage is substantially central to the lower chamber;

504.    This claim limitation was disclosed or taught by Shin either alone, or in view of the

        knowledge of a POSA and/or in view of Batchelder, for similar reasons as discussed in

        connection with Claim 1. I adopt that prior discussion here.



6(d) a second passage positioned at a perimeter of the lower chamber;

505.    This claim limitation was disclosed or taught by Shin either alone, or in view of the

        knowledge of a POSA and/or in view of Batchelder, for similar reasons as discussed in

        connection with Claim 1. I adopt that prior discussion here.



6(e) wherein the lower chamber includes a plurality of channels configured to split the flow of

        cooling liquid and direct the cooling liquid from the central region toward the perimeter

        of the lower chamber;




                                               -293-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 296 of 461




506.    This claim limitation was disclosed or taught by Shin either alone, or in view of the

        knowledge of a POSA and/or in view of Batchelder, for similar reasons as discussed in

        connection with Claim 1. I adopt that prior discussion here.



6(f) a heat exchanging interface attached to the reservoir to form a boundary wall of the lower

        chamber, the heat exchanging interface configured to provide thermal contact between a

        processing unit and the cooling liquid;

507.    This claim limitation was disclosed or taught by Shin either alone, or in view of the

        knowledge of a POSA and/or in view of Batchelder, for similar reasons as discussed in

        connection with Claim 1. I adopt that prior discussion here.



6(g) a pump having a motor and an impeller, the impeller being positioned within the upper

        chamber of the reservoir; and

508.    This claim limitation was disclosed or taught by Shin either alone, or in view of the

        knowledge of a POSA and/or in view of Batchelder, for similar reasons as discussed in

        connection with Claim 1. I adopt that prior discussion here.



6(h) a radiator spaced apart from and fluidly coupled to the reservoir;

509.    This claim limitation was disclosed or taught by Shin either alone, or in view of the

        knowledge of a POSA and/or in view of Batchelder, for similar reasons as discussed in

        connection with Claim 1. I adopt that prior discussion here.




                                               -294-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 297 of 461




6(i) a frame configured to fasten the reservoir to a board on which a computer system processing

        unit is configured to be mounted, wherein the frame has four holes, one provided in each

        corner of the frame configured to correspond to holes in the board;

510.    This claim is obvious based on Shin, in view of the experience, education, and training of

        a POSA. Frames are commonly used to fasten a reservoir to a board on a computer

        system processing unit. As I have already discussed, Shin teaches the creation of thermal

        contact between the reservoir and the CPU. Thermal contact is important to ensure heat

        transfer from the CPU into the coolant. Reducing thermal resistance by use of a frame is

        commonly performed, I have on many occasions worked with, designed, or evaluated

        frames that are used in this way. Typically frames have holes that are used to facilitate

        fasteners (like screws) that hold the cooling device in contact with the CPU. In fact, as a

        POSA, I would expect a frame to be configured to fasten a reservoir to a board with four

        holes that correspond to four holes in the board. which a CPU is configured. This

        promotes thermal contact and thus improved performance. It also reduces the likelihood

        that the cooling system will become dislodged from the heat-generating component.

511.    As evidence by the ubiquitous nature of such frames, I have included prior art Figure 1,

        from the ’601 patent. There, a frame (3) is identified which has four holes in its corners

        that correspond to the circuit board (2).




                                                -295-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 298 of 461




                                       ’601 patent, Figure 1



6(j) a gasket configured to seal between the reservoir and the heat exchanging interface.

512.    Gaskets are ubiquitous in liquid pumps and in thermal management of electronic systems.

        For instance, gaskets are expressly called out in Batchelder, as shown here.




                                              -296-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 299 of 461




                                           Batchelder, Figure 13

513.    To the extent this was not disclosed or taught in view of Batchelder, it would have been

        obvious to use a gasket, based on the experience, education, and training of a POSA. A

        POSA would have known that gaskets are used at interfaces between fluid-conveying

        structures to reduce or eliminate leaks at those interfaces. Gaskets, such as O-rings, are

        commonly used in even the most rudimentary engineering systems. A POSA would have

        been motivated to use a gasket to create a seal between the reservoir and the heat

        generating component to reduce the likelihood of leaks, result in vibration resistance, and

        to aid in assembly.




                                               -297-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 300 of 461




Claim 7: The cooling system of claim 6, wherein the cooling system is further configured to

        function with a control system, wherein the control system is configured to adjust to a

        speed of the pump.

514.    This claim is obvious based on Shin alone, or based on Shin in view of the knowledge of

        a POSA and/or further based on Batchelder. In fact, in the following passage, Shin

        expressly discusses controlling the pump speed by controlling the voltage provided to the

        pump.




                                           Shin, [0019]



515.    To the extent this was not disclosed or taught based on Shin alone, it would have been

        obvious in view of the experience, education, and training of a POSA. Voltage controlled

        pumps are commonly and ubiquitously employed with liquid pumps; I have personally

        used them numerous times throughout my career. A POSA would have been motivated to

        use a control system with a cooling system so that the cooling system can be modified

        based on the thermal and pressure requirements. In particular, a control system allows

        the cooler to operate more efficiently, reducing the temperature of the heat generating

        component as well as noise and power.




                                               -298-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 301 of 461




516.    To the extent this was not disclosed or taught based on Shin in view of the knowledge of

        a POSA, it would have been obvious based on Batchelder which discloses the control of a

        pump here:




                                Batchelder, Column 13, lines 1-11



Claim 11: The cooling system of claim 7, wherein the cooling system is further configured to

        function with a control system that can adjust a rotational speed of a fan and a rotational

        speed of the pump to reduce noise and provide a required cooling capacity of the cooling

        system.

517.    This claim is obvious based on Shin alone, or based on Shin in view of the knowledge of

        a POSA and/or further based on Batchelder. The desire to reduce noise generating by

        pumps is expressly discussed in Shin, for example:




                                               -299-
Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 302 of 461




                            Shin, [0019]




                           Shin, Figure 3




                           Shin, Figure 4




                               -300-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 303 of 461




518.    A POSA would have known that the fans illustrated in the above images are configured

        to be controlled. Air fans also generate noise that can be bothersome to users. In fact, air

        fans are typically the loudest component of a computer system. POSAs routinely work to

        reduce the sounds by either audibly insulating the fans or more commonly, reducing the

        fan speed.

519.    I have personally worked with air fans such as those disclosed in Shin and shown below.

        Insofar as the fans are connected to a DC power supply, they are configured to have an

        adjustable rotational speed.

520.    To the extent this was not disclosed or taught based on Shin alone, it would have been

        obvious in view of the experience, education, and training of a POSA. Voltage controlled

        pumps are commonly and ubiquitously employed with liquid pumps; I have personally

        used them numerous times throughout my career. In fact, I have been employed by

        companies to reduce the noise of pump/fan operation by reducing the rotating rate of the

        fan and/or the pump. A POSA would have been motivated to use a control system with a

        cooling system so that the cooling system can be modified based on the thermal and

        pressure requirements. In particular, a control system that adjusts the rotational speed of

        the fan allows the cooler to operate more efficiently, reducing the temperature of the heat

        generating component as well as noise and power.



Claim 12 preamble: A cooling system for a computer system processing unit, comprising:

521.    To the extent this preamble is limiting, it was disclosed or taught by Shin either alone, or

        in view of the knowledge of a POSA and/or in view of Batchelder, for similar reasons as

        discussed in connection with Claim 1. I adopt that prior discussion here.



                                                -301-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 304 of 461




12(a) a reservoir configured to circulate a cooling liquid therethrough, the reservoir including:

522.    This limitation was disclosed or taught by Shin (as modified) either alone, or in view of

        the knowledge of a POSA and/or in view of Batchelder, for similar reasons as discussed

        in connection with Claim 1. I adopt that prior discussion here.



12(b) an upper chamber and a lower chamber, wherein the upper chamber and the lower

        chamber are vertically displaced fluid-containing chambers that are each surrounded by

        boundary walls.

523.    This limitation was disclosed or taught by Shin either alone, or in view of the knowledge

        of a POSA and/or in view of Batchelder, for similar reasons as discussed in connection

        with Claim 1. I adopt that prior discussion here.



12(c) a first passage that fluidly couples the lower chamber to the upper chamber, wherein the

        first passage is substantially central to the lower chamber;

524.    This limitation was disclosed or taught by Shin either alone, or in view of the knowledge

        of a POSA and/or in view of Batchelder, for similar reasons as discussed in connection

        with Claim 1. I adopt that prior discussion here.



12(d) a second passage positioned at a perimeter of the lower chamber;

525.    This limitation was disclosed or taught by Shin either alone, or in view of the knowledge

        of a POSA and/or in view of Batchelder, for similar reasons as discussed in connection

        with Claim 1. I adopt that prior discussion here.




                                               -302-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 305 of 461




12(e) wherein the lower chamber includes a plurality of parallel channels configured to split the

        flow of cooling liquid and direct the cooling liquid from the central region toward the

        perimeter of the lower chamber where the cooling liquid is collected along the perimeter

        and directed from the lower chamber through the second passage.

526.    This limitation was disclosed or taught by Shin either alone, or in view of the knowledge

        of a POSA and/or in view of Batchelder, for similar reasons as discussed in connection

        with Claim 1. I adopt that prior discussion here.



12(f) a heat exchanging interface attached to the reservoir to form a boundary wall of the lower

        chamber, the heat exchanging interface configured to provide thermal contact between a

        processing unit and the cooling liquid;

527.    This limitation was disclosed or taught by Shin either alone, or in view of the knowledge

        of a POSA and/or in view of Batchelder, for similar reasons as discussed in connection

        with Claim 1. I adopt that prior discussion here.



12(g) a pump having a motor and an impeller, the impeller being positioned within the upper

        chamber of the reservoir; and

528.    This limitation was disclosed or taught by Shin either alone, or in view of the knowledge

        of a POSA and/or in view of Batchelder, for similar reasons as discussed in connection

        with Claim 1. I adopt that prior discussion here.




                                               -303-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 306 of 461




12(h) a radiator spaced apart from and fluidly coupled to the reservoir;

529.    This limitation was disclosed or taught by Shin (as modified) either alone, or in view of

        the knowledge of a POSA and/or in view of Batchelder, for similar reasons as discussed

        in connection with Claim 1. I adopt that prior discussion here.



12(i) a frame configured to fasten the reservoir to a board on which a computer system

        processing unit is configured to be mounted, wherein the frame has four holes, one

        provided in each corner of the frame configured to correspond to holes in the board;

530.    This limitation was disclosed or taught by Shin either alone, or in view of the knowledge

        of a POSA and/or in view of Batchelder, for similar reasons as discussed in connection

        with Claim 6. I adopt that prior discussion here.



12(j) a gasket configured to seal between the reservoir and the heat exchanging interface.

531.    This limitation was disclosed or taught by Shin either alone, or in view of the knowledge

        of a POSA and/or in view of Batchelder, for similar reasons as discussed in connection

        with Claim 6. I adopt that prior discussion here.



B.      Ground 2 – Shin in View of Batchelder and Further in View of Nakano

532.    It is my opinion that Shin, in view of Batchelder, further in view of Nakano, renders

        claim 11 of the ’601 patent obvious, for the reasons I will now discuss. Claim 11

        depends from claim 7, which depends from claim 6, which is rendered obvious by Shin in

        view of Batchelder as discussed above, of which I adopt the prior analysis here.




                                               -304-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 307 of 461




Claim 7: The cooling system of claim 6, wherein the cooling system is further configured to

        function with a control system, wherein the control system is configured to adjust to a

        speed of the pump.

533.    To the extent this was not disclosed or taught by Shin in view of Batchelder, it would

        have been obvious further in view of Nakano. Nakano expressly discusses a control

        system to modulate the cooling system by adjusting the rotational speed of a fan. A

        POSA would have been motivated to use a control system with a cooling system so that

        the cooling system can be modified based on the thermal and pressure requirements. In

        particular, a control system allows the cooler to operate more efficiently, reducing the

        temperature of the heat generating component as well as noise and power.




                                  Nakano, Column 1 lines 36-67




                                               -305-
Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 308 of 461




                     Nakano, Column 2, lines 1-12




                    Nakano, Column 2, lines 57-67




                     Nakano, Column 3, lines 1-25


                                -306-
Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 309 of 461




                    Nakano, Column 3, lines 27-48




                          Nakano, Claim 1




                               -307-
     Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 310 of 461




                                       Nakano Claims 4-6




                                        Nakano, Figure 3



Claim 11: The cooling system of claim 7, wherein the cooling system is further configured to

       function with a control system that can adjust a rotational speed of a fan and a rotational

       speed of the pump to reduce noise and provide a required cooling capacity of the cooling

       system.
                                              -308-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 311 of 461




534.    This claim was disclosed or taught by Shin either alone, or in view of the knowledge of a

        POSA and/or in view of Batchelder, for similar reasons as discussed in connection with

        Claim 1. I adopt that prior discussion here.

535.    To the extent this was not disclosed or taught with the above combination, it would have

        been obvious in view of Nakano. Nakano expressly discusses a control system to

        modulate the cooling system by adjusting the rotational speed of a fan as discussed

        above, and I adopt that prior discussion here. A POSA would have been motivated to use

        a control system with a cooling system so that the cooling system can be modified based

        on the thermal and pressure requirements. In particular, a control system that adjusts the

        rotational speed of the fan allows the cooler to operate more efficiently, reducing the

        temperature of the heat generating component as well as noise and power.



C.      Ground 3 – Batchelder in View of Shin

536.    It is my opinion that Batchelder, in view of Shin, renders claims 1, 6, 11, and 12 of the

        ’601 patent obvious, for reasons that I will now discuss.



Claim 1 preamble: A cooling system for a computer system processing unit, comprising;

537.    Batchelder, either alone, or in view of a POSA and/or in view of Shin, disclose this

        preamble, as I have already demonstrated in Ground 1. I adopt that analysis here.



1(a) A reservoir configured to circulate a cooling liquid therethrough the reservoir including:

538.    Batchelder, either alone, or in view of a POSA and/or in view of Shin, disclose this

        limitation, as I have already demonstrated in Ground 1. I adopt that analysis here.



                                               -309-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 312 of 461




1(b) an upper chamber and a lower chamber, wherein the upper chamber and the lower

        chamber are vertically displaced fluid-containing chambers that are each surrounded by

        boundary walls

539.    Batchelder, either alone, or in view of a POSA and/or in view of Shin, disclose this

        limitation, as I have already demonstrated in Ground 1. I adopt that analysis here.



1(c) a first passage that fluidly couples the lower chamber to the upper chamber, wherein the

        first passage is substantially central to the lower chamber

540.    Batchelder, either alone, or in view of a POSA and/or in view of Shin, disclose this

        limitation, as I have already demonstrated in Ground 1. I adopt that analysis here.



1(d) a second passage positioned at a perimeter of the lower chamber;

541.    Batchelder, either alone, or in view of a POSA and/or in view of Shin, disclose this

        limitation, as I have already demonstrated in Ground 1. I adopt that analysis here.



1(e) wherein the lower chamber includes a plurality of parallel channels configured to split the

        flow of cooling liquid and direct the cooling liquid from the central region toward the

        perimeter of the lower chamber where the cooling liquid is collected along the perimeter

        and directed from the lower chamber through the second passage

542.    Batchelder, either alone, or in view of a POSA and/or in view of Shin, disclose this

        limitation, as I have already demonstrated in Ground 1. I adopt that analysis here.




                                               -310-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 313 of 461




1(f) a heat exchanging interface attached to the reservoir to form a boundary wall of the lower

        chamber, the heat exchanging interface configured to provide thermal contact between a

        processing unit and the cooling liquid;

543.    Batchelder, either alone, or in view of a POSA and/or in view of Shin, disclose this

        limitation, as I have already demonstrated in Ground 1. I adopt that analysis here.



1(g) a pump having a motor and an impeller, the impeller being positioned within the upper

        chamber of the reservoir; and

544.    Batchelder, either alone, or in view of a POSA and/or in view of Shin, disclose this

        limitation, as I have already demonstrated in Ground 1. I adopt that analysis here.



1(h) a radiator spaced apart from and fluidly coupled to the reservoir

545.    Batchelder, either alone, or in view of a POSA and/or in view of Shin, disclose this

        limitation, as I have already demonstrated in Ground 1. I adopt that analysis here.



Claim 6 preamble: A cooling system for a computer system processing unit, comprising

546.    Batchelder, either alone, or in view of a POSA and/or in view of Shin, disclose this

        preamble, as I have already demonstrated in Ground 1. I adopt that analysis here.



6(a) a reservoir configured to circulate a cooling liquid therethrough, the reservoir including:

547.    Batchelder, either alone, or in view of a POSA and/or in view of Shin, disclose this

        limitation, as I have already demonstrated in Ground 1. I adopt that analysis here.




                                               -311-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 314 of 461




6(b) an upper chamber and a lower chamber, wherein the upper chamber and the lower

        chamber are vertically displaced fluid-containing chambers that are each surrounded by

        boundary walls.

548.    Batchelder, either alone, or in view of a POSA and/or in view of Shin, disclose this

        limitation, as I have already demonstrated in Ground 1. I adopt that analysis here.



6(c) a first passage that fluidly couples the lower chamber to the upper chamber, wherein the

        first passage is substantially central to the lower chamber;

549.    Batchelder, either alone, or in view of a POSA and/or in view of Shin, disclose this

        limitation, as I have already demonstrated in Ground 1. I adopt that analysis here.



6(d) a second passage positioned at a perimeter of the lower chamber;

550.    Batchelder, either alone, or in view of a POSA and/or in view of Shin, disclose this

        limitation, as I have already demonstrated in Ground 1. I adopt that analysis here.



6(e) wherein the lower chamber includes a plurality of channels configured to split the flow of

        cooling liquid and direct the cooling liquid from the central region toward the perimeter

        of the lower chamber;

551.    Batchelder, either alone, or in view of a POSA and/or in view of Shin, disclose this

        limitation, as I have already demonstrated in Ground 1. I adopt that analysis here.




                                               -312-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 315 of 461




6(f) a heat exchanging interface attached to the reservoir to form a boundary wall of the lower

        chamber, the heat exchanging interface configured to provide thermal contact between a

        processing unit and the cooling liquid;

552.    Batchelder, either alone, or in view of a POSA and/or in view of Shin, disclose this

        limitation, as I have already demonstrated in Ground 1. I adopt that analysis here.



6(g) a pump having a motor and an impeller, the impeller being positioned within the upper

        chamber of the reservoir; and

553.    Batchelder, either alone, or in view of a POSA and/or in view of Shin, disclose this

        limitation, as I have already demonstrated in Ground 1. I adopt that analysis here.



6(h) a radiator spaced apart from and fluidly coupled to the reservoir;

554.    Batchelder, either alone, or in view of a POSA and/or in view of Shin, disclose this

        limitation, as I have already demonstrated in Ground 1. I adopt that analysis here.



6(i) a frame configured to fasten the reservoir to a board on which a computer system processing

        unit is configured to be mounted, wherein the frame has four holes, one provided in each

        corner of the frame configured to correspond to holes in the board;

555.    Batchelder in view of a POSA and Shin, discloses or teaches this limitation, as I have

        already demonstrated in Ground 1. I adopt that analysis here.



6(j) a gasket configured to seal between the reservoir and the heat exchanging interface.




                                               -313-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 316 of 461




556.    Batchelder, either alone, or in view of a POSA and/or in view of Shin, discloses or

        teaches this limitation, as I have already demonstrated in Ground 1. I adopt that analysis

        here.



Claim 7: The cooling system of claim 6, wherein the cooling system is further configured to

        function with a control system, wherein the control system is configured to adjust to a

        speed of the pump.

557.    Batchelder in view of a POSA and Shin, discloses this claim, as I have already

        demonstrated in Ground 1. I adopt that analysis here.



Claim 11: The cooling system of claim 7, wherein the cooling system is further configured to

        function with a control system that can adjust a rotational speed of a fan and a rotational

        speed of the pump to reduce noise and provide a required cooling capacity of the cooling

        system.

558.    Batchelder in view of a POSA and Shin, discloses this claim, as I have already

        demonstrated in Ground 1. I adopt that analysis here.



Claim 12 preamble: A cooling system for a computer system processing unit, comprising:

559.    Batchelder, either alone, or in view of a POSA and/or in view of Shin, discloses this

        preamble, as I have already demonstrated in Ground 1. I adopt that analysis here.



12(a) a reservoir configured to circulate a cooling liquid therethrough, the reservoir including:




                                               -314-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 317 of 461




560.    Batchelder, either alone, or in view of a POSA and/or in view of Shin, discloses or

        teaches this limitation, as I have already demonstrated in Ground 1. I adopt that analysis

        here.



12(b) an upper chamber and a lower chamber, wherein the upper chamber and the lower

        chamber are vertically displaced fluid-containing chambers that are each surrounded by

        boundary walls.

561.    Batchelder, either alone, or in view of a POSA and/or in view of Shin, discloses or

        teaches this limitation, as I have already demonstrated in Ground 1. I adopt that analysis

        here.



12(c) a first passage that fluidly couples the lower chamber to the upper chamber, wherein the

        first passage is substantially central to the lower chamber;

562.    Batchelder, either alone, or in view of a POSA and/or in view of Shin, discloses or

        teaches this limitation, as I have already demonstrated in Ground 1. I adopt that analysis

        here.



12(d) a second passage positioned at a perimeter of the lower chamber;

563.    Batchelder, either alone, or in view of a POSA and/or in view of Shin, discloses or

        teaches this limitation, as I have already demonstrated in Ground 1. I adopt that analysis

        here.




                                               -315-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 318 of 461




12(e) wherein the lower chamber includes a plurality of parallel channels configured to split the

        flow of cooling liquid and direct the cooling liquid from the central region toward the

        perimeter of the lower chamber where the cooling liquid is collected along the perimeter

        and directed from the lower chamber through the second passage.

564.    Batchelder, either alone, or in view of a POSA and/or in view of Shin, discloses or

        teaches this limitation, as I have already demonstrated in Ground 1. I adopt that analysis

        here.



12(f) a heat exchanging interface attached to the reservoir to form a boundary wall of the lower

        chamber, the heat exchanging interface configured to provide thermal contact between a

        processing unit and the cooling liquid;

565.    Batchelder, either alone, or in view of a POSA and/or in view of Shin, discloses or

        teaches this limitation, as I have already demonstrated in Ground 1. I adopt that analysis

        here.



12(g) a pump having a motor and an impeller, the impeller being positioned within the upper

        chamber of the reservoir; and

566.    Batchelder, either alone, or in view of a POSA and/or in view of Shin, discloses or

        teaches this limitation, as I have already demonstrated in Ground 1. I adopt that analysis

        here.



12(h) a radiator spaced apart from and fluidly coupled to the reservoir;




                                               -316-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 319 of 461




567.    Batchelder, either alone, or in view of a POSA and/or in view of Shin, discloses or

        teaches this limitation, as I have already demonstrated in Ground 1. I adopt that analysis

        here.



12(i) a frame configured to fasten the reservoir to a board on which a computer system

        processing unit is configured to be mounted, wherein the frame has four holes, one

        provided in each corner of the frame configured to correspond to holes in the board;

568.    Batchelder in view of a POSA and Shin, discloses or teaches this limitation, as I have

        already demonstrated in Ground 1. I adopt that analysis here.



12(j) a gasket configured to seal between the reservoir and the heat exchanging interface.

569.    Batchelder, either alone, or in view of a POSA and/or in view of Shin, disclose this

        limitation, as I have already demonstrated in Ground 1. I adopt that analysis here.



D.      Ground 4 – Batchelder in View of Shin and Further in View of Nakano

570.    It is my opinion that Batchelder, in view of the knowledge of a POSA and/or in view of

        Shin, further in view of Nakano, renders claim 11 of the ’601 patent obvious, for reasons

        that I will now discuss. Claim 11 depends from claim 7, which depends from claim 6,

        which is rendered obvious by Shin in view of Batchelder as discussed above, of which I

        adopt the prior analysis here.

Claim 7: The cooling system of claim 6, wherein the cooling system is further configured to

        function with a control system, wherein the control system is configured to adjust to a

        speed of the pump.



                                               -317-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 320 of 461




571.    Batchelder, either alone, or in view of the knowledge of a POSA and/or in view of Shin,

        further in view of Nakano, discloses this claim, as I have already demonstrated in Ground

        1. I adopt that analysis here.



Claim 11: The cooling system of claim 7, wherein the cooling system is further configured to

        function with a control system that can adjust a rotational speed of a fan and a rotational

        speed of the pump to reduce noise and provide a required cooling capacity of the cooling

        system.

572.    Batchelder, either alone, or in view of the knowledge of a POSA and/or in view of Shin,

        further in view of Nakano, discloses this claim, as I have already demonstrated in Ground

        1. I adopt that analysis here.

E.      Ground 5 – Yu in View of Batchelder

573.    It is my opinion that Yu, in view of the experience, education, and training of a POSA,

        and in view of Batchelder, further in view of Nakano, renders claims 1, 6, and 12 of the

        ’601 patent invalid.



Claim 1 preamble: A cooling system for a computer system processing unit, comprising;

574.    While I do not understand that preamble to this claim to be limiting, if it does limit, then

        Yu discloses the preamble.

575.    For further example, Yu discusses the use of liquid cooling systems for electronic

        components positioned on the motherboard of a computer system.




                                                -318-
Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 321 of 461




                            Yu, abstract




                         Yu, Technical Field




                            Yu, page 22




                            Yu, page 25


                               -319-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 322 of 461




                                           Yu, Figure 5



576.    To the extent this preamble was not disclosed or taught by Yu, it would have been

        obvious to a POSA, based on her experience, education, and training, as I have already

        discussed with respect to Ground 1. I adopt that prior analysis here. A POSA would have

        been motivated to use a cooling system for a computer system processing unit in order to

        remove heat and maintain safe CPU temperatures.

577.    Furthermore, this preamble is also disclosed by Batchelder, as I have already discussed in

        connection with Ground 1. I adopt that prior analysis here.



1(a) A reservoir configured to circulate a cooling liquid therethrough the reservoir including:

578.    Yu discloses the claimed reservoir, configured to circulate cooling liquid therethrough, as

        discussed above and further as shown here:




                                               -320-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 323 of 461




                                                Yu, page 23




                                                Yu, Figure 5



579.    To the extent this limitation was not disclosed or taught by Yu, it would have been

        obvious to a POSA, based on her experience, education, and training, as I have already

        discussed with respect to Ground 1. I adopt that prior analysis here. A POSA would have

        been motivated to circulate cooling liquid through the reservoir because such an

        arrangement is an efficient way to bring cooling liquid from the pump to the heated

        region and thereby transfer heat from the heat-generating component into the cooling

        fluid. In addition, using a reservoir to route fluid reduces the number of fluid couplings,

        the potential for leaks and improves the performance of the system.



                                               -321-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 324 of 461




580.    Furthermore, this limitation is also disclosed by Batchelder, as I have already discussed

        in connection with Ground 1. I adopt that prior analysis here.



1(b) an upper chamber and a lower chamber, wherein the upper chamber and the lower

        chamber are vertically displaced fluid-containing chambers that are each surrounded by

        boundary walls

581.    Yu discloses or teaches this limitation, it possesses an upper chamber and a lower

        chamber wherein the upper chamber and the lower chamber are vertically displaced fluid-

        containing chambers that are surrounded by boundary walls.

582.    For example, Yu discloses a reservoir that includes upper and lower chambers that are

        vertically spaced apart.




                                           Yu, Figure 5



583.    To the extent this was not disclosed or taught from Yu, it would have been obvious based

        on Batchelder, as I have already discussed in connection with Ground 1. I adopt that


                                               -322-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 325 of 461




        previous analysis here. A POSA would have been motivated to use an upper and a lower

        chamber of a reservoir that are vertically displaced and each surrounding by boundary

        walls. This arrangement is a simplified way to route fluid to the heated region. The

        vertical arrangement reduces the space occupied by the cooling system and simplifies

        assembly of the cooling system to the electronic system.



1(c) a first passage that fluidly couples the lower chamber to the upper chamber, wherein the

        first passage is substantially central to the lower chamber

584.    Yu discloses a first passage that fluidly couples the lower chamber to the upper chamber

        wherein the first passage is substantially central to the lower chamber.




                                           Yu, Figure 5

585.    To the extent this was not disclosed or taught based on Yu alone, it would have been

        obvious based on the experience, education, and training of a POSA. A POSA would

        have known that the two chambers would be fluidly connected and that the fluid coupling

        would be accomplished with a passageway. The positioning of a fluid passageway near

                                               -323-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 326 of 461




        the center of the chambers is an obvious choice. A POSA would have been motivated to

        use a passage that couples the lower and upper chambers of a reservoir where the passage

        is substantially central to the lower chamber. Such an arrangement is a simple and

        hydraulically efficient way to route liquid to the heat generating region; it shortens the

        flow path and improves hydraulic performance.

586.    To the extent this is not made obvious by Yu, it would have been obvious in view of

        Batchelder. Batchelder discloses a two-chamber reservoir that are fluidly connected by a

        passageway, as shown here, where one of the passageways is centrally located.

587.    To the extent that this claim limitation was not disclosed or taught based on Yu in view

        of the knowledge of a POSA, it would have been obvious in further view of Batchelder as

        I have already discussed in regards to Ground 1. I adopt that prior analysis here.



1(d) a second passage positioned at a perimeter of the lower chamber;

588.    Yu discloses or teaches this limitation; Yu teaches a second passage positioned at a

        perimeter of a lower chamber.




                                            Yu, Figure 5


                                                -324-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 327 of 461




589.    To the extent that this limitation was not disclosed or taught by Yu, it was disclosed or

        taught by Batchelder, as discussed in Ground 1 and demonstrated in the following image.

        A POSA would have been motivated to include a second passage at the perimeter of the

        lower chamber because it would provide an unobtrusive way to remove the cooling fluid

        from the heated region so that the cooling fluid can be routed away and the heat

        contained within the cooling fluid can be transferred to the ambient environment.




                                       Batchelder, Figure 2



1(e) wherein the lower chamber includes a plurality of parallel channels configured to split the

        flow of cooling liquid and direct the cooling liquid from the central region toward the

        perimeter of the lower chamber where the cooling liquid is collected along the perimeter

        and directed from the lower chamber through the second passage

590.    Yu, in view of Batchelder, discloses or teaches this limitation. Batchelder teaches a lower

        chamber with a plurality of parallel channels configured to split the flow of cooling liquid


                                               -325-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 328 of 461




        and direct the cooling liquid from the central region toward the perimeter of the lower

        chamber, where the cooling liquid is collected along the perimeter and directed from the

        lower chamber through the second passage; as discussed in Ground 1 and shown in the

        figure below.




                                       Batchelder, Figure 2



591.    Batchelder teaches the use of pumps that provide flow in different directions, as shown

        by the following from Figure 9. With the pump on the left, the flow would be in the

        direction indicated by red arrows in the preceding paragraph.




                                               -326-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 329 of 461




                                         From Batchelder, Figure 9



592.    Batchelder discloses parallel channels formed in the lower chamber that direct fluid. I

        adopt my discussion from Ground 1. The parallel channels are created by the fin array

        (52) that Batchelder discloses. A POSA would have been motivated to incorporate a

        lower chamber with a plurality of channels configured to split the flow of cooling liquid

        and direct the liquid from the central region toward the perimeter of the lower chamber

        where the fluid is collected. Such a flow design promotes effective cooling at the heated

        location and reduces pressure losses in the fluid. This improves the hydraulic

        performance of the pump and thus the efficiency of the cooling system. The use of

        channels increases the heat transfer surface area and thereby reduces the temperature of

        the heat-generating component.




                                               -327-
Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 330 of 461




                       From Batchelder Figure 4




                      From Batchelder, Figure 6




                                -328-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 331 of 461




1(f) a heat exchanging interface attached to the reservoir to form a boundary wall of the lower

        chamber, the heat exchanging interface configured to provide thermal contact between a

        processing unit and the cooling liquid;

593.    Yu discloses or teaches this limitation. Yu teaches a heat exchanging interface that is

        attached to the reservoir to form a boundary wall of the lower chamber. The heat

        exchanging interface is configured to provide thermal contact between a processing unit

        and the cooling liquid.




                                           Yu, Figure 5



594.    To the extent this limitation was not disclosed or taught by Yu, it would have been

        obvious in view of the experience, education, and training of a POSA and/or further in

        view of Batchelder, as I have already discussed in Ground 1. I adopt that analysis here. A

        POSA would have been motivated to attach a heat exchanging interface to the reservoir

        to form a boundary wall of the lower chamber and to enable thermal contact between the

                                               -329-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 332 of 461




        processing unit and the cooling liquid. Thermal contact reduces the thermal resistance

        and thereby lowers the temperature of the heat generating component.



1(g) a pump having a motor and an impeller, the impeller being positioned within the upper

        chamber of the reservoir; and

595.    This limitation is obvious in view of Yu. Yu discloses a pump having a motor and an

        impeller with the impeller positioned within the upper chamber of the reservoir.




                                          Yu, Abstract




                                           Yu, Page 23




                                              -330-
Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 333 of 461




                            Yu, Page 25




                            Yu, Claim 1




                            Yu, page 23




                               -331-
Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 334 of 461




                            Yu, Figure 5




                            Yu, Figure 5



                               -332-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 335 of 461




596.    To the extent this limitation is not made obvious by Yu, it would have been obvious in

        light of the experience, education, and training of a POSA, or further in view of

        Batchelder, as I explained in Ground 1. I adopt that earlier discussion here. A POSA

        would have been motivated to use a pump with a motor and an impeller with the impeller

        positioned in the upper chamber of the reservoir. This design makes the flow

        hydraulically efficient and thus improves performances. In addition, this design reduces

        the size of the cooling system and also reduces the number of tubes and fluid

        connections, and thus lowers the risk of leaks.



1(h) a radiator spaced apart from and fluidly coupled to the reservoir

597.    Yu discloses the claimed radiator, spaced apart and fluidly coupled to the reservoir.

598.    Yu teaches a separate cooling region (radiator) where heat is extracted from the coolant

        before the coolant is reintroduced to cool the electronic component(s). The following

        figures from Yu show a fan used to direct air across a radiator.




                                           Yu, Figure 7




                                               -333-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 336 of 461




                                            Yu, Figure 8




                                            Yu, Page 23



599.    To the extent this limitation was not disclosed or taught by Yu, it would have been

        obvious based on the knowledge of a POSA or based on Batchelder, as I discussed in

        Ground 1. I adopt that analysis here. A POSA would have been motivated to implement a

        radiator that is spaced apart and fluidly coupled to the reservoir because this allows heat

        to be transferred from the vicinity of the heated region to the ambient environment, thus

        improving the performance of the system and lowering the temperature of the heat-

        generating component.




                                               -334-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 337 of 461




Claim 6 preamble: A cooling system for a computer system processing unit, comprising

600.    To the extent this preamble is limiting, it was disclosed or taught by Yu either alone, or in

        view of the knowledge of a POSA and/or in view of Batchelder, for similar reasons as

        discussed in connection with Claim 1. I adopt that prior discussion here.



6(a) a reservoir configured to circulate a cooling liquid therethrough, the reservoir including:

601.    This claim limitation is disclosed in Yu either alone, or in view of the knowledge of a

        POSA and/or in view of Batchelder, for similar reasons as discussed in connection with

        Claim 1. I adopt that prior discussion here.



6(b) an upper chamber and a lower chamber, wherein the upper chamber and the lower

        chamber are vertically displaced fluid-containing chambers that are each surrounded by

        boundary walls.

602.    This claim limitation is disclosed in Yu either alone, or in view of the knowledge of a

        POSA and/or in view of Batchelder, for similar reasons as discussed in connection with

        Claim 1. I adopt that prior discussion here.



6(c) a first passage that fluidly couples the lower chamber to the upper chamber, wherein the

        first passage is substantially central to the lower chamber;

603.    This claim limitation is disclosed in Yu either alone, or in view of the knowledge of a

        POSA and/or in view of Batchelder, for similar reasons as discussed in connection with

        Claim 1. I adopt that prior discussion here.




                                               -335-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 338 of 461




6(d) a second passage positioned at a perimeter of the lower chamber;

604.    This claim limitation is disclosed in Yu either alone, or in view of the knowledge of a

        POSA and/or in view of Batchelder, for similar reasons as discussed in connection with

        Claim 1. I adopt that prior discussion here.



6(e) wherein the lower chamber includes a plurality of channels configured to split the flow of

        cooling liquid and direct the cooling liquid from the central region toward the perimeter

        of the lower chamber;

605.    This claim limitation is disclosed in Yu either alone, or in view of the knowledge of a

        POSA and/or in view of Batchelder, for similar reasons as discussed in connection with

        Claim 1. I adopt that prior discussion here.



6(f) a heat exchanging interface attached to the reservoir to form a boundary wall of the lower

        chamber, the heat exchanging interface configured to provide thermal contact between a

        processing unit and the cooling liquid;

606.    This claim limitation is disclosed in Yu either alone, or in view of the knowledge of a

        POSA and/or in view of Batchelder, for similar reasons as discussed in connection with

        Claim 1. I adopt that prior discussion here.



6(g) a pump having a motor and an impeller, the impeller being positioned within the upper

        chamber of the reservoir; and




                                               -336-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 339 of 461




607.    This claim limitation is disclosed in Yu either alone, or in view of the knowledge of a

        POSA and/or in view of Batchelder, for similar reasons as discussed in connection with

        Claim 1. I adopt that prior discussion here.



6(h) a radiator spaced apart from and fluidly coupled to the reservoir;

608.    This claim limitation is disclosed in Yu either alone, or in view of the knowledge of a

        POSA or in view of Batchelder, for similar reasons as discussed in connection with

        Claim 1. I adopt that prior discussion here.



6(i) a frame configured to fasten the reservoir to a board on which a computer system processing

        unit is configured to be mounted, wherein the frame has four holes, one provided in each

        corner of the frame configured to correspond to holes in the board;

609.    This claim limitation is obvious based on Yu, in view of the experience, education, and

        training of a POSA. Frames are commonly used to fasten a reservoir to a board on a

        computer system processing unit as I already discussed in Ground 1 and adopt here. As I

        have already discussed, Yu teaches the creation of thermal contact between the reservoir

        and the CPU. Thermal contact is important to ensure heat transfer from the CPU into the

        coolant. Reducing thermal resistance by use of a frame is commonly performed, I have

        on many occasions worked with, designed, or evaluated frames that are used in this way.

        Typically frames have holes that are used to facilitate a fastener (like a screw) that hold

        the cooling device in contact with the CPU.

610.    In addition, this claim limitation is obvious based on the experience, education, and

        training of a POSA. In fact, the ’601 patent discloses prior art that contains such a frame,



                                                -337-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 340 of 461




        as shown here. There, a frame (3) is identified which has four holes in its corners that

        correspond to the circuit board (2). A POSA would have been motivated to use a frame

        with four holes to fasten a reservoir to a board on which a CPU is configured. This

        promotes thermal contact and thus improved performance. It also reduces the likelihood

        that the cooling system will become dislodged from the heat-generating component.




                                       ’601 patent, Figure 1



6(j) a gasket configured to seal between the reservoir and the heat exchanging interface.

611.    For similar reasons to those I provided in Ground 1, this is obvious based on Yu, in light

        of the knowledge of a POSA and/or in light of Batchelder. I adopt that prior analysis

        here. A POSA would have been motivated to use a gasket to create a seal between the

        reservoir and the heat generating component to reduce the likelihood of leaks, result in

        vibration resistance, and to aid in assembly.



                                               -338-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 341 of 461




Claim 12 preamble: A cooling system for a computer system processing unit, comprising:

612.    Yu, either alone, or in view of the knowledge of a POSA and/or Batchelder discloses this

        preamble, for the same reasons as discussed in claim 1. I adopt that analysis here.



12(a) a reservoir configured to circulate a cooling liquid therethrough, the reservoir including:

613.    Yu, either alone, or in view of the knowledge of a POSA and/or in view of Batchelder

        discloses or teaches this limitation, for the same reasons as discussed in claim 1. I adopt

        that analysis here.



12(b) an upper chamber and a lower chamber, wherein the upper chamber and the lower

        chamber are vertically displaced fluid-containing chambers that are each surrounded by

        boundary walls.

614.    Yu, either alone, or in view of the knowledge of a POSA and/or in view of Batchelder

        discloses or teaches this limitation, for the same reasons as discussed in claim 1. I adopt

        that analysis here.



12(c) a first passage that fluidly couples the lower chamber to the upper chamber, wherein the

        first passage is substantially central to the lower chamber;

615.    Yu, either alone, or in view of the knowledge of a POSA and/or in view of Batchelder

        discloses or teaches this limitation, for the same reasons as discussed in claim 1. I adopt

        that analysis here.




                                               -339-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 342 of 461




12(d) a second passage positioned at a perimeter of the lower chamber;

616.    Yu, either alone, or in view of the knowledge of a POSA and/or in view of Batchelder

        discloses or teaches this limitation, for the same reasons as discussed in claim 1. I adopt

        that analysis here.



12(e) wherein the lower chamber includes a plurality of parallel channels configured to split the

        flow of cooling liquid and direct the cooling liquid from the central region toward the

        perimeter of the lower chamber where the cooling liquid is collected along the perimeter

        and directed from the lower chamber through the second passage.

617.    Yu, either alone, or in view of the knowledge of a POSA and/or in view of Batchelder

        discloses or teaches this limitation, for the same reasons as discussed in claim 1. I adopt

        that analysis here.



12(f) a heat exchanging interface attached to the reservoir to form a boundary wall of the lower

        chamber, the heat exchanging interface configured to provide thermal contact between a

        processing unit and the cooling liquid;

618.    Yu, either alone, or in view of the knowledge of a POSA and/or in view of Batchelder

        discloses or teaches this limitation, for the same reasons as discussed in claim 1. I adopt

        that analysis here.



12(g) a pump having a motor and an impeller, the impeller being positioned within the upper

        chamber of the reservoir; and




                                               -340-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 343 of 461




619.    Yu, either alone, or in view of the knowledge of a POSA and/or in view of Batchelder

        discloses or teaches this limitation, for the same reasons as discussed in claim 1. I adopt

        that analysis here.



12(h) a radiator spaced apart from and fluidly coupled to the reservoir;

620.    Yu, either alone, or in view of the knowledge of a POSA and/or in view of Batchelder

        discloses or teaches this limitation, for the same reasons as discussed in claim 1. I adopt

        that analysis here.



12(i) a frame configured to fasten the reservoir to a board on which a computer system

        processing unit is configured to be mounted, wherein the frame has four holes, one

        provided in each corner of the frame configured to correspond to holes in the board;

621.    Yu, either alone, or in view of the knowledge of a POSA and/or in view of Batchelder

        discloses or teaches this limitation, for the same reasons as discussed in claim 1. I adopt

        that analysis here.



12(j) a gasket configured to seal between the reservoir and the heat exchanging interface.

622.    Yu, either alone, or in view of the knowledge of a POSA and/or in view of Batchelder

        discloses or teaches this limitation, for the same reasons as discussed in claim 1. I adopt

        that analysis here.




                                               -341-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 344 of 461




F.      Ground 6 – Yu in View of Batchelder and Further in View of Nakano

623.    It is my opinion that Yu, in view of Batchelder, further in view of Nakano, renders claim

        11 of the ’601 patent obvious, for the reasons I will now discuss. Claim 11 depends from

        claim 7, which depends from claim 6, which is rendered obvious by Yu in view of

        Batchelder as discussed above, of which I adopt the prior analysis here.



Claim 7: The cooling system of claim 6, wherein the cooling system is further configured to

        function with a control system, wherein the control system is configured to adjust to a

        speed of the pump.

624.    Yu, in view of the knowledge of a POSA, Batchelder, and Nakano discloses this claim, as

        I have already discussed regarding Grounds 1 and 2. I adopt that prior discussion here.



Claim 11: The cooling system of claim 7, wherein the cooling system is further configured to

        function with a control system that can adjust a rotational speed of a fan and a rotational

        speed of the pump to reduce noise and provide a required cooling capacity of the cooling

        system.

625.    Yu, in view of the knowledge of a POSA, Batchelder, and Nakano discloses this claim, as

        I have already discussed regarding Grounds 1 and 2. I adopt that prior discussion here.



G.      Ground 7 – Ryu in View of Batchelder

626.    Ryu in combination with the experience, education, and training of a POSA and

        Batchelder, renders claims 1, 6, and 12 of the ’601 patent invalid, for the following

        reasons.



                                               -342-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 345 of 461




Claim 1 preamble: A cooling system for a computer system processing unit, comprising;

627.    While I do not understand that the preamble to this claim is limiting, if it is limiting then

        Ryu discloses this preamble. First, Ryu is entitled “WATER COOLED COOLING

        DEVICE FOR THE CENTRAL PROCESSING UNIT OF A COMPUTER WITH AN

        IMPELLER”

628.    Ryu further discloses the following:




                                            Ryu, Abstract




                                            Ryu, Page 3

                                                -343-
Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 346 of 461




                            Ryu, Page 4




                            Ryu, Page 4




                            Ryu, Page 4

                               -344-
Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 347 of 461




                            Ryu, Page 5




                            Ryu, Page 6




                               -345-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 348 of 461




                                           Ryu, Page 7



629.    To the extent this preamble was not disclosed or taught by Ryu, it would have been

        obvious in light of the knowledge of a POSA and/or in light of Batchelder, as I have

        discussed above. I adopt that analysis here. A POSA would have been motivated to use a

        cooling system for a computer system processing unit in order to remove heat and

        maintain safe CPU temperatures.



1(a) A reservoir configured to circulate a cooling liquid therethrough the reservoir including:

630.    Ryu in view of Batchelder discloses or teaches this limitation. Ryu discloses or teaches

        the following:




                                           Ryu, page 5

                                              -346-
Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 349 of 461




                           Ryu, Figure 2




                           Ryu, Figure 3




                              -347-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 350 of 461




631.    Ryu does not disclose or teaches a “single receptacle,” but it would have been obvious to

        modify Ryu based on the experience, education, and training of a POSA and Batchelder

        to render a “reservoir” obvious, as I have discussed above. I adopt that discussion here. A

        POSA would have been motivated to circulate cooling liquid through the reservoir

        because such an arrangement is an efficient way to bring cooling liquid from the pump to

        the heated region and thereby transfer heat from the heat-generating component into the

        cooling fluid. In addition, using a reservoir to route fluid reduces the number of fluid

        couplings, the potential for leaks and improves the performance of the system.



1(b) an upper chamber and a lower chamber, wherein the upper chamber and the lower

        chamber are vertically displaced fluid-containing chambers that are each surrounded by

        boundary walls

632.    As discussed above, Ryu discloses or teaches this limitation, of which I adopt that

        analysis. To the extent this claim limitation was not disclosed or taught by Ryu, it would

        have been obvious based on the knowledge of a POSA and/or in view of Batchelder, as I

        discussed above. I adopt that prior discussion here. A POSA would have been motivated

        to use an upper and a lower chamber of a reservoir that are vertically displaced and each

        surrounding by boundary walls. This arrangement is a simplified way to route fluid to

        the heated region. The vertical arrangement reduces the space occupied by the cooling

        system and simplifies assembly of the cooling system to the electronic system.



1(c) a first passage that fluidly couples the lower chamber to the upper chamber, wherein the

        first passage is substantially central to the lower chamber



                                               -348-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 351 of 461




633.    This limitation was disclosed or taught by Ryu, in view of the knowledge of a POSA

        and/or in view of Batchelder, as I already discussed. I adopt that prior analysis here. A

        POSA would have been motivated to use a passage that couples the lower and upper

        chambers of a reservoir where the passage is substantially central to the lower chamber.

        Such an arrangement is a simple and hydraulically efficient way to route liquid to the

        heat generating region; it shortens the flow path and improves hydraulic performance.



1(d) a second passage positioned at a perimeter of the lower chamber;

634.    Ryu discloses or teaches a fluid passage that couples the pump chamber with the thermal

        exchange chamber. The passage is configured to direct cooling liquid from the thermal

        exchange chamber to the pump chamber, the passage positioned at the perimeter of the

        thermal exchange chamber.




                                           Ryu, Figure 3

                                               -349-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 352 of 461




635.    This limitation is further disclosed or taught by Ryu, in view of the knowledge of a

        POSA and/or in view of Batchelder, as I already discussed. I adopt that prior analysis

        here. A POSA would have been motivated to include a second passage at the perimeter of

        the lower chamber because it would provide an unobtrusive way to remove the cooling

        fluid from the heated region so that the cooling fluid can be routed away and the heat

        contained within the cooling fluid can be transferred to the ambient environment.



1(e) wherein the lower chamber includes a plurality of parallel channels configured to split the

        flow of cooling liquid and direct the cooling liquid from the central region toward the

        perimeter of the lower chamber where the cooling liquid is collected along the perimeter

        and directed from the lower chamber through the second passage

636.    Ryu discloses a lower chamber that includes a plurality of parallel channels configured to

        split the cooling flow and direct the cooling liquid from the central region toward the

        perimeter of the lower chamber, where the cooling liquid is collected along the perimeter

        and directed from the lower chamber through the second passage.




                                               Ryu, page 7




                                               -350-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 353 of 461




                                            Ryu, from Figure 4



637.    To the extent this limitation was not disclosed or taught based on Ryu, it would have

        been obvious based on either the experience, education, and training of a POSA and/or in

        view of Batchelder, as I have already discussed. I adopt that prior discussion here. A

        POSA would have been motivated to incorporate a lower chamber with a plurality of

        channels configured to split the flow of cooling liquid and direct the liquid from the

        central region toward the perimeter of the lower chamber where the fluid is collected.

        Such a flow design promotes effective cooling at the heated location and reduces pressure

        losses in the fluid. This improves the hydraulic performance of the pump and thus the

        efficiency of the cooling system. The use of channels increases the heat transfer surface

        area and thereby reduces the temperature of the heat-generating component.



1(f) a heat exchanging interface attached to the reservoir to form a boundary wall of the lower

        chamber, the heat exchanging interface configured to provide thermal contact between a

        processing unit and the cooling liquid;

                                               -351-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 354 of 461




638.    As seen above, Ryu includes a heat exchanging interface of a water jacket (lower surface

        of 20), that is coupled with the electronic component positioned on a motherboard.

639.    Ryu discloses or teaches a heat-exchanging interface that forms a boundary wall of the

        lower chamber, the heat-exchanging interface is configured to be placed in thermal

        contact with a surface of the heat generating component and with an inner surface that

        defines a plurality of channels that direct the flow of cooling liquid within the thermal

        exchange chamber.

640.    Ryu discusses the thermal contact between the heat-exchanging surface and the heat-

        generating component, for example:




                                            Ryu, page 5




                                            Ryu, Page 7

                                               -352-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 355 of 461




641.    To the extent this limitation was not disclosed or taught based on Ryu, it would have

        been obvious based on either the experience, education, and training of a POSA and

        Batchelder to render the “reservoir” limitation obvious, as I have already discussed

        above. I adopt that prior discussion here. A POSA would have been motivated to attach a

        heat exchanging interface to the reservoir to form a boundary wall of the lower chamber

        and to enable thermal contact between the processing unit and the cooling liquid.

        Thermal contact reduces the thermal resistance and thereby lowers the temperature of the

        heat generating component.



1(g) a pump having a motor and an impeller, the impeller being positioned within the upper

        chamber of the reservoir; and

642.    Ryu discloses or teaches a motor and an impeller with the impeller positioned within the

        upper chamber.




                                          Ryu, Abstract

                                              -353-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 356 of 461




                                           Ryu, Page 3




                                          Ryu, Figure 3



643.    To the extent this was not disclosed or taught based on Ryu alone, it would have been

        obvious based on the experience, education, and training of a POSA and Batchelder to

        render the “reservoir” limitation obvious, for the reasons I have discussed above. I adopt

        that discussion here. A POSA would have been motivated to use a pump with a motor

                                               -354-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 357 of 461




        and an impeller with the impeller positioned in the upper chamber of the reservoir. This

        design makes the flow hydraulically efficient and thus improves performances. In

        addition, this design reduces the size of the cooling system and also reduces the number

        of tubes and fluid connections, and thus lowers the risk of leaks.



1(h) a radiator spaced apart from and fluidly coupled to the reservoir

644.    Ryu discloses or teaches a radiator spaced apart from and fluidly connected to the

        reservoir, as shown here:




                                            Ryu, page 5




                                            Ryu, Page 6




                                               -355-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 358 of 461




                                            Ryu, page 6




                                           Ryu, Figure 1



645.    To the extent this was not disclosed or taught considering Ryu alone, it would have been

        obvious based on the knowledge of a POSA and/or based on Batchelder, as explained

        above. I adopt that prior analysis here. A POSA would have been motivated to implement

        a radiator that is spaced apart and fluidly coupled to the reservoir because this allows heat

                                               -356-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 359 of 461




        to be transferred from the vicinity of the heated region to the ambient environment, thus

        improving the performance of the system and lowering the temperature of the heat-

        generating component.



Claim 6 preamble: A cooling system for a computer system processing unit, comprising

646.    To the extent this preamble is limiting, it was disclosed or taught by Ryu either alone, or

        in view of the knowledge of a POSA and/or in view of Batchelder, for similar reasons as

        discussed above. I adopt that prior discussion here.



6(a) a reservoir configured to circulate a cooling liquid therethrough, the reservoir including:

647.    This limitation was disclosed or taught by Ryu in view of the knowledge of a POSA and

        Batchelder, for similar reasons as discussed above. I adopt that prior discussion here.



6(b) an upper chamber and a lower chamber, wherein the upper chamber and the lower

        chamber are vertically displaced fluid-containing chambers that are each surrounded by

        boundary walls.

648.    This limitation was disclosed or taught by Ryu either alone, or in view of the knowledge

        of a POSA and/or in view of Batchelder, for similar reasons as discussed above. I adopt

        that prior discussion here.



6(c) a first passage that fluidly couples the lower chamber to the upper chamber, wherein the

        first passage is substantially central to the lower chamber;




                                               -357-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 360 of 461




649.    This limitation was disclosed or taught by Ryu either alone, or in view of the knowledge

        of a POSA and/or in view of Batchelder, for similar reasons as discussed above. I adopt

        that prior discussion here.



6(d) a second passage positioned at a perimeter of the lower chamber;

650.    This limitation was disclosed or taught by Ryu either alone, or in view of the knowledge

        of a POSA and/or in view of Batchelder, for similar reasons as discussed above. I adopt

        that prior discussion here.



6(e) wherein the lower chamber includes a plurality of channels configured to split the flow of

        cooling liquid and direct the cooling liquid from the central region toward the perimeter

        of the lower chamber;

651.    This limitation was disclosed or taught by Ryu either alone, or in view of the knowledge

        of a POSA and/or in view of Batchelder, for similar reasons as discussed above. I adopt

        that prior discussion here.



6(f) a heat exchanging interface attached to the reservoir to form a boundary wall of the lower

        chamber, the heat exchanging interface configured to provide thermal contact between a

        processing unit and the cooling liquid;

652.    This limitation was disclosed or taught by Ryu either alone, or in view of the knowledge

        of a POSA and/or in view of Batchelder, for similar reasons as discussed above. I adopt

        that prior discussion here.




                                              -358-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 361 of 461




6(g) a pump having a motor and an impeller, the impeller being positioned within the upper

        chamber of the reservoir; and

653.    This limitation was disclosed or taught by Ryu in view of the knowledge of a POSA and

        Batchelder to render the “reservoir” limitation obvious, for similar reasons as discussed

        above. I adopt that prior discussion here.

6(h) a radiator spaced apart from and fluidly coupled to the reservoir;

654.    This limitation was disclosed or taught by Ryu either alone, or in view of the knowledge

        of a POSA and/or in view of Batchelder, for similar reasons as discussed above. I adopt

        that prior discussion here.



6(i) a frame configured to fasten the reservoir to a board on which a computer system processing

        unit is configured to be mounted, wherein the frame has four holes, one provided in each

        corner of the frame configured to correspond to holes in the board;

655.    This claim is obvious based on Ryu in view of the experience, education, and training of

        a POSA. Frames are commonly used to fasten a reservoir to a board on a computer

        system processing unit. As I have already discussed, Ryu teaches the creation of thermal

        contact between the reservoir and the CPU. Thermal contact is important to ensure heat

        transfer from the CPU into the coolant. Reducing thermal resistance by use of a frame is

        commonly performed, I have on many occasions worked with, designed, or evaluated

        frames that are used in this way. Typically frames have holes that are used to facilitate a

        fastener (like a screw) that hold the cooling device in contact with the CPU. A POSA

        would have been motivated to use a frame with four holes to fasten a reservoir to a board

        on which a CPU is configured. This promotes thermal contact and thus improved



                                               -359-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 362 of 461




        performance. It also reduces the likelihood that the cooling system will become

        dislodged from the heat-generating component.

656.    As evidence by the ubiquitous nature of such frames, I have included prior art figure 1,

        from the ’601 patent (as with my discussion in Ground 1, which I adopt here). There, a

        frame (3) is identified which has four holes in its corners that correspond to the circuit

        board (2).




                                        ’601 patent, Figure 1



6(j) a gasket configured to seal between the reservoir and the heat exchanging interface.

657.    Ryu does not expressly disclose or teach a gasket, but gaskets are ubiquitous in liquid

        pumps and in thermal management of electronic systems. For instance, gaskets are

        expressly called out in Batchelder, as shown here.




                                                -360-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 363 of 461




                                       Batchelder, Figure 13



658.    To the extent this was not disclosed or taught in view of Batchelder, it would have been

        obvious to use a gasket, based on the experience, education, and training of a POSA. A

        POSA would have known that gaskets are used at interfaces between fluid-conveying

        structures to reduce or eliminate leaks at those interfaces. Gaskets, such as O-rings, are

        commonly used in even the most rudimentary engineering systems. A POSA would have

        been motivated to use a gasket to create a seal between the reservoir and the heat

        generating component to reduce the likelihood of leaks, result in vibration resistance, and

        to aid in assembly.




                                               -361-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 364 of 461




Claim 12 preamble: A cooling system for a computer system processing unit, comprising:

659.    To the extent this preamble is limiting, it was disclosed or taught by Ryu either alone, or

        in view of the knowledge of a POSA and/or in view of Batchelder, for similar reasons as

        discussed above. I adopt that prior discussion here.



12(a) a reservoir configured to circulate a cooling liquid therethrough, the reservoir including:

660.    This limitation was disclosed or taught by Ryu either alone, or in view of the knowledge

        of a POSA and/or in view of Batchelder, for similar reasons as discussed above. I adopt

        that prior discussion here.



12(b) an upper chamber and a lower chamber, wherein the upper chamber and the lower

        chamber are vertically displaced fluid-containing chambers that are each surrounded by

        boundary walls.

661.    This limitation was disclosed or taught by Ryu either alone, or in view of the knowledge

        of a POSA and/or in view of Batchelder, for similar reasons as discussed above. I adopt

        that prior discussion here.

12(c) a first passage that fluidly couples the lower chamber to the upper chamber, wherein the

        first passage is substantially central to the lower chamber;

662.    This limitation was disclosed or taught by Ryu either alone, or in view of the knowledge

        of a POSA and/or in view of Batchelder, for similar reasons as discussed above. I adopt

        that prior discussion here.




                                               -362-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 365 of 461




12(d) a second passage positioned at a perimeter of the lower chamber;

663.    This limitation was disclosed or taught by Ryu either alone, or in view of the knowledge

        of a POSA and/or in view of Batchelder, for similar reasons as discussed above. I adopt

        that prior discussion here.



12(e) wherein the lower chamber includes a plurality of parallel channels configured to split the

        flow of cooling liquid and direct the cooling liquid from the central region toward the

        perimeter of the lower chamber where the cooling liquid is collected along the perimeter

        and directed from the lower chamber through the second passage.

664.    This limitation was disclosed or taught by Ryu either alone, or in view of the knowledge

        of a POSA and/or in view of Batchelder, for similar reasons as discussed above. I adopt

        that prior discussion here.




12(f) a heat exchanging interface attached to the reservoir to form a boundary wall of the lower

        chamber, the heat exchanging interface configured to provide thermal contact between a

        processing unit and the cooling liquid;

665.    This limitation was disclosed or taught by Ryu either alone, or in view of the knowledge

        of a POSA and/or in view of Batchelder, for similar reasons as discussed above. I adopt

        that prior discussion here.



12(g) a pump having a motor and an impeller, the impeller being positioned within the upper

        chamber of the reservoir; and



                                               -363-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 366 of 461




666.    This limitation was disclosed or taught by Ryu either alone, or in view of the knowledge

        of a POSA and/or in view of Batchelder, for similar reasons as discussed above. I adopt

        that prior discussion here.




12(h) a radiator spaced apart from and fluidly coupled to the reservoir;

667.    This limitation was disclosed or taught by Ryu either alone, or in view of the knowledge

        of a POSA and/or in view of Batchelder, for similar reasons as discussed above. I adopt

        that prior discussion here.



12(i) a frame configured to fasten the reservoir to a board on which a computer system

        processing unit is configured to be mounted, wherein the frame has four holes, one

        provided in each corner of the frame configured to correspond to holes in the board;

668.    This limitation was disclosed or taught by Ryu either alone, or in view of the knowledge

        of a POSA and/or in view of Batchelder, for similar reasons as discussed above. I adopt

        that prior discussion here.



12(j) a gasket configured to seal between the reservoir and the heat exchanging interface.

669.    This limitation was disclosed or taught by Ryu either alone, or in view of the knowledge

        of a POSA and/or in view of Batchelder, for similar reasons as discussed above. I adopt

        that prior discussion here.




                                              -364-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 367 of 461




H.      Ground 8 – Ryu in View of Batchelder and Further in View of Nakano

670.    Ryu, in view of the experience, education, and training of a POSA, and in view of

        Batchelder and Nakano render claim 11 of the ’601 patent invalid, for the following

        reasons. Claim 11 depends from claim 7, which depends from claim 6, which is rendered

        obvious by Yu in view of Batchelder as discussed above, of which I adopt the prior

        analysis here.



Claim 7: The cooling system of claim 6, wherein the cooling system is further configured to

        function with a control system, wherein the control system is configured to adjust to a

        speed of the pump.

671.    Ryu in view of the experience, education, and training of a POSA, and in view of

        Batchelder and Nakano practice this limitation, for the reasons already discussed above; I

        adopt that earlier discussion here.



Claim 11: The cooling system of claim 7, wherein the cooling system is further configured to

        function with a control system that can adjust a rotational speed of a fan and a rotational

        speed of the pump to reduce noise and provide a required cooling capacity of the cooling

        system.

672.    Ryu in view of the experience, education, and training of a POSA, and in view of

        Batchelder and Nakano practice this limitation, for the reasons already discussed above; I

        adopt that earlier discussion here.




                                               -365-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 368 of 461




X.      ANALYSIS OF VALIDITY OF THE ’355 PATENT PURSUANT TO 35 U.S.C.
        §§ 102 AND 103

673.    It is my understanding that all of the asserted claims of the ’355 patent have been

        determined by the Patent Trial and Appeal Board (“PTAB”) to be unpatentable as set

        forth in a Final Written Decision dated August 19, 2021.

674.    It is also my understanding that the allegations of invalidity raised by CoolIT in the IPR –

        as well as any allegations that reasonably could have been raised – will not be alleged in

        this case for legal reasons about which I am not offering an opinion.

675.    It is also my understanding that Asetek may appeal the findings of the PTAB and that

        CoolIT has requested that the court stay this case until the Federal Circuit has heard and

        decided the appeal.

676.    It is also my understanding that, if the court does not grant the stay and that if Asetek

        continues to assert the ’355 patent claims that have been found unpatentable by the PTAB

        then CoolIT may seek to allege invalidity of the asserted claims of the ’355 patent based

        on the findings of the PTAB as well as with respect to additional prior art.

677.    In the event the court allows CoolIT to assert the invalidity of the ’355 patent, I am

        prepared to offer additional opinions on the invalidity of the ’355 patent and reserve the

        right to supplement this report accordingly.

678.    For example, I have studied the Final Written Decision, and it is my opinion that the

        challenged claims of the ’355 patent are invalid for at least the reasons set forth by the

        PTAB in the Final Written Decision.

679.    Further, it is my opinion that asserted claim 1 of the ’355 patent is nearly identical to

        asserted claim 1 of the ’196 patent. Claim 1 of the ’196 patent requires an additional

        limitation that claim 1 of the ’355 patent does not require and thus claim 1 of the ’355

                                                -366-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 369 of 461




        patent is broader than claim 1 of the ’196 patent. Accordingly, it is my opinion that

        claim 1 of the ’355 patent is invalid for at least the same reasons that claim 1 of the ’196

        patent is invalid as set forth above.

680.    Further, it is my opinion that asserted dependent claim 2 of the ’355 patent adds the same

        limitation to claim 1 of the ’355 patent as asserted dependent claim 2 of the ‘196 patent

        adds to claim 1 of the ’196 patent. Accordingly, it is my opinion that claim 2 of the ’355

        patent is invalid for at least the same reasons that claim 2 of the ’196 patent is invalid as

        set forth above.

681.    Further, it is my opinion that asserted dependent claim 6 of the ’355 patent adds the same

        limitation to claim 1 of the ’355 patent as: (a) asserted dependent claim 13 of the ’196

        patent adds to claim 10 of the ’196 patent; (b) dependent claim 6 adds to asserted claim 1

        of the ’196 patent. Accordingly, it is my opinion that claim 6 of the ’355 patent is invalid

        for at least the same reasons that claims 1 and 13 of the ’196 patent are invalid as set

        forth above.

682.    Given the similarities of the claims between those in the ’355 patent and the ’196 patent,

        the PTAB’s Final Written Decision is consistent with and tends to support my invalidity

        analyses on the claims of the ’196 patent claims.



XI.     ANALYSIS OF VALIDITY OF THE ’354 PATENT PURSUANT TO 35
        U.S.C. § 103


683.    It is my understanding that all of the asserted claims of the ’354 patent have been

        determined by the PTAB to be unpatentable as set forth in a Final Written Decision dated

        August 19, 2021.



                                                -367-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 370 of 461




684.    It is also my understanding that the allegations of invalidity raised by CoolIT in the IPR –

        as well as any allegations that reasonably could have been raised – will not be alleged in

        this case for legal reasons about which I am not offering an opinion.

685.    It is also my understanding that Asetek may appeal the findings of the PTAB and that

        CoolIT has requested that the court stay this case until the Federal Circuit has heard and

        decided the appeal.

686.    It is also my understanding that, if the court does not grant the stay and that if Asetek

        continues to assert the ’354 patent claims that have been found unpatentable by the PTAB

        then CoolIT may seek to allege invalidity of the asserted claims of the ’354 patent based

        on the findings of the PTAB as well as with respect to additional prior art.

687.    In the event the court allows CoolIT to assert the invalidity of the ’354 patent I am

        prepared to offer additional opinions on the invalidity of the ’354 patent and reserve the

        right to supplement this report accordingly.

688.    For example, I have studied the Final Written Decision and it is my opinion that the

        challenged claims of the ’354 patent are invalid for at least the reasons set forth by the

        PTAB in the Final Written Decision.

689.    Further, it is my opinion that asserted claim 1 of the ’354 patent is nearly identical to

        asserted claim 1 of the ’601 patent. Claim 1 of the ’601 patent requires an additional

        limitation that claim 1 of the ’354 patent does not require and thus claim 1 of the ’354

        patent is broader than claim 1 of the ’601 patent. Accordingly, it is my opinion that claim

        1 of the ’354 patent is invalid for at least the same reasons that claim 1 of the ’601 patent

        is invalid as set forth above.




                                                -368-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 371 of 461




690.    Further, it is my opinion that asserted claim 8 of the ’354 patent is nearly identical to

        asserted claim 6 of the ’601 patent. Claim 6 of the ’601 patent requires additional

        limitations that claim 8 of the ’354 patent does not require and thus claim 8 of the ’354

        patent is broader than claim 6 of the ’601 patent. Accordingly, it is my opinion that claim

        8 of the ’354 patent is invalid for at least the same reasons that claim 6 of the ’601 patent

        is invalid as set forth above.

691.    Further, it is my opinion that asserted claim 15 of the ’354 patent is nearly identical to

        asserted claim 12 of the ’601 patent. Claim 12 of the ’601 patent requires additional

        limitations that claim 15 of the ’354 patent does not require and thus claim 15 of the ’354

        patent is broader than claim 12 of the ’601 patent. Accordingly, it is my opinion that

        claim 15 of the ’354 patent is invalid for at least the same reasons that claim 12 of the

        ’601 patent is invalid as set forth above.

692.    Given the similarities of the claims between those in the ’354 patent and the ’601 patent,

        the PTAB’s Final Written Decision is consistent with and tends to support my invalidity

        analyses on the claims of the ’601 patent claims.



XII.    MOTIVATION TO COMBINE CITED PRIOR ART

693.    In this report, I have analyzed multiple prior-art publications or references that discuss or

        address the same or substantially similar underlying systems, projects, or other subject

        matters, such as patents, patent applications, and successive versions thereof, or multiple

        publications discussing the same or similar subject matters. Where multiple references

        discuss or relate to the same or related underlying projects, systems, or other subject

        matters, it was obvious to combine the discussions and disclosures of the references as



                                                -369-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 372 of 461




        they would have been understood by a POSA to create systems with the combined

        features or potential features of the underlying projects, systems, techniques, or other

        subject matters. A POSA would have been motivated to combine the discussions and

        disclosures of one or more prior-art references with those of the others to improve the

        overall performance of the combine systems, as the combination of these features from

        two or more prior-art references would have produced predictable results and successes.

        Further, where one reference cites or discusses other references or their teachings, or

        references have one or more authors in common and a related area of subject matters, it

        was obvious to consider the teachings of the references in combination with each other

        due to the express relationships and commonalities between the references.

694.    The cited references in my report are all directed at liquid cooling technologies that

        involve similar and/or related structures. For example, Duan discloses: “The computers

        are developed with more powerful function and computation speed. Beside performance

        issue, the product appearance, the construction and motherboard connection ways are

        also under extensive exploited. As downsize of form factor and increasing of processing

        speed, the heat dissipation for central processing unit (CPU) is also an important issue to

        Solve.” Duan at [0004]. “However, above-described prior art liquid-cooling heat

        dissipation system 100a is composed of separate heat dissipation stage 10a, water pump

        20a, cooling stage 30a and water tank 4.0a and ducts 103a, 104a, 304a and 402a

        interconnecting between above devices. The liquid-cooling heat dissipation system 100a

        thus formed is bulky and hard to assemble. This is adverse to the compact trend of

        computer. The present invention provides a cooling plate module wherein the cooling

        plate is integrally formed with the liquid driving module Such that the layout of the



                                               -370-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 373 of 461




        cooling plate module can be minimized to reduce space. The present invention further

        provides a cooling plate module, wherein there is no duct connecting between the cooling

        plate and the liquid driving module, the stagnant problem caused by pressure difference

        can be prevented and the cool liquid can directly flush the heat-dissipating plates for

        enhancing heat dissipation efficiency.” Duan at [0006] – [0008] (internal paragraph

        numbers omitted).

695.    Shin similarly discloses: “The present invention pertains to a cooling structure for liquid

        cooling of heat generating electronic circuit components such as LSI chips installed on a

        wiring board, relating in particular to a cooling structure for compactly mounting a liquid

        cooled heat sink and pump. … In recent years, the amount of heat generated by electronic

        equipment, as represented by computers, communication equipment, multimedia

        equipment, etc., has tended to increase markedly. In particular, the cooling of CPUs,

        which perform centralized computation processing, image processing LSI chips, power

        amplifiers and the like, has become a very important problem. Furthermore, as the

        cooling scheme, conventionally, an air cooling scheme combining air cooling fins with a

        fan has been frequently used. However, air cooling schemes have a low cooling limit

        compared to liquid cooling schemes, so recently, schemes have been considered for

        liquid cooling of high heat output LSI chips such as CPUs alone using a liquid coolant

        such as water. For example, Japanese Unexamined Patent Application Publication H8–

        32262 discloses a liquid cooling scheme as illustrated in FIG. 4. LSI chips 51, which do

        not have a high heat output and can be air-cooled, and LSI chips which are cooled by a

        water cooled heat sink 40 due to their high heat output, are installed on the same wiring

        board 50. The air-coolable LSI chips 51 are air-cooled by means of two fans 47. Cooling



                                               -371-
Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 374 of 461




 air is supplied from outside, as shown by 48, and is exhausted as shown by 49. The water

 cooled heat sink 40 installed on LSI chips of high heat output is connected via a hose 41

 to an outlet pipe 42, and the cooling water warmed at 40 is cooled in heat exchanger 43

 by the air of the fans 47. The cooled cooling water flows through coolant pipe 44 to pump

 45 and is pressurized and then passes through inlet pipe 46 and is supplied again to the

 water cooled heat sink 40. … In the cooling structure disclosed in Japanese Unexamined

 Patent Application Publication H8–32262, the pump 45 is installed away from the wiring

 board 50 and water cooled heat sink 40, so space for mounting the pump 45 is required

 inside the case separately from the space for the pipes which are connected to the pump

 45, and so there is the problem that the electronic equipment case cannot be made

 compact. It is an object of the present invention to provide a cooling structure for

 electronic devices which is compact, has low noise, superior cooling performance and

 high reliability. … To achieve the aforesaid object, the present invention, assuming a

 cooling device for electronic equipment comprising a wiring board, a heat generating

 element including an electronic circuit component such as an LSI chip installed on the

 wiring board, a liquid cooled heat sink installed on the heat generating element in thermal

 contact therewith, and a pump which pressurizes and circulates a liquid coolant, adopts a

 structure wherein the pump is installed on the top part of the liquid cooled heat sink.

 Furthermore, the pump is secured to the top part of the liquid cooled heat sink, forming a

 structure that allows the pump and liquid cooled heat sink to be handled as an integral

 structure. Furthermore, a structure is formed wherein the liquid coolant discharge section

 of the pump is directly connected to the liquid cooled heat sink by means of a pipe, etc.

 Furthermore, an arrangement is adopted whereby the pump operates from a direct current



                                        -372-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 375 of 461




        power supply. Moreover, a structure is formed whereby the pump is secured to the liquid

        cooled heat sink across a vibration absorption member or the like.” Shin [0001] – [0011]

        (paragraph numbers omitted).

696.    Because both Duan and Shin are attempting to solve similar issues and each disclose or

        teach known techniques that can be used for the other, a POSA, when reading Duan and

        Shin together, would have been motivated to combine them.

697.    Similarly, Ryu, for example, discloses: “In recent years, due to the rapid development of

        technology, the data processing speed of the central processing unit (CPU) is also being

        improved at a rapid pace. On the other hand, since the heat generated by the operation of

        the central processing unit increases according to the processing speed of the central

        processing unit, the amount of heat generated from the central processing unit has also

        increased as the processing speed of the central processing unit has increased. In general,

        the central processing unit shows the optimum performance as its temperature is close to

        room temperature and if the temperature gets too high, the processing speed decreases

        and the possibility of error in the processing result also increases. Furthermore, if the heat

        generation amount of the central processing unit is too high, it may cause the computer to

        stop working, which may cause loss of data. If this phenomenon persists, expensive

        central processing units may fail or break. Therefore, in order to solve this problem, it is

        necessary to cool the heat generated from the central processing unit and an air-cooled

        cooler, which lowers the temperature of the central processing unit by the rotation of the

        cooling fan, was used in the past. The present invention has been presented to solve the

        problems described above, and the object of the present invention is to provide a water-

        cooled cooling device for the computer central processing unit having an impeller for



                                                -373-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 376 of 461




        cooling the heat generated from the central processing unit using the circulating cooling

        water. In other words, the object is to provide a water-cooled cooling processing unit for

        computer central processing unit that is capable of lowering the temperature of the central

        processing unit by passing the water, which has been cooled while going through the

        radiator, through the water jacket equipped to the central processing unit and cooling and

        circulating the water, which has been warmed up by the heat generated from the central

        processing unit, by pumping it to the radiator through the pump driving unit.” Ryu (pp.

        2-4) (paragraph breaks omitted).

698.    Because Duan, Shin, and Ryu are attempting to solve similar issues and each disclose or

        teach known techniques that can be used for one another, a POSA, when reviewing these

        references together, would have been motivated to combine Duan and/or Shin with Ryu

        and vice versa.

699.    Further, for example, Koga discloses: “A speed enhancement technology has been

        developed rapidly in the computer industry, so that a clock frequency of a CPU becomes

        substantially higher than a previous one. As a result, the CPU produces too much heat for

        a conventional heat sink to air-cool the CPU. Thus a cooling device of high power and

        high efficiency is vitally required. One of such cooling devices is disclosed in Japanese

        Patent Application Non-Examined Publication No. H07-142886. This cooling device

        circulates coolant through a substrate on which heat producing electronic components are

        mounted, thereby cooling the Substrate.” Koga at 1:14-24. “The first conventional

        cooling device, however, needs cooler 103, radiator 104, pump 105 and a refilling tank

        (not shown) for refilling pump 105 with the coolant. Those elements are assembled into

        the cooling device, so that the device becomes bulky and complicated. As a result, it is



                                               -374-
Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 377 of 461




 difficult to reduce the size of the device and the device becomes expensive. In other

 words, the first cooling device is basically fit for cooling a large size electronic apparatus,

 but is not suitable for a recent notebook-size computer which is compact, light-weight,

 slim, and carried in a variety of postures. The second cooling device can be used in a

 notebook-size computer; however, both of heat-receiving header 113 and heat-radiating

 header 114 are box-shaped and Substantially thick, which prevents the notebook-size

 computer from being slimmed. To be more specific, in the second cooling device, a

 reciprocating pump (not shown) is prepared in header 114. This pump has a rather

 narrower width than other pumps and works as the liquid driving mechanism; however,

 the thick ness of header 114 is specified by this pump, so that the overall thickness cannot

 be reduced. As a result, the notebook-size computer cannot be further slimmed.” Koga at

 2:14-35. “A cooling device of the present invention includes a radiator and a centrifugal

 pump of contact heat exchanger model, both disposed in a closed circulating channel in

 which coolant circulates. Heat-producing electronic components are brought into contact

 with the centrifugal pump, so that the coolant in the pump collects the heat off the

 electronic components due to its heat exchanger function, and the radiator of the cooling

 device dissipates the heat. The centrifugal pump includes a pump-casing made of highly

 heat conductive material and an impeller. The pump casing has a heat-receiving plane

 formed on a side face along an interior pump room, and a sucking channel prepared

 between the heat-receiving plane and an inner wall of the pump room. On the inner wall

 of the pump room, a recess is provided. In this recess, protrusions extending toward the

 impeller or dimples are provided. According to the present invention, the cooling device




                                         -375-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 378 of 461




        of a simple structure, which allows downsizing and slimming down, is obtainable while

        its cooling efficiency is improved.” Koga at 3:13-30.

700.    Once again, because Duan, Shin, Ryu, and Koga are attempting to solve similar issues

        and each disclose or teach known techniques that can be used for one another, a POSA,

        when reading them together, would have been motivated to combine Duan, Shin, and/or

        Ryu with Koga, and vice versa.

701.    Wu in a similar manner, discloses: “During the past decades technologies in electronics

        have improved tremendously. Devices Such as microprocessors have been become one of

        the major electronic components in many products Such as TVs, radios, home appliances

        and computers and gradually become part of people’s daily life. Transistors enabled

        people to make microprocessor more reliable, consume less power and have a higher

        working Speed. Further developments of the integrated circuits (ICs) allowed multiple

        electronic circuits to be combined on the Same chip. Since then, chip manufacturers tend

        to reduce the overall size of the microprocessors and concurrently increase the total

        number of transistors therein. Like many electronic devices, microprocessors have a

        range of operating temperature, below which the device would function well. Exceeding

        the operating temperature or an excessively high temperature would adversely affect the

        overall performance of the device. Exceeding continuously the operating temperature for

        a certain amount of time would result in device failure or damage. It is therefore

        understood that thermal management in present-day electronics plays a very important

        role, particularly when heat is generated during operation. The CPU produces heat during

        the operation of the computer. Heat must be quickly carried away from the CPU during

        the operation of the computer. Conventionally, thermal control is achieved by using a fan



                                               -376-
Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 379 of 461




 to provide ambient air to the device. This type of cooling system generally requires a

 large Surface area So that more air can be directed to the device. However, manufacturers

 tend to develop chips in a compact size Such cooling system certainly does not meet the

 need. Other drawbacks of this type include slow heat transfer and energy-inefficient.

 Alternatively, a cooling system with water other than air can be used, and can be

 refrigerated rather than at the ambient temperature. Such cooling systems include those

 designed as Separate compartments, i.e., units for radiation and absorption. With Such

 Segregated components, leakage, Slow and unstable circulation resulted thereby leading

 to inefficient heat transfer. For example, U.S. Pat. No. 6,422,304 discloses an auxiliary

 cooling system for cooling a central processing unit (CPU) which includes an inner tube

 provided within an outer tube. A first end of the outer tube is attached to a fan and a

 Second end of the outer tube is attached to a housing of a computer adjacent the CPU.

 Inlet and outlet tubes are attached to a first end and Second end of the inner tube. A pump

 draws a cooling fluid from a cooling Source and passes the cooling fluid to the inner

 tube. As the cooling fluid passes through the inner tube, the temperature of the air within

 the outer tube is decreased. A fan is used to direct the cool air onto the CPU.” Wu at

 1:17-67. “Similarly, U.S. Pat. No. 6,166,907 discloses a CPU cooling system for use in a

 computer to dissipate heat from the CPU of the computer comprising a water tank

 holding a liquid coolant, radiators, a water circulation pipe assembly for circulation of the

 liquid coolant through the radiators, and a pump external to the water tank whereby the

 liquid coolant is pumped through the water circulation pipe assembly. However, as the

 above prior art system has separate compartments, more efficient radiation is desirable.

 Although use of water may remove the heat and reduce the temperature produced by



                                        -377-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 380 of 461




        electronic components, there is still a need for the development of a Stable, rapid, high

        energy efficient, Small capacity, impact resistant and leakage-free cooling system.” Wu

        at 2:11-24.

702.    Once again, because Duan, Shin, Ryu, Koga and Wu are attempting to solve similar

        issues and each disclose or teach known techniques that can be used for one another, a

        POSA, when reading them together, would have been motivated to combine Duan, Shin,

        Ryu, and/or Koga with Wu, and vice versa.

703.    Likewise, Yu discloses: “The fast advances of the computer industry have enabled the

        progress in computing power. With the processing speed of the central processing unit

        (CPU) growing, the heat which it generates also increases accordingly. In order for the

        CPU to remain functional at its allowed temperature, the industry has designed a variety

        of radiators and radiating fans with greater radiating area to help the cooling of the CPU

        with higher temperature. Please refer to FIG. 1. A known radiator 10a of a CPU has

        multiple radiating fins 11a to increase the radiating area. The radiator 10a is affixed on

        the top of the CPU 30a. A fan 20a may also be attached on a top of the radiator 10a.

        Therefore, the radiator 10a and the fan 20a can help cooling and maintain the function of

        the CPU 30a at the allowed temperature. However, the known radiator is a solid material,

        transferring the heat through dissipation, the rate of which is much lower of that of the

        generation of heat during the operation of the CPU, hence the poor cooling efficiency.

        Furthermore, with the improvement of processing speed, it will be increasingly difficult

        for the conventional radiator and fans to realize its function. As inferred from the above

        VWDWHPHQWWKHDERYHဨPHQWLRQHGNQRZQUDGLDWRUGHYLFHREYLRXVO\FRQWDLQVLWV

        inconvenience and defects in terms of usage, and leaves something to be desired.



                                                -378-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 381 of 461




        Therefore, as the applicator saw the room for improvement thereof, he has dedicated

        himself to research and applied scientific theory to the desired improvement, and finally

        put forward the present invention, which is a sensible design and significantly improves

        the above shortcomings.” Yu at p. 22 (paragraph breaks omitted). “The primary

        REMHFWLYHRIWKLVLQYHQWLRQLVWRSURYLGHDOLTXLGဨFRROLQJUDGLDWRUDSSDUDWXVZKLFKKHOSV

        to force the cooling of the CPU through circulating cooling water and provides a more

        effective cooling method. Another objective of this invention is to pURYLGHDOLTXLGဨ

        cooling radiator apparatus, wherein its fan is rotated synchronously with the pump and

        pumps the cooling water to circulate without additional power source needed. It is both

        VSDFHဨVDYLQJDQGOHVVFRVWO\7RDFKLHYHWKHDERYHREMHFWLYHWKLs invention provides a

        OLTXLGဨFRROLQJUDGLDWRUDSSDUDWXVFRPSULVLQJDEDVHZLWKDUHVHUYRLULQVLGHWKHUHVHUYRLU

        with two ports which serves to store cooling water; a fan arranged on the base with a fan

        blade body driven to rotate; a pump arranged oppositely to the fan blade body of the fan

        and positioned inside the reservoir of the base; a magnetic connector unit arranged

        between the fan blade body and the pump; and a water circulation loop connected with

        the two ports of the base.” Yu at pp. 22-23.

704.    Once more, because Duan, Shin, Ryu, Koga, Wu, and Yu are attempting to solve similar

        issues and each disclose or teach known techniques that can be used for one another, a

        POSA, when reading them together, would have been motivated to combine Duan, Shin,

        Ryu, Koga, and/or Wu, with Yu and vice versa.

705.    In a similar manner, Batchelder discloses: “As the power to be dissipated by

        Semiconductor devices increases with time, a problem arises: within about ten years the

        thermal conductivity of the available materials becomes too low to conduct the heat from



                                               -379-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 382 of 461




        the Semiconductor device to the fins with an acceptably low temperature drop. The

        thermal power density emerging from the chip will be So high in ten years than even

        copper or Silver spreader plates will not be adequate. A clear and desirable Solution to

        this problem is to develop inexpensive ways to manufacture more exotic materials like

        pyrolytic graphite or diamond that have even higher thermal conductivities. If the cost of

        these exotic materials does not fall quickly enough, an alternative solution is needed,

        such as will be discussed shortly.” Batchelder at 1:30-43. “Many heat transfer Systems

        use an external Source of energy to pump a recirculating heat transfer fluid. Most of these

        do not incorporate the pumped heat transfer fluid in an active spreader plate geometry

        that can be implemented as a replacement for a passive spreader plate. Most of these

        incur the cost disadvantage of requiring Separate motors to impel the heat transfer fluid

        and to impel the atmosphere. Most of these incur the reliability disadvantage of using

        Sealed shaft feed-throughs to deliver mechanical power to the heat transfer liquid. Most

        incur the added assembly cost and reliability exposure associated with hoses and fittings.

        None of these existing heat transfer Systems simultaneously use a Single motor to drive

        an impeller for the heat transfer fluid and an impeller for the atmosphere, use moving

        external magnetic fields to eliminate a rotary seal, and use monolithic assembly without

        hoses or fittings.” Batchelder at 1:62-2:10.

706.    As discussed before, because Duan, Shin, Ryu, Koga, Wu, Yu, and Batchelder are

        attempting to solve similar issues and each disclose or teach known techniques that can

        be used for one another, a POSA, when reading all of these references together, would

        have been motivated to combine Duan, Shin, Ryu, Koga, Wu, and/or Yu with Batchelder

        and vice versa.



                                               -380-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 383 of 461




707.    Likewise, Nakano discloses: “The present invention relates generally to a cooling device

        for cooling a semiconductor element which generates a substantial quantity of heat and,

        in particular but not exclusively, to a compact, easy-to-handle and efficient cooling

        device for cooling such a semiconductor element by utilization of a change in phase

        between a liquid phase and a vapor phase of a refrigerant.” Nakano, [0002]“Japanese

        Laid-Open Patent Publication No. 2000-208683 discloses a natural circulation type

        cooling device for cooling a heating element by utilization of a change in phase between

        a liquid phase and a vapor phase of a refrigerant, as shown in FIG. 1. The cooling device

        shown therein is provided with a refrigerant tank 20 for storing a liquid refrigerant, a

        radiator 22 for radiating heat from a vapor refrigerant, and a fan (not shown) for cooling

        the radiator 22. Because this cooling device is not provided with an inverter-controlled

        refrigerant pump, it controls the required cooling power merely by changing the number

        of revolutions of the fan depending on the amount of heat generated by the

        semiconductor element. Furthermore, Japanese Laid-Open Patent Publication No. 2000-

        208683 lacks any disclosure of an avoidance system in an abnormal situation. The

        present invention has been developed to overcome the above-described disadvantages. It

        is accordingly an objective of the present invention to provide a highly reliable

        semiconductor cooling device that is low in noise level and can conduct an appropriate

        control by changing the amount of circulation of refrigerant depending on the amount of

        heat generated by a semiconductor element.” Nakano, [0004] – [0008] (paragraph breaks

        omitted).

708.    Again, because Duan, Shin, Ryu, Koga, Wu, Yu, Batchelder, and Nakano are attempting

        to solve similar issues and each disclose or teach known techniques that can be used for



                                                -381-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 384 of 461




        one another, a POSA, when reading all of these references together, would have been

        motivated to combine Duan, Shin, Ryu, Koga, Wu, Yu, and/or Batchelder with Nakano,

        and vice versa.

709.    Likewise, Laing discloses: “The invention relates to a device for the local cooling or

        heating of an object by means of a liquid, comprising a circulation pump for the liquid.

        Devices of this type are used, for example, for the liquid cooling of microprocessors. In

        accordance with the invention, a device for the local cooling or heating of an object is

        provided which is of simple design since a thermal contact element for making thermal

        contact with the object is integrated in the circulation pump. Therefore, according to an

        embodiment of the invention, a thermal contact element such as a heat sink or heater

        which is brought into contact with the object is part of the circulation pump. In this way,

        it is possible to achieve a compact design of a liquid cooling device or heating device

        with effective cooling or heating of the object with which contact is made.” Laing [0002-

        0005]. Laing further describes an embodiment that can be used for the liquid cooling of a

        processor: “An exemplary embodiment of a device according to the invention for the

        local cooling or heating of an object, which is denoted overall by 10 in FIG. 1, comprises

        a circulation pump 12, by means of which a fluid, such as water or other liquids, can be

        guided in a loop (FIG. 2) as a heat transfer medium. The heat transfer medium can be

        used as a cooling medium, in order to cool an object 14, such as for example an

        electronic component, such as a processor, which is positioned on a circuit board 16, for

        example. The heat transfer medium can also be used for heating an object. The

        circulation pump 12 comprises a housing 18. A feed line 20 is provided to allow a fluid to

        enter into the housing 18 by means of an opening 22 leading into a suction side of the



                                               -382-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 385 of 461




        circulation pump 12. A discharge line 26 leads away from the housing 18 via an opening

        24 from a pressure side (delivery side) of the circulation pump 12. The housing 18 may

        be pressed onto the object 14, for example by means of pressure-exerting clips (not

        shown). If the device is used as a cooling device, a cooling fluid, such as water, is

        supplied via the feed line 20, and heated cooling liquid which has been heated as a result

        of the cooling of the object 14, is discharged via the discharge line 26.” Laing [0044 –

        0047].

710.    Again, because Duan, Shin, Ryu, Koga, Wu, Yu, Batchelder, Nakano and Laing are

        attempting to solve similar issues and each disclose or teach known techniques that can

        be used for one another, a POSA, when reading all of these references together, would

        have been motivated to combine Duan, Shin, Ryu, Koga, Wu, Yu, Batchelder and/or

        Nakano with Laing, and vice versa.

711.    In sum, for the same reason as stated above, a person of ordinary skill in the art would

        have been motivated to combine the cited references in this report in a variety of

        combinations if reading these references together.



XIII. ENABLEMENT OF PRIOR ART REFERENCES
712.    I am informed that to show obviousness, the defendant does not have a burden to show

        that the prior art is enabling. Nevertheless, in my opinion, each of the prior art references

        cited herein provide sufficient detail to enable a person of ordinary skill in the art to

        practice the asserted claims without undue experimentation, and when used in

        combination, would provide a POSA with a reasonable expectation that the combination




                                                -383-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 386 of 461




        would be successful. That is, even if there were a requirement that each prior art

        reference be enabling, those references would satisfy such a requirement.

713.    In my opinion, each of the Duan, Shin, Ryu, Koga, Wu, Yu, Batchelder, Nakano and

        Laing references enables a POSA to build and practice the disclosed cooling devices for

        their intended purposes. Each reference provides detailed drawings, figures, and/or

        schematics showing the structures of the disclosed cooling devices and their

        arrangements when used with the heat generating components that the cooling devices

        are supposed to cool. Each reference also provides detailed descriptions and/or drawings,

        figures, and/or schematics showing the inner workings of the disclosed cooling devices

        and how the cooling fluid flows through them. The references also all disclose or teach

        conventional components that would have been well known by a POSA, who would have

        been able to put them together in a known way with predictable results and a reasonable

        expectation of success.

714.    When the cited references are combined or modified as a POSA would have been

        motivated to do, the combination or modification is also based on conventional or known

        methods that would have yielded predictable results and been reasonably expected to be

        successful by a POSA.



XIV. SECONDARY INDICIA OF NON-OBVIOUSNESS

715.    I understand the following secondary factors, for example, can be considered to show

        non-obviousness.

               x       Commercial Success
               x       Long-Felt Need/Skepticism
               x       Copying

                                               -384-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 387 of 461




               x       Teaching Away
               x       Industry Praise

716.    I have reviewed Asetek’s response to CoolIT’s Interrogatory No. 7, which asked Asetek

        to “[i]dentify all evidence upon which [Asetek] intends to rely to establish

        nonobviousness of the alleged inventions of the [asserted claims], including but not

        limited to an identification of any secondary considerations that [Asetek] contend[s]

        supports the nonobviousness of the alleged invention.”

717.    Asetek’s Objections and Responses to Interrogatory No. 7 states that Asetek’s

        commercial products embody the patented inventions and are coextensive with them. I

        am informed this statement is supposed to help establish a presumption of nexus (e.g.,

        connections and/or causality) between the secondary factors (e.g., commercial success)

        with the purportedly inventive features.

718.    I have been informed that for Asetek’s products to be “co-extensive” with the asserted

        claims, the products cannot have any critical features that are unclaimed by the asserted

        claims. But I have been informed that all Asetek’s relevant products include at least one

        feature unclaimed by any of the asserted claims, that the heat exchange interface of

        Asetek’s relevant products is apparently made of copper. This feature was claimed twice

        in the asserted ’355 patent (claims 4 and 10), in the previously asserted U.S. Patent No.

        8,245,764 (the “’764 patent”) (e.g., claim 8), and in Asetek’s withdrawn motion to amend

        in the IPR2020-00522 proceeding. In my opinion, the feature of the heat exchanging

        interface being made of copper is critical in any product that supposedly practices the

        asserted claims. Without the heat conductivity of the copper used in the heat exchanging

        interface, the products would not function at all, or even if it does, the performance would


                                               -385-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 388 of 461




        be so poor that there would be no place for such products to compete in the market. For

        instance, if the heat exchanging interface were made of plastic, it would suffer from very

        poor thermal performance. Other metals are problematic because they have a much

        lower thermal conductivity than copper (the thermal conductivity of copper is

        approximately 150 W/m-C larger than that of aluminum for example. Also, non-copper

        metals are more susceptible to corrosion and often require an added coating process.

        Thus, any claim by Asetek that this feature is insignificant is without justification and in

        any event is belied by the fact that Asetek has claimed or attempted to claim it several

        times in the same patent family. Thus, in my opinion, Asetek’s products are not “co-

        extensive” with the scope of the asserted claims.

719.    In any event, Asetek’s response appears to take a shotgun approach to secondary

        considerations. In my opinion, all fail because no part of Asetek’s response establishes

        the nexus with the asserted claims that I am informed is required by law. For example,

        Asetek touts “commercial success” based on its purported recognition and acceptance in

        the market, including but not limited to Asetek’s initial public offering and its purported

        relationships with “OEM customer manufacturers” and “channel customers” But

        nowhere in the response Asetek has established any nexus or other connection between

        such touted “success” with the supposedly inventive features. Similarly, Asetek has not

        established its “RackCDU D2CTM” practices any of the asserted claims. Thus, any

        partnership based on this product has nothing to do with the asserted claims in my

        opinion.

720.    Regarding the purported long-felt need/the failure of others/recognition of a problem, the

        only touted feature by Asetek that purportedly supports this factor appears to be what is



                                                -386-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 389 of 461




        known as the “all-in-one” or “AIO” feature. But as I repeatedly explained above, this

        feature has been repeatedly disclosed or taught in the prior art, and had been well-known

        in the industry prior to the asserted claims. To be sure, in my opinion, Asetek did not

        invent the all-in-one or AIO feature – because others, such as Batchelder, had already

        done so. Compare (Batchelder), 2:40-45 (“The primary objective of this invention is to

        provide a low cost high reliability heat exchange apparatus that incorporates a composite

        substrate containing flow channels and a heat transfer fluid, providing low thermal

        resistance cooling to high density heat sources.”) (emphasis added) with asserted claims.

        Thus, in my opinion, Asetek’s secondary considerations response fails. And in any

        event, Asetek’s proffered evidence ultimately fails to overcome the strong evidence of

        obviousness set forth in this report.

721.    Asetek’s assertion of purported skepticism and unexpected results suffers from the same

        deficiency, as the response provides zero evidence how such alleged skepticism and

        unexpected result were linked in any way to the asserted claims. Asetek’s claimed praise

        and industry recognition, copying of the invention by others, and requests for licenses of

        the asserted patents all lack any connection to the asserted claims.

722.    I have also been informed that the asserted claims need to be novel to support secondary

        considerations. But Asetek’s response does not even use the word “novel” or its

        synonyms to describe the asserted claims. In sum, I have been informed that the

        secondary factors can support nonobviousness only if such nexus is first established. But

        I have not found any evidence supporting the presumption of nexus in Asetek’s response

        or proffered documents. Indeed, Asetek’s response states that it “will establish the

        presumption of nexus in its favor via expert report(s) and testimony during the expert



                                                -387-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 390 of 461




        phase of the case.” Asetek effectively admits that such presumption of nexus has not

        been established. To the extent Asetek offers any expert opinions or testimonies or any

        other evidence to purportedly establish this presumption of nexus during the expert

        phase, I reserve my right to respond to such opinions, testimonies, and/or other evidence.



XV.     INVALIDITY UNDER SECTION 112

723.    Below I opine on why the asserted claims are patent ineligible and invalid under 35

        U.S.C. § 112. My discussion below does not try to identify all recitations of a given term

        or phrase in each of the asserted claims. To the extent that I identify any instance of a

        term or limitation in a particular claim as rendering an asserted claim invalid under

        Section 112, my opinion is that every instance of such term or limitation in each of the

        asserted claims renders the claim invalid for the same reasons. I reserve the right to

        amend, supplement, or otherwise modify my patent-ineligibility and invalidity opinions

        under Section 112 to the extent Asetek proffers new, additional, or different constructions

        for terms used in the asserted claims.

724.    Specifically, in my opinion, at least the following claim limitations from the asserted

        claims of the ’601 patent do not satisfy requirements under Section 112 under the

        grounds explained further below:

        x      Claim 1: “a first passage that fluidly couples the lower chamber to the upper

               chamber, wherein the first passage is substantially central to the lower chamber”;

        x      Claim 1: “wherein the lower chamber includes a plurality of parallel channels

               configured to split the flow of cooling liquid and direct the cooling liquid from the

               central region toward the perimeter of the lower chamber where the cooling liquid


                                                 -388-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 391 of 461




                is collected along the perimeter and directed from the lower chamber through the

                second passage”;

         x      Claim 6: “a first passage that fluidly couples the lower chamber to the upper

                chamber, wherein the first passage is substantially central to the lower chamber”;

         x      Claim 6: “wherein the lower chamber includes a plurality of channels configured

                to split the flow of cooling liquid and direct the cooling liquid from the central

                region toward the perimeter of the lower chamber”;

         x      Claim 12: “a first passage that fluidly couples the lower chamber to the upper

                chamber, wherein the first passage is substantially central to the lower chamber”;

         x      Claim 12: “wherein the lower chamber includes a plurality of parallel channels

                configured to split the flow of cooling liquid and direct the cooling liquid from the

                central region toward the perimeter of the lower chamber where the cooling liquid

                is collected along the perimeter and directed from the lower chamber through the

                second passage.”

725.    In my opinion, at least claims 1, 6, 11, and 12 of the ’601 patent are invalid for failure to

        comply with the written description and enablement requirements because they do not

        contain sufficient written description of the claimed inventions and do not provide a

        sufficiently enabling disclosure. I have been informed that the specification shall contain

        a written description of the invention, and of the manner and process of making and using

        it, in such full, clear, concise, and exact terms as to enable any person skilled in the art to

        which it pertains, or with which it is most nearly connected, to make and use the same.

        To satisfy the written description requirement, I understand a patent specification must

        describe the claimed invention in sufficient detail that one skilled in the art can


                                                 -389-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 392 of 461




        reasonably conclude that the inventor had possession of the claimed invention at the time

        of filing the patent application. That is, to be enabling, the specification of a patent must

        teach a POSA how to make and use the full scope of the claimed invention without undue

        experimentation, as I understand it. In my opinion, the specification of the ’601 patent

        does not adequately describe or enable the claimed inventions recited in claims 1, 6, 11,

        and 12, as explained below.

726.    As to the limitation, “a first passage that fluidly couples the lower chamber to the upper

        chamber, wherein the first passage is substantially central to the lower chamber,” claims

        1, 6, 11, and 12 lack written description support because the ’601 patent specification

        fails to disclose any embodiment that supports all the limitations of the claims. Indeed,

        the embodiment in Figure 9, which in my opinion shows the only embodiment Asetek

        can rely on for the “substantially central” limitation, does not include any “heat

        exchanging interface” nor any remote “radiator.” The embodiment in Figure 8, of which

        the internal structures are shown in Figure 7, fails to disclose the claimed “reservoir”

        with a pump chamber and thermal exchange chamber constituting a one-receptacle

        structure or “a first passage that fluidly couples the lower chamber to the upper chamber,

        wherein the first passage is substantially central to the lower chamber.” Asetek will have

        to mix and match, for example, three different embodiments shown across Figures 8, 9,

        and 15 to string together the collection of independent limitations recited in each of the

        claims 1, 6, 11, and 12. But in my opinion, a POSA would have understood, based on the

        specification and the prosecution history of the ’601 patent, that the device depicted in

        Figure 9 differs from the device depicted in Figure 15 at least because the embodiment in

        Figure 9 does not have a “heat exchanging interface 4” as that in Figure 15, which also



                                                -390-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 393 of 461




        does not have any “first passage [15 that] is substantially central to the lower chamber” in

        Figure 9. Further, the embodiment in Figure 8 includes a remote radiator, which the

        embodiments in Figures 9 and 15 do not include. Thus, the embodiment in Figure 8 is

        also different from those in Figures 9 and 15.

727.    In my opinion, there is no reason for how or why a POSA would have clearly recognized

        from the ’601 patent that the inventor actually invented a device having the combination

        of features now claimed in claim 1, 6, 11, or 12, having both “a heat exchanging

        interface” and “a first passage [that] is substantially central to the lower chamber,” as

        well as a remote “radiator.” I understand that a description that merely renders the

        invention obvious does not satisfy the written description requirement.” That is, I

        understand that claims are invalid for lack of a written description by combining various

        aspects of the disclosed embodiments that showed the claimed invention. Based on this

        understanding, it is my opinion that claims 1, 6, 11, and 12 lack written description

        support.

728.    In my opinion, the specification also fails to support the limitation of “the lower chamber

        includes a plurality of parallel channels configured to split the flow of cooling liquid and

        direct the cooling liquid from the central region toward the perimeter of the lower

        chamber where the cooling liquid is collected along the perimeter and directed from the

        lower chamber through the second passage.” I have been informed that Asetek has

        asserted that this limitation is met by what is known in the industry as “microchannels,”

        which I understand the parties have agreed means “channels with widths up to 1

        millimeter.” I believe the only support the ’601 patent has for the limitation of “a

        plurality of parallel channels” is FIG. 9, which does not support “channels with widths up



                                                -391-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 394 of 461




        to 1 millimeter.” Indeed, a POSA would have understood the “parallel channels” in FIG.

        9 to have widths larger than 1 millimeter. Thus, this limitation does not have written

        description support in my opinion. Further, a POSA would have understood that

        “microchannels” with widths up to 1 millimeter may require special techniques to

        manufacture, for which the ’601 patent does not provide any information. For example,

        special tooling may be required to create the “fins” that form the microchannels with such

        small dimensions. [Kandlikar and Grande, “Evolution of Microchannel Flow Passages –

        Thermohydraulic Performance and Fabrication Technology,” Heat Transfer Engineering,

        Vol. 24, (1), 2003 as just one example.] I have personally fabricated my own

        microchannels circa 2001 using specialized manufacturing techniques. Thus, at least

        because the ’601 patent does not provide any embodiments with parallel channels with

        widths up to 1 millimeter or information on how to produce such channels, there is no

        enablement for a POSA to practice this limitation, “a plurality of parallel channels” if

        construed to include microchannels.

729.    For the same reasons, at least the following claim limitations in the ’354 patent do not

        satisfy requirements under Section 112, and thus any claim in the ’354 patent containing

        one or more of the following limitations is invalid (e.g., claims 1, 8, and 15):

        x      “wherein the lower chamber includes a plurality of channels configured to split

               the flow of cooling liquid and direct the cooling liquid from the central region

               toward the perimeter of the lower chamber”;

        x      “wherein the first passage directs the cooling liquid into the lower chamber where

               the cooling liquid splits and is directed along a plurality of channels from a central




                                                -392-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 395 of 461




                region of the lower chamber outward, where the cooling liquid is collected and

                directed from the lower chamber through the second passage”;

         x      “a first passage that fluidly couples the lower chamber to the upper chamber,

                where the first passage is substantially central to the lower chamber.”

730.    To be clear, the ’354 patent and the ’601 patent share the same specification. Thus, any

        discussion above regarding the ’601 patent specification applies to the ’354 patent

        specification.

731.    Again, I have been informed that Asetek appears to interpret “a plurality of channels” in

        the ’354 patent to cover microchannels. For the same reasons stated above regarding the

        “plurality of parallel channels” limitation in the ’601 patent, Asetek’s interpretation of the

        “plurality of channels” in the ’354 patent renders any claim therein containing such

        limitation invalid.

732.    Similarly, the “first passage is substantially central to the lower chamber” limitation

        suffers the same issues as those in the ’601 patent concerning the “first passage is

        substantially central to the lower chamber” limitation. There is no single embodiment in

        the ’354 patent to support any claim that contains the “first passage is substantially

        central to the lower chamber” limitation. Thus, any claim in the ’354 patent containing

        this limitation is invalid.

XVI. INVALIDITY SUMMARY

733.    Below is a table summarizing my invalidity analyses above:

             Patent            Invalid Pursuant          Invalid Pursuant       Invalid Pursuant
                                    to §102                   to §103                to §112

         ’362 patent                                    Claims 17, 19




                                                -393-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 396 of 461




             Patent          Invalid Pursuant           Invalid Pursuant      Invalid Pursuant
                                  to §102                    to §103               to §112

         ’196 patent      Claims 1, 2, 13              Claims 1, 2, 13

         ’601 patent                                   Claims 1, 6, 11, 12   Claims 1, 6, 11, 12

         ’354 patent                                   Claims 1, 8, 15       Claims 1, 8, 15

         ’355 patent      Claims 1, 2, 6               Claims 1, 2, 6



XVII. VALUE COMPARISON BETWEEN COOLIT AND ASETEK PATENTS

A.      Overview of CoolIT Patents

734.    CoolIT has patented certain technologies related to the cooling of heat-generating devices

        and computer systems. In particular, the following patents are in the same family and

        cover the same technology.

        a.     U.S. Patent No. 8,746,330 (the “’330 patent”)

        b.     U.S. Patent No. 9,057,567 (the “’567 patent”)

        c.     U.S. Patent No. 9,603,284 (the “’284 patent”)

        d.     U.S. Patent No. 10,274,266 (the “’266 patent”)

735.    These patents deal with fluid heat exchangers that transfer heat from heat generating

        components, as I will now discuss. I refer to the four above-listed patents as the “’330

        patent family”.

736.    To aid in the discussion, Figure 1 from the ’330 patent is provided with annotations

        showing the flow direction for the depicted embodiment. As seen in the image, flow

        enters through inlet port 111 into inlet passage 104. The flow travels toward the center of

        the heat exchanger. There, the flow enters into the fin array through an inlet opening 114.

        Thereafter, the flow splits into two main parts (traveling upwards and downwards in the

                                               -394-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 397 of 461




        figure). The flow passes across the heat-generating component, through the fin

        microchannels, and bounded by a shroud. The flow is able to exit the microchannels

        downstream of the shroud where it then flows to outlet passageway 106. There, the flow

        is collected and directed to the outlet port 128.




                                        ’330 patent, Figure 1

737.    The following image identifies a number of the components of the fluid heat exchanger.




                                                -395-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 398 of 461




                                           ’330 patent, Figure 1



738.    Figure 3, from the ’330 patent, shows a cross-sectional view with arrows indicating the

        flow direction. In the figure, the flow is directed toward the heat-generating device. The

        flow is bifurcated into two streams. Item 107 is the heat generating component and 102 is

        the heat spreader plate. Heat generated in item 107 travels upwards across the contact

        region (102b), and into the flow. The flow carries the heat away before the fluid is

        replenished by free, cool fluid.




                                                  -396-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 399 of 461




                                       ’330 patent, Figure 3

739.    The ’284 patent specification is identical to the ’330; the only relevant differences

        between the two patents are the claims.

740.    The ’567 patent is also in the same family and accomplishes the same goal as the ’330

        and ’284 patents. In fact, every figure in the ’330/’284 patents also appear in the ’567

        patent. There are additional details provided, for example, in the following image. There,

        the fluid circuit is shown, with two manifolds, a number of parallel microchannels, as

        well as a liquid pump and a heat exchanger.




                                       ’567 patent, Figure 1

                                               -397-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 400 of 461




741.    The ’567 patent also provides additional information about the flow passages and

        geometry of the internal components.

742.    The ’266 patent specification is identical to the ’567 specification; the only differences

        between these two patents are in the claim language.

743.    All four of the CoolIT patents disclose a fluid heat exchange system that directs fluid to a

        heat-generating component in order to remove the heat. The heat is carried (advected) in

        the fluid and away from the heat-generating device.



B.      Differences Between the Asserted Asetek Patents and the ’330 Patent Family

744.    As seen from the above discussion, the ’330 patent family deals generally with fluid over

        a heat spreader. The heat spreader is topped with fins that serve as fluid microchannels

        and direct the flow in a bifurcated manner through the fin array. The ’330 patents also

        disclose a housing that confines the microchannels. A POSA would have understood that

        a microchannel has a hydraulic diameter less than 1 mm.

745.    The accused patents (’362, ’601, and ’196 patents) have fundamental differences from the

        ’330 patent family. As clear from the accused patents, they claim an integrated cooling

        system with a heat exchanging interface, a reservoir, and a pump. The reservoir in the

        accused patents has an upper chamber and a lower chamber that are fluidly coupled. The

        accused patents also disclose a radiator that is fluidly connected to the system and allows

        heat to be removed from the working fluid.

746.    There are clear differences between the ’330 patent family and the accused patents. In

        particular, the ’330 patent discloses the simultaneous use of microchannels and flow



                                               -398-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 401 of 461




        bifurcation in a way that both improves thermal performance but also increases pumping

        performance (pressure losses). The asserted Asetek patents are silent on both of these

        disclosures; they neither mention microchannels nor a flow bifurcation.

747.    One novelty of the ’330 patent family is that it provides a solution to two mutually

        opposing physical processes. On the one hand, microchannels are known to provide

        excellent heat transfer performance (increasing the surface area for heat transfer and

        improvements to the convective heat transfer coefficient). But the bane of microchannels

        is that the pumping performance pressure loss is large.

748.    The ’330 patent family also discloses a flow distribution to and from the microchannels

        using headers/manifolds or equivalent flow distribution structures. Flow distribution to

        the multiple microchannels promotes uniform cooling and improved hydraulic (pressure)

        performance.

749.    A POSA would have known that balancing the demands for thermal performance and

        pumping power is required for an efficient system to cool heat-generating devices and

        CPUs. In fact, POSAs commonly use a performance metric which is the ratio of the

        thermal performance to the hydraulic (pressure) performance.



C.      Features that Drive Demand and Benefits of the CoolIT patents

750.    A POSA, working on thermal management of heat-generating components such as

        computer processors or other electrical components in computer systems, would know

        how to make decisions about techniques to cool those components. There are a number of

        features and issues that affect the demand for such products. The following is a list of




                                               -399-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 402 of 461




        some of the issues that a POSA would consider. While the list is not intended to be

        exhaustive, it includes some of the most important key determinants.

751.    Thermal Resistance and Thermal Performance: Thermal resistance is a description of

        the heat transfer capability of a heat-removal device. Devices with a small thermal

        resistance are able to transfer heat with very little temperature differences. Contrariwise,

        a device with a large thermal resistance has difficulty in transferring heat. In order to

        maintain low temperatures in a heat generating device (for example, a CPU), a POSA

        would prioritize devices that have a low thermal resistance over devices that have a high

        thermal resistance. This feature is expressly mentioned, for example, in the following

        passages.




                            ’567 patent, lines 29-41 (highlights added)




                                                -400-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 403 of 461




                            ’567 patent, lines 43-55 (highlights added)




752.    Overclocking: Heat-generating computer components such as CPUs have a clock speed

        which is a measure of the number of operations the CPU can perform in a fixed amount

        of time. Since CPU operations require electricity, the faster a CPU, the more electricity

        (and consequently the more heat). Some computer users attempt overclocking which is

        shorthand for operating a CPU with a higher frequency of operation than their default

        operation. Overclocked CPUs are faster and process more information than they

        otherwise could. High-demand applications (image and video processing, gaming,

        computational simulations, etc.) are amendable to overclocking. However, overclocking

        results in an increase in unwanted heat generation. Consequently, users who intend to

        overclock their CPUs often run into overheating problems because the default heat

        removal system may be inadequate for an overclocked system. Such a situation would

        motivate a POSA to use a heat removal system such as that articulated in the ’330 patent

        family.



                                               -401-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 404 of 461




753.    Noise Reduction: Regardless of the thermal system, the ultimate destination of heat is to

        the ambient environment (usually to the room air). As such, heat exchange systems often

        include a radiator; the radiator in turn typically utilizes a fan for directing air over the

        radiator. Noise is generated in electronic computer systems; mainly through the liquid

        pump and the just mentioned air fan. The more efficient a heat exchange system, the less

        sound is generated. Consequently, a POSA wishing to reduce unwanted sound would be

        motivated to use an efficient cooling system (such as that articulated by the ’330 patent

        family).

754.    Pressure: Any fluid flow system will exhibit a pressure variation in the flow. In fact,

        pressure causes fluid flow (fluid prefers to flow from high to low pressure). As the fluid

        flows through the heat exchange system, the positive pressure generated by the pump is

        spent overcoming pressure losses. There is a balance between the pressure gain incurred

        by the pump, and the pressure losses associated with the flow. A POSA would have been

        motivated to reduce pressure losses within a heat exchange system. In fact, an optimal

        system would be one with a minimal pressure loss. The ’330 patent family cleverly

        devises a flow that minimizes the pressure. Splitting the fluid flow into two streams,

        using a multitude of parallel microchannels, and introducing the fluid at the center of the

        heat-generation region all contribute to pressure improvements. These considerations are

        articulated in the patents, for example, in the following passage.




                                                 -402-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 405 of 461




                              ’567 patent, lines 29-41 (highlights added)



755.    Compactness: A POSA would have known that many heat-exchange applications,

        especially those associated with cooling electronic systems, have size limitations.

        Consequently, a POSA would have been motivated to use a heat exchange system that is

        compact and has a low-profile design. The ’330 patent family offers just such a compact

        heat exchange solution. The small size is discussed in the patents, for example in the

        following passages.




                              ’567 patent, lines 29-41 (highlights added)




                                                -403-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 406 of 461




                            ’567 patent, lines 43-55 (highlights added)



756.    Reduced fluid connections and simplified design: A POSA would have been motivated

        to select a cooling system that possesses few fluid connections and a simplified design.

        Fluid connections are areas where leaks can occur and where fluid-tight connections must

        be attained. This feature is articulated, for example, in the following passages.




                            ’567 patent, lines 29-41 (highlights added)




                                               -404-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 407 of 461




                              ’567 patent, lines 43-55 (highlights added)



757.    Integrated design/reliability: A POSA would have been motivated to select a cooling

        methodology that has an integrated design wherein multiple parts are assembled together.

        Integrated designs improve reliability and simplifies replacement in the event of failure.

        The ’330 patent family discloses an integrated cooling system, as indicate by the

        following passages.




                              ’567 patent, lines 29-41 (highlights added)




                                                -405-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 408 of 461




                             ’567 patent, lines 43-55 (highlights added)



758.    Uniform Cooling: A POSA would desire a methodology that can provide uniform

        cooling to a heat-generating component. Heat is generated within the heat-generating

        component and consequently, the temperature of the heat-generating component tends to

        rise – until the heat being generated is balanced by the heat loss from the exterior of the

        heat-generating device. It is advantageous to ensure that heat loss from the exterior of the

        heat-generating device is uniform so that the temperatures of the heat-generating device

        are also uniform. Failure to extract heat uniformly from the heat-generating device

        inevitably leads to a spatial temperature variation (thermal non-uniformity).

        Consequently, hot spots and cold spots inevitably develop which are a risk to the heat-

        generating component. The ’330 patent family accomplishes uniform cooling by

        introducing the cooling fluid into the center region of the heat-generating component;

        thereafter the fluid bifurcates into two streams that are directed away from the center and

        toward the perimeter of the heat-generating component. The ’330 patent family also

        provides a means to introduce/remove fluid into/from a multitude of microchannels, with

        the aid of a manifold/plenum or equivalent.

                                                -406-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 409 of 461




759.    Cost: A POSA would seek a cooling methodology that reduces the cost of the system;

        provided the thermal/fluid performance of the methodology is sufficient to adequately

        remove heat and maintain sufficiently low temperatures in the heat-generating

        component.



D.      The Asetek Gen3 and Gen 4 Liquid Cooling Systems

760.    Asetek has developed multiple generations of its liquid cooling systems. The third

        generation Asetek liquid cooling system incorporated microchannels. The Gen3 version

        utilizes a traditional end-to-end flow path for the cooling. That is, the coolant is

        introduced at one end of the system into microchannels. The fluid passages carry fluid

        past the heat generating component where heat is transferred to the fluid. At the outlet of

        the microchannels, the fluid is directed to a radiator where the thermal energy is removed

        from the fluid.



761.    In contrast, the GEN 4 system copies the center-flow of the ’330 patent family such that

        coolant is introduced to the center region of the heat-generating component. The fluid

        then bifurcates and flows outward until it is collected and directed to an external radiator

        for heat removal.



762.    Asetek’s website confirms the flow bifurcator, for example in the following text which is

        found at: https://www.asetek.com/newsroom/press-releases/2012-press-releases/asetek-

        releases-fourth-generation-of-patented-all-in-one-liquid-coolers?referer=0



                                                -407-
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 410 of 461




763.    As noted from the above-referenced Asetek documentation, the new design improves the

        thermal performance, reduces noise, and overclocking




764.    As acknowledged by Asetek’s own documentation, the change from Gen3 to Gen4 and

        the incorporation of a central flow arrangement led to a reduction of noise, improved

        thermal performance, and an ability to overclock CPUs. Clearly, these attributes can be

        attributed to Asetek’s move from Gen 3 (non-infringing) to Gen 4 (infringing) products.

765.    I have inspected a physical copy of the Gen4 Asetek system and confirm it is a central

        flow arrangement, as discussed above. I am not aware of relevant factors that would

        indicate non-obviousness of the asserted patents.



        Date: November 3, 2021


                                                               Dr. John Abraham
                                                               University of St. Thomas
                                                               School of Engineering
                                                               2115 Summit Ave
                                                               St. Paul, MN 55105-1079




                                              -408-
Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 411 of 461




                   APPENDIX A
         CURRICULUM VITAE




                              -409-
      Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 412 of 461
                                                                                                 1
      th
4232 29 Ave.                       John P. Abraham                      jpabraham@stthomas.edu
Minneapolis, MN 55406                                                             612-963-2169

                                            SUMMARY
Thermal science expert with experience in all aspects of heat transfer and fluid mechanics.
Produced approximately 400 publications, books, book chapters, conference presentations, and
patents in areas including biological heat transfer and fluid flow, biomedical device design,
energy, burn injuries, climate change, fundamental heat transfer and fluid mechanics, and
manufacturing processes. Author of approximately 350 popular press articles and has been in
more than 80 radio and television appearances

                                    APPOINTMENTS
University of St. Thomas, St Paul, MN
Professor                                                                        2013-Present
Associate Professor                                                                2008-2013
Assistant Professor                                                                2002-2008

                                        EDUCATION
University of Minnesota - Twin Cities, Minneapolis, MN
Ph.D., Mechanical Engineering (Thermal Sciences)                                          2002
M.S., Mechanical Engineering, GPA 3.96/4.00                                               1999
B.S., Mechanical Engineering, GPA 4.00/4.00, Minor: Mathematics                           1997

                         PREVIOUS TEACHING EXPERIENCE
Adjunct Faculty, University of St. Thomas, St Paul, MN                              2000-2002
Graduate Teaching Fellow, University of Minnesota, Minneapolis, MN                  2001-2002
Teaching Assistant, University of Minnesota, Minneapolis, MN                        1997-2001
Tutor, University of Minnesota, Minneapolis, MN                                     1993-1997


x
                                     HONORS/AWARDS

x
    Journal of Atmospheric and Oceanic Technology, Editor award, (2020).

x
    National Center for Science Education Friend of the Planet Award (2016)

x
    University of St. Thomas Professor of the Year (2016)

x
    USA Green Deal of the Year business excellence award (2013)
    Composites Sustainability Award, American Composites Manufacturers Association Award

x
        for Composite Excellence, (2013)
    Nominated, George Mason University, Center for Climate Change Communication, Climate

x
        Change Communicator of the Year (2011)

x
    University of St. Thomas John Ireland Award (2009)

x
    University of St. Thomas Distinguished Educator Award (2008)

x
    University of St. Thomas Engineering Professor of the Year (2005)

x
    Graduate Teaching Fellowship (2001/2002)
    Institute of Technology Teaching Assistant of the Year, awarded by Institute of Technology

x
        Student Board, University of Minnesota (1999/2000)
    Institute of Technology Teaching Assistant of the Year, awarded by Institute of Technology

x
        Student Board, University of Minnesota (2000/2001)
    Institute of Technology Teaching Assistant of the Year, awarded by Institute of Technology
        Student Board, University of Minnesota (2001/2002)
       Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 413 of 461
                                                                                                  2
        th
4232 29 Ave.                         John P. Abraham                      jpabraham@stthomas.edu
Minneapolis, MN 55406                                                               612-963-2169

x    Mechanical Engineering Teaching Assistant of the Year, Mechanical Engineering

x
         Department, University of Minnesota (1998/1999)

x
     Minnesota Professional Engineers Foundation Orion Buan Memorial Scholarship (1996)

x
     Walter and Margaret Pierce Endowment Fund Scholarship (1996)

x
     National Space Grant Consortium Scholarship (1996)

x
     Frank Louk Scholarship (1996)

x
     Citizens’ Scholarship (1992-1995)

x
     Alfred O. Neir Scholarship (1994)
     Dean’s List (1993-1997)

                               OTHER POSITIONS
Climate Blogger – Guardian Newspaper                                                  2013-2021

                                        PUBLICATIONS
    (16 edited works, 3 books, 17 book chapters, 230 journal publications, 143 presentations,13
                   granted patents, 5 patent applications, 2 granted trademarks)

                         TOP PUBLICATIONS BY ALTMETRIC
L. Cheng, J.P. Abrahm, K.E. Trenberth, J.T. Fasullo, T.L. Boyer, R. Locarnini, B. Zhang, F. Yu,
L. Wan, X. Chen, X. Song, Y. Liu, M.E. Mann, F. Reserghetti, S. Simoncelli, V. Gouretski, G.
Chen, and J. Zhu, Upper Ocean Temperatures Hit Record High in 2020, Advances in
Atmsopheric Sciences, Vol. 38, pp. 523-530, 2021. Altmetric score = 1, to413p 1% in all
journals, August 2021.

G. Li, L. Cheng, J. Zhu, K.E. Trenberth, M.E. Mann and J.P. Abraham, Increasing Ocean
Stratification Over the Past Half Century, Nature Climate Change, Vol. 10, pp. 1116-1123, 2020.
Altmetric score = 726, top 1%, July 2021.

J.P. Abraham, B. D. Plourde, and L. Cheng, Using Heat to Kill SARS-CoV-2, Reviews in
Medical Virology, Vol. 30, e2115, 2020. Altmetric score = 392, top 1%, July, 2021.

L. Cheng, J.P. Abraham, J. Zhu, K.E. Trenberth, J. Fasullo, T. Boyer, R. Locarnini, B. Zhang, F.
Yu, L. Wan, X. Chen, X. Song, Y. Liu, and M.E. Mann, Record-Setting Ocean Warmth
Continued in 2019, Advances in Atmospheric Sciences, Vol. 37, 1-6, 2020. (This paper was in
the top 100 of all published scientific papers in the year 2020, ranked by Altmetric. Also,
second of all 2020 papers in the subject area of climate. Altmetric score = 3957, top 1%,
January 2021).

L. Cheng, J. Zhu, J.P. Abraham, K. E. Trenberth, J. T. Fasullo, B. Zhang, F. Yu, L. Wan, Z.
Chen, X. Song, 2018 Continues record global warming, Advances in Atmospheric Sciences, 36,
pp. 249-252, 2019. Altmetric score = 646, top 1%, January 2021.

L. Cheng, J.P. Abraham, Z. Hausfather, and K.E. Trenberth, How fast are the oceans warming?,
Science, Vol. 363, pp. 128-129, 2019. Altmetric score = 2853, top 1%, January 2021.
     Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 414 of 461
                                                                                                3
        th
4232 29 Ave.                       John P. Abraham                      jpabraham@stthomas.edu
Minneapolis, MN 55406                                                             612-963-2169

L.J. Cheng, K.E. Trenberth, T. Boyer, J. T. Fasullo, L. Zhu, J.P. Abraham, Improved Estimates
of Ocean Heat Content from 1960-2015, Science Advances, Vol. 4, paper no. e1601545, 2017.
Altmetric Score = 753, top 1%, January 2021.

Editing Activities
   1.     Editor, Advances in Heat Transfer, Vol. 53, Elsevier, (forthcoming, 2021).
   2.     Editor, Advances in Heat Transfer, Vol. 52, Elsevier, 2020.
   3.     Editor, Advances in Heat Transfer, Vol. 51, Elsevier, 2019.
   4.     Editor, Advances in Heat Transfer, Vol. 50, Elsevier, 2018.
   5.     Editor, Advances in Heat Transfer, Vol. 49, Elsevier, 2017.
   6.     Editor, Advances in Heat Transfer, Vol. 48, Elsevier, 2016.
   7.     Editor, Advances in Heat Transfer, Vol. 47, Elsevier, 2015.
   8.     Editor, Advances in Heat Transfer, Vol. 46, Elsevier, 2014.
   9.     Editor, Advances in Numerical Heat Transfer Vol. 5: Numerical Models of Heat
          Exchangers, Taylor and Francis, New York, 2017.
   10.    Editor, Small-Scale Wind Power – Design, Analysis, and Economic Impacts,
          Momentum Press, 2014.
   11.    Editor, Advances in Heat Transfer, Vol. 45, Elsevier, 2013.
   12.    Editor, Advances in Heat Transfer, Vol. 44, Elsevier, 2012.
   13.    Editor, Advances in Numerical Heat Transfer Vol. 4: Nanoscale Heat Transfer and
          Fluid Flow, Taylor and Francis, New York, 2012.
   14.    Guest Editor, Advances in Numerical Heat Transfer Vol. 3: Numerical
          Implementation of Biological Models and Equations, Taylor and Francis, New York,
          2009.
   15.    Guest Editor, Special Edition of the International Journal of Heat and Mass Transfer:
          Bioheat and Biofluid Flow, Elsevier, Vol. 51, 23-24, November, 2008.
   16.    Assistant Editor, Handbook of Numerical Heat Transfer, 2nd Ed. Editors: Sparrow,
          Minkowycz, and Murthy, John-Wiley & Sons, Inc., New York, 2006.

   Editorial Board Member
   1.     International Society of Cardiovascular Translational Research, 2020-present
   2.     Energies, Thermal Management, 2019-present
   3.     Cardiovascular Revascularization Medicine, 2018-present
   4.     Stem Cell Biology and Transplantation, 2015-present
   5.     Associate Editor, National Center for Science Education, Climate Science, 2012-
          present
   6.     International Journal of Mechanics and Energy, 2012-present
   7.     Open Mechanical Engineering Journal, 2007-present
   8.     Open Mechanical Engineering Reviews, 2007-present
   9.     Open Mechanical Engineering Letters, 2007-present
   10.    Open Medical Devices Journal, 2008-present
   11.    Creative Engineering Journal, 2009-present
   12.    ISRN Applied Mathematics, 2011-present
   13.    International Journal of Sustainable Energy, 2012 - present
   14.    International Journal of Materials, Methods, and Technologies, 2012- present

Books
        Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 415 of 461
                                                                                                4
        th
4232 29 Ave.                        John P. Abraham                     jpabraham@stthomas.edu
Minneapolis, MN 55406                                                             612-963-2169

   1.        J.P. Abraham and B.D. Plourde, Small-Scale Wind Power – Design, Analysis, and
             Environmental Impacts, Momentum Press, 2014.

   2.        J.P. Abraham, P.S. Ellis, M.C. MacCracken, and G.M. Woodwell, Climate
             controversy 2013. New York, NY: AuthorHouse, 2013.

   3.        J.P. Abraham, E.M. Sparrow, W.J. Minkowycz, R.Ramazani-Rend, and J.C.K. Tong,
             All Fluid-Flow-Regimes Simulation Model for Internal Flows, Nova Science
             Publishers, Inc., Hauppauge, NY, 2011.

Book Chapters
   1.   F. Salamsi and J.P. Abraham, Effect of Inclination of Cutoff Wall Beneath Gravity
        Dams on Uplift Force, in Novel Perspectives of Engineering Research, 2021.

   2.        J.P. Abraham, S. Bhattacharya, L. Cheng, and J.M. Gorman, A Brief History of and
             Introduction to Computational Fluid Dynamics, in Computational Fluid Dynamics,
             edited by: Suvanjan Bhattacharya, published by IntechOpen, (forthcoming 2021).

   3.        F. Salamsi and J.P. Abraham, The Method of Characteristics Applied to the
             Sensitivity Analysis for Water Hammer Problems, New Approaches in Engineering
             Research, B.P. International, Vol. 9, pp. 50-63, 2021.

   4.        J. Gorman, S. Bhattacharya, J.P. Abraham,, L. Cheng, Turbulence Models Commonly
             used in CFD, in: Computational Fluid Dynamics, edited by: Suvanjan Bhattacharya,
             published by IntechOpen, (forthcoming 2021).

   5.        B.D. Plourde, J. Kilonzo, J. Kiplagat, J.P Abraham, and L. Cheng, From Sunlight to
             Drinking Water – The Design and Validation of a Solar-Pasteurization System,
             Published in Handbook of Research on Heat Transfer, edited by S. Bhattacharyya and
             V. Goel, (in press).

   6.        J.M. Gorman, M. Regnier, and J.P. Abraham, Heat Exchange Between the Human
             Body and the Environment – A Comprehensive, Multi-Scale Numerical Simulation,
             in: Advances in Heat Transfer Vol. 52, 2020.

   7.        L.E. Olsen, J.P. Abraham, L.J. Cheng, J.M. Gorman, E.M. Sparrow, Summary of
             Forced-Convection Fluid Flow and Heat Transfer for Square Cylinders of Different
             Aspect Ratios Ranging from the Cube to a Two-Dimensional Cylinder, in: Advances
             in Heat Transfer Vol. 51, pp. 351-457, 2019.

   8.        E.M. Sparrow, J.M. Gorman, A. Ghoash, J.P. Abraham, Enhancement of Jet
             Impingement Heat Transfer by Means of Jet Axis Switching, in: Advances in Heat
             Transfer, Vol. 50, 2018.

   9.        E.M. Sparrow, J.M. Gorman, J.P. Abraham, W.J. Minkowycz, Validation of
             Turbulence Models for Numerical Simulation of Fluid Flow and Convective Heat
             Transfer, in: Advances in Heat Transfer, Vol. 49, 397-421, 2017.
        Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 416 of 461
                                                                                                  5
        th
4232 29 Ave.                          John P. Abraham                       jpabraham@stthomas.edu
Minneapolis, MN 55406                                                                 612-963-2169


   10.       J.M. Gorman, E.M. Sparrow, J.P. Abraham, W.J. Minkowycz, Heat Exchangers and
             Their Fan/Blower Partners Modeled as a Single Interacting System by Numerical
             Simulation, in: Advances in Numerical Heat Transfer Vol. 5, Taylor and Francis, New
             York, 2017.

   11.       J.P. Abraham, B.D. Plourde, L.J. Vallez, B.B. Nelson-Cheeseman, J.R. Stark, J.M.
             Gorman, E.M. Sparrow, Skin Burn, in: Theory and Application of Heat Transfer in
             Humans, edited by Devashish Shrivastava, Wiley, June 2018.

   12.       M.W. Dewhirst, J.P. Abraham, B.L. Viglianti, Evolution of Thermal Dosimetry for
             Application of Hyperthermia Treatment to Cancer, in: Advances in Heat Transfer,
             Vol. 47, 397-421, 2015.

   13.       B.D. Plourde, E.D. Taylor, P.O. Okaka, and J.P. Abraham, Financial and
             Implementation Considerations for Small-Scale Wind Power, in: Small-Scale Wind
             Power – Design, Analysis, and Economic Impacts, Momentum Press, 2014.

   14.       B.D. Plourde, E.D. Taylor, W.J. Minkowycz, and J.P. Abraham, Introduction to
             Small-Scale Wind Power, in: Small-Scale Wind Power – Design, Analysis, and
             Economic Impacts, Momentum Press, 2014.

   15.       J.P. Abraham, E.M. Sparrow, W.J. Minkowycz, R. Ramazani-Rend, and J.C.K. Tong,
             Modeling Internal Flows by an Extended Menter Transition Model, in: Turbulence:
             Theory, Types, and Simulation, Nova Publishers, New York, 2011.

   16.       S. Ramadhyani, J.P. Abraham, and E.M. Sparrow, A Mathematical Model to Predict
             Tissue Temperatures and Necrosis During Microwave Thermal Ablation of the
             Prostate, in: Advances in Numerical Heat Transfer Vol. 3: Numerical Implementation
             of Bioheat Models and Equations, Taylor and Francis, New York, 2009.

   17.       J.P. Abraham and E.M. Sparrow, Heat-Transfer and Temperature Results for a
             Moving Sheet Situated in a Moving Fluid, in: Heat-Transfer Calculations, 2nd ed.,
             editor, Myer Kutz, McGraw-Hill, 2005.

Publications
                                                2021
   1.        Y. Liu, L. Cheng, Y. Pan, J.P. Abraham, B. Zhang, J. Zhu, and J. Song,
             Climatological seasonal variation of the upper ocean salinity, International Journal of
             Climatology, (submitted)

   2.        F. Salamsi, J.P. Abraham, and A. Salmasi, Effect of Stepped Spillways on Increasing
             Dissolved Oxygen in Water, an Experimental Study, Journal of Environmental
             Management, (accepted).

   3.        C. Garcia-Soto, L. Cheng, L. Caeser, E.B. Jewett, A. Cheripka, I.G. Rigor, A.
             Cabellero, S. Chiba, J.C. Baez, T. Zielinski, and J.P. Abraham, An Overview of
        Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 417 of 461
                                                                                                  6
        th
4232 29 Ave.                         John P. Abraham                      jpabraham@stthomas.edu
Minneapolis, MN 55406                                                               612-963-2169

             Ocean Ckunate Chgange Indicators: Sea Surface Temperature, Ocean Heat Content,
             Ocean pH, Dissolved Oxygen Concentration, Artic Ice Extent, Thickness, and
             Volume, Frontiers in Marine Science, Global Ocean and Future Ocean, (accepted).

   4.        J.P. Abraham, T. Wei, and Y. Wang, Layered Structure of Turbulent Natural
             Convection Over a Vertical Flat Plate, International Journal of Heat and Mass
             Transfer, (accepted).

   5.        F. Salamsi, F. Nahrain, J.P. Abraham, and A.T. Aghdam, Prediction of Discharge
             Coeefficients for Broad-Crested Weirs Using Expert Systems, Journal of Hydraulic
             Engineering, (accepted).

   6.        F. Salamsi and J.P. Abraham, Closure to “Expert System for Determining Discharge
             Coefficients for Inclined Slide Gates Using Genetic Programming”, Journal of
             Irrigation and Drainage Engineering, Vol. 147, paper no. 07021018, 2021.

   7.        L. Olsen, S. Bhattacharyya, L. Cheng, W. Minkowycz, and J. Abraham, Heat
             Transfer Enhancement for Internal Flows with a Centrally Located Circular
             Obstruction and the Impact of Buoyancy, Heat Transfer Engineering (accepted).

   8.        F. Salamsi and J.P. Abraham, Closure to “Discharge Coefficients for Rectangular
             Broad-Crested Gabion Weirs: An Experimental Study”, Journal of Irrigation and
             Drainage Engineering, (accepted).

   9.        R. Daneshfaraz, E. Aminvash. S. Di Francesco, A. Najibi, and J.P. Abraham, Three-
             Dimensional Study of the Effect of Block Roughness Geometry on Inclined Drop,
             Journal of Numerical Methods in Civil Engineering, Vol. 6, pp. 1-9.

   10.       J.C.K. Tong, J.M.Y. Tse, J.P. Abraham, P.J. Jones, Correlation between simulations
             and measuremants of an eco-house design for Mongolia, Journal of Building
             Engineering, Vol. 42, no. 10, paper no. 102774, 2021.
             DOI:10.1016/j.jobe.2021.102774.

   11.       A. Armanous, A. Negm, A. Javadi, J.P. Abraham, and T. Gado, J.P. Abraham, Impact
             of Inclined Double-Cutoff Walls Under Hydraulic Structures on Uplift Forces,
             Seepage Discharge, and Exit Hydraulic Gradient, Ain Shams Engineering Journal (in
             press). DOI: 10.1016/j.asej.2021.06.017.

   12.       R. Daneshfaraz, M. Abam, M. Heidarpour, S. Abbasi, M. Seifollahi, and J.P.
             Abraham, The Impact of Cables on Local Scouring of Bridge Piers Using
             Experimental Study and ANN, ANFIS Algorithms, Water Supply (in press).
             DOI:10.2166/ws2021.215

   13.       R. Norouzi, P. Sihag, R. Daneshfaraz, J.P Abraham, and V. Hasanna, Predicting
             Relative Energy Dissipation for Vertical Drops Equipped with a Horizontal Screen
             Using Soft Computing Techniques, Water Supply, (in press). DOI:
             10.2166/ws.2021.193.
     Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 418 of 461
                                                                                               7
      th
4232 29 Ave.                       John P. Abraham                      jpabraham@stthomas.edu
Minneapolis, MN 55406                                                             612-963-2169


   14.     R. Daneshfaraz, E. Aminvash, A. Ghaderi, A. Kuriqi, and J.P. Abraham, Three-
           Dimensional Investigation of Hydraulic Properties of Vertical Drop in the Presence of
           Step and Grid Dissipators, Symmetry, Computer Engineering Science and Symmetry
           Turbulence and Multiphase Flows, Vol. 13, paper no. 895.

   15.     T. Wei, Y. Wang, and J.P. Abraham, Integral Properties of Turbulent Natural
           Convection over a Vertical Flat Plate, International Communications in Heat and
           Mass Transfer, Vol. 125, paper 105286, 2021.

   16.     R. Daneshfaraz, E. Aminvash, A. Ghaderi, M. Bagherzadeh, J.P. Abraham, SVM
           Performance in Predicting the Effect of Horizontal Screens on Vertical Hydraulic
           Performance of a Vertical Drop, Applied Sciences, Vol. 11, no. 9, paper no. 4238,
           2021. DOI: 10.3390/app11094238.

   17.     R. Daneshfaraz, S. Sadeghfam, V. Hasanniya, J.P. Abraham, and R. Norouzi,
           Experimental Investigation on Hydraulic Efficency of Vertical Droip Equipped with
           Vertical Screens, Teknit Dergi, Vol. 33, no. 5, (in press), 2022. DOI:
           10.18400/tekderg.755938.

   18.     F.Salamsi, M. Nouri, P. Sihag, and J.P. Abraham, Application of SVM, ANN,
           GRNN, RF, GP, and RT Models for Predicting Discharge Coefficients of Obblique
           Sluice Gates Using Experimental Data, Water Supply, Vol. 21, pp. 232-248, 2021.

   19.     A. Aghdam, F. Salamsi, J.P. Abraham, and H. Arvanaghi, Effect of Drain Pipes on
           Uplift Force ad Exit Hydraulic Gradient and the/ Design of Gravity Dams Ysing the
           Finiate Element Method, Geotechnical and Geological Engineering, Vol. 39, pp.
           3383-3399, 2021.

   20.     Z. Tan,F. Reseghetti, J.P. Abraham R. Cowley, K. Chen, J. Zhu, B. Zhang, and L.
           Cheng, Examining the Influence of Recording System on the Pure Temperature Error
           in XBT Data, Journal of Atmospheric and Oceanic Technology, Vol. 38, pp . 759-
           776, 2021.

   21.     J.M. Gorman, W. Tan, and J.P. Abraham, Numerical Simulation of Microwave
           Ablation in the Human Liver, Heat Transfer in Biomedical Applications, edited by A.
           Andreozzi, M. Iasiello, V. Timochenko, and K. Vafai, published in Processes,
           (submitted).

   22.     R. Daneshfaraz, V. Hasannia, R. Norouzi, P. Sihag, S. Sadeghfam, and J.P. Abraham,
           Investigating the Effect of Horizontal Screen on Hydraulic Parameters of a Vertical
           Drop, Iranian Journal of Science and Technology, Transactions of Civil Engineering,
           (in press), 2021.

   23.     L. Cheng, J.P. Abrahm, K.E. Trenberth, J.T. Fasullo, T.L. Boyer, R. Locarnini, B.
           Zhang, F. Yu, L. Wan, X. Chen, X. Song, Y. Liu, M.E. Mann, F. Reserghetti, S.
           Simoncelli, V. Gouretski, G. Chen, and J. Zhu, Upper Ocean Temperatures Hit
     Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 419 of 461
                                                                                                8
      th
4232 29 Ave.                       John P. Abraham                       jpabraham@stthomas.edu
Minneapolis, MN 55406                                                              612-963-2169

           Record High in 2020, Advances in Atmsopheric Sciences, Vol. 38, pp. 523-530, 2021.
           Altmetric score = 1057, top 1%, January 2021.

   24.     A. Ghaderi, R. Daneshfaraz, S. Abbasi, and J.P. Abraham, Numerical Analysis of the
           Hydraulic Characteristics of Modified Labyrinth Weirs, International Journal of
           Energy and Water Resources, Vol. 4, pp. 425-436, 2020.

   25.     M. Nouri, P. Sihag, F. Salamsi, and J.P. Abraham, Prediction of Homogeneous
           Earthen Slope Safety Factors Using the Forest and Tree Based Modeling,
           Geotechnical and Geological Engineering, Vol. 35, paper no. 04020148.

   26.     F. Salamsi, B. Nourani, J.P. Abraham, and R. Nouzi, Numerical Investigation of
           Relief Well Performance for Decreasing Uplift Pressure Under Embankment Dams,
           International Jounral of Environmental Science and Technology, doi:
           10.1007/s13762-020-03030-2.

   27.     R. Daneshfaraz, M. Bagherzadeh, R. Esmaeeli, R. Norouzi, and J.P. Abraham, Study
           of the Performance of Support Vector Machine for Predicting Vertical Drop
           Hydraulic Parameters in the Presence of Dual Horizontal Screens, Water Supply, Vol.
           21, pp. 217-231, 2021.

   28.     F. Salamsi, J.P. Abraham, Prediction of Discharge Coefficients for Sluice Gates
           Equipped With Different Geometry Sills Under the Gate Using Multiple Non Linear
           Regression (MNLR), Journal of Hydrology, doi:10.1016/j.jhydrol.2020.125728.

   29.     F. Salamsi, N. Sabahi, and J. P. Abraham, Discharge Coefficients for Rectangular
           Broad Crested Gabion Weirs: An Expertimental Study, Journal of Irrigation and
           Drainage Engineering, Vol. 147, paper 04021001, 2021.

   30.     M. Asl, R. Daneshfaraz, J.P. Abraham, S. Valizadeh, Effects of hydraulic
           characteristics, sedimentary parameters, and mining of bed material on scour depth of
           bridge pier groups, Joural of Performance of Constructed Facilities, Vol. 35, paper
           no. 04020148, 2021.

   31.     G. Li, L. Cheng, J. Zhu, K.E. Trenberth, M.E. Mann and J.P. Abraham, Increasing
           Ocean Stratification Over the Past Half Century, Nature Climate Change, Vol. 10, pp.
           1116-1123, 2020. Altmetric score = 700, top 1%, July 2021.

   32.     F. Salamsi and J.P. Abraham, An expert System for Determining Discharge
           Coefficients for Inclined Slide Gates Using Genetic Programing, Journal of Irrigation
           and Drainage Engineering, Vol. 146, paper number 060200013, 2020.

   33.     N. Sartipi, F. Salamsi, J. Abraham, and A.D. Dalir, Investigation of the Effect of
           Depth and Distance Between Cutoff Walls on Uplift Force for Gravity Dams,
           International Journal of Environmental Science and Technology, Vol. 18. pp. 1361-
           1378, 2021.
     Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 420 of 461
                                                                                                9
      th
4232 29 Ave.                       John P. Abraham                      jpabraham@stthomas.edu
Minneapolis, MN 55406                                                             612-963-2169

   34.     R. Daneshfaraz, R. Norouzi, M. Macedi, A. Bazyar, and J.P. Abraham, Laboratory
           Study of Energy dissipation in Inclined Drops with a Screen, Journal of Applied
           Water Engineering and Research, Vol. 9, pp. 184-193, 2021.

   35.     A. Ghaderi, M. Shokri. J.P. Abraham, Estimation of Actual Evapotranspiration Using
           Remote Sensing Method and SEBAL Algorithm- A Case Study: Ein Khosh Plain,
           Iran, Hydrology, (in press).

   36.     A. Ghaderi, M. Dasineh, R. Danesfarak, and J.P. Abraham, Reply to the Discussion
           on Paper: 3-D Numerical Simulation of Water Flow over a Broad Created weir with
           Openings by Daneshfaraz et al 2019, ISH Journal of Hydraulic Engineering, (in
           press).

   37.     A. Ghaderi, R. Daneshfaraz, J.P. Abraham, and M. Torabi, Effect of Different
           Channels on Discharge Coefficient of Labyrinth Weirs, Teknik Dergi, Vol. 32, (pages
           in press), 2021.

                                               2020
   38.      F. Salamsi, M. Nouri, and J.P. Abraham, Upstream Cutoff and Downstream Filters to
           Control Seepage in Dams, Water Resources Management, Vol. 34, pp. 4271-4288,
           2020.

   39.     L. Cheng, K.E. Trenberth, N. Gruber, M.E. Mann, J.P. Abraham, J.T Fasullo, G. Li,
           X. Zhao, and J. Zhu, Improved estimates of changes in upper ocean salinity and the
           hydrological cycle, Journal of Climate,Vol.33, pp. 10357-10381, 2020.

   40.     F. Salamsi, R. Norouzi, J.P. Abraham, B. Nourani, S. Samadi, Effect of Inclined Clay
           Core on Embankment Dam Seepage and Stability Through LEM and FEM,
           Geotechnical and Geological Engineering, Vol. 38, pp. 6571-6586, 2020.

   41.     A. Ghaderi, R. Daneshfaraz, S. Abbasi, and J.P. Abraham, Numerical Analysis of the
           Hydraulic Characteristics of Modified Labyrinth Weirs, International Journal of
           Energy and Water Resources, Vol. 4, pp. 425-436, 2020.

   42.     J.P. Abraham, B. D. Plourde, and L. Cheng, Using Heat to Kill SARS-CoV-2,
           Reviews in Medical Virology, Vol. 30, e2115, 2020. Altmetric score = 376, top 1%,
           July, 2021.

   43.     A. Ghaderi, R. Daneshfaraz, M. Torabi, J.P. Abraham, and H.M. Azamathulla,
           Experimental Investigation on Effectiving Scouring Parameters Downstream from
           Stepped Spillways, Water Supply, Vol. 20, pp. 1988-1998, 2020.

   44.     F. Salamsi, and J.P. Abraham, Predicting Seepage from Unlined Earthen Channels
           Using the Finite Element Method and Multi Variable Nonlinear Regression,
           Agriculatural Water Management, Volume 234, Paper no. 106148, 2020.
     Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 421 of 461
                                                                                                 10
      th
4232 29 Ave.                       John P. Abraham                       jpabraham@stthomas.edu
Minneapolis, MN 55406                                                              612-963-2169

   45.     F. Salamsi, B. Naourani, and J.P. Abraham, Investigation of the Effect of Different
           Configurations of Double-Cutoff Walls Beneath Hydraulic Structures on Uplift
           Forces and Exit Hydraulic Gradients, Journal of Hydrology, vol. 586, dpo:
           10.1016/j.hydrol.2020.123858, 2020.

   46.     A. Ghaderi, S. Abbasi, J.P. Abraham, H. M. Azamathulla, Efficiency of Trapezoidal
           Labyrinth Shaped Stepped Spillways, Flow Measurement and Instrumentation, paper
           no. 101711, 2020, doi: 10.1016/j.flowmeasinst.2020.101711.

   47.     L. Cheng, J.P. Abraham, J. Zhu, K.E. Trenberth, J. Fasullo, T. Boyer, R. Locarnini,
           B. Zhang, F. Yu, L. Wan, X. Chen, X. Song, Y. Liu, and M.E. Mann, Record-Setting
           Ocean Warmth Continued in 2019, Advances in Atmospheric Sciences, Vol. 37, 1-6,
           2020. (This paper was in the top 100 of all published scientific papers in the year
           2020, ranked by Altmetric. Also, second of all 2020 papers in the subject area of
           climate. Altmetric score = 3957, top 1%, January 2021).

   48.     F. Salamsi, and J.P. Abraham, Discussion of “Hydrodynamics of Rectangular Broad-
           Crested Porous Weirs” by Akbar Safarzadeh and Seyed Hossein Mohajeri, J. Irrig.
           Drain. Eng. Vol. 146, paper no. 07020004, 2020.

   49.     R. Daneshfaraz, M.M. Asl, S. Razmi, R. Norouzi, and J.P. Abraham, Experimental
           Investigation of the Effect of Dual Horizontal Screens on the Hydraulic Performance
           of a Vertical Drop, International Journal of Environmental Science and Technology,
           Vol. 17, pp. 2927-2937, 2020.

   50.     J.M. Gorman, et al., Memoriam, Ephraim Sparrow, International Journal of Heat and
           Mass Transfer, Vol. 148, article no. 18755, 2020.

   51.     F. Salmasi, J.P. Abraham, Discharge coefficients for ogee weirs including the effects
           of a sloping upstream face, Water Science and Engineering, doi:
           10.2166/ws.2020.064, 2020.

   52.     F. Salamsi, and Abraham J.P., Discussion of “Hydrodynamics of Retangular Broad-
           Crested Porous Weirs” by Akbar Safrazadeh and Seyed Moharjeri, Journal of
           Irrigation and Drainage Engineering, Vol. 146, doi:
           10.1061/%28ASCE%29IR.1943-4774.0001450, 2020.

   53.     R. Daneshfaraz, E. Aminvash, R. Esmaeli, S. Sadeghfam, and J.P. Abraham
           Experimental and Numerical Investigation for Energy Dissipation of Supercritical
           Flow in Sudden Contractions, Journal of Groundwater Science and Engineering, Vol.
           8, pp. 396-404, 2020.

   54.     R. Daneshfaraz, O. Minaeri, J.P. Abraham, and S. Dadashi, 3-D Numerical
           Simulation of Flow Over a Broad-Crested Weir with Opening, Journal of Hydraulic
           Engineering, Vol. 24, doi: 10.1080/09715010.1581098, 2020.

                                               2019
     Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 422 of 461
                                                                                                  11
      th
4232 29 Ave.                        John P. Abraham                       jpabraham@stthomas.edu
Minneapolis, MN 55406                                                               612-963-2169

   55.     A. Ghaderi, M. Dasineh, S. Abbasi, and J.P. Abraham, Investigation of Trapezoidal
           Sharp-Crested Weir Discharge Coefficients Under Subcritical Flow Regimes, Applied
           Water Science, Vol. 10, article no. 31, 2019.

   56.     G. Li, Y. Zhang, J. Xiao, J.P. Abraham, L. Cheng, and J. Zhu, Examining the Salinity
           change in the upper Pacific Ocean During the Argo Period, Climate Dynamics Vol.
           53, pp. 6055-6074, 2019.

   57.     J.P. Abraham, K. Diller, A Review of Hot Beverages – Satisfying Consumer
           Preferences and Safety, J. Food Science, Vol. 84, pp. 2011-2014, 2019.

   58.     J.M. Gorman, et al., In Memoriam, Ephraim M. Sparrow (May 27, 1928 – August 1,
           2019), Numerical Heat Transfer Part A, Vol. 76, pp. 181-184, 2019.

   59.     F. Jafari, F. Salamsi, and J.P. Abraham, Numerical Investigation of Granular Filer
           Under the Bed of a Canal, Applied Water Science, Vol. 9, Article no. 137, 2019

   60.     J. P. Abraham, Heat risks associated with synthetic fields, International Journal of
           Hyperthermia, Vol. 24, pp. 516-517, 2019.

   61.     T. Wei and J.P. Abraham, Heat transfer regimes in fully developed circular tube
           flows, a map of flow regimes, International Communications in Heat and Mass
           Transfer, Vol. 104, 147-152, 2019.

   62.     B.D. Plourde, A. Gikling, T. Marsh, M.A. Riemenschneider, J.L. Fitzgerald, W.J.
           Minkowycz, J. Kiplagat, J.P. Abraham, Design and Evaluation of a Concentrated
           Solar-Powered Thermal-Pasteurization System, Journal of Solar Energy Research,
           Vol. 6, pp. 34-42, 2019.

   63.     E. Dodangeh, K. Shahedi, K. Solalani, J.T., Shiu, J.P. Abraham, Data-based bivariate
           uncertainty assessment of extreme rainfall-runoff using copulas: Comparison between
           annual maximum series (AMS) and peaks over threshold (POT), Environmental
           Monitoring and Assessment, Vol. 191:67, 2019.

   64.     F. Salamsi, M. Nouri, and J.P. Abraham, Laboratory Study of the Effect of Sills on
           Radial Gate Discharge Coefficient, KSCE Journal of Civil Engineering, Vol. 23, pp.
           2117-2125, 2019.

   65.     Benoit et al., Measuring Global Ocean Heat Content to Estimate the Earth Energy
           Imbalance, Frontiers in Marine Science, OceanObs’19: An Ocean of Opportunity,
           Vol. 6, pp. 198-228, doi: 10.3389/fmars.2019.00432, 2019.

   66.     L. Cheng, J. Zhu, J.P. Abraham, K. E. Trenberth, J. T. Fasullo, B. Zhang, F. Yu, L.
           Wan, Z. Chen, X. Song, 2018 Continues record global warming, Advances in
           Atmospheric Sciences, 36, pp. 249-252, 2019. Altmetric score = 646, top 1%,
           January 2021.
     Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 423 of 461
                                                                                               12
      th
4232 29 Ave.                        John P. Abraham                       jpabraham@stthomas.edu
Minneapolis, MN 55406                                                               612-963-2169

   67.     L.Cheng, G. Wang, J.P. Abraham, G. Huang, Decadal ocean heat redistribution since
           the late 1990s and its association with key climate modes, Climate, Vol. 6, 91, 2019.

   68.     G. Wang, L Cheng, C. Li, A. Storto, H. Liu, J. Chen, and J.P. Abraham, Synthetic
           Profile Dataset for Evaluating Uncertainty of Ocean Heat Content Estimate, J.
           Institute for Atmospheric Physics, (submitted).

   69.     L. Cheng, J.P. Abraham, Z. Hausfather, and K.E. Trenberth, How fast are the oceans
           warming?, Science, Vol. 363, pp. 128-129, 2019. Altmetric score = 2853, top 1%,
           January 2021, ranked 18 out of the top 30 papers in the field of Global
           Sustainabilty.

   70.     J.P. Abraham, E.M. Sparrow, J.M. Gorman, Y. Zhao, and W.J. Minkowycz,
           Application of an Intermittency Model for Laminar, Transitional, and Turbulent
           Internal Flows, Journal of Fluids Engineering, Vol. 141, paper no. 071204, 2019.

   71.     J.P. Abraham, J. R. Stark, J.M. Gorman, E. M. Sparrow, W.J. Minkowycz, Tissue
           Burns Due to Contact Between a Skin Surface and Highly Conducting Metallic
           Media in the Presence of Inter-Tissue Boiling, Burns, Vol. 45, pp. 369-378, 2019.

   72.     J.M. Gorman, E. M. Sparrow, C.J. Smith, A. Ghoash, J.P. Abraham, R. Daneshfaraz,
           A. Rezazedeh Joudi, In-bend pressure drop and post-bend heat transfer for a bend
           with a partial blockage at its inlet, Numerical Heat Transfer A, Vol. 73, pp. 743-767,
           2018.

   73.     A. Bahro, Z. Igyarto, C. Williams, J.P. Abraham, and B.J. Martinsen, Treatment of
           Critical Hand Schemia via Orbital Atherectomy and Focal Force Balloon
           Angioplasty: A Mini-Review, Cardiovascular Revascularization Medicine, Vol. 20,
           pp. 248-253, 2019.

                                               2018
   74.     J.P. Abraham, R. Maki, Hydrodynamics of Laminar Flow Through Dimpled Pipes,
           MOJ Civil Engineering, Vol. 4, pp. 150-154, 2018.

   75.     L. Cheng, H. Luo, T. Boyer, R. Cowley, J. Abraham, V. Gouretski, F. Reseghetti, and
           J. Zhu, How Well Can We Correct Systematic Errors in Historical XBT Data?
           Journal of Atmospheric and Oceanic Technology, Vol. 35, pp. 1103-1125, 2018.

   76.     G. Wang, L. Cheng, J.P. Abraham, C. Li, Consensuses and Discrepancies of basin-
           scale ocean heat content changes in different ocean analyses, Climate Dynamics, Vol.
           50, pp. 2471-2487, 2018

   77.     M. T. Sattari, H. Feyzi, and J.P. Abraham, Comparing the Performance of Genetic
           and Differential Evolution Algorithms in Optimum Operation of Reservoir While
           Considering the Minimum Environmental Demand, Stochastic Environmental
           Research and Risk Assessment (SERR), (submitted).
     Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 424 of 461
                                                                                                13
      th
4232 29 Ave.                       John P. Abraham                      jpabraham@stthomas.edu
Minneapolis, MN 55406                                                             612-963-2169

   78.     R. Daneshfaraz, A.R. Joudi, J.P. Abraham, Numerical Investigation on the Effect of
           Sudden Contraction on Flow Behavior in a 90-Degree Bend, Korean Journal of Civil
           Engineering, Vol. 22, pp 603-612, 2018.

   79.     M. T. Sattari, A. Farkhondeh, and J.P. Abraham, Estimation of Sodium Adsorption
           Ratio Indicator Using Data Mining Methods: A Case Study in Urmia Lake Basin,
           Iran, Environmental Science and Pollution Research, Vol. 25, pp. 4776-4786, 2018.

   80.     M.T. Sattari, R. Misabbasi, R. S. Sushab, and J.P. Abraham, Prediction of
           Groundwater Level in the Ardebil Plain Using Support Vector Regression and the M5
           Tree Model, Groundwater Journal, Vol. 56, pp. 636-646, 2018.

   81.     L. Cheng, K.E. Trenberth, J. T. Fasullo, J.P. Abraham, T.L. Boyer, K. von
           Schuckmann, and J. Zhu, Taking the Pulse of the Planet, EOS, Vol. 98, pp 14-15,
           2018.

   82.     J.P. Abraham, B.D Plourde, L. J. Vallez, Comprehensive review and study of buoyant
           air flow within positive-pressure hospital operating rooms, Numerical Heat Transfer
           A, Vol. 72, pp. 1-20, 2018.

   83.     M.R. Sattari, M. Pal, R. Mirabbasi, and J.P. Abraham, Ensemble of M5 Model Tree
           Based Modelling of Sodium Adsorption Ratio, Journal of Artificial Intelligence and
           Data Mining, Vol. 6, pp. 69-78, 2018.

                                              2017
   84.     J.P. Abraham, A Global Warming Primer: Answering Your Questions about the
           Science, the Consequences, and the Solutions, Physics Today, Vol. 70, no. 3, 2017.

   85.     M.R. Sattari, Dodangeh, and J.P. Abraham, Estimation of Daily Soil Temperature Via
           Data Mining Techniques in Semi-Arid Climate Conditions, Earth Sciences Research
           Journal, Vol. 21, pp. 85-93, 2017.

   86.     J.P. Abraham, L. Cheng, M.E. Mann, Future Climate Projections Allow Engineering
           Planning, Forensic Engineering, Vol. 170, pp. 54-57, 2017.

   87.     B.D. Plourde, L.J. Vallez, B. B. Nelson-Cheeseman, J.P. Abraham, Transcutaneous
           Recharge: A Comparison of Numerical Simulation to In Vivo Experiments
           Neuromodulation, Vol. 20, pp. 613-621, 2017.

   88.     E.M. Sparrow, B.B Nelson-Cheeseman, W.J. Minkowycz, J.M. Gorman, and J.P.
           Abraham, Use of Multi-Lumen Catheters to Preserve Injected Stem Cell Viability and
           Injection Dispersion, Cardiovascular Revascularization Medicine, Vol. 18, pp. S49-
           S57, 2017.

   89.     L.J. Vallez, B.D. Plourde, J.E. Wentz, B. B. Nelson-Cheeseman, J.P. Abraham, A
           Review of Scald Burn Injuries, Internal Medicine Review, Vol. 3, pp. 1-18, 2017.
     Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 425 of 461
                                                                                             14
      th
4232 29 Ave.                       John P. Abraham                     jpabraham@stthomas.edu
Minneapolis, MN 55406                                                            612-963-2169

   90.     R. Daneshfaraz, H. Sadeghi, A. R. Joudi, J.P. Abraham, Experimental Investigation
           of Hydraulic Jump Characteristics in Contractions and Expansions, Sigma Journal of
           Engineering and Natural Sciences, Vol. 35, pp. 87-98, 2017.

   91.     R. Daneshfaraz, A. R. Joudi, A. Ghaderi, J.P. Abraham, Comparisons of CFD
           Simulations with Physical Models of Dam Spillway Flow (Case Study: Azad Dam
           Spillway, Iran), Journal of Dams and Reservoirs, (accepted).

   92.     L.J. Cheng, K.E. Trenberth, T. Boyer, J. T. Fasullo, L. Zhu, J.P. Abraham, Improved
           Estimates of Ocean Heat Content from 1960-2015, Science Advances, Vol. 4, paper
           no. e1601545, 2017. Altmetric Score = 753, top 1%, January 2021.

   93.     J.M. Gorman, E., M. Sparrow, J.P. Abraham, W.J. Minkowycz, Heat Transfer Design
           Methodology Treating a Heat Exchanger Device and its Fluid-Mover Partner as a
           Single System, Heat Transfer Engineering, Vol. 38, pp. 841-852, 2017.

   94.     R.T. Bourdon, B.B. Nelson-Cheeseman, and J.P. Abraham, Review on the Treatment
           and Avoidance of Scald Injuries, World Journal of Dermatology, Vol. 6, pp. 17-26,
           2017.

                                                2016
   95.     B.D. Plourde, J.R. Stark, J. P. Abraham, A New Catheter Technology to Deliver
           Vascular Stem-Cells, Global Journal of Stem Cell Biology and Transplantation, Vol.
           2, pp. 7-16, 2016.

   96.     J.R. Stark, S.R. Romero, J.M. Gorman, J.P. Abraham, E.M. Sparrow, Modulated-
           Power Implantable Neuromodulation Devices and Their Impact on Surrounding
           Tissue Temperatures, Journal of Biomedical Science and Engineering, Vol. 9, pp.
           545-562, 2016.

   97.     L. Cheng, K.E. Trenberth, M.D. Palmer, J. Zhu, and J.P. Abraham Observed and
           Simulated Full-Depth Ocean Heat Content Changes for 1970-2005, Ocean Sciences,
           Vol. 12, pp. 925-935, 2016.

   98.     J.M. Gorman, E.M. Sparrow, J.P. Abraham, W. J. Minkowycz, Evaluation of the
           Efficacy of Turbulence Models for Swirling Flows and Effect of Turbulence Intensity
           on Heat Transfer, Numerical Heat Transfer B, Vol. 70, pp. 485-502, 2016.

   99.     J.P. Abraham, B.B. Nelson Cheeseman, E. M. Sparrow, J.E. Wentz, J.M. Gorman, S.
           E. Wolf, Comprehensive Method to Predict and Quantify Scald Burns from Beverage
           Spills, Int. J. Hyperthermia, Vol. 32, pp. 900-910, 2016.

   100.       B.D. Plourde, L.J. Vallez, B. Sun, B.B. Nelson-Cheeseman, J.P. Abraham,
           Alterations of Blood Flow Through Arteries Following Atherectomy and the Impact
           on Pressure Variation and Velocity, Cardiovascular Engineering and Technology,
           Vol. 7, pp. 280-289, 2016.
     Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 426 of 461
                                                                                             15
      th
4232 29 Ave.                       John P. Abraham                      jpabraham@stthomas.edu
Minneapolis, MN 55406                                                             612-963-2169

   101.    N.K. Langat, T. Thorusa, J.P. Abraham, J. Wanyoko, Performance of an Improved
           Fluidized System for Processing Green Tea, World Academy of Science Engineering
           and Technology, Vol. 10, 1045-1050, 2016.

   102.    L. Cheng, J. Abraham, G. Goni, T. Boyer, S. Wijffels, R. Cowley, V. Gouretski, F.
           Reseghetti, S. Kizu, S. Dong, F. Bringas, M. Goes, L. Houpert, J. Sprintall, and J.
           Zhu, XBT Science: Assessment of XBT Biases and Errors, Bulletin of the American
           Meteorological Society, June, pp. 924-933, 2016.

   103.    J.P. Abraham, R. Cowley, L. Cheng, Quantification of the Effect of Water
           Temperature on the Fall Rate of eXpendable BathyThermographs, Journal of
           Atmospheric and Oceanic Technology, Vol. 6, pp. 1271-1284, 2016.

   104.    R.T. Bourdon, B.B. Nelson-Cheeseman, and J.P. Abraham, Prediction, Identification,
           and Initial Treatment Guidelines for Scald Injuries, Austin Journal of Emergency and
           Critical Care Medicine, Special Issue on Burns, Vol. 3, pp. 1043-1049, 2016.

   105.    J.C.K. Tong, J.P. Abraham, J.M.Y. Tse, W.J. Minkowycz, and E.M. Sparrow, New
           Archive of Heat Transfer Coefficients from Square and Chamfered Cylinders in
           Crossflow, International Journal of Thermal Sciences, Vol. 105, pp. 218-223, 2016.

   106.    L. Cheng, K.E. Trenberth, M.D. Palmer, J. Zhu, and J.P. Abraham, Observed and
           Modeled Ocean Heat Content Changes Since 1970, Ocean Sciences, Vol 12, pp. 925-
           936, 2016.

   107.    R. Daneshfaraz, A. Ghahramanzadeh, A. Ghaderi, A. Rezazadeh Joudi, and J.P.
           Abraham, Investigation of the Effect of Edge Shape on Characteristics of Flow Under
           Vertical Gates, Journal AWWA, Vol. 8, pp. E425-432, 2016.

  108.     J.P. Abraham, B.D. Plourde, L.J. Vallez, and B.B. Nelson-Cheeseman, Correcting a
           Prevalent Misunderstanding of Burns, Burns, Vol. 42, pp. 715-716, 2016.

   109.    J. P. Abraham and B.D. Plourde, Validation of Numerically Simulated Tissue
           Temperatures During Transcutaneous Recharge of Neurostimulation Systems,
           Journal of Neuromodulation, Vol. 19, pp. 161-170. 2016.

   110.    L.J. Vallez, B.D. Plourde, and J.P. Abraham, A New Computational Thermal Model
           for the Whole Human Body: Applications to Patient Warming Blankets, Numerical
           Heat Transfer A, Vol. 69, pp. 227-241, 2016.

                                                2015
   111.    J.P. Abraham, B.D. Plourde, B. Sun, L.J. Vallez, and C.S. Staniloae, The Effect of
           Plaque Removal on Pressure Drop and Flowrate Through a Stenotic Lesion, Biology
           and Medicine, Vol. 8, article no. 1000261, 2015.
     Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 427 of 461
                                                                                                  16
      th
4232 29 Ave.                       John P. Abraham                       jpabraham@stthomas.edu
Minneapolis, MN 55406                                                              612-963-2169

   112.    L.J. Vallez, B. Sun, B.D. Plourde, J.P. Abraham, and C.S. Staniloae, Numerical
           Analysis of Arterial Plaque Thickness and its Impact on Artery Wall Compliance, J.
           Cardiovascular Medicine and Cardiology, Vol. 2, pp. 26-34, 2015.

   113.    D. Nguyen, J. M. Gorman, E.M. Sparrow, and J.P. Abraham, Convective Heat
           Transfer Enhancement Versus Disenhancement: Impact of Fluid-Mover
           Characteristics, Applied Thermal Engineering, Vol. 90, pp. 242-249, 2015.

   114.    B. Sun, L.J. Vallez, D.B. Plourde, J. R. Stark, and J.P. Abraham, Influence of
           Supporting Tissue on the Deformation and Compliance of Healthy and Diseased
           Arteries, Journal of Biomedical Science and Engineering, Vol. 8, pp. 490-499, 2015.

   115.    J.P. Abraham, B.D Plourde, L.J. Vallez, J.R. Stark, and K. R. Diller, Estimating the
           Time and Temperature Relationship for Causation of Deep-partial Thickness Skin
           Burns, Burns, Vol. 41, pp. 1741-1747, 2015.

   116.    G. Foster and J.P. Abraham, Lack of Evidence for a Slowdown in Global
           Temperature, US Climate Variability and Predictability Program (CLIVAR) Summer
           2015, Vol. 13, pp. 6-9, 2015.

   117.    L. Cheng, J. Zhu, and J.P. Abraham, Global Upper Ocean Heat Content Estimation:
           Recent Progresses and the Remaining Challenges, Atmospheric and Oceanic Science
           Letters, Vol. 8, pp. 333-338, 2015.

   118.    M. Richardson, Z. Hausfather, D.A. Nuccitelli, K. Rice, and J.P. Abraham,
           Misdiagnosis of Earth Climate Sensitivity Based on Energy Balance Model Results,
           Science Bulletin, Vol. 60, pp. 1360-1377, 2015.

   119.    B.D. Plourde and J.P. Abraham, Design and Development of a New Cell Infusion
           Catheter, World Biomedical Frontiers, ISSN:2328-0166, 2015.

   120.    B.D. Plourde, J.P. Abraham, and W.J. Minkowycz, Continuous Flow Solar Thermal
           Pasteurization of Drinking Water: Methods, Devices, Microbiology, and Analysis,
           Renewable Energy, Vol. 81, pp. 795-803, 2015.

   121.     J.M. Gorman, M. Carideo, E.M. Sparrow, and J.P. Abraham, Heat Transfer and
           Pressure Drop Comparison of Louver- and Plain-finned Heat Exchangers Where One
           Fluid Passes Through Flattened Tubes, Case Studies in Thermal Engineering, Vol. 5,
           pp. 122-126, 2015.

   122.     J.C.K. Tong, J.P. Abraham, J.M.Y. Tse, and E.M. Sparrow, Impact of Chamfer
           Contours to Reduce Column Drag, Engineering and Computational Mechanics, Vol.
           168, pp. 79-88, 2015.

   123.    D. Egbe, T. Mayah, E. Ebota, P. Egbe, J. Abraham, Performance Evaluation and
           Improvement on a Melon Seed Shelling Machine, World Journal of Agricultural
           Sciences and Engineering, Vol. 1, pp. 157-10, 2015.
     Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 428 of 461
                                                                                              17
      th
4232 29 Ave.                       John P. Abraham                       jpabraham@stthomas.edu
Minneapolis, MN 55406                                                              612-963-2169


   124.    A. Lundardelli, J.E. Wentz, J.P. Abraham, and B.D. Plourde, Shielding Nozzle
           Design and Analysis for Atomization-Based Cutting Fluid Systems in
           Micromachining, ASME Journal of Micro- and Nano-Manufacturing, Vol. 3, paper
           no. 024501, 2015.

   125.    N. Langat, T. Thoruwa, J. Wanyoko, J. Kiplagat, B.D Plourde, and J.P. Abraham,
           Models and Experiments for Energy Consumption and Quality of Green Tea Drying,
           Energy Science and Engineering, Vol. 3, 43-50, 2015.

   126.    T. Scambos and J.P. Abraham, Antarctic Ice Sheet Mass Loss and Future Sea Level
           Rise, Forensic Engineering, Proceedings of the Institute of Civil Engineers, Vol. 168,
           pp. 81-84, 2015.

   127.    J.P. Abraham, J.R. Stark, W.J. Minkowycz, Extreme weather: Observations of
           Precipitation Changes in the USA, Forensic Engineering, Proceedings of the
           Institution of Civil Engineers, Vol. 168, pp. 68-70, 2015.

                                                2014
   128.    N. Dib, D.B. Schwalbach, B.D. Plourde, R.E. Kohler, D. Dana, and J.P. Abraham,
           Impact of Balloon Inflation Pressure on Cell Viability with Single and Multi Lumen
           Catheters, Cardiovascular Translation Research, Vol. 7, pp. 781-787, 2014.

   129.    J.P. Abraham, J.T. Fasullo, and G. Laden, Continued Global Warming in the Midst of
           Natural Climate Fluctuations, Reports of the National Center for Science
           Communication, 34(6), 2014.

   130.    N. Dib, J.P. Abraham, B.D. Plourde, D.B. Schwalbach, D. Dana, L. Myers, K.
           Hunkler, S.R. D’Silva, T.R. Flower, and R.E. Kohler, TCT-155 A Novel Multi
           Lumen Compliant Balloon Catheter (ND Infusion Catheter) Preserves Stem Cell
           Viability and Improves Dispersion When Compared to a Standard Single Lumen
           Balloon Angioplasty Catheter, Journal American College of Cardiology, Vol. 64, 11,
           2014.

   131.    J.P. Abraham, B.D. Plourde, and J.R. Stark, Cryosurgical Treatment of Cancer: The
           Importance of Modeling, Journal of Cancer Science and Therapy, Vol. 6, 2014
           (abstract).

   132.    J.P. Abraham, S. Kumar, B.R. Bickmore, and J.T. Fasullo, Issues Related to the Use
           of One-Dimensional Ocean Diffusion Models for Determining Climate Sensitivity,
           Journal of Earth Science and Climate Change, Vol. 5, paper 1000220, 2014.

   133.    T. Shepard, J.P. Abraham, D.S. Schwalbach, S. Kane, D. Sigling, and T. Harrington,
           Velocity and Density Effect on Impact Force During Water Entry of Spheres, Journal
           of Geophysics and Remote Sensing, Vol. 3, paper no. 1000129, 2014.
     Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 429 of 461
                                                                                               18
      th
4232 29 Ave.                       John P. Abraham                       jpabraham@stthomas.edu
Minneapolis, MN 55406                                                              612-963-2169

   134.    D.S. Schwalbach, T. Shepard, S. Kane, D. Siglin, T. Harrington, and J.P. Abraham,
           Effect of Impact Velocity and Mass Ratio During Vertical Sphere Water Entry,
           Developments and Applications of Oceanic Engineering, Vol. 3, 55-62, 2014.

   135.    J.P. Abraham, B.D. Plourde, J.R. Stark, and W.J. Minkowycz, Improvements to the
           Quality and Quantity of Ocean Heat Content Measurements, Journal of Earth Science
           and Climate Change, Vol. 5, pp. 100, 2014 (abstract).

   136.    J.P. Abraham, B.D. Plourde, and K.E. Trenberth, Closing Earth’s Energy Balance,
           Journal of Earth Science and Climate Change, Vol. 5, pp. 69, 2014 (abstract).

   137.    J.M. Gorman, E.M. Sparrow, and J.P. Abraham, Temperature Determination by
           Means of Optoacoustic Measurements, Studies in Engineering and Technology, Vol.
           1, 15-20, 2014.

   138.    J.M. Gorman, E.M. Sparrow, and J.P. Abraham, Slot Jet Impingement Heat Transfer
           in the Presence of Jet Axis Switching, International Journal of Heat and Mass
           Transfer, Vol. 78, 50-57, 2014.

   139.    J.P. Abraham, A review of the HANDY Study, Cosmopolis, Vol. 2014-1, pp. 8-87,
           2014.

   140.    J.P. Abraham, Climate Change in the Midwest: Impacts, Risks, Vulnerabilities, and
           Adaptation. A Review of New Biological Books, The Quarterly Review of Biology,
           Vol. 89, pp. 171-172, 2014.

   141.    B.D. Plourde, D.B. Schwalbach, J.P. Abraham, and R.E. Kohler, Intracoronary
           Injection of Medication from Multi-lumen Injection Catheters, Journal of Medical
           Devices, Vol. 8, paper number 020901, 2014.

   142.    J.P. Abraham, J. Cook, J. T. Fasullo, P. H. Jacobs, S. A. Mandia, and D. A Nuccitelli,
           Review of the Consensus and Asymmetric Quality of Research on Human-Induced
           Climate Change, Cosmopolis, Vol. 2014-1, pp. 3-18, 2014.

   143.    B.L. Viglianti, M.W. Dewhirst, J.M. Gorman, and J.P. Abraham, E.M. Sparrow,
           Rationalization of Thermal Injury Quantification Methods: Application to Skin
           Burns, Burns, Vol. 40, pp. 896-902, 2014.

   144.    N.M. Naughton, B.D. Plourde, J.R. Stark, S. Hodis, and J. P. Abraham, Impacts of
           Waveforms on the Fluid Flow, Wall Shear Stress, and Flow Distribution in Cerebral
           Aneurysms and the Development of a Universal Reduced Pressure, J. Biomedical
           Science and Engineering, Vol. 7, 7-14, 2014.

   145.    J.M. Gorman, J.P. Abraham, D. B. Schwalbach, T. S. Shepard, J.R. Stark, and F.
           Reseghetti, Experimental Verification of Drag Forces on Spherical Objects Entering
           Water, Journal of Marine Biology and Oceanography, Vol. 3, paper no. 1000126,
           2014.
     Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 430 of 461
                                                                                               19
      th
4232 29 Ave.                       John P. Abraham                      jpabraham@stthomas.edu
Minneapolis, MN 55406                                                             612-963-2169


   146.    S. Beacher, E.M. Sparrow, J.M. Gorman, and J.P. Abraham, Theory and Numerical
           Simulation in Thermochemical Ablation, Numerical Heat Transfer Part A, Vol. 66,
           pp. 131-143, 2014.

   147.    J.P. Abraham, J.M. Gorman, F. Reseghetti, E.M. Sparrow, J.R. Stark, and T.G.
           Shepard, Modeling and Numerical Simulation of the Forces Action on a Sphere
           During Early-Water Entry, Ocean Engineering, Vol. 76, 1-9, 2014.

   148.    J.M. Gorman, J.P. Abraham, and E.M. Sparrow, A Novel, Comprehensive Numerical
           Simulation for Predicting Temperatures Within Boreholes and the Adjoining Rock
           Bed, Geothermics, Vol. 50, pp. 213-219, 2014.

                                               2013
   149.    J.P. Abraham, B.D. Plourde, G.S. Mowry, and E.M. Sparrow, Experimental Test of
           Multi-Stage Vertical Axis Turbines for Cellular Communication Applications, ASME
           Proceedings, Paper Number ES2012-91025, pp. 1333-1339, 2013.

   150.    D.B. Schwalbach, B.D. Plourde, J.P. Abraham, and R.E. Kohler, Drug Dispersion for
           Single- and Multi-Lumen Catheters, Journal of Biomedical Science and Engineering,
           Vol. 6, pp. 1021-1028, 2013.

   151.    N. Dib, R.E. Kohler, J.P. Abraham, B.D. Plourde, D.B. Schwalbach, D. Dana, B.J.
           Baird, T.R. Flower, L. Myers, and K. Hunkler, TCT-811 Stem Cell Viabilitiy
           Significantly Reduced After Passing Through a Standard Single Lumen Over-the-
           Wire 0.014 Balloon Angioplasty Cather, Journal of the American College of
           Cardiology, Vol. 62, B246, 2013.

   152.    D.A. Nuccitelli, J.P. Abraham, R.E. Benestad, and S.A. Mandia, Comment on:
           Akasofu, S.-I. On The Present Halting of Global Warming, Climate, Vol. 1, pp. 76-
           83, 2013.

   153.    J.M. Gorman, E. M. Sparrow, and J.P. Abraham, Differences Between Measured Pipe
           Wall Surface Temperatures and Internal Fluid Temperatures, Case Studies in Thermal
           Engineering, Vol. 1, 13-16, 2013.

   154.    J.R. Stark, J.M. Gorman, E.M. Sparrow, J.P. Abraham, and R.E. Kohler, Controlling
           the Rate of Penetration of a Therapeutic Drug Into the Wall of an Artery by Means of
           a Pressurized Balloon, Journal of Biomedical Science and Engineering, Vol. 6, pp.
           527-532, 2013.

   155.    J.P. Abraham, M. Baringer, N.L. Bindoff, T. Boyer, L.J. Cheng, J.A. Church, J.L.
           Conroy, C.M. Domingues, J.T. Fasullo, J. Gilson, G. Goni, S.A. Good, J. M.
           Gorman, V. Gouretski, M. Ishii, G.C. Johnson, S. Kizu, J.M. Lyman, A. M.
           Macdonald, W.J. Minkowycz, S.E. Moffitt, M.D. Palmer, A.R. Piola, F. Reseghetti,
           K. Schuckmann,K.E. Trenberth, I. Velicogna, and J.K. Willis, A Review of Global
           Ocean Temperature Observations: Implications for Ocean Heat Content Estimates
     Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 431 of 461
                                                                                                20
      th
4232 29 Ave.                       John P. Abraham                      jpabraham@stthomas.edu
Minneapolis, MN 55406                                                             612-963-2169

           and Climate Change, Reviews of Geophysics, Vol. 51, pp 450-483, 2013. Altmetric
           score = 173, top 5%, January 2021.

   156.    J.P. Abraham, J.R. Stark, J.M. Gorman, E.M. Sparrow, and R.E. Kohler, A Model of
           Drug Deposition Within Artery Walls, J. Medical Devices, Vol. 7, paper no. 020902,
           2013.

   157.    E.M. Sparrow, N.T. Littlejohn, J.M. Gorman, and J.P. Abraham, Mass Transfer and
           Particle Separation by Swirl-Chamber and Swirl-Tube Devices, Numerical Heat
           Transfer A, Vol. 64, 611-620, 2013.

   158.    E.M. Sparrow, J. M. Gorman, and J.P. Abraham, Quantitative Assessment of the
           Overall Heat Transfer Coefficient U, Journal of Heat Transfer, Vol. 135, paper no.
           061102, 2013.

   159.    J.P. Abraham, E.M. Sparrow, J.M. Gorman, J.R. Stark, and R. E. Kohler, A Mass
           Transfer Model of Temporal Drug Deposition in Artery Walls, International Journal
           of Heat and Mass Transfer, Vol. 58, pp. 632-638, 2013.

   160.    R.R. Rend, E. M. Sparrow, D. W. Bettenhausen, and J. P. Abraham, Parasitic
           Pressure Losses in Diffusers and in Their Downstream Piping Systems for Fluid Flow
           and Heat Transfer, International Journal of Heat and Mass Transfer, Vol. 61, pp. 56-
           61, 2013.

                                              2012
   161.    E.M. Sparrow, J.M. Gorman, K.S. Friend, and J.P. Abraham, Flow Regime
           Determination for Finned Heat Exchanger Surfaces with Dimples/Protrusions,
           Numerical Heat Transfer, Vol. 63, pp. 245-256, 2012.

   162.    B.D. Plourde, J.P. Abraham, G.S. Mowry, and W.J. Minkowycz, Simulations of
           Three-Dimensional Vertical-Axis Turbines for Communications Applications, Wind
           Engineering, Vol. 36, pp. 443-454, 2012.

   163.    J.P. Abraham, B.D. Plourde, G.S. Mowry, and W.J. Minkowycz, Summary of
           Savonius Wind Turbine Development and Future Applications for Small-Scale Power
           Generation, Journal of Renewable and Sustainable Energy, Vol. 4, paper no. 042703,
           2012.

   164.    J.M. Gorman, EM. Sparrow, J.P. Abraham, and G.S. Mowry, Operating
           Characteristics and Fabrication of a Uniquely Compact Helical Heat Exchanger,
           Applied Thermal Engineering, Vol. 5, pp. 1070-1075, 2012.

   165.    E.M. Sparrow, J.M. Gorman, A. Trawick, and J.P. Abraham, Novel Techniques for
           Measurements of Thermal Conductivity of Both Highly and Lowly Conducting
           Media, International Journal of Heat and Mass Transfer, Vol. 55, pp. 4037-4042,
           2012.
     Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 432 of 461
                                                                                             21
      th
4232 29 Ave.                       John P. Abraham                      jpabraham@stthomas.edu
Minneapolis, MN 55406                                                             612-963-2169

   166.    J.P. Abraham, J.M. Gorman, F. Reseghetti, E.M. Sparrow, and W.J. Minkowycz,
           Drag Coefficients for Rotating Expendable Bathythermographs and the Impact of
           Launch Parameters on Depth Predictions, Numerical Heat Transfer A, Vol. 62, pp.
           25-43, 2012.

   167.    M. Nelson and J.P. Abraham, Hemodynamics of AV Grafts for Hemodialysis Access,
           Journal of Medical Devices, Vol. 6, article no. 017553, 2012.

   168.    J.P. Abraham and J. Jeske, Cryosurgical Simulations for Ablation of Kidney Tumors,
           Journal of Medical Devices, Vol. 6, article no 017504, 2012.

   169.    J.P. Abraham, J.M. Gorman, F. Reseghetti, W.J. Minkowycz, and E. M. Sparrow,
           Turbulent and Transitional Modeling of Drag on Oceanographic Measurement
           Devices, Computational Fluid Dynamics and its Applications 2012, article ID
           567864, doi:10.1155/2012/567864.

                                             2011
   170.    J.P. Abraham, J.M. Gorman, F. Reseghetti, K.E. Trenberth, and W.J. Minkowycz, A
           New Method of Calculating Ocean Temperatures Using Expendable
           Bathythermographs, Energy and Environment Research, Vol. 1, pp. 2-11, 2011.

   171.    J.R. Stark, J.M. Gorman, M.P. Hennessey, F. Reseghetti, J. Willis, J. Lyman, J.P.
           Abraham, and M. Borghini, A Computational Method for Determining XBT Depths,
           Ocean Sciences, Vol. 7, pp. 733-743, 2011.

   172.    B.D. Plourde, J. P. Abraham, G.S. Mowry, and W.J. Minkowycz, Use of Small-Scale
           Wind Energy to Power Cellular Communication Equipment, Sensors and
           Transducers, Vol. 13, pp. 53-61, 2011.

   173.    J.P. Gorman, E.M. Sparrow, G.S. Mowry, and J.P. Abraham, Simulation of Helically
           Wrapped, Compact Heat Exchangers, Journal of Renewable and Sustainable Energy,
           Vol. 3, article no. 043120, 2011.

   174.    R.D. Lovik, J.P. Abraham, and E.M. Sparrow, Surrogate Human Tissue
           Temperatures Resulting from Misalignment of Antenna and Implant During
           Recharging of a Neuromodulation Device, Journal of Neuromodulation, Vol. 14,
           pp. 501-511, 2011.

   175.    K.E. Trenberth, J.T Fasullo, and J.P. Abraham, Issues in Establishing Climate
           Senstivity in Recent Studies, Remote Sensing, Vol. 3, pp. 2051-2055, 2011.

   176.    R.D. Lovik, E. M. Sparrow, J. P. Abraham, C. Zelmer, S. Oh, K. Friend, and D. K.
           Smith, Effect of Component Misalignment on Human Tissue Temperatures
           Associated with Recharged Nueromodulation Devices, Journal of Medical Devices,
           Vol. 5, 0207516, 2011.
     Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 433 of 461
                                                                                               22
      th
4232 29 Ave.                       John P. Abraham                       jpabraham@stthomas.edu
Minneapolis, MN 55406                                                              612-963-2169

   177.    T. Gebreegziabher, E.M. Sparrow, J.P. Abraham, E. Ayorinde, and T. Singh, High-
           Frequency Pulsatile Pipe Flows Encompassing All Flow Regimes, Numerical Heat
           Transfer A, Vol. 60, pp. 811-826, 2011.

   178.    J.P. Abraham, M.P. Hennessey, and W.J. Minkowycz A Simple Algebraic Model to
           Predict Burn Depth and Injury, International Communications in Heat and Mass
           Transfer, Vol. 38, pp. 1169-1171, 2011.

   179.    J.P. Abraham, B.D. Plourde, G.S. Mowry, E. M. Sparrow, and W.J. Minkowycz,
           Numerical Simulation of Fluid Flow Around a Vertical-Axis Turbine, Journal of
           Renewable and Sustainable Energy, Vol. 3, article no. 033109, 2011
           (doi:10.1063/1.3588037).

   180.    B.M. Osende, J.P. Abraham, and G.S. Mowry, Small-Scale Use of Solar Power in
           Remote, Developing Regions: A Case Study, Journal of Sustainable Development,
           Vol. 4, pp. 3-9, 2011.

   181.    B.D. Plourde, J. P. Abraham, G. S. Mowry, and W. J. Minkowycz, An Experimental
           Investigation of a Large, Vertical-Axis Wind Turbine: Effects of Venting and
           Capping, Wind Engineering, Vol. 35, pp. 213-220, 2011.

   182.    N.N. Johnson, J.P. Abraham, Z.I. Helgeson, W.J. Minkowycz, and E. M. Sparrow,
           An Archive of Skin-Layer Thicknesses and Properties and Calculations of Scald
           Burns with Comparisons to Experimental Observations, Journal of Thermal Science
           and Engineering Applications, Vol. 3, paper no. 011003, 2011.

   183.    Z. Helgeson, J. Jenkins, J. Abraham, and E. Sparrow, Particle Trajectories and
           Agglomeration/Accumulation in Branching Arteries Subjected to Orbital
           Atherectomy, Open Biomedical Engineering Journal, Vol. 5, pp. 25-38, 2011.

   184.    L. Steck, E.M. Sparrow, and J.P. Abraham, Non-Invasive Measurement of the Human
           Core Temperature, International Journal of Heat and Mass Transfer, Vol. 54, pp.
           949-982, 2011.

   185.    N. N. Johnson, J. P. Abraham, Z, I. Helgeson and M.P. Hennessey, Simulation of
           Embolization Particle Trajectories, Frontiers in Heat Transfer, Vol. 2, paper no.
           023006, 2011.

   186.    G. Adams, P. Khanna, C. Staniloae, J.P. Abraham, and E.M. Sparrow, Optimal
           Techniques with the Diamondback 360 System Achieve Effective Results for the
           Treatment of Peripheral Arterial Disease, Journal of Cardiovascular Translation
           Research, Vol. 4, 220-229, 2011.

   187.    J.P. Abraham, E. M. Sparrow, and W. J. Minkowycz, Internal-Flow Nusselt Numbers
           for the Low-Reynolds-Number End of the Laminar-to-Turbulent Transition Regime,
           International Journal of Heat and Mass Transfer, Vol. 54, 584-588, 2011.
     Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 434 of 461
                                                                                            23
      th
4232 29 Ave.                       John P. Abraham                      jpabraham@stthomas.edu
Minneapolis, MN 55406                                                             612-963-2169

   188.    S. Chelikani, E.M. Sparrow, J.P. Abraham, and W.M. Minkowycz, Mass Transfer in
           Vascular Access Ports, International Journal of Heat and Mass Transfer, Vol. 54, pp.
           949-958, 2011.

                                               2010
   189.    R. Ramazani-Red, S. Chelikani, E. M. Sparrow, and J. P. Abraham, Experimental and
           Numerical Investigation of Orbital Atherectomy: Absence of Cavitation, Journal of
           Biomedical Science and Engineering, Vol. 3, pp. 1108-1116, 2010.

   190.    A.P. Thomas and J.P. Abraham, Sawtooth Vortex Generators for Underwater
           Propulsion, Open Mechanical Engineering, Vol. 4, pp. 1-7, 2010.

   191.    D. K. Smith, R.D. Lovik E. M. Sparrow, and J. P. Abraham, Human Tissue
           Temperatures Achieved During Recharging of New-Generation Neuromodulation
           Devices, International Journal of Heat and Mass Transfer, Vol. 53, 3292-3299, 2010.

   192.    J. P. Abraham, E. M. Sparrow, J. C. K. Tong, and D. W. Bettenhausen, Internal Flows
           which Transist from Turbulent Through Intermittent to Laminar, International
           Journal of Thermal Sciences, Vol. 49, 256-263, 2010.

   193.    E.M. Sparrow, J.P. Abraham, Y. Bayazit, R.D. Lovik, and D.K. Smith, Numerical
           and Experimental Simulations as Symbiotic Tools for Solving Complex Biothermal
           Problems, Journal of Medical Devices, Vol. 4, 027536, 2010.

                                                 2009
   194.    R.D. Lovik, J.P. Abraham, W.J. Minkowycz, and E.M. Sparrow, Laminarization and
           Turbulentization in a Pulsatile Pipe Flow, Numerical Heat Transfer Part A, Vol. 56,
           861-879, 2009.

   195.    R.D. Lovik, J.P. Abraham, and E.M. Sparrow, Tissue-Damage Potential from
           Transcutaneous Recharge of Neuromodulation Implants, International Journal of
           Heat and Mass Transfer, Vol. 52, pp. 3518-3524, 2009.

   196.    E.M. Sparrow, J.P. Abraham, and W.J. Minkowycz, Flow Separation in a Diverging
           Conical Duct: Effect of Reynolds Number and Divergence Angle, International
           Journal of Heat and Mass Transfer, Vol. 52, pp. 3079-3083, 2009.

   197.    F.A. Hoover and J.P. Abraham, A Comparison of Corn-Based Ethanol with
           Cellulosic Ethanol as Replacements for Petroleum-Based Fuels, A Review,
           International Journal of Sustainable Energy, Vol. 28, pp. 171-182, 2009.

   198.    G.S. Mowry, R. Erickson, and J.P. Abraham, Computational Model of a Novel, Two-
           Cup Horizontal Wind-Turbine System, Open Mechanical Engineering Journal, Vol.
           3, pp. 26-34, 2009.
     Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 435 of 461
                                                                                               24
      th
4232 29 Ave.                        John P. Abraham                       jpabraham@stthomas.edu
Minneapolis, MN 55406                                                               612-963-2169

   199.    J.C.K. Tong, E.M. Sparrow, and J. P. Abraham, Geometric Strategies for Attainment
           of the Identical Outflows Through all of the Exit Ports of a Distribution Manifold in a
           Manifold System, Applied Thermal Engineering, Vol. 29, 3552-3560, 2009.

   200.    W.J. Minkowycz, J.P. Abraham, and E.M. Sparrow, Numerical Simulation of
           Laminar Breakdown and Subsequent Intermittent and Turbulent Flow in Parallel
           Plate Channels: Effects of Inlet Velocity Profile and Turbulence Intensity,
           International Journal of Heat and Mass Transfer, 52, pp. 4040-4046, 2009.

   201.    J.P. Abraham, G.S. Mowry, R. Erickson, Analysis of Urban Wind Turbines, Clean
           Technology, pp. 13-16, 2009.

   202.    J.P. Abraham and A.P. Thomas, Induced Co-Flow and Laminar-to-Turbulent
           Transition with Synthetic Jets, Computers and Fluids, Vol. 38, pp. 1011-1017, 2009.

   203.    J.P. Abraham, E.M. Sparrow, and J.C.K. Tong, Heat Transfer in All Pipe Flow
           Regimes - Laminar, Transitional/Intermittent, and Turbulent, International Journal of
           Heat and Mass Transfer, Vol. 52, pp. 557-563, 2009.

                                               2008
   204.    J.C. Tong, E.M. Sparrow, and J.P. Abraham, Unified Treatment of Natural
           Convection in Tall, Narrow, and Flat, Wide Rectangular Channels, Numerical Heat
           Transfer A, Vol. 54, pp. 763-776, 2008.


   205.    J.P. Abraham, J.C.K. Tong, and E.M. Sparrow, Breakdown of Laminar Pipe Flow
           into Transitional Intermittency and Subsequent Attainment of Fully Developed
           Intermittent or Turbulent Flow, Numerical Heat Transfer B, Vol. 54, pp. 103-115,
           2008.

   206.    J.P. Abraham, E.M. Sparrow, and R.D. Lovik, Unsteady, Three-Dimensional Fluid
           Mechanic Analysis of Blood Flow in Plaque-Narrowed and Plaque-Free Arteries,
           International Journal of Heat and Mass Transfer, Vol. 51, 5633-5641, 2008.

   207.    E.M. Sparrow, J.C.K. Tong, and J.P. Abraham, Fluid Flow in a System with Separate
           Laminar and Turbulent Zones, Numerical Heat Transfer A, Vol. 53 (4), pp. 341-353,
           2008.

                                                2007
   208.    J.P. Abraham and C.M. George, Full-Building Radiation Shielding for Climate
           Control in Desert Regions, International Journal of Sustainable Energy, Vol. 26 (3)
           pp. 167-177, 2007.

   209.    J.P. Abraham and E.M. Sparrow, A Thermal Ablation Model Including Liquid-to-
           Vapor Phase Change, Necrosis-Dependent Perfusion, and Moisture-Dependent
           Properties, International Journal Heat and Mass Transfer, Vol. 50, pp. 2537-2544,
           2007.
     Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 436 of 461
                                                                                            25
      th
4232 29 Ave.                       John P. Abraham                      jpabraham@stthomas.edu
Minneapolis, MN 55406                                                             612-963-2169


   210.    J.C.K. Tong, E.M. Sparrow, and J.P. Abraham, Attainment of Flowrate Uniformity in
           the Channels that Link a Distribution Manifold to a Collection Manifold, Journal of
           Fluids Engineering, Vol. 129 (9), pp. 1186-1192, 2007.

   211.    E.M. Sparrow and J.P. Abraham, A Simulation of Gas-Based, Endometrial-Ablation
           Therapy for the Treatment of Menorrhagia, Annals of Biomedical Engineering, Vol.
           36 (1), pp. 171-183, 2008

                                               2007
   212.    J.P. Abraham, E.M. Sparrow, and S. Ramadhyani, Numerical Simulation of a BPH
           Thermal Therapy – A Case Study Involving TUMT, Journal of Biomechanical
           Engineering, Vol. 129, pp. 548-557, 2007.

   213.    J.C.K. Tong, E.M. Sparrow, and J.P. Abraham, A Quasi-Analytical Method for Fluid
           Flow in a Multi-Inlet Collection Manifold, Journal of Fluids Engineering, Vol. 129,
           pp. 579-586, 2007.

   214.    J.C.K. Tong, E.M. Sparrow, and J.P. Abraham, Numerical Simulation of the Urine
           Flow in a Stented Ureter, Journal of Biomechanical Engineering, Vol. 129, pp. 187-
           192, 2007.

                                             2006
   215.    J.P. Abraham, A Guide to Curing Processes, Journal of Precision Manufacturing, 6,
           pp. 16-17, 2006.

   216.    J.P. Abraham and C.M. George, Micro-Geothermal Devices for Low-Energy Air-
           Conditioning in Desert Climates, GHC Bull., Vol. 27, (4), pp. 13-16, 2006.

   217.    P.W. Chevalier, J.P. Abraham, and E.M. Sparrow, The Design of Cold Plates for the
           Thermal Management of Electronic Equipment, Journal of Heat Transfer
           Engineering, Vol. 27, pp. 6-16, 2006.

                                              2005
   218.    E. M. Sparrow and J. P. Abraham, Universal Solutions for the Streamwise Variation
           of the Temperature of a Moving Sheet in the Presence of a Moving Fluid,
           International Journal of Heat and Mass Transfer, Vol. 48, pp. 3047-3056, 2005.

   219.    E.M. Sparrow, J.P. Abraham, P.W. Chevalier, A DOS-Enhanced Numerical
           Simulation of Heat Transfer and Fluid Flow Through an Array of Offset Fins with
           Conjugate Heating in the Bounding Solid, Journal of Heat Transfer, Vol. 127, pp. 27-
           33, 2005.

   220.    J. P. Abraham and E. M. Sparrow, Friction Drag Resulting From the Simultaneous
           Imposed Motion of a Freestream and its Bounding Surface, International Journal of
           Heat and Fluid Flow, Vol. 26, pp. 289-295, 2005.
     Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 437 of 461
                                                                                                26
      th
4232 29 Ave.                        John P. Abraham                        jpabraham@stthomas.edu
Minneapolis, MN 55406                                                                612-963-2169

   221.    S.K. S. Boetcher, E.M. Sparrow, and J.P. Abraham, Numerical Simulation of the
           Radiative Heating of a Moving Sheet, Numerical Heat Transfer, Vol. 47, pp. 1-25,
           2005.

                                               2004
   222.    E.M. Sparrow, J.P. Abraham, and J.C. K. Tong, Archival Correlations for Average
           Heat Transfer Coefficients for Non-Circular and Circular Cylinders and for Spheres
           in Crossflow, International Journal of Heat and Mass Transfer, Vol. 47 (24), pp.
           5285-5296, 2004.

   223.    J.P. Abraham and E.M. Sparrow, A Simple Model and Validating Experiments for
           Predicting the Heat Transfer to a Load Situated in an Electrically Heated Oven,
           Journal of Food Engineering, Vol. 62 (4) pp. 409-415, 2004.

   224.    J.P. Abraham, Teaching Case Studies to a Multi-Disciplinary Class - Bridging the
           Gap Between Engineering and the Biological Sciences, Journal of College Science
           Teaching, Vol. 33 (5), March/April 2004.

                                              2003
   225.    E.M. Sparrow and J.P. Abraham, A Computational Analysis of the Radiative and
           Convective Processes Which Take Place in Preheated and Non-Preheated Ovens,
           Journal of Heat Transfer Engineering, Vol. 24, No. 5, pp. 25-37, 2003.

   226.    J.P. Abraham and E.M. Sparrow, Three Dimensional Laminar and Turbulent Natural
           Convection in a Continuously/Discretely Wall-Heated Enclosure Containing a
           Thermal Load, Numerical Heat Transfer, A, Vol. 44, pp. 105-125, 2003.

   227.    E. M. Sparrow and J. P. Abraham, A New Buoyancy Model Replacing the Standard
           Pseudo-Density Difference for Internal Natural Convection in Gases, International
           Journal of Heat and Mass Transfer, Vol. 46, pp. 3583-3591, 2003.

                                                 2002
   228.    J.P. Abraham and E.M. Sparrow, Experiments on discretely heated, vented/unvented
           enclosures for various radiation surface characteristics of the thermal load, enclosure
           temperature sensor, and enclosure walls, International Journal of Heat and Mass
           Transfer, Vol. 45, pp. 2255-2263, 2002.

   229.    J.P. Abraham and E.M. Sparrow, Fluid Flow and Heat Transfer in Multiply-Folded,
           Continuous Flow Passages Including Conjugate Thermal Interaction Between the
           Fluid and Bounding Walls, Numerical Heat Transfer, A, Vol. 42, pp. 327-344, 2002.

   230.    E.M. Sparrow, J.P. Abraham, and Molly K. Rolfsmeier, Fabric Ducts for Air
           Distribution and for Décor, Fabric Architecture, March/April 2002.

   231.    E.M. Sparrow and J.P. Abraham, Heat Transfer Coefficients and Other Performance
           Parameters for Variously Positioned and Supported Thermal Loads in Ovens
        Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 438 of 461
                                                                                                27
        th
4232 29 Ave.                         John P. Abraham                     jpabraham@stthomas.edu
Minneapolis, MN 55406                                                              612-963-2169

             With/Without Water-Filled or Empty Blockages, International Journal of Heat and
             Mass Transfer, Vol. 45, pp. 3597-3607, 2002.

                                                 2001
   232.      E.M. Sparrow, J.C.K. Tong, and J.P. Abraham, An Experimental Investigation on a
             Mass Exchanger for Transferring Water Vapor and Inhibiting the Transfer of Other
             Gases, International Journal of Heat and Mass Transfer, Vol. 44, pp. 4313-4321,
             2001.

   233.      E.M. Sparrow, G.L. Martin, J.P. Abraham, and J.C.K. Tong, Air-to-Air Energy
             Exchanger Test Facility for Mass and Energy Transfer Performance, Transactions of
             the ASHRAE, Vol. 107, (2) 2001.

Conference Presentations and Public Lectures
   1.    J.P. Abraham, Introduction to the Computational Tools Available in Fluid Mechanics
          and Heat Transfer Research, National Workshop on Research Methodology in Fluid
          Mechanics, Pilani, India, June 7-9, 2021.

   2.        L. Cheng, K. Trenberth, N. Gruber, M.E. Mann, J.P. Abraham, and J. Fasullo,
             Improved Estimates of Changes in Upper Ocean Salinity and Water Cycle, AGU Fall
             Meeting, 2020.

   3.        J.P. Abraham, The Science of Global Warming – What do we really know? Presented
             at New Mexico Tech. Lecture Series, September 24, 2020.

   4.        L. Cheng, K. Trenberth, K. von Schukmann, J.P. Abraham, V. Gouretski, Oceanic
             Responses to the Climate: Recognizing Changes and Extremes, AAAS Annual
             Meeting, February 11, 2021.

   5.        J.P. Abraham, Advanced Methods in Thermal Engineering, International Workshop
             on Recent Advances in Thermal Engineering, India, June 29-July 3, 2020.

   6.        J.P. Abraham, L. Cheng, Kevin Trenberth – A Life of Research and Impact,
             Trenberth Symposium, Denver, CO, March 16, 2020.

   7.        J.P. Abraham, Modern Climate Change, Threats to the Worlds Oceans – World
             Ocean Day, Minneapolis, MN June 8, 2020.

   8.        L. Cheng, K.E. Trenberth, N. Gruber, M.E. Mann, J.P. Abraham, J. Fasullo, G. Li, X.
             Zaho, and J. Zhu, Ocean Subsurface Salinity Changes Yield an Anthropogenic
             Climate Change Signal, Ocean Sciences 2020, San Diego, CA, February 16-21, 2020.

   9.        J.P. Abraham, Climate Science, Projections for the Next Two Decades, Code Blue,
             Health Care Professionals for a Healthy Climate, Minneapolis, MN, April 4, 2020.
     Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 439 of 461
                                                                                                  28
         th
4232 29 Ave.                          John P. Abraham                      jpabraham@stthomas.edu
Minneapolis, MN 55406                                                                612-963-2169

   10.        L. Cheng, G. Foster, Z. Hausfather, K.E. Trenberth, J.P. Abraham, Increase in the
              Rate of Ocean Warming, 2019 AGU Fall Meeting, San Francisco, December, 9-13,
              2019.

   11.        J.P. Abraham, G. Foster, Z. Hausfather, L. Cheng, K.E. Trenberth, Earth’s Energy
              Imbalance abd Energy Flows Through the Climate System, 2019 AGU Fall Meeting,
              San Francisco, December, 9-13, 2019.

   12.        L. E. Olsen and J.P. Abraham, Evaluation of CFD algorithms for solving a canonical
              problem of flow over a square cylinder, 4th Thermal and Fluids Engineering
              Conference, Las Vegas, April 14-17, 2019.

   13.        S. A. Mandia, J.P. Abraham, M. Ashley, and J.W. Dash, The Climate Rapid Response
              Team – An Effective Model for Engaging Media and Polictmakers, 2018 AGU Fall
              Meeting, Washington, DC, December 2018.

   14.        J.P. Abraham, Climate Change, the Evidence is in the Oceans, Presented at the
              National Laboratory for Marine Science and Technology, Qingdao, China, October
              25, 2018.

   15.        J.P. Abraham, Progress in XBT simulations, Presented at the Institute of Atmospheric
              Physics, Beijing, October 23, 2018.

   16.        J.P. Abraham, B.D. Plourde, J.R. Stark, Modeling Hemodynamics Through Lesions
              Cardiovascular Research Technologies Conference 18, Washington DC., March 3-6,
              2018.

   17.        G. Wang, L. Cheng, J.P. Abraham, C. Li, and H. Du, Consensuses and discrepancies
              of basin-scale ocean heat content changes in different ocean analysis, AOGS 15th
              Annual Meeting, June 3-8, Hawaii, USA, 2018.

   18.        K.E. Trenberth, C. Lijing, P. Jacobs, and J.P. Abraham, Are recent hurricane (Harvey,
              Irma, and Maria) disasters Natural? AGU Fall 2017 Meeting, New Orleans,
              December 11-15, 2017.

   19.        P. Jacobs, S. Akella, K.E. Trenberth, C. Lijing, and J.P. Abraham, The Historical
              Context of the 2017 Hurricane Season’s Ocean Warmth, AGU Fall 2017 Meeting,
              New Orleans, December 11-15, 2017.

   20.        J.P. Abraham, P. Jacobs, L. Cheng, K.E. Trenberth, Are recent hurricane (Harvey,
              Irma, and Maria) disasters Natural? AGU Fall 2017 Meeting, New Orleans,
              December 11-15, 2017.

   21.        J.P. Abraham and B.D. Plourde, Using ANSYS for Multiphysics Design of a Water
              Treatment System, ANSYS Innovation Conference 2017, Minneapolis, MN,
              November 8, 2017.
     Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 440 of 461
                                                                                             29
      th
4232 29 Ave.                       John P. Abraham                      jpabraham@stthomas.edu
Minneapolis, MN 55406                                                             612-963-2169

   22.     J.P. Abraham, L.J. Cheng, K.E. Trenberth, Improved Estimates of Ocean Heat
           Content from 19602015, NOAA Presentation, Washington DC, June 22, 2017.

   23.     J.P. Abraham, Use of Computational Fluid Dynamics to Improve Oceanographic
           Measurements, NOAA Presentation, Washington DC, January 12, 2017.

   24.     J.P. Abraham, B.D. Plourde, Use of Multi-lumen Catheters to Preserve Injected Stem
           Cell Viability, Cardiovascular Research Technologies Conference 17, Washington
           DC., February 18-21, 2017.

   25.     L. Cheng, J. Zhu, K. Trenberth, J. Fasullo, M. Palmer, T. Boyer, J. Abraham,
           Improved Ocean Heat Content Estimation Since 1960, AGU Fall Meeting 2016, San
           Francisco, CA, 2016.

   26.     J.P. Abraham, B. D. Plourde, John Stark, L.J. Vallez, Using ANSYS to Reduce Costs
            and Speed Development Process, ANSYS Upper Midwest Innovation Conference,
            Bloomington, Minnesota, November 17, 2016 (Keynote).

   27.     N. Langat, T. Thoruwa, J. Abraham, J. Wanyoko, Performance of an Improved
           Fluidized System for Processing Green Tea, ICEE 18th International Conference on
           Energy Engineering, Toronto, Canada, 2016.

   28.     L. Cheng, R. Cowley. J.P. Abraham, Cold Water Biases in XBT Descent, 5th XBT
           Science Workshop, Tokyo, Japan, October 3-7, 2016 (Invited).

   29.     L. Cheng, K. Trenberth, M. Palmer, J.P. Abraham, Historical Ocean Heat Content
           Estimation and the Implications for Assessing Historical Earth’s Energy Budget,
           Clivar 2016, Qingdao, China, 2016.

   30.     R. Cowley, J.P. Abraham, L. Cheng, The Effect of Water Temperature on XBT Fall
           Rate, Clivar Third IQuOD Workshop, Hamburg, Germany, December 3-4, 2015.

   31.     R. Cowley, L. Cheng, G. Goni, T. Boyer, J.P. Abraham, S. Wijffels, V. Gouretski, F.
           Reseghetti, S. Kizu, S. Dong, F. Bringas, M. Goes, L. Houpert, J. Sprintall, J. Zhu,
           Towards Reducing Uncertainty in Historical XBT Data: An International Effort from
           the XBT Science Team, 2016 Ocean Sciences Meeting, New Orleans, LA, February
           21-26, 2016.

   32.     J.P. Abraham and B.D. Plourde, Novel Cost-Effective Solution for Potable Water in
           All Environments, The Food-Energy-Water Nexus, 16th National Conference and
           Global Forum on Science, Policy, and the Environment, Washington DC, January 18-
           21, 2016.

   33.     J.P. Abraham and B.D. Plourde, Off-Grid Wind Power Systems for the Developing
           World, The Food-Energy-Water Nexus, 16th National Conference and Global Forum
           on Science, Policy, and the Environment, Washington DC, January 18-21, 2016.
     Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 441 of 461
                                                                                              30
      th
4232 29 Ave.                       John P. Abraham                     jpabraham@stthomas.edu
Minneapolis, MN 55406                                                            612-963-2169

   34.     L.Cheng, J. Zhu, J.P. Abraham, An Updated Historical (1970-2014) Upper OHC
           Estimates and Implication for the Global Energy Budget, Climate and Ocean
           Variability and Change (CLIVAR) 8th Session of the Global Synthesis, Exeter, UK,
           September 28, 2015.

   35.     J.P. Abraham, Our Changing Climate, Citizens Climate Lobby Conference, Red
           Wing, MN, November 6, 2015.

   36.     J.P. Abraham, J.R. Stark, Advances in XBT Measurement and Bias Reduction,
           Chinese Academy of Sciences, Beijing, October 10, 2015.

   37.     G. Foster and J.P. Abraham, Lack of Evidence for a Slowdown in Global
           Temperature, American Geophysical Union Fall Meeting, San Francisco, CA,
           December 14-18, 2015.

   38.     L. Cheng, J. Zhu, and J.P. Abraham, An Updated Estimate on Global Upper Ocean
           Heat Content Change and the Remaining Challenges, American Geophysical Union
           Fall Meeting, San Francisco, CA, December 14-18, 2015.

   39.     G. Foster and J.P. Abraham, Lack of Evidence for a Slowdown in Global
           Temperature, US Climate Variability and Predictability Program (CLIVAR) Summit,
           Tucson, AZ, August 4-6, 2015.

   40.     J.P. Abraham, Small-scale Wind Turbines: Design, Analysis and Applications, Hong
           Kong University, January 28, 2015 (invited).

   41.     J.P. Abraham, The Science of Climate Change, What Do We Really Know, Hong
           Kong University of Science and Technology, January 26, 2015 (invited).

   42.     J.P. Abraham et al., A Novel Multi Lumen Compliant Balloon Catheter (ND®
           Infusion Catheter) Preserves Stem Cell Viability and Improves Dispersion When
           Compared to a Standard Single Lumen Balloon Angioplasty Catheter, European
           Society of Cardiology, 2015, (submitted).

   43.     J.P. Abraham, T.M. Shepard, W.J. Minkowycz, J.R. Stark, J. M. Gorman,
           Quantification of Near-Surface Impact Forces on XBTs, The 4th XBT Workshop: XBT
           Science and the Way Forward, Beijing, China, November 11-13, 2014.

   44.     J.P. Abraham, B.D. Plourde, S.A. Mandia, and K.E. Trenberth, Closing the Earth
           Energy Imbalance, 3rd International Conference on Earth Science and Climate
           Change, San Francisco, CA, July 28-30, 2014.

   45.     J.P. Abraham, B.D. Plourde, J.R. Stark, and W.J. Minkowycz, Improvements to the
           Quality and Quantity of Ocean Heat Content Measurements, 3rd International
           Conference on Earth Science and Climate Change, San Francisco, CA, July 28-30,
           2014.
     Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 442 of 461
                                                                                            31
      th
4232 29 Ave.                       John P. Abraham                      jpabraham@stthomas.edu
Minneapolis, MN 55406                                                             612-963-2169

   46.     J.P. Abraham, B.D. Plourde, J.R. Stark, W.J. Minkowycz, Cryosurgical Treatment of
           Cancer: The Importance of Modeling, 4th World Congress on Cancer Science and
           Therapy, Chicago, October 20-22, 2014.

   47.     N. Dib, J.P. Abraham, B. D. Plourde, D.B. Schwalbach, D. Dana, L. Myers, K.
           Hunkler, T. Flower, and R.E. Kohler, A Novel Multi-lumen Compliant Balloon
           Catheter Preserves Stem Cell Viability and Decreases Cellular Clumping When
           Compared to a Standard Single-lumen Balloon Angioplasty Catheter, Transcatheter
           Cardiovascular Therapeutics (TCT 2014), Washington, DC, September 13-17, 2014.

   48.     N. Dib, J.P. Abraham, B. D. Plourde, D.B. Schwalbach, D. Dana, L. Myers, K.
           Hunkler, T. Flower, and R.E. Kohler, A Novel Multi-lumen Compliant Balloon
           Catheter Preserves Stem Cell Viability and Decreases Cellular Clumping When
           Compared to a Standard Single-lumen Balloon Angioplasty Catheter, Complex
           Cardiovascular Therapeutics, Orlando, FL, June 23-27, 2014.

   49.     J.P. Abraham, The Science of Climate Change (Keynote), 2014 Summer Institute for
           Climate Change and Energy Education, Sandstone, MN, August 4-6, 2014.

   50.     J.P. Abraham, D. B. Schwalbach, T. M. Shepard, J. M. Gorman, Calculating forces of
           impact as objects travel from air into water at high velocity, ANSYS Regional
           Conference, Minneapolis, MN, June 10, 2014.

   51.     B.D. Plourde, D.B. Schwalbach, J.P. Abraham, R.E. Kohler, and N.N. Johnson,
           Intracoronary Injection of Medication from multi-lumen injection Catheters, Design
           of Medical Devices 2014, April 7-14, Minneapolis, MN.

   52.     N. Dib, J. Abraham, B.D. Plourde, D.S. Schwalbach, D. Dana, D. Lester, T. Flowers,
           and R.E. Kohler, Comparison of the Stem Cell Viability and Shear Stress of Single
           Lumen and Multi Lumen Balloon Infusion Catheter for Intra-Arterial Stem Cell
           Infusion, American Cardiology Conference 2014, Washington, DC, March 29-31.

   53.     J.P. Abraham, The Science of Global Warming, What Do We Really Know
           (Keynote), Audubon Society National Meeting, October 6, 2013.

   54.     J.P. Abraham, Thawing Out Climate Science, IEEE 2013 Awards Banquet, St. Paul,
           MN, February 23, 2013.

   55.     J.P. Abraham, Using ANSYS to Model Rotating Oceanographic Devices, ANSYS
           Regional Conference, Minneapolis, June 6, 2013.

   56.     N. Dib, J.P. Abraham, B. Plourde, D. Schwalbach, D. Dana, L. Myers, T. Flowers,
           and R. Kohler, Stem Cell Viability Significantly Reduced After Passing Through a
           Standard Single Lumen Over-the-wire 0.014 inch Balloon Angioplasty Catheter, TCT
           2013 Conference, October 27-November 1, 2013, San Francisco, CA.
     Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 443 of 461
                                                                                             32
      th
4232 29 Ave.                       John P. Abraham                     jpabraham@stthomas.edu
Minneapolis, MN 55406                                                            612-963-2169

   57.     J.P. Abraham, Measurements of the Earth’s Climate System, IEEE Conference on
           Instrumentation and Measurement Technology Conference, Minneapolis, MN, May
           6, 2013.

   58.     J.P. Abraham, Numerical Simulations of Drug Deposition of Paclitaxel, Design of
           Medical Devices Conference, 2013, Minneapolis, MN, April 8-11, 2013.

   59.     J.P. Abraham, J. Stark, J. Gorman, E. Sparrow, R. Kohler, A Model of Drug
           Deposition Within Artery Walls, Design of Medical Devices Conference, 2013,
           Minneapolis, MN, April 8-11, 2013.

   60.     J.L. Conroy, S.A. Mandia, J.P. Abraham, S.E. Moffitt, G. Tootle, Environmental
           Litigation and the Role of Climate Scientists, AGU Winter Meeting 2012, December
           3-7, San Francisco, 2012.

   61.     S.A. Mandia, J. Abraham, J. Dash, M. Ashley, Filling the Knowledge Gap that Exists
           Between the Public and Its Leaders and Climate Science Experts, AGU Winter
           Meeting 2012, December 3-7, San Francisco, 2012.

   62.     S.A. Mandia, J.P. Abraham, J. Dash, and M. Ashley, Navigating Negative
           Conversations in Climate Change, AGU Winter Meeting 2012, December 3-7, San
           Francisco, 2012.

   63.     M.J. Kallock, A. Yevzlin, M. Nelson, and J.P. Abraham, Numerical Modeling of
           Blood Flow in a New Percutaneously Delivered Hemodialysis Shunt, BMES 2012
           Annual Meeting, Atlanta Georgia, October 24-27, 2012.

   64.     J.P. Abraham, Understanding Climate Change’s Common Myths, Minnesota
           Broadcast Meteorologists Climate Change Science Seminar, St. Paul, MN, October
           5-6, 2012.

   65.     N.P. Sullivan, J.E. Wentz, J.P. Abraham, Multi-Scale Modeling of Tubular Cross-
           Flow Microfiltration of Metalworking Fluids, ASME International Mechanical
           Engineering Congress and Exposition, Houston, TX, November 9-15, 2012.

   66.     J.P. Abraham, M. Nelson, J. Jeske, J. Gorman, Simulation Tools for Design and
           Testing Substitution in Medical Devices, Lifescience Alley Research Conference,
           Research and Development 101, Minneapolis, MN, May 22, 2012.

   67.     M.J. Kallock, M. E. Nelson, J. P. Abraham, and A. S. Yevzlin, Fluid Mechanic
           Modeling of a Percutaneously Delivered Vascular Access Device, American Society
           of Diagnostic and Interventional Nephrology, 8th Annual Meeting, New Orleans, LA,
           February 24-26, 2012.

   68.     D. Dana, J.P. Abraham, R. Kohler, A. Campbell, B. Baird, M. Olson, and N. Dib, A
           Novel Catheter Delivery System (CardioDib) That May Enable Intracoronary Stem
           Cell Infusion by Possibly Minimizing Cellular Clumping and Distal Embolization
     Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 444 of 461
                                                                                              33
      th
4232 29 Ave.                       John P. Abraham                       jpabraham@stthomas.edu
Minneapolis, MN 55406                                                              612-963-2169

           (DE) While Preserving Cellular Viability, 9th International Symposium on Stem Cell
           Therapy and Cardiovascular Innovations, Madrid, Spain, June 7-8, 2012.

   69.     K.E. Trenberth, K. Emanuel, J.P. Abraham, Climate Science and Meteorology, AMS
           National Broadcast Meteorology Conference, Boston, MA, August 24, 2012

   70.     J.P. Abraham, J. Jeske, and M. Nelson, Thermal and Fluid Flow Simulations in
           Health Care: Product Development and Safety Improvement, Design of Medical
           Devices Conference, Minneapolis, MN April 10-12, 2012.

   71.     J.P. Abraham, Climate Myths, Misconceptions, and Their Creators, American
           Chemical Society, St. Paul, MN, November 13, 2012.

   72.     I. Enting, J.P. Abraham, Detailed Debubnking of Denial, AGU Winter Meeting 2012,
           December 3-7, San Francisco, 2012.

   73.     B.D. Plourde, J.P. Abraham, G.S. Mowry, E.M. Sparrow, Experimental Test of
           Multi-Stage Vertical-Axis Turbines for Cellular Communication Applications, ASME
           6th International Conference on Energy Sustainability, San Diego, CA, July 23-26,
           2012.

   74.     M.N. Nelson and J.P. Abraham, Hemodynamics of AV Grafts for Hemodialysis
           Access, Design of Medical Devices Conference, Minneapolis, MN April 10-12, 2012.

   75.     J.P. Abraham and J.S. Jeske, Cryosurgical Simulations for Ablation of Kidney
           Tumors, Design of Medical Devices Conference, Minneapolis, MN April 10-12,
           2012.

   76.     J.P. Abraham, J.R. Stark, and J.M. Gorman, Drag Calculations on Oceanographic
           Devices, ANSYS Regional Conference, Minneapolis, MN, October 20, 2011.

   77.     J.P. Abraham, B.D. Plourde, and G.S. Mowry, Fluid Dynamic Simulations of Wind
           Turbines, ANSYS Regional Conference, Minneapolis, MN, October 20, 2011.

   78.     S.A. Mandia, J.P. Abraham, R. Weymann, and M. Ashley, The Climate Science
           Rapid Response Team – A Model for Science Communication, Geological Society of
           America Annual Meeting and Exposition, Minneapolis, MN, October 9-12, 2011.

   79.     S.A. Mandia, J.P. Abraham, R.J. Weymann, and M. Ashley, The Climate Sciences
           Rapid Response Team – A Model for Science Communication, American
           Geophysical Union Fall Meeting, San Francisco, CA December 5-9, 2011.

   80.     J.P. Abraham, J. Stark, J. Gorman, F. Reseghetti, J. Willis, and J. Lyman, Preliminary
           Fluid Drag Calculations for Expendable Bathythermograph Devices, American
           Geophysical Union Fall Meeting, San Francisco, CA December 5-9, 2011.
     Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 445 of 461
                                                                                            34
      th
4232 29 Ave.                       John P. Abraham                      jpabraham@stthomas.edu
Minneapolis, MN 55406                                                             612-963-2169

   81.     S.A. Mandia, J.P. Abraham, R.A. Weymann, and M. Ashley, Scientists Shaping the
           Discussion, American Geophysical Union Fall Meeting, San Francisco, CA
           December 5-9, 2011.

   82.     J.P. Abraham, J.R. Stark, J.M. Gorman, F. Reseghetti, J. Willis, and J. Lyman,
           Computational Modeling of Probe Dynamics to Improve Ocean Heat Content
           Measurements, American Geophysical Union Fall Meeting, San Francisco, CA
           December 5-9, 2011.

   83.     B.M. Osende, J.P. Abraham, and G.S. Mowry, The Design, Installation, and
           Maintenance of a Village-Sized Solar Power System in Uganda, Nanotech,
           Cleantech, Microtech 2011 Conference, June 13-16, 2011, Boston, MA. Published in
           the Technical Proceedings of the 2011 NSTI Nanotechnology Conference and Expo,
           Vol. 3, pp. 755-758, 2011.

   84.     J.M. Gorman, E.M. Sparrow, G.S. Mowry, and J.P. Abraham, Simulation of Helically
           Wrapped, Compact Heat Exchangers, ASME 2011 Energy Sustainability Conference,
           Washington, DC, August 7-10, 2011.

   85.     B.D. Plourde, J.P. Abraham, G.S. Mowry, and W.J. Minkowycz, Vertical-Axis Wind
           Turbines for Powering Cellular Communication Towers, Nanotech, Cleantech,
           Microtech 2011 Conference, June 13-16, 2011, Boston, MA. Published in the
           Technical Proceedings of the 2011 NSTI Nanotechnology Conference and Expo, Vol.
           3, pp. 750-753, 2011.

   86.     L. Tran, M.P. Hennessey, and J.P. Abraham, Simulation and Visualization of
           Dynamic Systems: Several Approaches and Comparisons, ASME International
           Mechanical Engineering Congress and Expo, Vancouver, Canada, November 12-18,
           2011.

   87.     J.P. Abraham, Global Warming, What does the Science Tell Us?, 7th Annual
           Environmental Institute Conference (KEYNOTE), Minneapolis, MN, April 21, 2010.

   88.     J.P. Abraham, G.S. Mowry, B.D. Plourde, and W.J. Minkowycz, Numerical
           Simulations of Vertical-Axis Wind Turbine Blades, ASME 2011 Energy
           Sustainability Conference and Fuel Cell Conference, Washington, DC, August 7-10,
           2011.

   89.     J.P. Abraham, G.S. Mowry, B.D. Plourde, and W.J. Minkowycz, Wind Tunnel Tests
           of Vertical-Axis Wind Turbine Blades, ASME 2011 Energy Sustainability Conference
           and Fuel Cell Conference, Washington, DC, August 7-10, 2011.

   90.     R.D. Lovik, E.M. Sparrow, J.P. Abraham, C.L. Zelmer, S.K.S. Friend, and D.K.
           Smith, Effect of Component Misalignment on Human Tissue Temperatures
           Associated with Recharging Neuromodulation Devices, Design of Medical Devices
           Conference, Minneapolis, MN April 12-14, 2011.
     Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 446 of 461
                                                                                                35
      th
4232 29 Ave.                       John P. Abraham                       jpabraham@stthomas.edu
Minneapolis, MN 55406                                                              612-963-2169

   91.     N.N. Johnson, K. L. McCaffrey, K.M. Rose, and J.P. Abraham, Cryosurgical
           Treatments for Uterine Fibroids, ASME 2010 International Congress and Expo,
           Vancouver, CA, November 12-18, 2010.

   92.     R.D. Lovik, K. J. Kelly, E.M. Sparrow, and J.P. Abraham, Effect of Misalignment of
           Implant and Antenna on Heat Generation of Externally Recharged Neuromodulation
           Implants, North American Neuromodulation Society 14th Annual Meeting, Las Vegas,
           NV, December 2-5, 2010.

   93.     J.P. Abraham and S. Mandia, An Emerging Ethic of Responsibility: A Case Study for
           Engaging the Public, American Geoephysical Union Fall Meeting, San Francisco, CA
           December 13-17, 2010.

   94.     J.P. Abraham and G.S. Mowry, B.D. Plourde, Analysis of Thermal and Fluid Flow
           Problems, Thermal Packaging and Small Business Innovation Workshop, Eagan, MN,
           October 5-6, 2010.

   95.     N.N. Johnson, J.P. Abraham, Z.I. Helgeson, and M.P. Hennessey, Numerical
           Simulation of Blood Flow in the Presence of Embolizing Agents, ASME 2010
           International Congress and Expo, Vancouver, CA, November 12-18, 2010.

   96.     N.N. Johnson, J.P. Abraham, and Z.I. Helgeson, Calculations of Scald Burns: Effects
           of Water Temperature, Exposure Duration, and Clothing, ASME 2010 International
           Congress and Expo, Vancouver, CA, November 12-18, 2010.

   97.     N.N. Johnson, M.P. Hennessey, and J.P. Abraham, Swept Arc Length Measure of
           Abrasive Wear, ASME 2010 International Congress and Expo, Vancouver, CA,
           November 12-18, 2010.

   98.     K.L. McCaffrey, K.M. Rose, and J.P. Abraham, Numerical Simulation of
           Cryosurgery as a Potential Treatment for Uterine Fibroids, 14th International Heat
           Transfer Conference, Washington, D.C., August 8-13, 2010.

   99.     J.P. Abraham, E.M. Sparrow, J.C.K. Tong, and W.J. Minkowycz, Intermittent Flow
           Modeling. Part 1: Hydrodynamic and thermal Modeling of Steady, Intermittent Flows
           in Constant Area Ducts, 14th International Heat Transfer Conference, Washington,
           D.C., August 8-13, 2010.

   100.        J.P. Abraham, E.M. Sparrow, J.C.K. Tong, and W.J. Minkowycz, Intermittent
           Flow Modeling. Part 2: Time-Varying Flows and Flows in Variable Area Ducts, 14th
           International Heat Transfer Conference, Washington, D.C., August 8-13, 2010.

   101.    K.L. McCaffrey, K.M. Rose, and J.P. Abraham, Cryosurgery as an Alternative
           Treatment for Menorrhagia and Uterine Fibroids, ASME Summer Biomedical
           Engineering Conference, Naples, FL, June 16-19, 2010.
     Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 447 of 461
                                                                                            36
      th
4232 29 Ave.                       John P. Abraham                      jpabraham@stthomas.edu
Minneapolis, MN 55406                                                             612-963-2169

   102.    J.M. Gorman, N.K. Sherrill, J.P. Abraham, Analysis of Drag-Reducing Techniques
           for Olympic Skeleton Helmets, ANSYS Users Conference, Minneapolis, MN, June 11,
           2010.

   103.    B. D. Plourde, J.P. Abraham, G.S. Mowry, Numerical Simulation of Vertical Axis
           Wind Turbines, ANSYS Users Conference, Minneapolis, MN, June 11, 2010.

   104.    J.P. Abraham, Z.I. Helgeson, N.N. Johnson, G.S. Mowry, Numerical Simulations and
           Medical Device Design, ANSYS Users Conference, Minneapolis, MN, June 11, 2010.

   105.    J.M. Gorman, N.K. Sherrill, J.P. Abraham, Drag-Reducing Vortex Generators and
           Olympic Skeleton Helmet Design, ANSYS Users Conference, Chicago, IL, June 7,
           2010.

   106.     J.P. Abraham, Z.I. Helgeson, N.N. Johnson, G.S. Mowry, (Keynote), Numerical
           Simulations in Biomedical Design, ANSYS Users Conference, Chicago, IL, June 7,
           2010.

   107.    J.P. Abraham, E.M. Sparrow, Y. Bayazit, R.D. Lovik, and D.S. Smith, Numerical and
           Experimental Simulations as Symbiotic Tools for Solving Complex Bio-Thermal
           Problems, Design of Medical Devices Conference, Minneapolis, MN April 13-15,
           2010.

   108.    E.M. Sparrow and J.P. Abraham, Numerical Solutions of Biological Heat Transfer,
           Design of Medical Devices Conference, Minneapolis, MN April 13-15, 2010.

   109.    J.P. Abraham, R.D. Lovik, D.S. Smith, E.M. Sparrow, and K.J. Kelly, Heat
           Generation Measurements of Revised Neuromodeulation Devices and Calculations of
           Tissue Temperatures, North American Neuromodulation Society 13th Annual
           Meeting, Las Vegas, December 3-6, 2009.

   110.    J.P. Abraham and E.M. Sparrow, Numerical Simulation as a Tool for Assessing
           Thermal- and Fluid-Based Processes and Therapies, Institute for Engineering in
           Medicine Innovation Showcase, Minneapolis, MN, September 22, 2009.

   111.    J.P. Abraham, E.M. Sparrow, and R.D. Lovik, An Investigation of Tissue-
           Temperature Elevation Caused by Recharging of Transcutaneous Nueromodulation
           Devices, 31st Annual International Conference of the IEEE Engineering in Medicine
           in Biology Society, Minneapolis, MN, September 2-7, 2009.

   112.    R.D. Lovik, J.P. Abraham, and E.P. Sparrow, Pulasting Fluid Flows Undergoing
           Transitions Between Laminar, Transitional, and Turbulent Regimes, ASME 2009
           Summer Bioengineering Conference, Lake Tahoe, CA, June 17-21, 2009.

   113.    E.M. Sparrow, and J.P. Abraham, Case Studies on the Use of Numerical Simulation
           for design and Optimization of Medical Devices, Design of Medical Devices
           Conference, Minneapolis, MN April 14-16, 2009.
     Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 448 of 461
                                                                                             37
      th
4232 29 Ave.                       John P. Abraham                     jpabraham@stthomas.edu
Minneapolis, MN 55406                                                            612-963-2169


   114.    F. Hoover and J. Abraham Assessment of the Carbon Dioxide and Energy Balances
           of Biofuels, Climate Change Technology Conference 2009, Hamilton, Ontario, May
           12-15, 2009.

   115.    J.P. Abraham, G.S. Mowry, and R.E. Erickson, Design and Analysis of a Small-Scale
           Vertical-Axis Wind Turbine for Rooftop Power Generation, Climate Change
           Technology Conference 2009, Hamilton, Ontario, May 12-15, 2009.

   116.    F. Hoover and J.P. Abraham, A review: Comprehensive Comparison of Corn-based
           and Cellulosic-based Ethanol as Biofuel Sources, Clean Technology Conference and
           Expo 2009, Houston, TX, May 3-7, 2009.

   117.    J.P. Abraham, G.S. Mowry, and R.E. Erickson, Design and Analysis of a Small-Scale
           Vertical-Axis Wind Turbine, Clean Technology Conference and Expo 2009, Houston,
           TX, May 3-7, 2009.

   118.    J.P. Abraham, R.D. Lovik, and E.M. Sparrow, Tissue Temperature Rises Due to Heat
           Generation in Neuromodulation Implants, North American Neuromodulation Society
           12th Annual Meeting, Las Vegas, December 4-7, 2008.

   119.    G. Nelson, A. Majewicz, and J.P. Abraham, Numerical Simulation of Thermal Injury
           to the Artery Wall During Orbital Atherectomy, ANSYS International, Pittsburgh, PA,
           August 26-29, 2008.

   120.    J.P. Abraham, Integrating Integration of ANSYS/CFX into Classrooms, ANSYS
           International, Pittsburgh, PA, August 26-29, 2008.

   121.    J.P. Abraham, Pressure Drop and Heat Transfer Calculations for Laminar-Turbulent
           Intermittent Flows, ANSYS International, Pittsburgh, PA, August 26-29, 2008.

   122.    J.P. Abraham, J.C.K. Tong, and E.M. Sparrow, Prediction of Laminar-Turbulent
           Transition and Friction Factors in Transitional Flows, ASME International Congress
           and Expo, Boston, MA, October 31 – November 5, 2008.

   123.    R.D. Lovik, J.P. Abraham, and E.M. Sparrow, Assessment of Possible Thermal
           Damage of Tissue Due to Atherectomy by Means of a Mechanical Debulking Device,
           ASME 2008 Summer Bioengineering Conference, Marco-Island, FL, June 25-29,
           2008.

   124.    J.P. Abraham and A.P. Thomas, Numerical Simulation of Induced Co-Flow and
           Laminar-to-Turbulent Transition Associated with Synthetic Jets, Flucome 2007,
           Tallahassee, FL, September 16-19, 2007.

   125.    J.P. Abraham and C.M. George, An Investigation of Radiation Shields for Full-
           Building Cooling in Desert Climates, Solar 2007, Cleveland, OH July 7-12, 2007.
     Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 449 of 461
                                                                                              38
      th
4232 29 Ave.                       John P. Abraham                     jpabraham@stthomas.edu
Minneapolis, MN 55406                                                            612-963-2169

   126.    A. Marchese, J.P. Abraham, C.S. Greene, L. Kizenwether, and J. Ochs, Toward a
           Common Standard Rubric for Evaluating Capstone Design Projects, National
           Capstone Design Course Conference, Boulder, CO June, 13-15, 2007 (Best Paper
           Award).

   127.    John Abraham, Chris Greene, Anthony Marchese, External Assessment Through
           Peer-to-Peer Evaluation of Capstone Projects, Frontiers in Education, Milwaukee,
           WI, October, 10-13, 2007.

   128.    John Abraham, Computation Fluid Dynamics Using ANSYS CFX, presented at the
           University of Minnesota Digital Technology Center, Sept. 12 and 14, 2006.

   129.    John Abraham, Application of the Finite Element Method, LifeSciences Conference,
           Minneapolis, October 5, 2006.

   130.    John Kim and John Abraham, Design of Experiments in the Medical Device Industry,
           LifeSciences Conference, Minneapolis, October 5, 2006.

   131.    Ephraim Sparrow, Nick Whitehead, and John Abraham, Fluid Flow Dynamics in the
           Urinary Tract – Impact on Device Design, Presented to the Department of Urologic
           Surgery, April 17, 2006.

   132.    John Abraham, Nick Whitehead, and Ephraim Sparrow, Numerical Simulation of
           Thermal Therapies, Presented to the Department of Urologic Surgery, April 17, 2006.

   133.    John Abraham, Nick Whitehead, and Ephraim Sparrow, Biomedical Applications
           Simulations/Experimental Investigations, Biomedical Focus 2006, Brooklyn Center,
           MN, March 20-21, 2006.

   134.    Nick Whitehead, Ephraim Sparrow, and John Abraham, A Role for Engineering in
           Medical Simulations, Simulation in Healthcare, Minneapolis, MN, November 28,
           2005.

   135.    Ronald Major and John Abraham, The Application of Thermal Analysis on a Disk
           Array, Fluent’s 2005 CFD Summit, Detroit, MI, June 7-8, 2005.

   136.    Camille George and John Abraham, A Sustainable Low-Energy Cooling System for
           Hot Dry Climates, Sustainability as Security, Austin, TX, October 5-9, 2005.

   137.    John P. Abraham and Ephraim M. Sparrow, Irrelevance of the Relative Velocity as
           the Characteristic Velocity When Both a Fluid and its Bounding Surface are in
           Motion, Lorenz G. Straub Award, Minneapolis, MN, November 13, 2004.

   138.    John P. Abraham and Ephraim M. Sparrow, An Unexpected U-Turn After an Eckert
           Straight Start, Eckert Symposium, Minneapolis, MN, September 13-14, 2004.
        Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 450 of 461
                                                                                              39
        th
4232 29 Ave.                         John P. Abraham                     jpabraham@stthomas.edu
Minneapolis, MN 55406                                                              612-963-2169

   139.      John P. Abraham and Ephraim M. Sparrow, Methodologies to Enhance the Numerical
             Simulations of Electronic Cooling, Semi-Therm Conference, San Jose, CA, March 9-
             10, 2004.

   140.      Ephraim M. Sparrow, John P. Abraham, and Paul Chevalier, A DOS-Enhanced
             Numerical Simulation of Heat Transfer and Fluid Flow Through an Array of Offset
             Fins with Conjugate Heating in the Bounding Solid, ASME International Mechanical
             Engineering Congress and R & D Expo, Washington, DC, November, 2003.

   141.      J. P. Abraham, Ephraim M. Sparrow, Student-Related Research “Thermal Design
             Capstone Projects”, ASME International Mechanical Engineering Congress and R &
             D Expo, Washington, DC, November, 2003.

   142.      Sparrow, E.M., Martin, G.L., Abraham, J.P., and Tong, J.C., Air-to-Air Energy
             Exchanger Test Facility for Mass and Energy Transfer Performance. American
             Society of Heating, Refrigeration, and Air-Conditioning Engineers Annual Meeting,
             Inc., Cincinnati, OH, ASHRAE Symposium Paper, 2001.

   143.      Tamma, K.K., Zhou, X., Abraham, J., and Anderson, C.V.D.R., Constitutive Model
             Theories and Plausible Propositions/Challenges to Heat Transport Characterization.
             ASME/JSME Joint Thermal Engineering Conference, March, 1999.

Granted Patents
   1.    Robert Monson and John Abraham, “Dual-phase thermal electricity generator”, U.S.
         Patent # 8,484,974.

   2.        Robert Monson and John Abraham, “Variable Orifice Valve”, U.S. Patent #
             7,559,485

   3.        Robert Monson, John Abraham, Joseph Crimando, Joel Farley, Matthew Linder, and
             Joel Seipel, "Vehicle Energy Absorption Apparatus”, US Patent # 8,118,255.

   4.        B.D. Plourde and J.P. Abraham, “Rotor Blade for Vertical Axis Wind Turbine”, US
             Patent # 9,482,204/ WO 2011150171.

   5.        B.D. Plourde, J.P. Abraham, D.R. Plourde, A. Gikling, R. Pakonen, “Dual-Axis
             Tracking Device”, US Patent # 10,168,412.

  6.          B. D. Plourde, J. P. Abraham, D.R. Plourde, R. Pakonen, “Control Valve Assembly
             for Fluid Heating System”, US Patent # 10,495,720.

  7.         B. D. Plourde, J. P. Abraham, D.R. Plourde, R. Pakonen, “Dual Axis Tracking
             Device”, China National Intellectual Property Administration, Patent number
             ZL201580075224.1, 2020.

  8.         B.R. Plourde, J. P. Abraham, D.R. Plourde, R. Pakonen, “Dual Axis Tracking
             Method”, U.S. Patent 10,890,645.
        Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 451 of 461
                                                                                              40
        th
4232 29 Ave.                         John P. Abraham                     jpabraham@stthomas.edu
Minneapolis, MN 55406                                                              612-963-2169


  9.         B.D. Plourde, A. Gikling, J.P. Abraham, R. Pakonen, “Digital Fluid Heating System”,
             US Patent Application Number 15/818,052, filed November 20, 2017; PCT
             Application Number US2017/062558, filed November 20, 2017. (Patent granted,
             number forthcoming).

  10.        B.D Plourde, J.P. Abraham, D. Plourde, R. Pakonen, A. Gikling, N. Naughton, Fluid
             Heating system, European Patent, granted, number forthcoming, 2021.

  11.        B. D. Plourde, J. P. Abraham, D.R. Plourde, R. Pakonen, “Method of Calculating
             Pathogen Inactivation for Fluid Heating System”, US Patent, 11,092,558.

  12.        B.D. Plourde, A. Gikling, J.P. Abraham, R. Pakonen, “Digital Fluid Heating System”,
             China National Intellectual Property Administration, Chinese Application Number
             201780083752.0

  13.        B.D. Plourde, A. Gikling, J.P. Abraham, R. Pakonen, “Digital Fluid Heating System”,
             African Regional Intellectual Property Organization (ARIPO), (patent granted,
             number forthcoming).


Pending Patents
   1.    B.D. Plourde, J.P. Abraham, D. Plourde, R. Pakonen, A. Gikling, N. Naughton,
         “Fluid Heating System”, US Patent Application Number 14/954,292, filed December
         1, 2015.

   2.        B.D. Plourde, J.P. Abraham, “Solar Heating System”, US Patent Application No.
             62/423,814 (filed November 18, 2016).

   3.        B.D. Plourde, A. Gikling, J.P. Abraham, R. Pakonen, “Solar Heating for
             Refrigeration and Fluid Heating Devices”, filed March 2018.

   4.        B.D. Plourde, A. Gikling, J.P. Abraham, R. Pakonen, “Dual-Axis Tracking Method”,
             US Application number 2019/0107598, filed November 2018.

   5.        B.D. Plourde, A. Gikling, J.P. Abraham, R. Pakonen, “Digital Fluid Heating System”,
             US Application number 2018/0142905, filed November 2017.



Granted Trademarks
   1.    US Trademark Registration Number 5656322, assignee: WTS LLC, Minnesota, USA.
         Trademark granted, January 15, 2019.

   2.        US Trademark Registration Number 5656323, assignee: WTS LLC, Minnesota, USA.
             Trademark granted, January 15, 2019.
     Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 452 of 461
                                                                                  41
      th
4232 29 Ave.                      John P. Abraham              jpabraham@stthomas.edu
Minneapolis, MN 55406                                                    612-963-2169

                                   CONSULTANTSHIPS

                             GRANTS (funding $3.967 million)
Biotronik                                                                       2021
Starky                                                                          2020
Marvin Windows                                                                  2020
Cardiovascular Systems, Inc.                                              2019-2021
ALS Consulting                                                                  2019
Medivators                                                                2018-2019
Medivators, MN                                                            2014-2015
EKOS, MN                                                                        2018
Marcor                                                                          2018
Marvin Windows                                                                  2018
Medtronic, Fridley, MN                                                    2017-2020
Orbital ATK                                                               2017-2018
Pride Engineering, MN                                                     2017-2018
Cargill, MN                                                               2016-2017
EKOS, MN                                                                  2016-2017
Precision Air, MN                                                               2016
3M, MN                                                                    2015-2017
Flourescence, Inc., MN                                                          2015
Smiths Medical, MN                                                        2014-2015
WTS LLC, MN                                                               2014-2020
Somnetics, MN                                                                   2014
Lake Region Medical, MN                                                   2013-2014
Amphora Medical, MN                                                       2013-2014
ALS Consulting, MN                                                        2013-2016
Medtronic, Fridley, MN                                                    2013-2016
Devicix, MN                                                               2012-2013
CriticCare, MN                                                                  2012
HRST, Inc., MN                                                            2012-2015
QIG Group, OH                                                             2011-2013
Phraxis, MN                                                               2011-2012
Cardiovascular Systems, Inc., Roseville, MN                               2007-2015
Translational Biologic Infusion, AZ                                       2011-2013
Galil Medical, Roseville, MN                                                    2011
Imation, Oakdale, MN                                                            2010
Medtronic, Fridley, MN                                                    2008-2011
R4 Engineering, India                                                     2008-2009
Horizontal Winds,                                                         2008-2009
Lockheed Martin, Eagan, MN                                                2007-2009
St. Jude Medical, Minnetonka, MN                                          2007-2009
Arizant Medical, Eden Prairie, MN                                               2006
Johnson and Johnson, Newark, NJ                                           2004-2005
Cortron/XeteX, Fridley, MN                                                      2005
MicroControl Company, MN                                                  circa 2001
Donaldson Co., Bloomington, MN                                            1999-2003
      Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 453 of 461
                                                                                         42
      th
4232 29 Ave.                        John P. Abraham                   jpabraham@stthomas.edu
Minneapolis, MN 55406                                                           612-963-2169

Augustine Medical, Eden Prairie, MN                                              2000-2003
Midmac Systems Inc., St Paul, MN                                                       2002
Remmele Engineering Inc., St Paul, MN                                            2002-2005
Urologix, Minneapolis, MN                                                        circa 2004
Restore Medical, Minneapolis, MN                                                 circa 2002
Caterpillar, Minneapolis, MN                                                     circa 2000
ADC telecom, Minneapolis, MN                                                     circa 2000
Entropy Solutions                                                                circa 2000
XeteX, Inc., Minneapolis, MN                                                     1996-2000
Pneuseal, St. Paul, MN                                                           1996-1998
Los Alamos National Laboratory, Los Alamos, NM                                         1994



                              GRANTS (funding $3.962 million)
Biotronik                                                                              2021
      $44k for simulation of heating caused by implanted medical devices

Flotherm (SBIR award FAIN 2034065)                                               2020-2021
       $48k for simulation of body-heating devices
       SBIR funding, NSF Small Business Innovative Research project

Starky                                                                           2019-2020
      $6k for thermal modeling of hearing aid batteries

National Science Foundation (Co-PI, FAIN = 2018403)                              2020-2021
      $424k for engineering PIV instrumentation

Intertek                                                                         2019-2020
       $13k for study of tissue surrogates for biological heating

Cardiovascular Systems, Inc.                                                     2019-2021
      $13k for thermal model of blower impellor for a dialysis pump
      $9k for thermal model of blower impellor for a dialysis pump
      $4k for thermal model of blower impellor for a dialysis pump
      $20k for flow model of blower impellor for a dialysis pump
      $5k for flow model of blower impellor for a dialysis pump

ALS Consulting                                                                         2019
     $15k for thermal model of power plant

Medivators                                                                             2019
     $12k for thermal model of thermal sterilization

Marvin Windows                                                                         2019
     $5k for thermal model of manufacturing line
     $4k for thermal model of manufacturing line
     Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 454 of 461
                                                                                           43
      th
4232 29 Ave.                        John P. Abraham                     jpabraham@stthomas.edu
Minneapolis, MN 55406                                                             612-963-2169


Medtronic                                                                                2019
      $22k for simulation of tissue temperatures during transcutaneous recharge
      $25.5k for simulation of tissue temperatures during transcutaneous recharge

Medivators                                                                               2018
      $18k to research airflow in medical sterilization equipment.

Marvin Windows                                                                       2018-2020
      $6k to research thermal processes during window ventillation
      $4k to research thermal processes of natural lighting
      $4k to research thermal processes of natural lighting

Medtronic                                                                                2018
      $3k to research battery heating rates
      $8k to research thermal tolerance of brain tissue

EKOS                                                                                     2018
       $14k for analysis of flow distribution within stents

Marcor                                                                                   2018
     $10k for fluid and heat transfer analysis

Pride Engineering                                                                        2017
       $3k to calculate a metal stamping machine process

Orbital ATK                                                                          2017-2018
      $30k to simulate fluid flow
      $12k to simulate fluid flow

Medtronic                                                                                2017
      $5k to research thermal tolerance of brain tissue
      $14k to calculate cranial temperature increases during transcranial recharge

3M                                                                                       2017
       $14k to simulate airflow in ultra-clean operating rooms.

Zoll Engineering                                                                         2017
       $5.5k for design of flow through a ventilation medical device

Cargill                                                                              2016-2017
       $14k for analysis of food frier
       $15k for analysis of a food processing device

EKOS                                                                                     2017
       $14k for analysis of flow distribution within stents
       $14k for analysis of flow distribution within stents
     Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 455 of 461
                                                                                          44
      th
4232 29 Ave.                        John P. Abraham                    jpabraham@stthomas.edu
Minneapolis, MN 55406                                                            612-963-2169

       $12k for analysis of flow distribution within stents

ALS Consulting                                                                          2016
     $15k for analysis of fluid flow in power plants

Precision Air                                                                           2016
       $1600 for simulation of airflow in operating rooms

Medtronic                                                                               2016
      $12k for simulation of tissue temperatures during transcutaneous recharge

3M                                                                                      2015
       $12k to simulate airflow in ultra-clean operating rooms.

Cardiovascular Systems, Inc.                                                      2015-2016
      $8,000 for the study of deformable arteries
      $6,000 for biological flows and impellor design

AF Energy                                                                               2015
     $3000 wind turbine calculations

Intellectual Ventures Laboratory                                                        2015
        $2000 wall condensation calculations

Medivators                                                                              2015
      $4000 for flow and pressure calculations medical chamber.

Floursecence, Inc.                                                                      2015
      $2,000 designing biological heater for cell environments

Mador Technologies                                                                      2015
     $20,000 analyzing a liquid nitrogen water condensation device

Koronis Biomedical Technologies                                                         2015
      $5,000 simulation of fluid flow

Mador Technologies                                                                2014-2015
     $8,000 analyzing a liquid nitrogen water condensation device

National Resources Defense Council                                                      2015
      $10k for climate education work

Medtronic                                                                               2014
      $12k for simulation of tissue temperatures during transcutaneous recharge

Smiths Medical                                                                          2014
      $9.5k for design and optimization of medical warming blankets
     Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 456 of 461
                                                                                            45
      th
4232 29 Ave.                        John P. Abraham                     jpabraham@stthomas.edu
Minneapolis, MN 55406                                                             612-963-2169

       $10k for the design and improvement of medical fans
       $12kfor the design and analysis of human thermal analogs

WTS LLC                                                                          2014-present
     $1.5m for the design of solar pasteurization systems

Medivators                                                                                2014
      $4000 for flow and pressure calculations medical chamber.
      $3000 for flow and pressure calculations medical chamber.

Somnetics                                                                                 2014
     $6000 for flow and pressure calculations in CPAP devices.

Lake Region Medical                                                                 2013-2014
      $4500 for simulations of a guidewire manufacturing oven

Amphora Medical                                                                     2013-2014
     $55.5k for design of RF probes for ablation of bladder tissue

ALS Consulting                                                                      2013-2014
     $17.5k for analysis of fluid flow in power plants

Medtronic, Inc.                                                                     2012-2013
      $13k for analysis of subdermal heating associated with recharge of
      neuromodulation systems.

Phraxis                                                                                   2013
      $2,250 for the analysis of blood flow through an AV shunt

Translational Biologic Infusion Catheter                                              2011-2013
      $21.5k for the study of flow and pressure drop in a stem-cell delivery catheter

Advanced Circulatory Systems, Inc.                                                        2013
     $4200 for fluid flow modeling of medical-device blowers

HRST, Inc.                                                                          2012-2015
     $11,250 for analysis of flow patterns in manifolds

Devicix                                                                                   2012
       $2000 for the analysis of medical-fluid injection devices

Helical                                                                             2012-2013
       $18,200 for the design and analysis of rooftop wind turbines

QiG Group                                                                                 2012
     $7000 for study of thermoelectric technologies to power implants
     Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 457 of 461
                                                                                            46
      th
4232 29 Ave.                        John P. Abraham                      jpabraham@stthomas.edu
Minneapolis, MN 55406                                                              612-963-2169

HRST, Inc.                                                                                2012
     $4300 for analysis of perforated plates for flow uniformity

Energy Foundation                                                                    2012-2013
      $30k developing climate-science communication strategies

CriticCare                                                                                2012
       $4,275 for numerical modeling of accelerated aging of medical devices.

HRST, Inc.                                                                                2012
     $5,540 for research study on mixing efficiency in heat recovery plants.

Windstrip, LLC                                                                    2009-2013
      $1m for development of vertical axis wind turbines to power cellular communiation
      equipment.

QiG Group                                                                            2011-2012
     $20k for study of implant heating of biological tissue

Phraxis                                                                              2011-2012
      $8,000 for the analysis of blood flow through an AV shunt

Energy Foundation                                                                    2011-2012
      $71k developing climate-science communication strategies

Cardiovascular Systems, Inc.                                                              2011
      $23k for the study of paclitaxel distribution techniques.

Cardiovascular Systems, Inc.                                                              2011
      $5,000 for the study of temperature management in palleted products

Galil Medical                                                                             2011
       $9,000 for the kidney tumor cryosurgical devices.

Multiple groups                                                                           2010
      $13,000 for installation of solar panels in Uganda

Imation
      $10k for the design of a polymeric extrusion die                                    2010

Cypress Wind
      $30.6k for the development of a vertical axis, small-footprint wind turbine.        2010

Cypress Wind
      $27k for the development of a vertical axis, small-foorprint wind turbine.          2009

Cardiovascular Systems, Inc.                                                              2009
     Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 458 of 461
                                                                                             47
      th
4232 29 Ave.                       John P. Abraham                      jpabraham@stthomas.edu
Minneapolis, MN 55406                                                             612-963-2169

       $80k for the study of cavitation and bolus formation during orbital atherectomy
       procedures.

Medtronic, Inc.
      $65k for analysis of subdermal heating associated with recharge of             2008-2011
      neuromodulation systems.

University of St. Thomas Faculty Development Grant                                      2009
      $4,200 for the purchase of a high-performance computer for numerical simulations.

CSUMS: A computational Traininig and Interdisciplinary Research Program         2008-2013
for Undergraduates in the Mathematical Sciences at the University of St. Thomas
      Served as Senior Personnel on a $716,836 NSF award for the development of
      applied research projects for undergraduates in mathematics.

Lockheed Martin Innovative Program - Advanced Cooling Technology grant                     2009
      $19.5k for the improvements to avionics heat pipe applications.

Horizontal Winds                                                                     2008-2009
      $11k for research on vertical-axis wind turbines

R4 Engineering                                                                       2008-2009
      $10k for analysis of building-support insulation systems

Lockheed Martin Innovative Program - Advanced Cooling Technology grant                     2007
      $53k for the development of advanced electronic-cooling methodologies.

Arizant Medical                                                                            2006
      Characterization of a forced-air patient warming device

Johnson and Johnson, Newark, NJ                                                      2004-2005
      Analysis of a uterine fibroid embolization device

Urologix                                                                              circa 2004
      Design of thermoelectric device for heating/cooling of urological catheter fluids

Donaldson Co.                                                                        1999-2003
      Analysis and characterization of a filter-manufacturing device

Augustine Medical                                                                    2000-2003
      Characterizsation of a forced-air patient warming device

Midmac Systems Inc.                                                                        2002
     Thermal analysiss of a polymeric sealing machine

Restore Medical                                                                      circa 2002
      Characterization of sleep apnea treatment
      Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 459 of 461
                                                                                                48
      th
4232 29 Ave.                        John P. Abraham                       jpabraham@stthomas.edu
Minneapolis, MN 55406                                                               612-963-2169


Remmele Engineering Inc.                                                               2002-2005
    Thermal analysis of a polymeric sealing machine for insulin packaging

MicroControl Company                                                                   Circa 2001
      Analysis of burn-in board devices

Caterpillar                                                                            circa 2000
      Analysis of a screed heating machine

ADC Telecom                                                                            circa 2000
     Optimization of an AC/DC power converter

Entropy Solutions                                                                circa 2000
      Design and Analysis of insulation and phase change thermal management for shipping
      containers

XeteX, Inc                                                                             1996-2000
      Desing of an air-to-air heat exchanger
      Creation of a film processing machine for coating heat exchangers
      Construction and operation of a full-sized HVAC test facility

Pneuseal                                                                           1996-1998
      Operation and optimization of a polymeric sealing device for medical packageing

Principal Investigator – Supercomputing Institute                                     2002-2012
       Served as PI for multi-year project dedicated to performing computational fluid dynamic
       studies. This grant awarded computing resources at the Supercomputing Institute for
       Digital Simulation and Advanced Computing.

Principal Investigator – ASHRAE Project Grant Program                                   2003
       Awarded a $5,000 grant funded by ASHRAE to investigate the efficacy of rotating-wheel
       heat and moisture exchangers.

Faculty Advisor – Bush Grant, Young Scholars Program                                           2002
       Faculty advisor for a $3,000 grant for undergraduate research of air-jet heat transfer for
       surgical applications.

Faculty Advisor – Bush Grant, Young Scholars Program                                      2002
       Faculty advisor for a $3,000 grant for undergraduate research to encourage American
       Indian students to pursue careers in science and technology.

A Multi-Function Heat Exchanger for Control of Temperature, Moisture,
and Air Quality                                                                 1997-2000
      Project Engineer for $475K SBIR grants awarded by NSF, grant nos. 9660900
      and 9801062
Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 460 of 461




                   APPENDIX B
   MATERIALS CONSIDERED




                              -410-
Case 3:19-cv-00410-EMC Document 396 Filed 03/31/22 Page 461 of 461




    x   U.S. Patent No. 8,240,362
    x   File History of U.S. Patent No. 8,240,362
    x   U.S. Patent No. 10,613,601
    x   File History of U.S. Patent No. 10,613,601
    x   U.S. Patent No. 10,599,196
    x   File History of U.S. Patent No. 10,599,196
    x   U.S. Patent No. 10,078,354
    x   File History of U.S. Patent No. 10,078,354
    x   U.S. Patent No. 10,078,355
    x   File History of U.S. Patent No. 10,078,355
    x   U.S. Patent No. 6,894,899 (Wu)
    x   U.S. Patent No. 6,019,165 (Batchelder)
    x   JP 2002-151638 (Shin)
    x   KR 2003-0031027 (Ryu)
    x   U.S. Patent Application No. 2004/0052663 (Laing)
    x   ZL 02241576.9Y (Yu)
    x   JP 2002-151638 (Shin)
    x   U.S. Patent No. 7,544,049 (Koga)
    x   U.S. Patent Application 2006/0185830 (Duan)
    x   U.S. Patent 6,915,653 (Nakano)
    x   Kandlikar and Grande, “Evolution of Microchannel Flow Passages –
        Thermohydraulic Performance and Fabrication Technology,” Heat Transfer
        Engineering, Vol. 24, (1), 2003
    x   Final Written Decisions in IPR2020-00522 and IPR2020-00523
    x   CoolIT’s Invalidity Contentions
    x   Asetek’s Infringement Contentions
    x   Asetek’s Response to CoolIT’s Interrogatory No. 7




                                      -411-
